Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1705 Filed 09/14/21 Page 1 of 89




                                 DEPOSITION OF

                              KOHCHISE JACKSON

                   JACKSON V. CORIZON HEALTH, INC.

                                     TAKEN ON

                                 MARCH 22, 2021
     Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1706 Filed 09/14/21 Page 2 of 89

Deposition of                                                                         JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                        March 22, 2021
                                                                                                                             Page 3
·1· · · · · · · · · ·UNITED STATES DISTRICT COURT                    ·1· · · · · · · · · · · · · · ·I N D E X
· · · · · · · · · FOR THE EASTERN DISTRICT OF MICHIGAN               ·2· ·WITNESS· · · · · · · · · · EXAMINER· · · · · · · · ·PAGE
·2· · · · · · · · · · · · ·SOUTHERN DIVISION
·3                                                                   ·3· ·KOHCHISE JACKSON· · · · · ·WILLIS· · · · · · · · · · ·5
· · ·KOHCHISE JACKSON,· · · · · · · · ·)                             ·4· · · · · · · · · · · · · · · SCARBER· · · · · · · · · ·49
·4· · · · · · · · · · · · · · · · · · ·)
                                                                     ·5· · · · · · · · · · · · · · · CROSS· · · · · · · · · · 174
· · · · · · · · ·Plaintiff,· · · · · · )
·5· · · · · · · · · · · · · · · · · · ·)                             ·6· · · · · · · · · · · · · · · SCARBER· · · · · · · · · 180
· · ·vs.· · · · · · · · · · · · · · · ·) Case No. 2:19-CV-13382      ·7· · · · · · · · · · · · · · · WILLIS· · · · · · · · · ·207
·6· · · · · · · · · · · · · · · · · · ·) Hon. Terrence G. Berg
                                                                     ·8· · · · · · · · · · · · · · · SCARBER· · · · · · · · · 224
· · ·CORIZON HEALTH, Inc.,· · · · · · ·) MJ Patricia T. Morris
·7· ·a Delaware corporation,· · · · · ·)                             ·9· · · · · · · · · · · · · · · CROSS· · · · · · · · · · 244
· · ·PRIME HEALTHCARE SERVICES -· · · ·)                             10· · · · · · · · · · · · · · · SCARBER· · · · · · · · · 247
·8· ·PORT HURON, LLC, a Delaware· · · ·)
                                                                     11· · · · · · · · · · · · · · · WILLIS· · · · · · · · · ·248
· · ·limited liability company,· · · · )
·9· ·KEITH PAPENDICK, COLLEEN MARIE· · )                             12· · · · · · · · · · · · · · · SCARBER· · · · · · · · · 255
· · ·SPENCER, and DAVIS A. KRAUS*,· · ·) *Dismissed                  13
10· · · · · · · · · · · · · · · · · · ·) (ECF No. 32, PageID.630)
                                                                     14
· · · · · · · · ·Defendants.· · · · · ·)
11· ·__________________________________)                             15
12· · · · · The Video Deposition of KOHCHISE JACKSON taken by the    16
13· ·Defendants Prime Healthcare Services - Port Huron, LLC and
14· ·Colleen Marie Spencer, pursuant to Notice, before Elizabeth     17· ·EXHIBIT NO.· · · · · · · · · · · · · · · · · · · · ·PAGE
15· ·A. Tubbert, RPR, (CSR-4248), a Notary Public within and for     18· · · · · · · · · · · · · (None marked.)
16· ·the County of Oakland, (acting in Washtenaw County), State of
                                                                     19
17· ·Michigan, at 214 South Main Street, Suite 200, Michigan, on
18· ·Monday, March 22, 2021.                                         20
19                                                                   21
20
                                                                     22
21
22                                                                   23
23                                                                   24
24· ·JOB No. 21-97861
                                                                     25
25· · · · · · · ·(Appearances listed on page 2.)

                                                            Page 2                                                           Page 4
·1· ·APPEARANCES:
·2· · · · · MARGOLIS, GALLAGHER & CROSS
                                                                     ·1· · · · · · · · · · · · · · Ann Arbor, Michigan
· · · · · · BY:· IAN T. CROSS, Esq.                                  ·2· · · · · · · · · · · · · · Monday, March 22, 2021
·3· · · · · 214 South Main Street, Suite 200
· · · · · · Ann Arbor, Michigan· 48104                               ·3· · · · · · · · · · · · · · At or about 11:14 a.m.
·4· · · · · (734) 994-9590                                           ·4· · · · · · · · · · · ·-· - -
· · · · · · Ian@lawinannarbor.com
·5                                                                   ·5· · · · · · · · VIDEOGRAPHER:· We are on the record.
· · · · · · · · ·Appearing on behalf of the Plaintiff
·6
                                                                     ·6· ·This is the video-recorded deposition of Kohchise
· · · · · · CORBET, SHAW, ESSAD & BONASSO, PLLC                      ·7· ·Jackson taking place on March 22, 2021.· The time is
·7· · · · · BY:· DANIEL R. CORBET, Esq.
· · · · · · · · ·KENNETH A. WILLIS, Esq.                             ·8· ·now 10:14 (sic) a.m.· My name is Nicholas Houslander,
·8· · · · · 30500 Van Dyke Avenue, Suite 500                         ·9· ·video technician.· This deposition is taking place at
· · · · · · Warren, Michigan· 48093
·9· · · · · (313) 964-6300                                           10· ·214 South Main Street in Ann Arbor, Michigan 48104.
· · · · · · Daniel.Corbet@cseb-law.com                               11· · · · · · · · This is the case of Kohchise Jackson
10· · · · · Kenneth.Willis@cseb-law.com
11· · · · · · · ·Appearing via Zoom on behalf of Defendants          12· ·versus Corizon Health, Incorporated, Prime Healthcare
· · · · · · Prime Healthcare Services - Port Huron, LLC and
12· · · · · Colleen Marie Spencer                                    13· ·Services - Port Huron LLC, Keith Papendick, and
13· · · · · CHAPMAN LAW GROUP                                        14· ·Colleen Marie Spencer, Case No. 2:19-cv-13382 in the
· · · · · · BY:· DEVLIN K. SCARBER, Esq.
14· · · · · 1441 West Long Lake Road, Suite 310                      15· ·United States District Court for the Eastern District
· · · · · · Troy, Michigan· 48098                                    16· ·of Michigan, Southern Division.
15· · · · · (248) 644-6326
· · · · · · dscarber@chapmanlawgroup.com                             17· · · · · · · · Could the attorneys please briefly
16
· · · · · · · · ·Appearing on behalf of Defendant Corizon Health,    18· ·identify themselves for the record?
17· · · · · Inc.                                                     19· · · · · · · · MR. WILLIS:· This is Kenneth Willis on
18
· · · · · · Also Present:· Colleen Spencer, via Zoom                 20· ·behalf of Defendants Lake Huron Medical Center and
19
· · · · · · · · · · · · · ·Nicholas Houslander, Videographer
                                                                     21· ·Colleen Spencer.· Attorney Dan Corbet and Colleen
20                                                                   22· ·Spencer are also attending via Zoom -- or viewing in
21
22
                                                                     23· ·via Zoom.
23                                                                   24· · · · · · · · MR. SCARBER:· Attorney Devlin Scarber
24
25                                                                   25· ·appearing on behalf of the Corizon defendants, Corizon

                                                                                                                                      ·
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
     Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1707 Filed 09/14/21 Page 3 of 89

Deposition of                                                                        JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                       March 22, 2021
                                                           Page 5                                                              Page 7
·1· · · · · Health, as well as Dr. Keith Papendick.                ·1· ·A· · · I don't have any ID with me.
·2· · · · · · · · · · · ·MR. CROSS:· Ian Cross appearing on behalf ·2· ·Q· · · I understand that.· But do you possess, like, a
·3· · · · · of the plaintiff Kohchise Jackson.                     ·3· · · · · driver's license or a state ID card or a passport,
·4· · · · · · · · · · · ·VIDEOGRAPHER:· Could the court reporter ·4· · · · · anything like that?
·5· · · · · please swear in the witness?                           ·5· ·A· · · Yeah.
·6· · · · · · · · · · · · · · · -· - -                             ·6· ·Q· · · Which of those do you possess?
·7· · · · · · · · · · · · KOHCHISE JACKSON,                        ·7· ·A· · · The -- I possess the prison -- what I got from the
·8· · · · · a Plaintiff herein, having been duly sworn by the      ·8· · · · · prison.
·9· · · · · Reporter/Notary Public, testified as follows:          ·9· ·Q· · · Is that a prison identification card?
10· · · · · · · · · · · · · · · -· - -                             10· ·A· · · Yes.
11· · · · · · · · · · · ·VIDEOGRAPHER:· You may begin.             11· ·Q· · · Is that current?· You're no longer in prison; correct?
12· · · · · · · · · · · · · · ·-· - -                              12· ·A· · · No.
13· · · · · · · · · · · · · · EXAMINATION                          13· ·Q· · · So just to clarify, you don't possess a passport;
14· ·BY MR. WILLIS:                                                14· · · · · correct?
15· ·Q· · · Sir, do you have any government identification?        15· ·A· · · No.
16· ·A· · · Not on me, on person.· No, sir.                        16· ·Q· · · You don't possess a driver's license?
17· ·Q· · · You don't have ID?· Any type of ID?                    17· ·A· · · No.
18· ·A· · · Not on me.                                             18· ·Q· · · You don't possess a state ID card?
19· ·Q· · · For identification purposes the guidelines from the 19· ·A· · · No.· I -- no.· I'm having trouble right now.· I'm in
20· · · · · state allow a brief unmasking for identification       20· · · · · the process of getting a new state ID.· Because, you
21· · · · · purposes.· Can you remove your mask briefly for the 21· · · · · know, by me going to the police and everything like
22· · · · · camera?                                                22· · · · · that, I need my birth certificate, and somehow it got
23· ·A· · · Yes, sir.                                              23· · · · · misplaced.· So I've been having trouble, but I'm in
24· ·Q· · · All right.· Thank you.· Can you -- strike that.        24· · · · · the process of that now.
25· · · · · · · · · · · ·MR. WILLIS:· Let the record reflect this  25· ·Q· · · I see.· I see.· How long have you been trying to do
                                                           Page 6                                                              Page 8
·1· · · · · is the deposition of Kohchise Jackson taken pursuant   ·1· · · · · that?
·2· · · · · to Notice and agreement of counsel.                    ·2· ·A· · · Actually, my attorney have tooken (sic) me to the
·3· ·BY MR. WILLIS:                                                ·3· · · · · Secretary of State and it's been a while now.· Yeah.
·4· ·Q· · · Can you state your complete name for the record,       ·4· ·Q· · · What's your date of birth, sir?
·5· · · · · please, sir?                                           ·5· ·A· · ·
·6· ·A· · · I'm Kohchise Marcelle Angelo Jackson.                  ·6· ·Q· · · And where were you born?
·7· ·Q· · · Have you ever been known by any other names?           ·7· ·A· · · Detroit Henry Ford Hospital.
·8· ·A· · · No.                                                    ·8· ·Q· · · Just to close this loop on the ID, when was the last
·9· ·Q· · · Have you ever used any aliases?                        ·9· · · · · time that you possessed either a Michigan driver's
10· ·A· · · Yes, I've used an alias before.                        10· · · · · license or a Michigan state identification?
11· ·Q· · · When have you done that and what alias did you use? 11· ·A· · · It had to be before I went to prison.
12· ·A· · · I used Omari Akil Jackson when -- I used that as an    12· ·Q· · · Which time?· Have you been to prison more than one
13· · · · · alias with the police.                                 13· · · · · time?
14· ·Q· · · Any other aliases that you've used?                    14· ·A· · · No, sir.· No, sir.· That was my only time in prison.
15· ·A· · · No, sir.                                               15· ·Q· · · That was 2017?
16· ·Q· · · How long ago did you use that name as an alias with 16· ·A· · · Yeah.· I had -- my ID, had it for a long time.
17· · · · · the police?                                            17· ·Q· · · Was that the driver's license or the state ID?
18· ·A· · · Can't remember.· It was before I went to prison.· All 18· ·A· · · It was actually a license but my license had been
19· · · · · that was before I went to prison.· It was, like -- had 19· · · · · suspended.
20· · · · · to be 15 years, 12 years, up in there.· Something like 20· ·Q· · · When was your license suspended?
21· · · · · that.                                                  21· ·A· · · Can't remember.· Had to been some years now.· I don't
22· ·Q· · · What -- you said you didn't bring any ID with you.     22· · · · · want to tell you a specific date.
23· · · · · What identification do you have --                     23· ·Q· · · Was that before you went into the --
24· ·A· · · I don't --                                             24· ·A· · · Prison, yes.
25· ·Q· · · -- that's current?                                     25· ·Q· · · -- St. Clair County Jail in 2016?

                                                                                                                         Pages 5–8
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                           YVer1f
     Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1708 Filed 09/14/21 Page 4 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                            Page 9                                                             Page 11
·1· ·A· · · Yes, sir.· Yes, sir.                                     ·1· · · · · friend of mine.· We call each other brothers -- out in
·2· ·Q· · · So I assume you haven't driven a vehicle since then?     ·2· · · · · Port Huron.
·3· ·A· · · No, sir.· I haven't driven a vehicle since my license    ·3· ·Q· · · What was your good friend's name that you referred to
·4· · · · · was suspended.                                           ·4· · · · · as a brother that lived in Port Huron?
·5· ·Q· · · Where do you currently live, sir?                        ·5· ·A· · · Deon Johnson.
·6· ·A· · · 17902 Maine Street, sir.· That's in Detroit, Michigan.   ·6· ·Q· · · Does Deon Johnson still live in Port Huron?
·7· ·Q· · · Is that Maine like the state?                            ·7· ·A· · · I don't think so.
·8· ·A· · · M-A-I-N-E.                                               ·8· ·Q· · · Do you know where he lives?
·9· ·Q· · · Okay.· What are the major crossroads?                    ·9· ·A· · · Yes, I do but I don't know the address.
10· ·A· · · Nevada.                                                  10· ·Q· · · What city?
11· ·Q· · · Nevada and what?· What's the next --                     11· ·A· · · Detroit.
12· ·A· · · Joseph Campau.                                           12· ·Q· · · What was your grandmother's address?
13· ·Q· · · How long have you lived at 17920 Maine Street in         13· ·A· · · I believe 3228 Vermont.· Don't quote me.
14· · · · · Detroit?                                                 14· ·Q· · · That was the Vermont Street that you told us before?
15· ·A· · · Since May of 2019.                                       15· ·A· · · Yes, sir.· I believe.· 3228, yep.
16· ·Q· · · That's when you were discharged from the Department of   16· ·Q· · · Does Deon Johnson have any aliases that he goes by?
17· · · · · Corrections?                                             17· ·A· · · Not that I know of.· I call him Deon.
18· ·A· · · Yes, sir.                                                18· ·Q· · · So when you lived on Chalfonte and West Grand
19· ·Q· · · Now, according to the records, you came into the St.     19· · · · · Boulevard, who did you live with there?
20· · · · · Clair County Jail on May 17, 2016.· Is that correct?     20· ·A· · · Grandmother.
21· ·A· · · Correct.                                                 21· ·Q· · · I thought she was on Vermont.· Or did she move?
22· ·Q· · · Where did you live prior to that?                        22· ·A· · · She moved.· She stayed on West Grand Boulevard at one
23· ·A· · · You said where did I live prior to where?· What?         23· · · · · point in time.· She moved to Vermont.· But she was
24· ·Q· · · Where did you live before you went into the St. Clair    24· · · · · originally on Chalfonte.
25· · · · · County Jail in May of 2016?                              25· ·Q· · · Is your grandmother still living?
                                                           Page 10                                                             Page 12
·1· ·A· · · My last known address where I lived at -- at the time    ·1· ·A· · · Yes, sir.· She lives on Vermont.
·2· · · · · I was, like, homeless, in between addresses.· But my     ·2· ·Q· · · And she still lives on --
·3· · · · · last known address was 16031 Chalfonte.· No, actually,   ·3· ·A· · · Yes, sir.
·4· · · · · it was West Grand Boulevard.· But I was in between       ·4· ·Q· · · And she lives on Maine.· Are you living with your
·5· · · · · homes at the time -- before I went to prison.            ·5· · · · · grandmother currently?
·6· ·Q· · · Just to clarify, before you went into the county jail    ·6· ·A· · · No.· I'm living with my older sister, Fatima Jackson.
·7· · · · · in May of 2016 you were homeless?                        ·7· ·Q· · · Why was your driver's license suspended?
·8· ·A· · · Uh-huh.                                                  ·8· ·A· · · No ops on person.· I had a driver's license but I
·9· ·Q· · · Okay.· Where were you staying during that time?· Were    ·9· · · · · forgot them at home.· And no headlights.· That's how
10· · · · · you staying in the Port Huron area?                      10· · · · · they pulled me over.· So I forgot to turn my
11· ·A· · · I was living sometimes in Port Huron and sometimes in    11· · · · · headlights on and when they pulled me over I didn't
12· · · · · Detroit.                                                 12· · · · · have my ops on my person, so they suspended my
13· ·Q· · · So you mentioned two addresses.· You mentioned 16031     13· · · · · license.
14· · · · · Chalfonte and West Grand Boulevard.                      14· ·Q· · · And when was that?
15· ·A· · · I was also staying at -- I was also living on Vermont.   15· ·A· · · In 2001 or -2, I believe.
16· · · · · Vermont.                                                 16· ·Q· · · So between 2001 or 2002 up until May of 2016 when you
17· ·Q· · · On Vermont?· Were all of these in Detroit, Chalfonte,    17· · · · · went into jail you never tried to get a valid driver's
18· · · · · West Grand and Vermont?                                  18· · · · · license?
19· ·A· · · Yes, sir.· Yes, sir.                                     19· ·A· · · I'm not really a big driver, sir.· I rather be a
20· ·Q· · · When did you become homeless?· In 2016 or was it         20· · · · · passenger.· Like, driving is not my thing like that.
21· · · · · before 2016?                                             21· · · · · You know?· But I was able to pass the test.· I just
22· ·A· · · Right around that time.· 2016 I really -- I was          22· · · · · don't feel real comfortable driving.
23· · · · · staying -- you know, like, I would live with my          23· ·Q· · · Have you ever been married?
24· · · · · grandmother but I wouldn't stay there all the time.      24· ·A· · · No.
25· · · · · Sometimes I would stay with my brother -- well, a good   25· ·Q· · · Do you have any children?

                                                                                                                         Pages 9–12
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
     Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1709 Filed 09/14/21 Page 5 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 13                                                              Page 15
·1· ·A· · · Yes.                                                     ·1· ·A· · · I've been to college, Henry Ford Community College.
·2· ·Q· · · What are their -- your children's names and their        ·2· · · · · I've been to Michigan Barber College.· I went to
·3· · · · · ages?                                                    ·3· · · · · Washtenaw Community College.
·4· ·A· · · I just have one child.                                   ·4· ·Q· · · Where did you graduate from high school?
·5· ·Q· · · What's your child's name?                                ·5· ·A· · · I didn't graduate from high school.· I have my G.E.D.
·6· ·A· · · Cylus Anglan.                                            ·6· ·Q· · · When did you get your G.E.D.?
·7· ·Q· · · Can you spell that?· I didn't hear it very well.         ·7· ·A· · · I got my G.E.D. when I was 18.
·8· ·A· · · Cylus Anglan.                                            ·8· ·Q· · · What was the institution that provided or that granted
·9· ·Q· · · And how old is Cylus?                                    ·9· · · · · you the G.E.D.?
10· ·A· · · Six.                                                     10· ·A· · · Washtenaw Community College.
11· ·Q· · · I assume your child lives with the mother.               11· ·Q· · · You mentioned that you attended college.· What -- how
12· ·A· · · Yes.· No.· He's actually with the state.· He's           12· · · · · many credits or what degrees did you earn?
13· · · · · actually with the state.                                 13· ·A· · · I earned a diploma, credits in construction site
14· ·Q· · · Do you have any type of custody arrangement for your     14· · · · · safety.· I was --
15· · · · · child?                                                   15· ·Q· · · Construction site safety?
16· ·A· · · No, sir.· Actually, I lost my custody.· I went to        16· ·A· · · Yes, sir.
17· · · · · court to try to get him and I lost it.                   17· ·Q· · · When was that?
18· ·Q· · · When was that?                                           18· ·A· · · 2001.· Yep, 2001.
19· ·A· · · 2012, I believe.· Two thousand and -- may have been      19· ·Q· · · Was that from Washtenaw Community College?
20· · · · · '13.· May have been '13.                                 20· ·A· · · Yes, sir.
21· ·Q· · · So that would have been right when Cylus was born?       21· ·Q· · · Any other credits or degrees --
22· ·A· · · It was -- no, it was after he was born.· He was          22· ·A· · · Yes, sir.
23· · · · · already, like, a year.· So it had to have been '13.      23· ·Q· · · -- or certificates?
24· ·Q· · · Well, you said Cylus was six.                            24· ·A· · · I went to -- I have -- I believe it was 900 credits,
25· ·A· · · Yeah.                                                    25· · · · · maybe, in Michigan Barber College.· I went to barber
                                                          Page 14                                                              Page 16
·1· ·Q· · · So it's already 2021.· So that would be 2014 or 2015     ·1· · · · · school on Grand River and Joy Road for months.· I also
·2· · · · · that he would have been born, if he's six years old.     ·2· · · · · went to Henry Ford Community College.· I signed up for
·3· ·A· · · No.· He was born in 2012, so he's seven.                 ·3· · · · · an apprenticeship program for carpentry, because I
·4· ·Q· · · Okay.· Well, he would be eight, then, right --           ·4· · · · · like to work with my hands, you know.· That's what
·5· ·A· · · Yeah.                                                    ·5· · · · · I've been doing.· I've been working with my hands.
·6· ·Q· · · -- if he was born in 2012?                               ·6· · · · · Construction and landscaping.
·7· ·A· · · Yeah.· But he's going on eight.· His birthday hasn't     ·7· ·Q· · · Okay.· Well, let's back up just a second.· So you went
·8· · · · · came yet.· He was born                                   ·8· · · · · to the Michigan Barber College; correct?
·9· ·Q· · ·                                                          ·9· ·A· · · Yes, sir.
10· ·A· · · Uh-huh.                                                  10· ·Q· · · Did you complete the program at Michigan Barber
11· ·Q· · · Why did you lose custody?                                11· · · · · College?
12· ·A· · · I wasn't -- I had got out of jail after he was born      12· ·A· · · No, sir.· I changed fields.· So I started working in
13· · · · · and I didn't have a home for him to come to.             13· · · · · construction.· I started out in the haircut business
14· ·Q· · · Have you taken any steps to reestablish custody?         14· · · · · and I figured, you know -- like, you know, I got into
15· ·A· · · Yes, I have.· I've got in contact with the mother, who   15· · · · · landscaping and I got into construction, so, you know.
16· · · · · is in contact with the parents, but basically it's       16· · · · · I figured that it really wasn't -- I liked to do it
17· · · · · nothing I can do at this time, because I lost my         17· · · · · but it wasn't something I wanted to do for the rest of
18· · · · · rights.                                                  18· · · · · my life.· So that's how that happened.
19· ·Q· · · Can you give me a thumbnail sketch of your education     19· ·Q· · · When did you go to the Michigan Barber College?
20· · · · · background?· Where did you go to school and for how      20· ·A· · · 2001 and 2002.
21· · · · · long?                                                    21· ·Q· · · Have you worked as a barber?
22· ·A· · · As far as what?· Like, what -- school for what?          22· ·A· · · Yes.· As a -- in one of my buddies' shop, like, you
23· ·Q· · · Sure.· Did you -- did you --                             23· · · · · know, just sweeping up, cutting a little hair, you
24· ·A· · · I've been to college.                                    24· · · · · know.· I was kind of like an apprentice.
25· ·Q· · · -- graduate from high school?                            25· ·Q· · · And when was that?

                                                                                                                       Pages 13–16
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
     Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1710 Filed 09/14/21 Page 6 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 17                                                               Page 19
·1· ·A· · · 2004, 2005, 2003.· Yeah.· From, you know, off and on.    ·1· · · · · myself and pay rent where I be staying.
·2· · · · · I met someone with a barber shop and he used to let me   ·2· ·Q· · · What's the name -- you said Michael Washington?
·3· · · · · come in.                                                 ·3· ·A· · · Yes, sir.
·4· ·Q· · · So the barber work that -- your apprentice barber        ·4· ·Q· · · What's Mr. Washington's -- the name of his company?
·5· · · · · work, that was never a full-time job?                    ·5· ·A· · · He's just basically like a home improvement guy.· So,
·6· ·A· · · No.· It was actually just learning.· It wasn't a         ·6· · · · · you know.
·7· · · · · full-time thing.· Most of it was learning.               ·7· ·Q· · · Where is he based out of?
·8· ·Q· · · Were you paid for the work that you did?                 ·8· ·A· · · Detroit.
·9· ·A· · · Yeah, they had, like -- when I was in school we would    ·9· ·Q· · · How long did you work for Mr. Washington and his
10· · · · · cut hair on the floor and they allow people to give      10· · · · · construction business?
11· · · · · us, like, little tips.· And when I helped my buddy out   11· ·A· · · Off and on for years.· Since two thousand and -- I
12· · · · · in the barber shop, he paid me a little cash.            12· · · · · believe two.
13· ·Q· · · And then you said you went to Henry Ford Community       13· ·Q· · · Was that a -- did you get paid in cash or did you get
14· · · · · College for a carpentry program?                         14· · · · · your W-2s every year, that kind of thing?
15· ·A· · · Yes, sir.                                                15· ·A· · · He just paid me in cash.
16· ·Q· · · When was that?                                           16· ·Q· · · How about your landscaping jobs?· Were those cash jobs
17· ·A· · · 2002.                                                    17· · · · · or did you pay taxes on those?
18· ·Q· · · Did you complete the program at Henry Ford?              18· ·A· · · Everything was cash.· The things that I paid taxes on,
19· ·A· · · No, sir.· I didn't complete, no, sir.                    19· · · · · I'm pretty sure you have a record of them.
20· ·Q· · · How far did you go in that program?                      20· ·Q· · · What jobs have you held where taxes were taken out of
21· ·A· · · Maybe, like, three, four months, because it was,         21· · · · · your paycheck?
22· · · · · like -- I believe the program may have been a five- or   22· ·A· · · Homeland, Dish Network.· I worked for Gill Hill
23· · · · · six-month program.                                       23· · · · · Association.· I worked for Georgian Bloomfield Nursing
24· ·Q· · · Why did you stop attending the carpentry program at      24· · · · · Home.
25· · · · · Henry Ford Community College?                            25· ·Q· · · Any others?
                                                          Page 18                                                               Page 20
·1· ·A· · · I stopped attending the program because it was a         ·1· ·A· · · That's what I can think of right off the top, you
·2· · · · · transportation problem with being -- it was kind of      ·2· · · · · know?· Like I said, most of my jobs have been with my
·3· · · · · hard for me to get out there, not having a driver's      ·3· · · · · hands.
·4· · · · · license.                                                 ·4· ·Q· · · When was the last time you worked for Mr. Washington's
·5· ·Q· · · Did that coincide with your driver's license             ·5· · · · · home improvement company?
·6· · · · · suspension?                                              ·6· ·A· · · The other day.
·7· ·A· · · No, I wouldn't think so, because with the ride I was     ·7· ·Q· · · So you've worked for Mr. Washington since you were
·8· · · · · getting to school every day.· His car broke down.        ·8· · · · · discharged from state prison?
·9· ·Q· · · Any other formal education beyond your G.E.D., the       ·9· ·A· · · Yes, sir, and I also -- yes, sir.· I've also been
10· · · · · construction site safety program at Washtenaw,           10· · · · · doing landscaping.
11· · · · · Michigan Barber College or Henry Ford Community          11· ·Q· · · Who do you work for for landscaping?
12· · · · · College?                                                 12· ·A· · · Myself.
13· ·A· · · No, sir, that I can remember.                            13· ·Q· · · For yourself?
14· ·Q· · · That's it?                                               14· ·A· · · Yeah.· I find people who need jobs and do their snow,
15· ·A· · · Yep.                                                     15· · · · · do their grass.· Yep.
16· ·Q· · · Where have you been employed since, say, 2002 when you   16· ·Q· · · And you've been doing that work since you got out of
17· · · · · left the carpentry program?                              17· · · · · prison, also?
18· ·A· · · Since 2002?· I've been doing, like I told you -- I cut   18· ·A· · · I just really pretty much started that.· I was working
19· · · · · hair from -- a little bit.· Cut grass.· I do             19· · · · · for Michael Washington since I -- when I got out.
20· · · · · landscaping.· I'm into landscaping.· I've been doing     20· ·Q· · · Maybe we're not connecting.· Have you worked in
21· · · · · that on and off for years.· And construction, I was      21· · · · · landscaping since you got out of prison?
22· · · · · working with a guy under -- you know, he was basically   22· ·A· · · Yes, off and on.· I'm saying I really just started
23· · · · · like an apprentice, a master carpenter.· His name is     23· · · · · doing that -- like, the landscaping by myself.
24· · · · · Michael Washington, and he's been training me.· So I     24· ·Q· · · Right.
25· · · · · do a lot of work with him.· You know?· Just to support   25· ·A· · · Just, like, recently when it was snowing.· But the

                                                                                                                       Pages 17–20
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
     Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1711 Filed 09/14/21 Page 7 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 21                                                              Page 23
·1· · · · · work that I was doing when I got out of prison, I was    ·1· · · · · · · · · · · ·COURT REPORTER:· I'm sorry.· Felonious
·2· · · · · working with Michael Washington mostly.                  ·2· · · · · assault and --
·3· ·Q· · · Okay.· When did you work for Dish Network?               ·3· · · · · · · · · · · ·THE WITNESS:· Illegal use of electronics
·4· ·A· · · I can't remember.                                        ·4· · · · · or tampering with a telephone.· Something like that.
·5· ·Q· · · How long ago was it?· It was obviously before you went   ·5· ·BY MR. WILLIS:
·6· · · · · to prison; right?                                        ·6· ·Q· · · And this was in St. Clair County; correct?
·7· ·A· · · Yes, before I went to prison.                            ·7· ·A· · · Correct.
·8· ·Q· · · Where did you work for Dish Network?· What region?       ·8· ·Q· · · And that happened in 2016, which is what led you to go
·9· · · · · What area?                                               ·9· · · · · to the St. Clair County Jail; correct?
10· ·A· · · Detroit.· No.· It was Livonia.                           10· ·A· · · Correct.
11· ·Q· · · How long did you work for Dish Network?                  11· ·Q· · · Have you had any other arrests besides the arrest for
12· ·A· · · I can't remember.· Had to be for some months.· Can't     12· · · · · which you went to prison?
13· · · · · remember right now.· I can't tell you exactly the        13· ·A· · · Have I had any other arrests?· Yes.
14· · · · · time.· It was years ago.                                 14· ·Q· · · Have you ever been arrested before that?· You
15· ·Q· · · Was it -- did you work for Dish Network for more than    15· · · · · mentioned that you were in jail before, but what was
16· · · · · a year?                                                  16· · · · · that for?
17· ·A· · · No.                                                      17· ·A· · · I've been to jail before.
18· ·Q· · · Less than a year?                                        18· · · · · · · · · · · ·MR. CROSS:· I'm going to object to the
19· ·A· · · Yes.· I believe it was somewhere around 90 days.· Like   19· · · · · relevance of this line of questioning.
20· · · · · that amount of time.                                     20· · · · · · · · · · · ·MR. WILLIS:· Okay.
21· ·Q· · · And the nursing home, the Bloomfield nursing home --     21· ·BY MR. WILLIS:
22· ·A· · · Yeah.                                                    22· ·Q· · · I'll take an answer.
23· ·Q· · · -- when did you work there?                              23· ·A· · · I've been in jail for breaking the law.
24· ·A· · · In 2001.                                                 24· ·Q· · · Okay.· What were you convicted of?
25· ·Q· · · So you worked at the nursing home in 2001?               25· ·A· · · When are you speaking of?
                                                          Page 22                                                              Page 24
·1· ·A· · · Yes, sir.                                                ·1· ·Q· · · At any point.
·2· ·Q· · · And for how long?                                        ·2· ·A· · · You want me to go through my arrest record with you?
·3· ·A· · · About 90 days.                                           ·3· · · · · I mean, I'm trying to understand what are you asking.
·4· ·Q· · · Did you ever hold any jobs in Port Huron or St. Clair    ·4· · · · · · · · · · · ·MR. CROSS:· Just answer the question.
·5· · · · · County?                                                  ·5· ·BY MR. WILLIS:
·6· ·A· · · Just cash jobs that I do.                                ·6· ·Q· · · For the last ten years.
·7· ·Q· · · I'm sorry.· What was it that you do?                     ·7· ·A· · · The last ten years?
·8· ·A· · · Just, like, cash jobs.· Like, you know, fixing           ·8· ·Q· · · Yeah.
·9· · · · · something for people.· You know, doing things that I     ·9· ·A· · · I had unlawful imprisonment, felonious assault,
10· · · · · know how to do.· Home improvement.· Snow.· Shovel        10· · · · · tampering with a telephone.
11· · · · · their snow.· Cut their grass.· You know, I do that       11· · · · · · · · · · · ·MR. CROSS:· You have to answer the
12· · · · · type of work.· So, yeah, I done did it.                  12· · · · · question.· So if he asked you about your previous
13· ·Q· · · Was that when you were staying with your friend Deon?    13· · · · · arrests in the last ten years, say all of them.
14· ·A· · · Yeah.                                                    14· · · · · · · · · · · ·THE WITNESS:· Okay.
15· ·Q· · · I assume you've never been in the military; correct?     15· ·A· · · That was the most recent.
16· ·A· · · No, sir.· I've been in the Boy Scouts.                   16· ·BY MR. WILLIS:
17· ·Q· · · Now, you testified you've been to prison on one          17· ·Q· · · Okay.
18· · · · · occasion; correct?                                       18· ·A· · · GBH.
19· ·A· · · Correct.                                                 19· ·Q· · · What's that?
20· ·Q· · · And what was that for?                                   20· ·A· · · Great bodily harm.· That was the one before then, that
21· ·A· · · What was it for or -- like, what do you want to know?    21· · · · · one.· May have been possession of marijuana.
22· · · · · For breaking the law.                                    22· · · · · Possession of cocaine.· Obstruction of justice, using
23· ·Q· · · What were you charged with?                              23· · · · · an alias.· That's it that I can remember.· Possession,
24· ·A· · · I was charged with attempted unlawful imprisonment,      24· · · · · yeah.
25· · · · · felonious assault and --                                 25· ·Q· · · The obstruction of justice, that was because you used

                                                                                                                       Pages 21–24
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
     Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1712 Filed 09/14/21 Page 8 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 25                                                               Page 27
·1· · · · · an alias for your name?                                  ·1· · · · · might want to follow up with your primary health care
·2· ·A· · · Yes, sir.· I used the alias with the police for my       ·2· · · · · doctor."· So I just saw the EMT on the site and I just
·3· · · · · name -- when they asked me my name.                      ·3· · · · · went to the doctor that following week.
·4· ·Q· · · And these arrests, were they all in St. Clair County?    ·4· ·Q· · · How many times did you go to the doctor?
·5· ·A· · · No.                                                      ·5· ·A· · · I can't remember exactly how many times but I went a
·6· ·Q· · · Where else have you been arrested?                       ·6· · · · · couple of times.
·7· ·A· · · Wayne County.                                            ·7· ·Q· · · And that was at the Select Specialists office?
·8· ·Q· · · Wayne County?                                            ·8· ·A· · · Yes, sir.
·9· ·A· · · Uh-huh.                                                  ·9· ·Q· · · How is your back doing now?
10· ·Q· · · Anywhere else?                                           10· ·A· · · Still a little -- a little pain but I'm okay.
11· ·A· · · That's it.                                               11· ·Q· · · Do you know if there was ever a lawsuit or any other
12· ·Q· · · Do you currently have a primary care physician, sir?     12· · · · · sort of legal action taken as a result of that car
13· ·A· · · No, sir.· Not currently.                                 13· · · · · accident?
14· ·Q· · · When was the last time you had a primary care doctor?    14· ·A· · · Yes.· I called them guys.· Some people that I know
15· ·A· · · What do you mean?                                        15· · · · · that was with me, that was in the accident, I gave
16· ·Q· · · Sometimes people have a regular doctor that they see     16· · · · · they (sic) attorney my name.· So they contacted me or
17· · · · · on an ongoing basis.                                     17· · · · · whatever and they wanted me to follow through with a
18· ·A· · · You asking me when was the last time I've been to the    18· · · · · lawsuit but I told them that I didn't want to.· Every
19· · · · · doctor?                                                  19· · · · · time they called me or whatever, I just never
20· ·Q· · · No, sir.· The last time you had a regular doctor or a    20· · · · · responded.
21· · · · · primary care doctor.                                     21· ·Q· · · So you never -- you're not a part of a lawsuit as a
22· ·A· · · I was in a car accident not too long ago and I was       22· · · · · result of that car accident?
23· · · · · going to the doctor.· That's what you want to know?      23· ·A· · · No, sir.· I told the attorney myself personally that I
24· ·Q· · · Okay.· Well, let's talk about that.· When were you in    24· · · · · did not want to be a part of any lawsuit.
25· · · · · a car accident?                                          25· ·Q· · · Well, while we're on that subject, other than the
                                                          Page 26                                                               Page 28
·1· ·A· · · June -- no.· Yeah, June of this year.                    ·1· · · · · lawsuit for which you're giving a deposition today,
·2· ·Q· · · June of 2020?                                            ·2· · · · · have you ever been a part of any other lawsuits --
·3· ·A· · · No.· June of last year.                                  ·3· ·A· · · No, sir.
·4· ·Q· · · So June of 2020?                                         ·4· ·Q· · · -- or workers' compensation claims?
·5· ·A· · · June of '21.· Yeah, June of 2020.· Yes, sir.             ·5· ·A· · · No, sir.
·6· ·Q· · · And where was that at?                                   ·6· ·Q· · · All right.· Getting back to your medical history,
·7· ·A· · · I believe in Highland Park.· I believe the accident      ·7· · · · · let's start since you got out of the state prison in
·8· · · · · happened in Highland Park.                               ·8· · · · · May of 2019.· Where have you had medical treatment
·9· ·Q· · · You were injured in that accident?                       ·9· · · · · since May 2019?
10· ·A· · · Yes.· I was having back problems and my back was         10· ·A· · · At Harper Hospital.
11· · · · · hurting, yeah.                                           11· ·Q· · · And was that for your reversal surgery?
12· ·Q· · · So you went to the doctor for your back problems?        12· ·A· · · Yes, sir.
13· ·A· · · Yes.                                                     13· ·Q· · · Anywhere else?
14· ·Q· · · Where was that?                                          14· ·A· · · I've had at Select Specialists, which I've told you.
15· ·A· · · Select Specialists.                                      15· · · · · I also had -- been to the hospital in Port Huron and,
16· ·Q· · · Where is the office?                                     16· · · · · yeah, that's it.
17· ·A· · · Southfield.                                              17· ·Q· · · Which hospital in Port Huron?
18· ·Q· · · Did you go to the hospital immediately after the         18· ·A· · · Was it Mercy or -- I always get those confused, Mercy
19· · · · · accident?                                                19· · · · · or Port Huron Hospital.· Either one.· There's only
20· ·A· · · I saw the EMS -- due to corona, they told me that if     20· · · · · two.
21· · · · · you guys weren't really hurt, you might -- you know,     21· ·Q· · · Lake Huron Medical Center or McLaren Port Huron?
22· · · · · they check me out in the ambulance, but they was,        22· ·A· · · Either or one of them, sir.· I can't remember exactly
23· · · · · like, "Due to corona, you guys might -- you all going    23· · · · · which one.· One of them.· I don't want to lie to you.
24· · · · · to be down there all night.· If you all are not really   24· ·Q· · · What did you go to the hospital in Port Huron for?
25· · · · · hurting, like, really badly," then they said, "You       25· ·A· · · I was shot.· Actually --

                                                                                                                       Pages 25–28
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
     Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1713 Filed 09/14/21 Page 9 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                           Page 29                                                             Page 31
·1· ·Q· · · What led up to getting shot?                             ·1· ·Q· · · How long were you in the hospital for?
·2· ·A· · · In 2012 someone robbed me at gunpoint.· That's what      ·2· ·A· · · Couple hours.
·3· · · · · the GBH was about, the great bodily harm.· Someone       ·3· ·Q· · · So you didn't have any surgery or anything like that
·4· · · · · robbed me at gunpoint and then at a festival they have   ·4· · · · · for the gunshot wounds?
·5· · · · · at Port Huron, him and his friends jumped at me at the   ·5· ·A· · · No, sir.
·6· · · · · Boat Night and I ended up stabbing the guy.· That        ·6· ·Q· · · Did you have stitches, anything like that?
·7· · · · · happened in 2012.· I went to jail for a year for         ·7· ·A· · · No, sir.
·8· · · · · stabbing the guy after they jumped on me.· I did a       ·8· ·Q· · · What did it hit?
·9· · · · · year and I was released for the great bodily harm.       ·9· ·A· · · It just went through my legs, sir.
10· · · · · Well, in 2016 -- well, in -- just now, when I went to    10· ·Q· · · So there's no retained bullet or anything?
11· · · · · the hospital, which is 2020 -- yeah, in 2020 the guy     11· ·A· · · No, sir, the bullet is still in my leg.
12· · · · · -- it was his cousin, the guy who I stabbed, shot me.    12· ·Q· · · It's still in your leg?
13· · · · · Saw me and shot me at the gas station in Port Huron      13· ·A· · · Yes, sir.
14· · · · · when I was up there visiting my brother.· Well, my       14· ·Q· · · Which leg?
15· · · · · best friend.· I call him my brother.                     15· ·A· · · Left leg.
16· ·Q· · · When you were visiting Deon?                             16· ·Q· · · It looks like -- I've got some records -- it looks
17· ·A· · · Yes.                                                     17· · · · · like you've been to the hospital multiple times for
18· ·Q· · · The year that you went -- that you spent in jail for     18· · · · · complaints of penile discharge, infections since you
19· · · · · stabbing somebody on Boat Night, was that in St. Clair   19· · · · · got out of prison.· Anything else?
20· · · · · County?                                                  20· ·A· · · That's it.
21· ·A· · · Yes, sir.                                                21· ·Q· · · Okay.· How about before you went into the St. Clair
22· ·Q· · · So where were you shot?                                  22· · · · · County Jail in May of 2016, where had you sought
23· ·A· · · In the legs.· Both legs.                                 23· · · · · medical treatment?
24· ·Q· · · And you went to McLaren Port Huron for that?             24· ·A· · · McLaren and Mercy Hospital.
25· ·A· · · I'm not sure, sir.· It was either Port Huron or Mercy.   25· ·Q· · · Both in Port Huron?
                                                           Page 30                                                             Page 32
·1· · · · · It was either McLaren Port Huron or Mercy Hospital.      ·1· ·A· · · Yes, sir.· I've been to -- I believe the hospital in
·2· · · · · One of the two.· I was in a lot of shock so I can't      ·2· · · · · Detroit before.· Was it Receiving?· Might have been
·3· · · · · remember.                                                ·3· · · · · Receiving Hospital.
·4· ·Q· · · You said it happened at a gas station?                   ·4· ·Q· · · What was that for?
·5· ·A· · · Uh-huh.                                                  ·5· ·A· · · I had a broken leg before.· I had a little -- maybe a
·6· ·Q· · · Was that in Port Huron?                                  ·6· · · · · possible STD before but that's it.
·7· ·A· · · Uh-huh.                                                  ·7· ·Q· · · Had you ever had surgery before you had surgery while
·8· ·Q· · · That's a yes?                                            ·8· · · · · you were in jail in St. Clair County?
·9· ·A· · · Yes, sir.· Yes, sir.                                     ·9· ·A· · · No, sir.
10· ·Q· · · Sure.· You are doing great, by the way.· Sometimes       10· ·Q· · · That was your first surgery you'd ever been in the
11· · · · · I'll prompt you when people say "uh-huh" or "uh-uh."     11· · · · · hospital for?
12· · · · · We need to have a clear record for the court reporter,   12· ·A· · · Yes, sir.
13· · · · · so -- but you're doing a great job.· So if I prompt      13· ·Q· · · Okay.· I want to ask you some questions about the time
14· · · · · you, I'm not trying to be rude or anything.· I just      14· · · · · period when you were incarcerated in the St. Clair
15· · · · · want to get a clearer answer for the court reporter.     15· · · · · County Jail, and, again, that was -- that began on May
16· ·A· · · Thank you, sir.                                          16· · · · · 17, 2016; correct?
17· ·Q· · · Was anybody charged in the shooting in 2020?             17· ·A· · · Yes, sir.
18· ·A· · · No, sir, because they couldn't find the guy and I        18· ·Q· · · How many times were you sent outside of the St. Clair
19· · · · · don't know his name.                                     19· · · · · County Jail for the purpose of getting medical care?
20· ·Q· · · But you knew he was somebody's cousin?                   20· ·A· · · Three times that I can recall.
21· ·A· · · Yeah, that's what I assume because that's what he        21· ·Q· · · Would it sound right if it was six or more times?
22· · · · · said -- he was the guy's cousin that I stabbed.          22· ·A· · · That I was -- oh, okay.· Are you talking about my
23· ·Q· · · Was that multiple shots or one shot that hit both        23· · · · · follow-up appointments?
24· · · · · legs?                                                    24· ·Q· · · Sure, yeah.· Any time that you had to leave the St.
25· ·A· · · One shot hit both legs.                                  25· · · · · Clair County Jail premises to leave to go somewhere

                                                                                                                       Pages 29–32
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1714 Filed 09/14/21 Page 10 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 33                                                              Page 35
·1· · · · · for medical care.                                        ·1· · · · · Could you explain to me in your own words what that
·2· ·A· · · Yes, I can't remember exactly how many times, sir.       ·2· · · · · surgery entailed?
·3· ·Q· · · Do you recall that in October of 2016 you had to go to   ·3· ·A· · · What do you mean?· They -- I was -- I had a fistula --
·4· · · · · Lake Huron Medical Center for a renal ultrasound?        ·4· · · · · a hole in between my bowels and my bladder was
·5· ·A· · · Uh-huh.· Yes, sir.                                       ·5· · · · · repaired and I had a permanent -- I mean, I had --
·6· ·Q· · · And then on December 6th you were sent to Lake Huron     ·6· · · · · supposed to have been a temporary bag placed on me.
·7· · · · · Medical Center for a CT scan and you ended up staying    ·7· · · · · It was supposed to be temporary.· From what I was told
·8· · · · · and having your surgery done; correct?                   ·8· · · · · I was supposed to have a bag -- a stoma and a bag --
·9· ·A· · · Yes, sir.                                                ·9· · · · · colostomy bag placed on me for two months and it would
10· ·Q· · · And you went back to Lake Huron Medical Center on        10· · · · · come off.· Yeah, that's the medical treatment.· That's
11· · · · · December 18, 2016 when your catheter was pulled out;     11· · · · · what I was told by --
12· · · · · correct?                                                 12· ·Q· · · Who told you that?
13· ·A· · · Yes, sir.· Not pulled out.· You mean pulled out?         13· ·A· · · Nurse Colleen.· That was the understanding, the talk
14· ·Q· · · The catheter came out somehow.                           14· · · · · that I had with Dr. Kansakar and the people in the
15· ·A· · · Yeah.· You want to talk about that?                      15· · · · · hospital.
16· ·Q· · · Okay.· Well, let me go through the list first and        16· ·Q· · · Okay.· Well, let's go into that for a second.· So
17· · · · · we'll go back to it.                                     17· · · · · there were people in the hospital.· Dr. Kansakar and
18· ·A· · · Okay.                                                    18· · · · · you said Nurse Colleen told you that you were supposed
19· ·Q· · · And you saw Dr. Kansakar at her office on two            19· · · · · to have some sort of reversal done two months
20· · · · · occasions; once in December and once on January 10,      20· · · · · afterwards?
21· · · · · 2017.· Correct?                                          21· ·A· · · Yes.
22· ·A· · · Correct.                                                 22· ·Q· · · When did Dr. Kansakar tell you this?
23· ·Q· · · And you also went to Lake Huron Medical Center for a     23· ·A· · · During my -- during the time I was in the hospital.
24· · · · · retrograde cystogram on December 29, 2016; correct?      24· ·Q· · · Right after your surgery?
25· ·A· · · Yes.                                                     25· ·A· · · No.· Before the surgery.
                                                          Page 34                                                              Page 36
·1· ·Q· · · Were there any other times that you had to leave the     ·1· ·Q· · · Before the surgery.· Okay.· So she said that you could
·2· · · · · jail premises to go somewhere for medical care?          ·2· · · · · have it replaced even before she did the initial
·3· ·A· · · Not that I can recall.· No.· Just a couple years ago.    ·3· · · · · colostomy surgery; right?· Is that what you're saying?
·4· ·Q· · · So it was at least those six times?                      ·4· ·A· · · They were saying there was a plan to put a bag on me
·5· ·A· · · Yes, sir.                                                ·5· · · · · but it would be reversed.· It wasn't permanent.· And I
·6· ·Q· · · So on December 6, 2016 you went to Lake Huron Medical    ·6· · · · · asked her when --
·7· · · · · Center, and that's when you ended up being admitted      ·7· ·Q· · · Was that Dr. Kansakar who told you that?
·8· · · · · and you had your colostomy surgery; correct?             ·8· ·A· · · It was Dr. Kansakar who told me that and whoever else
·9· ·A· · · Correct.                                                 ·9· · · · · was in the hospital that I talked to.· Let me think.
10· ·Q· · · Dr. Kansakar was your surgeon?                           10· · · · · Because there's, like, a nurse on-site.· They talk to
11· ·A· · · Correct.                                                 11· · · · · you before you -- you know, because you have to sign
12· ·Q· · · While you were in Lake Huron Medical Center for your     12· · · · · off to get the surgery and everything.· They tell you
13· · · · · surgery, you had St. Clair County Jail deputies          13· · · · · everything that's going to happen before the surgery.
14· · · · · stationed with you during that time; correct?            14· · · · · I was told I would be placed with a temporary bag.
15· ·A· · · While I was where?                                       15· ·Q· · · Now, you didn't see Nurse Colleen at the hospital, did
16· ·Q· · · When you were --                                         16· · · · · you?
17· ·A· · · In the hospital?                                         17· ·A· · · Yes.
18· ·Q· · · -- in the hospital for your surgery?                     18· ·Q· · · You saw Nurse Colleen at Lake Huron Medical Center?
19· ·A· · · Yes, sir.                                                19· ·A· · · Yes, but I didn't see her until after the surgery.
20· ·Q· · · Do you know who paid for your December 2016 colostomy    20· ·Q· · · But you saw her physically at the hospital; is that
21· · · · · surgery?                                                 21· · · · · what you're saying?
22· ·A· · · No, sir, I don't know.                                   22· ·A· · · Yes, sir.
23· ·Q· · · Have you ever seen any bills for that surgery?           23· ·Q· · · And -- now, when you say Nurse Colleen, are you
24· ·A· · · No, sir.                                                 24· · · · · talking about the defendant nurse, Colleen Spencer?
25· ·Q· · · So in December you had the surgery with Dr. Kansakar.    25· ·A· · · Yes, sir.

                                                                                                                       Pages 33–36
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1715 Filed 09/14/21 Page 11 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 37                                                              Page 39
·1· ·Q· · · Well, what did you and Nurse Colleen discuss at Lake     ·1· ·A· · · December 27th?
·2· · · · · Huron Medical Center following your December surgery?    ·2· ·Q· · · Right.
·3· ·A· · · Just the facts, because she was the one who initially    ·3· ·A· · · Yes.· Yes, sir.
·4· · · · · came to me and told me after six months of me having     ·4· ·Q· · · What do you recall about that visit?
·5· · · · · the fistula and getting diagnosed with urinal tract      ·5· ·A· · · Okay.· On December 27th she just basically checked to
·6· · · · · syndrome -- because they thought I had a urinal tract    ·6· · · · · make sure -- she just basically checked to make sure
·7· · · · · infection.· That's what they told me.· And I went to     ·7· · · · · that, you know, I was healing properly, my colostomy
·8· · · · · the -- I kept going to medical for, like, almost five    ·8· · · · · was functioning, I was going to the bathroom, and she
·9· · · · · or six months complaining about a urinal tract           ·9· · · · · was just checking on, you know -- she was making the
10· · · · · infection but it was really my bowels going through my   10· · · · · reversal plans -- plans to -- for a reversal.· So
11· · · · · bladder.· So every time I would say that I, you know,    11· · · · · that's what she was doing with me.· Making the
12· · · · · was having particles coming out of my penis, then they   12· · · · · reversal care and seeing how I was healing.· That's
13· · · · · would tell me I had a urinal tract infection.· So        13· · · · · all she talked to me about in December.
14· · · · · Nurse Colleen is the person who first came to me and     14· ·Q· · · Was your colostomy functioning properly?
15· · · · · told me that she looked in the records and she feel      15· ·A· · · At the time, yes.· Yes, it was.
16· · · · · like I have a fistula and they going to take me to the   16· ·Q· · · All right.· You mentioned that she was making reversal
17· · · · · hospital to get me checked out.· And this was six        17· · · · · plans.· Do you know what plans those were?
18· · · · · months after I reported it -- particles coming out of    18· ·A· · · Yeah.· See, she had -- from my knowledge she was just
19· · · · · my penis and air bubbles coming out of my penis.· You    19· · · · · -- she just told me, like, you know, that she planned
20· · · · · know?· And they give me -- I believe it was              20· · · · · to do the reversal surgery February 9th and that was
21· · · · · amoxicillin.                                             21· · · · · the day she prescribed to do it.· But when I went to
22· ·Q· · · So it was Nurse Colleen who made the arrangements for    22· · · · · her the next time, she told me that she was all ready
23· · · · · you to go to the Lake Huron Medical Center for the       23· · · · · to go for the surgery.· She had did her parts and she
24· · · · · surgery?                                                 24· · · · · was all ready and she was just having problems with
25· ·A· · · No.· She was the one who came before me and told me I    25· · · · · getting in touch with the jail because no one would
                                                          Page 38                                                              Page 40
·1· · · · · was going.· But I'm not sure if she is the one who       ·1· ·respond back to her about the payment program, how
·2· · · · · made the arrangements but I know she is the one who      ·2· ·they were going to pay for it.· She said that she
·3· · · · · talked to me and told me I was going.· Because she is    ·3· ·would even sign off on her part to do it, because she
·4· · · · · the head nurse at the jail.                              ·4· ·felt it was necessary to be done, but the only thing
·5· ·Q· · · Now, getting back to -- how many times did you talk to   ·5· ·that was stopping my reversal was the people at the
·6· · · · · Nurse Colleen in the hospital at Lake Huron Medical      ·6· ·jail contacting her about the payment.· That's what I
·7· · · · · Center?                                                  ·7· ·talked to her about.
·8· ·A· · · Just one time.· She came to the hospital and came in     ·8· · · · · · · · MR. SCARBER:· I'll just place an
·9· · · · · the room after I had the surgery.                        ·9· ·objection as to hearsay and foundation.
10· ·Q· · · So it looks like you were in the hospital for about      10· · · · · · · · MR. WILLIS:· When somebody else in the
11· · · · · eight days.· Does that sound right?                      11· ·room speaks we can't hear you.· I don't know if you
12· ·A· · · Right.                                                   12· ·don't have a microphone.· Could you speak up, please?
13· ·Q· · · And after that you went back to the St. Clair County     13· · · · · · · · MR. SCARBER:· Oh, I'm sorry.
14· · · · · Jail; correct?                                           14· · · · · · · · VIDEOGRAPHER:· He's just getting room
15· ·A· · · Correct.                                                 15· ·audio from this laptop, so...
16· ·Q· · · Before you left the hospital you were trained on how     16· · · · · · · · MR. SCARBER:· I'm sorry.· This is Devlin
17· · · · · to apply the colostomy bag and treat the urostomy;       17· ·Scarber.· I objected to hearsay and foundation on the
18· · · · · correct?                                                 18· ·last answer and question.
19· ·A· · · I saw a wound care specialist for that.                  19· · · · · · · · Can you hear me?
20· ·Q· · · And that was at the hospital before you went to the --   20· · · · · · · · MR. WILLIS:· Yes.· Thank you very much.
21· · · · · back to the jail; right?                                 21· · · · · · · · MR. SCARBER:· Okay.
22· ·A· · · Yes, sir.                                                22· · · · · · · · THE WITNESS:· His camera went off. I
23· ·Q· · · So it looks like you followed up with Dr. Kansakar at    23· ·mean, I can't see him.
24· · · · · her office on December 27, 2016, the first time          24· · · · · · · · VIDEOGRAPHER:· Did you mean to turn your
25· · · · · postoperatively.· Do you recall that?                    25· ·camera off?

                                                                                                                       Pages 37–40
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1716 Filed 09/14/21 Page 12 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 41                                                              Page 43
·1· · · · · · · · · · · ·MR. CORBET:· He doesn't need it on, I       ·1· · · · · I needed them every time because I had a dip in my
·2· · · · · guess.                                                   ·2· · · · · stomach and the bag was leaking.· The stuff would leak
·3· · · · · · · · · · · ·MR. WILLIS:· You don't want it on.          ·3· · · · · out on me when I would lay down or -- you know what I
·4· · · · · · · · · · · ·You know what?· Can I take a quick break    ·4· · · · · mean? -- roll over, because of the dip.· But the over
·5· · · · · here if that's all right with you?                       ·5· · · · · rings that they supplied me sealed it up perfectly,
·6· · · · · · · · · · · ·MR. CROSS:· Sure.· No problem.              ·6· · · · · and, you know, that's what happened.
·7· · · · · · · · · · · ·VIDEOGRAPHER:· We are going off the         ·7· ·Q· · · So you did get some of those over rings; right?
·8· · · · · record.· It's 11:25 (sic) a.m.                           ·8· ·A· · · She gave me one -- or maybe two a week.· She gave me
·9· · · · · · · · · · · ·(Whereupon, a recess was held.)             ·9· · · · · one and then, like, after two weeks she stopped
10· · · · · · · · · · · · · · ·-· - -                                10· · · · · ordering them, period.· So I didn't get them anymore.
11· · · · · · · · · · · ·VIDEOGRAPHER:· We are back on the record.   11· · · · · I just had to use the paste.· And she told me I had to
12· · · · · It is 12:36 p.m.                                         12· · · · · make do.
13· ·BY MR. WILLIS:                                                  13· ·Q· · · You said you were given a paste to help with the
14· ·Q· · · Mr. Jackson, at either of your two postoperative         14· · · · · leakage?
15· · · · · visits with Dr. Kansakar at her office, were you         15· ·A· · · No.· You use this paste.· That's what you ordinarily
16· · · · · provided with any sort of paperwork or discharge         16· · · · · get automatically.· You put the paste around the stoma
17· · · · · instructions?                                            17· · · · · and then you put the patch on.· That's the normally --
18· ·A· · · Not that I can remember.· Paperwork or discharge         18· · · · · the over ring -- you know, she told me to use that
19· · · · · instructions?· I don't know.                             19· · · · · instead of the over ring because they couldn't afford
20· ·Q· · · Okay.· Once you were back in the St. Clair County Jail   20· · · · · it.· But I told her every time I used that, the stuff
21· · · · · after your surgery in December, you were provided with   21· · · · · would leak out on me until my flesh healed.· Once it
22· · · · · ostomy bags and other supplies to take care of that,     22· · · · · healed, then I could use the paste.
23· · · · · weren't you?                                             23· ·Q· · · When did your skin heal?
24· ·A· · · Not the right -- yeah, I was -- see, the thing about     24· ·A· · · I was in prison.· Before, you know --
25· · · · · it was -- and that's where it all begin.· When they      25· · · · · · · · · · · ·THE WITNESS:· Can I show him?
                                                          Page 42                                                              Page 44
·1· · · · · did the surgery on me, I had, like, a dip around my      ·1· · · · · · · · · · · ·MR. CROSS:· If he asks.
·2· · · · · ostomy and my stomach.· So it wasn't like -- the patch   ·2· · · · · · · · · · · ·THE WITNESS:· Okay.
·3· · · · · wouldn't go on flat and flush.· I was having leakage.    ·3· ·BY MR. WILLIS:
·4· · · · · And it was an over ring that they provided for me, and   ·4· ·Q· · · Were you going to show me?
·5· · · · · I needed that to keep from leaking.· And when I made     ·5· ·A· · · Yeah.
·6· · · · · Ms. Colleen aware of it, she -- we got to a big          ·6· ·Q· · · You can go ahead if you want.
·7· · · · · confrontation because I made her aware that I            ·7· ·A· · · Okay.· Okay.· See?· And my stoma -- can you see?
·8· · · · · needed more of the over rings because of the dip in my   ·8· ·Q· · · I can't really.· You're right at the bottom of the
·9· · · · · stomach and she told me I had to make do with the        ·9· · · · · camera.
10· · · · · paste and I had to make it work.· And I had -- I         10· ·A· · · In my stoma, it was a dip on this side.· It dipped in.
11· · · · · believe Sergeant Lebeau (phonetic) -- no, it wasn't      11· · · · · And instead of the ring being flush, it was a space
12· · · · · Sergeant Lebeau -- I had a meeting with the sergeant     12· · · · · where it leaked right there.· I needed the over rings
13· · · · · about that, and Ms. Colleen said that those over rings   13· · · · · to make it flush.· I would put the paste around it but
14· · · · · were too expensive and they couldn't afford them, so I   14· · · · · it would still leak right there.· It was a dip just
15· · · · · would have to make do with one or two a week, I          15· · · · · like that.· Do you see how that is?· That's how it was
16· · · · · believe.· I believe she said one a week.· And I had to   16· · · · · until after I went to the prison.· It was like that.
17· · · · · change my bag at least three times a week -- I mean my   17· · · · · It wasn't flush.· And the over rings helped it from
18· · · · · patch and I was -- it was constantly leaking because     18· · · · · leaking.
19· · · · · of that.· Yeah.                                          19· · · · · · · · · · · ·MR. SCARBER:· I just want to make a
20· ·Q· · · So according to the records, you spoke to the sergeant   20· · · · · statement for the record.· I don't want to be
21· · · · · about your ostomy supplies?                              21· · · · · impersonal but is there a way that we could get a
22· ·A· · · We had a meeting.· Me, Nurse Colleen and the sergeant    22· · · · · photo of that?· I mean, if you showed it on the video,
23· · · · · had a meeting because we had a big confrontation about   23· · · · · would you mind if I take a picture with my cellphone,
24· · · · · the over rings.· Ms. Colleen said that they couldn't     24· · · · · or your counsel, just so that I can have that to take
25· · · · · afford to give me more than one a week, and I told her   25· · · · · a look at it?

                                                                                                                       Pages 41–44
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1717 Filed 09/14/21 Page 13 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 45                                                              Page 47
·1· · · · · · · · · · · ·THE WITNESS:· No problem, yeah.           ·1· · · · · Corrections on March 23, 2017.· Does that sound about
·2· · · · · · · · · · · ·MR. SCARBER:· We can do it afterwards, if ·2· · · · · right?
·3· · · · · that's okay.                                           ·3· ·A· · · Yes, sir.
·4· · · · · · · · · · · ·And Ken and Dan, if I get a photo, then   ·4· ·Q· · · Since you've had your reversal surgery at Harper
·5· · · · · I'll forward it to you as well.                        ·5· · · · · Hospital, once you recovered from that, has anybody
·6· · · · · · · · · · · ·MR. WILLIS:· Yeah.· That would be great. ·6· · · · · told you that you're unable to work or anything like
·7· · · · · · · · · · · ·MR. SCARBER:· Okay.· As well as           ·7· · · · · that?
·8· · · · · plaintiff's counsel -- brother counsel.                ·8· ·A· · · Once I recovered -- oh, from my surgery?
·9· · · · · · · · · · · ·MR. CORBET:· Thank you.                   ·9· ·Q· · · Right.
10· ·BY MR. WILLIS:                                                10· ·A· · · You said was -- did anyone tell me?
11· ·Q· · · Were you able to exercise in jail after you had        11· ·Q· · · Yeah.· Did anybody say that you're disabled or you
12· · · · · surgery in December?                                   12· · · · · can't work or anything like that?
13· ·A· · · Exercise in the jail after I had the surgery in        13· ·A· · · I -- okay.· Directly after I had the surgery -- the
14· · · · · December?                                              14· · · · · reversal surgery?
15· ·Q· · · Right.                                                 15· ·Q· · · Yeah.· You had a recovery period; correct?
16· ·A· · · I did not exercise in December.· You mean once -- 16· ·A· · · Recovery -- no, no one said that.· No one said that.
17· ·Q· · · No, no.                                                17· ·Q· · · That's all the questions I have now.· I'm going to
18· ·A· · · You mean once it healed up did I exercise?             18· · · · · listen and see if we've got any more follow-up later
19· ·Q· · · Correct.                                               19· · · · · after Mr. Scarber asks you questions.
20· ·A· · · Yeah.                                                  20· · · · · · · · · · · ·Oh, wait.· Before I go, what are your
21· ·Q· · · While you were still in jail --                        21· · · · · sources of income currently?
22· ·A· · · Yeah, I exercised in jail.                             22· ·A· · · I've been doing construction --
23· ·Q· · · -- but after the surgery.                              23· ·Q· · · Okay.
24· ·A· · · Yes, I exercised in jail after the surgery.· Not right 24· ·A· · · -- and landscaping.
25· · · · · after the surgery.· I had to heal first.               25· ·Q· · · And -- I'm sorry.· I missed the last part.
                                                          Page 46                                                              Page 48
·1· ·Q· · · Right, right.· What type of exercises did you do in      ·1· ·A· · · I've been doing construction and landscaping and
·2· · · · · jail after the surgery, after it healed?                 ·2· · · · · stimulus.
·3· ·A· · · Just calisthenics.                                       ·3· ·Q· · · Are you getting any unemployment benefits?
·4· ·Q· · · Just for clarification, when I asked you about doing     ·4· ·A· · · No, sir.
·5· · · · · -- exercising in jail, I was talking about the St.       ·5· ·Q· · · Do you get a Bridge card or any other assistance?
·6· · · · · Clair County Jail and not later in the MDOC prison.      ·6· ·A· · · Yes, sir.· I receive food stamps.
·7· · · · · Do you understand my question?                           ·7· ·Q· · · So other than the stimulus payments and the food
·8· ·A· · · Uh-huh.                                                  ·8· · · · · stamps, any other income that you're getting from the
·9· ·Q· · · So you were able to do calisthenics after your surgery   ·9· · · · · state or the federal government?
10· · · · · while you were still in the St. Clair County Jail?       10· ·A· · · No, sir.
11· ·A· · · Yes, after I healed up.                                  11· · · · · · · · · · · ·MR. WILLIS:· That's all I have for right
12· ·Q· · · Right.· Okay.· Thank you.· I just wanted to clarify      12· · · · · now.· Thank you.
13· · · · · because sometimes -- I know I do sometimes, I use the    13· · · · · · · · · · · ·THE WITNESS:· Thank you.
14· · · · · words prison and jail the same and they're not           14· · · · · · · · · · · ·MR. SCARBER:· All right.· Let's -- I
15· · · · · necessarily the same in this case.                       15· · · · · think I've got an idea that might work a little
16· · · · · · · · · · · ·So I assume you had some type of a          16· · · · · better, then I'm not so close to the court reporter.
17· · · · · hearing with the St. Clair County Circuit Court before   17· · · · · Since the camera man has already got it going that way
18· · · · · you were sent to the MDOC?                               18· · · · · on you, what if I kind of move over so I'm facing you
19· ·A· · · A hearing?                                               19· · · · · like that?
20· ·Q· · · Yeah.· Did you have to go to the court to -- did you     20· · · · · · · · · · · ·THE WITNESS:· Yeah.· Thank you.
21· · · · · plead guilty?                                            21· · · · · · · · · · · ·VIDEOGRAPHER:· Do you want to go off the
22· ·A· · · Yeah.                                                    22· · · · · record, then?
23· ·Q· · · So you didn't go to trial; correct?                      23· · · · · · · · · · · ·MR. SCARBER:· Yeah, we can go off the
24· ·A· · · No, sir.                                                 24· · · · · record.
25· ·Q· · · And you were transferred to the Michigan Department of   25· · · · · · · · · · · ·VIDEOGRAPHER:· We are going off the

                                                                                                                       Pages 45–48
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1718 Filed 09/14/21 Page 14 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                           Page 49                                                              Page 51
·1· · · · · record.· It is 12:51 p.m.                                ·1· · · · · for attorneys.
·2· · · · · · · · · · · ·(Whereupon, a brief recess was held.)       ·2· ·Q· · · So you -- the testimony in this case is that I think
·3· · · · · · · · · · · · · · ·-· - -                                ·3· · · · · you entered into the MDOC, Michigan Department of
·4· · · · · · · · · · · ·VIDEOGRAPHER:· We are back on the record.   ·4· · · · · Corrections, at about -- on May -- I'm sorry -- was it
·5· · · · · It is 12:58 p.m.                                         ·5· · · · · March 23rd of 2017 or so?
·6· · · · · · · · · · · · · · ·-· - -                                ·6· ·A· · · Uh-huh.
·7· · · · · · · · · · · · · · EXAMINATION                            ·7· ·Q· · · Were you already seeking an attorney prior to that?
·8· ·BY MR. SCARBER:                                                 ·8· ·A· · · I was in the county jail, so I don't understand what
·9· ·Q· · · Good afternoon, Mr. Jackson.· My name is Devlin          ·9· · · · · you mean.
10· · · · · Scarber and my law firm is representing the Corizon      10· ·Q· · · Okay.· Let me rephrase the question.· You indicated
11· · · · · defendants and Dr. Papendick.· We had a brief            11· · · · · just a second ago that you started seeking an attorney
12· · · · · opportunity to introduce ourselves a little earlier.     12· · · · · to represent you regarding some of those claims
13· · · · · I'm going to have some follow-up questions to the        13· · · · · immediately -- you said as soon as you got to the
14· · · · · questions asked by Mr. Corbet and Mr. Willis on behalf   14· · · · · prison.
15· · · · · of their parties in this matter.                         15· ·A· · · Yeah.· I started on finding out attorneys I could
16· · · · · · · · · · · ·Have you ever had your deposition taken     16· · · · · write.
17· · · · · before?                                                  17· ·Q· · · And was that about a week after you got to prison?
18· ·A· · · No, sir.                                                 18· ·A· · · I'm not for sure, sir.
19· ·Q· · · Have you reviewed anything in preparation for today's    19· ·Q· · · Was it within the first month or two?
20· · · · · deposition such as any records, any documents or         20· ·A· · · I'm not for sure, sir.· I don't -- it was too many
21· · · · · anything like that?                                      21· · · · · years ago.· I don't want to lie to you.
22· ·A· · · I went over my medical records.                          22· ·Q· · · Okay.· I appreciate that.· And I'm just trying to get
23· ·Q· · · And which records did you go over, if you know?          23· · · · · an idea of what you meant "as soon as" -- what you
24· ·A· · · Just all my medical history.· Most of it was from, you   24· · · · · meant by "as soon as you got to prison."· So
25· · · · · know, my surgery.                                        25· · · · · that's kind of -- what did you mean when you said "as
                                                           Page 50                                                              Page 52
·1· ·Q· · · Did you review any testimony of any other persons in     ·1· · · · · soon as"?· What was your -- how --
·2· · · · · this particular case?· And what I mean -- let me         ·2· ·A· · · In the beginning.
·3· · · · · rephrase that question.· Did you review any testimony    ·3· ·Q· · · In the beginning.· So you got there in March of 2017,
·4· · · · · from Dr. Kansakar?                                       ·4· · · · · it looks like.
·5· ·A· · · You mean a deposition?                                   ·5· ·A· · · Uh-huh.
·6· ·Q· · · I'm sorry.· Absolutely.· A deposition.· Did you review   ·6· ·Q· · · Would you say you had started looking for --
·7· · · · · Dr. Kansakar's deposition at all?                        ·7· ·A· · · March of 2017.
·8· ·A· · · Yes.                                                     ·8· ·Q· · · So you started looking for attorneys in about March of
·9· ·Q· · · When did you review that?                                ·9· · · · · 2017?
10· ·A· · · Just over the weekend.                                   10· ·A· · · I started looking into my case.
11· ·Q· · · And that was provided to you by your attorney?           11· ·Q· · · In March of 2017?
12· ·A· · · Yes, sir.                                                12· ·A· · · Yeah, I started -- no.· I would say I was definitely
13· ·Q· · · And without getting into necessarily the contents of     13· · · · · having concerns about it in the county jail and
14· · · · · what you and your attorney have discussed, when did      14· · · · · everything -- having concerns about my issue and what
15· · · · · you first seek an attorney to represent you in this      15· · · · · was going on in the county jail, but I wasn't able to
16· · · · · matter?                                                  16· · · · · reach out to anyone until I got to prison.
17· ·A· · · When I was in -- when did I first seek an attorney?      17· ·Q· · · Okay.· So you had already decided while you were in
18· ·Q· · · Particularly to represent you in this particular claim   18· · · · · jail that you wanted to pursue some kind of legal
19· · · · · that you're -- these claims that you are bringing in     19· · · · · action and you weren't able -- you didn't really have
20· · · · · this lawsuit, yes.                                       20· · · · · the resources to connect with any attorneys at that
21· ·A· · · You are asking when did I first seek an attorney.        21· · · · · point.· But when you got to the Michigan Department of
22· · · · · When I was in prison.                                    22· · · · · Corrections you did have the resources and that's when
23· ·Q· · · Was that early on in your prison stint or was that       23· · · · · you reached out to an attorney?
24· · · · · later?                                                   24· ·A· · · Yes.
25· ·A· · · As soon as I got there I immediately started looking     25· ·Q· · · And was Mr. Cross's firm, Mr. Margolis, were those the

                                                                                                                       Pages 49–52
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1719 Filed 09/14/21 Page 15 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 53                                                              Page 55
·1· · · · · first attorneys that you reached out to?                 ·1· · · · · out of prison, and that was Mr. Margolis?
·2· ·A· · · No, sir.                                                 ·2· ·A· · · Yes.
·3· ·Q· · · How many attorneys had you reached out to before they    ·3· ·Q· · · You had some medical issues before you got into --
·4· · · · · took the case?                                           ·4· · · · · before you had even gone to jail; correct?
·5· ·A· · · I believe three.                                         ·5· ·A· · · Due to the diverticulitis, but I wasn't aware of it.
·6· ·Q· · · And the other attorneys had denied the case?             ·6· ·Q· · · And you had -- you know, I've got -- if I can just
·7· ·A· · · No.· They just said that I should seek other -- other    ·7· · · · · look at my notes here.· I have that in -- it looks
·8· · · · · legal -- yeah, they said I should seek someone else.     ·8· · · · · like about March of 2011 you had sought treatment for
·9· · · · · But as far as it wasn't financially feasible for their   ·9· · · · · an STD back at that time.· Does that ring a bell?
10· · · · · office, but I should definitely seek law advice.         10· ·A· · · A sexually transmitted infection?
11· ·Q· · · Okay.· So they weren't interested, for whatever          11· ·Q· · · Well, they call it STDs and STIs.
12· · · · · reasons, but they advised you to continue trying to      12· ·A· · · Yes, STI.
13· · · · · pursue it if you wanted to?                              13· ·Q· · · Okay.
14· ·A· · · Yeah.· They said -- they said yeah, basically.· Yeah,    14· ·A· · · Yes.
15· · · · · they said that it wasn't financially feasible for        15· ·Q· · · So that sounds familiar, somewhere around March of
16· · · · · their office.· Financially.                              16· · · · · 2011 you sought treatment for an STI?
17· ·Q· · · Okay.                                                    17· ·A· · · Yeah.
18· ·A· · · That's what they said -- financially feasible for        18· ·Q· · · In about December of 2010 it looks like you also
19· · · · · their office.                                            19· · · · · sought treatment for an STI.· Does that sound about
20· ·Q· · · When did you actually -- without getting into the        20· · · · · right?
21· · · · · contents of what was discussed with Mr. Margolis or      21· ·A· · · Yes, sir.
22· · · · · Mr. Cross, when did you actually connect with them to    22· ·Q· · · Looks like in August of 2014 you sought medical
23· · · · · get them to represent you in this case?                  23· · · · · treatment?
24· ·A· · · You talking about Mr. Margolis?                          24· ·A· · · For an STI?
25· ·Q· · · Yes.                                                     25· ·Q· · · Yeah.
                                                          Page 54                                                              Page 56
·1· ·A· · · When I got out of prison.                                ·1· ·A· · · Yes, sir.
·2· ·Q· · · Okay.· So did you contact him -- did you ever speak      ·2· ·Q· · · And it looks like in December of 2014 you sought
·3· · · · · with him while you were in prison --                     ·3· · · · · treatment for an STI.· Does that sound about right?
·4· ·A· · · No.                                                      ·4· ·A· · · Yes, that sounds about right.
·5· ·Q· · · -- or just after?                                        ·5· ·Q· · · There was even a note in your December 2014 records by
·6· ·A· · · After I got out of prison.                               ·6· · · · · one of the nurses.· Let me show you this record.· I'm
·7· ·Q· · · Now, you had tried in March of 2017 to obtain some       ·7· · · · · going to let you take a look at this note down at the
·8· · · · · legal representation.                                    ·8· · · · · bottom here and then you can give it back to me.
·9· ·A· · · March of --                                              ·9· ·A· · · Okay.
10· ·Q· · · March of 2017 is what we just talked about.              10· · · · · · · · · · · ·MR. WILLIS:· Do we know the date of the
11· ·A· · · I'm not saying that I tried to obtain any legal          11· · · · · note?
12· · · · · representation in March.· I've not even said that.       12· · · · · · · · · · · ·MR. SCARBER:· I'll clarify for the record
13· · · · · Who said that?· You said that.· I didn't say that.       13· · · · · in one second, Counsel.
14· ·Q· · · I thought from your prior testimony that's when you      14· · · · · · · · · · · ·MR. WILLIS:· Great.· Thank you.
15· · · · · started looking into and trying to reach out --          15· · · · · · · · · · · ·MR. SCARBER:· There's a page 2 to it as
16· ·A· · · Looking into my case.                                    16· · · · · well.
17· ·Q· · · Started looking into your case?                          17· · · · · · · · · · · ·THE WITNESS:· What is this?· Okay.
18· ·A· · · I started looking into my -- you know, the situation.    18· · · · · · · · · · · ·MR. CROSS:· Is that front and back?
19· · · · · Looking into it.                                         19· · · · · · · · · · · ·MR. SCARBER:· That's the second page to
20· ·Q· · · Okay.                                                    20· · · · · the back that he's reading.
21· ·A· · · Yes.· And also was trying to reach out but I hadn't      21· · · · · · · · · · · ·THE WITNESS:· Okay.· This is --
22· · · · · retained one or nothing at that time.                    22· ·BY MR. SCARBER:
23· ·Q· · · Okay.· So that was in March of -- around March of 2017   23· ·Q· · · I haven't asked you any questions just yet.· But I
24· · · · · or so.· But while you were in prison you weren't able    24· · · · · will let you explain it.· Let me have it back.
25· · · · · to get any attorneys to represent you until you got      25· ·A· · · That's what I'm clarifying.· You just asked me -- I

                                                                                                                       Pages 53–56
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1720 Filed 09/14/21 Page 16 of 89

Deposition of                                                                        JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                       March 22, 2021
                                                          Page 57                                                             Page 59
·1· · · · · wasn't here for a sexually transmitted infection.       ·1· ·answered one of your questions, but I need to
·2· ·Q· · · Okay.                                                   ·2· ·identify it.· It is McLaren Port Huron records.· It's
·3· ·A· · · I was there for my diverticulitis that I wasn't aware   ·3· ·page 200 and 201 of those records.
·4· · · · · of -- that it was diverticulitis.                       ·4· · · · · · · · It says, quote, patient discharge
·5· ·Q· · · Okay.                                                   ·5· ·written.· I spoke with the patient about discharge.
·6· ·A· · · So I was there -- that's the time when I was first      ·6· ·The patient stated he did not receive any care. I
·7· · · · · hospitalized when I knew I had a stomach -- real bad    ·7· ·asked the patient what care he felt he did not
·8· · · · · stomach issues.· That's what I was having there.        ·8· ·receive.· The patient stated he never received his
·9· ·Q· · · Okay.                                                   ·9· ·medication and wanted to see another nurse.· I told
10· ·A· · · Not for a sexually -- that's when I first went there    10· ·the patient I will be glad to get my supervisor.· The
11· · · · · and they first noted that I had stomach issues.         11· ·patient continued yelling.· I asked the patient again
12· ·Q· · · So this is going back to -- all the way to 2014;        12· ·not to yell or curse or I will call security.· The
13· · · · · correct?                                                13· ·patient left the room, approached the nurses' station,
14· ·A· · · Yeah, yeah.· That was the beginning of my stomach --    14· ·continued to yell at the staff, stating he would not
15· · · · · well, I wouldn't say that's the beginning but that's    15· ·leave without receiving Tylenol.· Security was called
16· · · · · when I was on the outside and I went to the hospital    16· ·and I notified the charge nurse.· Patient requested
17· · · · · and let them know I was having stomach issues.          17· ·something to eat.
18· ·Q· · · Okay.                                                   18· · · · · · · · This is another note, maybe just slightly
19· ·A· · · Yeah.                                                   19· ·earlier than that.· Same page.· It says, quote,
20· ·Q· · · So this note is -- I have to identify it for the        20· ·patient requested something to eat.· Spoke with Anna
21· · · · · record.· This is a record taken from the McLaren Port   21· ·who stated he could not eat yet.· Spoke with patient
22· · · · · Huron Hospital.· It's an emergency note.                22· ·again who became argumentative, cursing, refusing
23· ·A· · · The same place; right?                                  23· ·medications.· Patient stated, quote, bitch, I am not
24· ·Q· · · Yes.                                                    24· ·taking that shit until I get something to eat. I
25· ·A· · · That's the same place that -- that's your defendant;    25· ·asked the patient not to yell and to refrain from
                                                          Page 58                                                             Page 60
·1· · · · · right?· Lake Huron?                                    ·1· · · · · cursing.· The patient denied cursing, end quote.
·2· ·Q· · · I don't represent them and no one is representing      ·2· · · · · · · · · · · ·Do you recall that incident?
·3· · · · · them.                                                  ·3· ·A· · · Yes, sir, I recall what you're talking about.· They --
·4· ·A· · · Is that one of the places being sued?                  ·4· · · · · in that situation -- I was hospitalized and put on an
·5· ·Q· · · No.                                                    ·5· · · · · IV, because my diverticulitis was acting up, but I
·6· ·A· · · No?· That's a whole different hospital?                ·6· · · · · didn't -- I wasn't aware that I had diverticulitis. I
·7· ·Q· · · You may have had some treatment at this hospital but ·7· · · · · knew that I was sick and I knew that I was having
·8· · · · · we're not suing -- your attorney is not suing these    ·8· · · · · stomach pains and I was, like, passing out.· I was in
·9· · · · · individuals.· I'm just asking you some questions about ·9· · · · · -- going into cold sweats.· I had fever.· So I went to
10· · · · · some of the records.                                   10· · · · · the hospital and, you know, about that.· I got into it
11· ·A· · · Okay.· Is that Mercy or Port Huron Hospital?           11· · · · · with those people because I felt like they did not
12· ·Q· · · This is the McLaren Port Huron.                        12· · · · · give me any medical treatment.· They did not diagnose
13· ·A· · · So it's the same hospital.                             13· · · · · me at that time for the diverticulitis.· They didn't
14· ·Q· · · That very well may be.                                 14· · · · · even know what was wrong with me.· They didn't care.
15· ·A· · · Okay.· I'm just letting that be known, that's the same 15· · · · · I felt like they didn't care because they just gave me
16· · · · · hospital.· That's all.                                 16· · · · · basically, like, an IV and I felt like they was just
17· ·Q· · · The same hospital as what?                             17· · · · · rushing me out because my insurance wasn't valid at
18· ·A· · · As Ms. Colleen works at -- or worked at.               18· · · · · the time.
19· ·Q· · · She worked at McLaren Port Huron --                    19· · · · · · · · · · · ·Now, that's all the reason why I ended up
20· ·A· · · Yes, sir.                                              20· · · · · in such bad shape, because I went there when I
21· ·Q· · · -- in 2014?                                            21· · · · · originally, you know, was having problems and I felt
22· ·A· · · I mean, that's the same hospital.· Yes.                22· · · · · like they was rushing me out.· That's why I ended up
23· ·Q· · · Okay.· So this note indicates that -- and you just     23· · · · · getting into it with a nurse.· Because when I went
24· · · · · read it -- patient's discharge is written.· I'm sorry. 24· · · · · there I told the nurse that I haven't ate in days. I
25· · · · · I didn't even get to identify it because I had         25· · · · · told all those people that I haven't ate in, like, two

                                                                                                                     Pages 57–60
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                           YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1721 Filed 09/14/21 Page 17 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 61                                                              Page 63
·1· · · · · days, and I couldn't eat because I was feeling sick    ·1· · · · · is related to the issue that --
·2· · · · · and it was something wrong with me.· And I don't feel ·2· ·A· · · I know for sure that was what the problem was, and I
·3· · · · · like they did the proper test and I don't feel like    ·3· · · · · feel like if I would have diagnosed it back then, then
·4· · · · · they did the proper care.· They, like, rushed me out.  ·4· · · · · it wouldn't have got as bad.· But I definitely went
·5· · · · · · · · · · · ·And I told them that -- they wanted me to ·5· · · · · there and made them aware.· And that's why I had a
·6· · · · · take some medicine and I told them I couldn't take     ·6· · · · · problem with -- it was, like -- I'm, like, it's more
·7· · · · · some medicine because I was nauseous and I needed to ·7· · · · · wrong with me.· And they, like, "Ah, you're okay.· We
·8· · · · · eat.· They refused to give me any food.· They had      ·8· · · · · gave you the IV.· Get out of here."
·9· · · · · called the security officer and the supervisor just to ·9· ·Q· · · So you would agree, then, that the problems that you
10· · · · · okay me to get some crackers that day.· Yeah, I had a 10· · · · · ultimately ended up having when you became
11· · · · · bad time with them because I felt like they were       11· · · · · incarcerated were things that had started well before
12· · · · · rushing me out and they wasn't getting down to the     12· · · · · your incarceration; right?
13· · · · · bottom of my situation.· And I was not hospitalized    13· ·A· · · What do you mean?· Rephrase that question.
14· · · · · for -- it will tell you what I was hospitalized for -- 14· ·Q· · · You would agree with me that the problems that you
15· · · · · the infection.· I was hospitalized for -- at that time 15· · · · · began to experience when you were incarcerated in the
16· · · · · for stomach issues.· So that's what happened with      16· · · · · jail and in the prison system, those were medical
17· · · · · that.· Yeah, I do recall.                              17· · · · · issues that had been developing for some time prior to
18· ·Q· · · If the record indicates --                             18· · · · · your incarceration; correct?
19· · · · · · · · · · · ·MR. CORBET:· Devlin, what page was that? 19· ·A· · · I wouldn't say that.· I would say that while I was
20· · · · · I'm sorry to interrupt.· What page was that again?     20· · · · · incarcerated I had medical problems and they didn't
21· · · · · · · · · · · ·MR. SCARBER:· That was on page 200, 201. 21· · · · · treat me.
22· · · · · · · · · · · ·MR. CORBET:· Thank you.· Sorry to bother 22· ·Q· · · Would you agree with me, though -- and I'm just using
23· · · · · you.                                                   23· · · · · your testimony from a little while ago.· Would you
24· · · · · · · · · · · ·MR. SCARBER:· No problem.                 24· · · · · agree with me, though, that the issues that you
25· ·BY MR. SCARBER:                                               25· · · · · ultimately were needing treatment for in the jail and
                                                          Page 62                                                              Page 64
·1· ·Q· · · If the record does indicate that you were there for a    ·1· · · · · the prison system were issues that were becoming a
·2· · · · · chief complaint of abdominal pain, would that sound      ·2· · · · · problem for you back in 2014 based upon the note that
·3· · · · · more accurate?                                           ·3· · · · · we just read and your explanation of what was going on
·4· ·A· · · Yes.· Abdominal pain, yes.· And that's why I was         ·4· · · · · back then?
·5· · · · · upset, because I felt like they didn't do anything for   ·5· ·A· · · No.· I wasn't needing treatment.· I didn't have a
·6· · · · · me.· They just gave me an IV and started to discharge    ·6· · · · · fistula back then in 2014.· I got treated for a
·7· · · · · me.· Then she tried to give me some medicine before      ·7· · · · · fistula and a colostomy reversal.
·8· · · · · I'm discharged.· I'm, like, I can't take it. I           ·8· ·Q· · · You testified a short while ago that you believe that
·9· · · · · haven't eaten anything.· It was basically, like, pack    ·9· · · · · this is what caused your fistula to be worse when you
10· · · · · up, you got to go.· I felt like they were rushing me     10· · · · · got --
11· · · · · out of the hospital before I got my treatment.· And      11· ·A· · · No.· That's what caused the cramping to be worse, by
12· · · · · that's what that was about.                              12· · · · · me not originally getting diagnosed with
13· ·Q· · · So that you would agree that the -- you mentioned        13· · · · · diverticulitis.
14· · · · · earlier you think this was the beginning of when your    14· ·Q· · · So you had a diverticulitis problem prior to going
15· · · · · fistula started or at least --                           15· · · · · into the jail system; correct?
16· ·A· · · No, it was no fistula.· That was cramping.               16· ·A· · · I'm not sure, but I believe that that's what I had.
17· ·Q· · · So this was a sign of the problem that you ultimately    17· · · · · I'm not sure.· I can't tell you for sure, but I
18· · · · · ended up having after you became incarcerated; right?    18· · · · · believe that's what I had.
19· ·A· · · Yes.                                                     19· ·Q· · · Okay.· And you believe that if they had done more
20· ·Q· · · So when you were in the jail you believe that this was   20· · · · · during this time in 2014 when you were there, your
21· · · · · something that was leading up to that?                   21· · · · · situation might not have ended up to the point where
22· ·A· · · Huh?· Excuse me?                                         22· · · · · it ended up when you were in prison, right, or in
23· ·Q· · · Let me rephrase my question.· This particular time       23· · · · · jail?
24· · · · · you're in the hospital in 2014, you believe that this    24· ·A· · · What do you mean by situation?· I believe that if I
25· · · · · issue that you were there for at that particular time    25· · · · · would have got diagnosed with diverticulitis sooner, I

                                                                                                                       Pages 61–64
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1722 Filed 09/14/21 Page 18 of 89

Deposition of                                                                        JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                       March 22, 2021
                                                         Page 65                                                             Page 67
·1· · · · · wouldn't have had to wear a bag.· I believe that.     ·1· · · · · say that while I was incarcerated I had medical
·2· ·Q· · · And that was prior to your incarceration in jail and  ·2· · · · · problems and they didn't treat me.")
·3· · · · · prison.· That's what I'm asking you.                  ·3· · · · · · · · · · · ·MR. SCARBER:· Keep going.
·4· ·A· · · I still don't understand what you saying.             ·4· · · · · · · · · · · ·I think I said the wrong word, back,
·5· ·Q· · · You may have answered my question.                    ·5· · · · · instead of come up but don't -- but let's move
·6· ·A· · · Right, that's what I'm thinking.                      ·6· · · · · forward.· The record will stand for itself.
·7· ·Q· · · But I just want to be clear.· Had they had done what ·7· ·BY MR. SCARBER:
·8· · · · · you believe they should have done prior to you even   ·8· ·Q· · · I think you were clear, though, you believe if you had
·9· · · · · going to jail and prison, you believe your situation  ·9· · · · · been diagnosed with diverticulitis sooner, you would
10· · · · · wouldn't have been as --                              10· · · · · not have had to wear the colostomy bag; correct?
11· ·A· · · I can't say that.· I can't say that.· I can't answer  11· ·A· · · Right.
12· · · · · that.                                                 12· ·Q· · · And when was the first time you were diagnosed with
13· ·Q· · · I thought you just testified to that.                 13· · · · · diverticulitis as you are aware?
14· ·A· · · That's -- I don't know what -- did I?· Did I just     14· ·A· · · In December of 2019.· No, no.· '16.· December, right
15· · · · · testify to that?· No, I didn't.                       15· · · · · before the surgery.· December, right before the
16· ·Q· · · Oh, I thought you did.                                16· · · · · surgery.
17· · · · · · · · · · · ·THE WITNESS:· I'm trying to figure what  17· ·Q· · · Were you ever diagnosed with colitis?
18· · · · · he's saying.                                          18· ·A· · · Colitis?· No.· Not that I'm aware of.· I had
19· · · · · · · · · · · ·MR. CROSS:· Read back the question and   19· · · · · diverticulitis.
20· · · · · answer.                                               20· ·Q· · · Let me show you a record from 12/10/2016.
21· · · · · · · · · · · ·MR. SCARBER:· Let's see if we have our   21· ·A· · · 12/10/2016.
22· · · · · answer.                                               22· ·Q· · · And this is a progress note from Lake Huron Medical
23· · · · · · · · · · · ·Could you go back, Madam Court Reporter, 23· · · · · Center, and it's identified as page number 532.
24· · · · · to the part where he was answering the question about 24· · · · · · · · · · · ·Mr. Jackson, according to this record, it
25· · · · · what we're talking about now, about the situation     25· · · · · says, quote, patient apparently was diagnosed with
                                                         Page 66                                                             Page 68
·1· ·would not have led to him wearing the bag?                    ·1· · · · · colitis on a CT scan of the abdomen over two years
·2· · · · · · · · COURT REPORTER:· Let me see if I can find        ·2· · · · · ago.· Patient never had a colonoscopy in the past.
·3· ·it.                                                           ·3· · · · · Patient is status post colonoscopy by Dr. Kansakar,
·4· · · · · · · · THE WITNESS:· If they --                         ·4· · · · · showed complicated sigmoid diverticulitis with
·5· · · · · · · · COURT REPORTER:· Let me answer.                  ·5· · · · · colovesical fistula without abscess, end quote.
·6· · · · · · · · MR. SCARBER:· Wait a second.· I'm only           ·6· ·A· · · Patient was diagnosed with colitis?
·7· ·stopping you because she's looking --                         ·7· ·Q· · · Yes.· I guess my question for you is, you had gone to
·8· · · · · · · · THE WITNESS:· I'm good with it.· Thank           ·8· · · · · the hospital prior to you being -- becoming
·9· ·you.                                                          ·9· · · · · incarcerated in the jail and prison; correct?
10· · · · · · · · (The following was read back by the              10· ·A· · · We just discussed that.
11· · · · · · · · reporter:                                        11· ·Q· · · Okay.· I just mentioned one of the visits but you had
12· · · · · · · · "I believe that if I had gotten diagnosed        12· · · · · gone to the hospital prior; correct?· Prior to your
13· ·with diverticulitis sooner, I wouldn't have had to            13· · · · · time at the jail.
14· ·wear a bag.")                                                 14· ·A· · · Uh-huh.
15· · · · · · · · COURT REPORTER:· Is that it or back              15· ·Q· · · Prior to you becoming incarcerated in the jail, you
16· ·further?                                                      16· · · · · did go to the hospital for treatment of issues related
17· · · · · · · · MR. SCARBER:· Go a little back further.          17· · · · · to --
18· · · · · · · · (The following question and answer was           18· ·A· · · The abdominal pains.
19· · · · · · · · read back by the reporter:                       19· ·Q· · · -- abdominal pain, bowels, things like that.
20· · · · · · · · Question:· "You would agree with me that         20· ·A· · · Before I went to the jail?· Yes, I did.
21· ·the problems that you began to experience when you            21· ·Q· · · So my question for you is, it says that two years
22· ·were incarcerated in jail and in the prison system,           22· · · · · earlier from the time you had your surgery -- at least
23· ·those were medical issues that had been developing for        23· · · · · according to this record -- that you had been
24· ·some time prior to your incarceration; correct?"              24· · · · · diagnosed with colitis and you were supposed to have
25· · · · · · · · Answer:· "I wouldn't say that.· I would          25· · · · · gotten a colonoscopy.· Why did you never get one?

                                                                                                                     Pages 65–68
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                           YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1723 Filed 09/14/21 Page 19 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 69                                                              Page 71
·1· ·A· · · I was supposed to get a colonoscopy and I -- I wasn't    ·1· · · · · recall that?
·2· · · · · told I was supposed to get -- I had got tested and       ·2· ·A· · · Uh-huh.
·3· · · · · they didn't tell me I had colitis.· They actually told   ·3· ·Q· · · What was the situation regarding that?
·4· · · · · me I had irritable bowel syndrome.                       ·4· ·A· · · They -- I went to the hospital.· I was urinating blood
·5· ·Q· · · Okay.· And what did you do about it?                     ·5· · · · · out of my urine.· They had me pee in a cup and they
·6· ·A· · · They told me to take amoxicillin with potassium.· Gave   ·6· · · · · basically just gave me some antibiotics and discharged
·7· · · · · me a script.· I did.· I took it.                         ·7· · · · · me.
·8· · · · · · · · · · · ·I had a test done and when they took --     ·8· ·Q· · · Do you remember what they diagnosed you with?
·9· · · · · scraped something on the card and stuff like that        ·9· ·A· · · They never diagnosed me.· Not that I can remember.
10· · · · · prior, but they did not -- they didn't tell me I had     10· · · · · Same hospital that we're talking about.
11· · · · · colitis.· When I went to the St. Clair County Jail       11· · · · · · · · · · · ·Which hospital is it?· Medical -- what is
12· · · · · they had my medical records and they wasn't aware of     12· · · · · it?
13· · · · · me having colitis.· I went -- reported a urinal tract    13· ·Q· · · McLaren Port Huron.
14· · · · · infection for six months.· They told me I had a urinal   14· ·A· · · McLaren.· Same hospital.
15· · · · · tract infection for six months in the St. Clair County   15· ·Q· · · It indicates that at that particular time -- and we're
16· · · · · Jail because I was urinating particles out of my penis   16· · · · · talking about from the record of February 1, 2015 --
17· · · · · and I had bubbles coming out of my penis.· At no time    17· · · · · that the clinical impression was hematuria, sexually
18· · · · · was they aware of me having colitis.· They didn't tell   18· · · · · transmitted disease, and urinary tract infection.
19· · · · · me I had colitis.· I never even knew that I had          19· · · · · Hematuria, meaning blood in the urine.· Do you recall
20· · · · · colitis at all.· This is brand new, new to me.           20· · · · · being given instructions about a sexually transmitted
21· ·Q· · · My only question -- and I appreciate that answer, but    21· · · · · disease at that point?
22· · · · · it indicates that you were supposed to have had a        22· ·A· · · Uh-uh.· No, sir.· I only know they told me that --
23· · · · · colonoscopy --                                           23· · · · · see, when you go in, they just told me to pee in a cup
24· ·A· · · I had that.                                              24· · · · · and that was it and they gave me antibiotic.· That was
25· ·Q· · · -- before you were incarcerated, two years prior to      25· · · · · it.· They never said anything or I didn't get any
                                                          Page 70                                                              Page 72
·1· · · · · that.                                                    ·1· · · · · results or anything.
·2· ·A· · · I did everything they told me that I was supposed to     ·2· ·Q· · · It indicates on this particular note in the
·3· · · · · have.· I went in and they put something up my rectum     ·3· · · · · disposition, sir, instructions regarding sexually
·4· · · · · and scraped it on a card.· Put me through a machine      ·4· · · · · transmitted diseases.· Can you take a look at that?
·5· · · · · and that was that.· They told me -- gave me a piece of   ·5· · · · · This is page 149.
·6· · · · · paper and they told me I had irritable bowel syndrome    ·6· ·A· · · Instructions?
·7· · · · · and they gave me a prescription that told me to take     ·7· ·Q· · · Let me just look right here.
·8· · · · · amoxicillin with potassium and that was it.· You may     ·8· ·A· · · Where are you saying?
·9· · · · · not have the follow-up records or I wasn't aware but I   ·9· ·Q· · · That little remark.
10· · · · · did everything that they told me to do at the doctor.    10· ·A· · · Can you say that again?· It indicates instructions?
11· ·Q· · · But even that record, you would agree, indicates that    11· ·Q· · · Your counsel is going to show you a little mark I
12· · · · · you had had some kind of problem with your bowels or     12· · · · · have.· Can you tell me what it states right there?
13· · · · · bowel system prior to your incarceration in the jail     13· · · · · Just where that little mark is.
14· · · · · and in the Michigan --                                   14· ·A· · · What mark?
15· ·A· · · Oh, for sure I had bowel problems.                       15· ·Q· · · This one, right there.
16· ·Q· · · Okay.                                                    16· ·A· · · Instructions.· Sexually transmitted disease.
17· ·A· · · Actually --                                              17· · · · · Self-care.· Hold on.
18· ·Q· · · I don't have any further questions on that right now.    18· · · · · · · · · · · ·Okay.· This is what they gave me.· Yeah,
19· ·A· · · Okay.· I'm just elaborating on my question, that's       19· · · · · they give me antibiotics and released me.
20· · · · · all.                                                     20· ·Q· · · Okay.· So I read that correctly, that you were
21· ·Q· · · And your counsel can come back, too, if he wants to      21· · · · · instructed about sexually transmitted diseases and
22· · · · · ask you some follow-ups on it as well.                   22· · · · · then they gave you antibiotics; correct?
23· ·A· · · Uh-huh.                                                  23· ·A· · · Yeah.· Does it say that's what the problem was?
24· ·Q· · · On February of 2015, you -- it looks like you were you   24· ·Q· · · I'm just asking you about what the disposition was at
25· · · · · at the hospital for blood in your urine.· Do you         25· · · · · the emergency room.

                                                                                                                       Pages 69–72
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1724 Filed 09/14/21 Page 20 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                           Page 73                                                             Page 75
·1· ·A· · · Okay.· But they ain't say that's what the problem was.   ·1· · · · · pages 133 to 134.· And these records indicate that you
·2· · · · · · · · · · · ·MR. CROSS:· He asks the questions.          ·2· · · · · were being seen at that time for complaint of penile
·3· · · · · · · · · · · ·THE WITNESS:· Okay.                         ·3· · · · · discharge.· Does that ring a bell?
·4· ·BY MR. SCARBER:                                                 ·4· ·A· · · When?
·5· ·Q· · · And you didn't sue McLaren Port Huron; correct?          ·5· ·Q· · · February of 2015.
·6· ·A· · · Who?                                                     ·6· ·A· · · Okay.
·7· ·Q· · · McLaren Port Huron Hospital.· You mentioned you          ·7· ·Q· · · Does it ring a bell to you -- do you recall being
·8· · · · · thought they were part of this lawsuit but they're       ·8· · · · · there in approximately February 2015 for problems with
·9· · · · · not.· You never sued them; correct?                      ·9· · · · · penile discharge and sexually transmitted diseases?
10· · · · · · · · · · · ·MR. CROSS:· For the record, the hospital    10· ·A· · · Oh, you mean sexually transmitted infection.· The
11· · · · · was sold.                                                11· · · · · penile discharge, yes.
12· · · · · · · · · · · ·THE WITNESS:· Okay.                         12· ·Q· · · They called it disease on here.· I understand you're
13· ·BY MR. SCARBER:                                                 13· · · · · making a distinction, but some type of sexually
14· ·Q· · · Let me just clarify your allegations in the Complaint.   14· · · · · transmitted --
15· · · · · You're not suing the hospital per se for something       15· ·A· · · Infection.
16· · · · · that happened to you prior to you going into jail in     16· ·Q· · · -- infection you were there for?
17· · · · · 2016.· You would agree with that?                        17· ·A· · · Yes.
18· ·A· · · Prior to me going to jail?· No, I'm not.                 18· ·Q· · · How about on September the 13th of 2015, do you recall
19· ·Q· · · Okay.· What I'm citing to you are things that occurred   19· · · · · being at the McLaren Port Huron emergency room then
20· · · · · prior to you going to jail.                              20· · · · · for a sexually transmitted disease?
21· ·A· · · With the same hospital I'm suing; right?                 21· ·A· · · Yes.· Infection, yes.
22· ·Q· · · Your counsel can clarify that but --                     22· ·Q· · · On -- you were released from prison when?· Do you
23· ·A· · · I'm asking.                                              23· · · · · recall?
24· ·Q· · · I'm not aware of you having a lawsuit against the        24· ·A· · · May 16, 2019.
25· · · · · hospital in that sense.· So maybe you can clarify --     25· ·Q· · · Do you recall being seen by the McLaren Port Huron
                                                           Page 74                                                             Page 76
·1· · · · · · · · · · · ·MR. CROSS:· Kohchise, you are suing Prime   ·1· · · · · Hospital on or about May 23rd of 2020 for another
·2· · · · · Healthcare.· Prime Healthcare bought this hospital       ·2· · · · · sexually transmitted infection?
·3· · · · · from another company that owned it prior to 2015.· And   ·3· ·A· · · Yes, sir.
·4· · · · · you're not suing that other company.· You're suing       ·4· ·Q· · · And this would have been after your release from
·5· · · · · Prime Healthcare for things that happened while you      ·5· · · · · prison; correct?
·6· · · · · were in jail.· So none of the things that he's talking   ·6· ·A· · · Correct.
·7· · · · · about from before you went to jail are a part of the     ·7· ·Q· · · So after you were released from prison, you were able
·8· · · · · lawsuit.                                                 ·8· · · · · to resume having sexual intercourse?
·9· · · · · · · · · · · ·THE WITNESS:· Okay.· There we go.           ·9· ·A· · · Did I have sexual intercourse when I left prison?
10· ·BY MR. SCARBER:                                                 10· · · · · Yes, sir, I did.
11· ·Q· · · It sounds like you feel like from your understanding,    11· ·Q· · · My question is, you were able to resume it at that
12· · · · · though, that --                                          12· · · · · point similar to how you had done it prior to you
13· ·A· · · No.· No, I don't.                                        13· · · · · becoming incarcerated in 2016; correct?
14· ·Q· · · You don't feel like they misdiagnosed you at --          14· ·A· · · I don't know -- I don't know what you mean by that,
15· ·A· · · No, no.                                                  15· · · · · sir.
16· ·Q· · · I thought you testified to that earlier.                 16· ·Q· · · You were having --
17· ·A· · · You said what?· No, I didn't.                            17· ·A· · · I had sex before I went to prison.· Yes, I had sex
18· ·Q· · · You didn't testify that they should have discovered      18· · · · · after I got out of prison.
19· · · · · something or treated something earlier that they         19· ·Q· · · And you -- it sounds like even in this situation
20· · · · · didn't treat?                                            20· · · · · you -- it was the same type of activity that you had
21· ·A· · · No.                                                      21· · · · · engaged in previously because you are still back to
22· ·Q· · · I'll rely on your prior testimony.                       22· · · · · the hospital emergency room for an STI again; correct?
23· · · · · · · · · · · ·I have a record from February 15th of       23· · · · · Sexually transmitted infection.
24· · · · · 2016.· I'm sorry.· February the 16th of 2015.· I stand   24· ·A· · · What do you mean same activity?· What do you mean?
25· · · · · corrected.· And this is at McLaren Port Huron, records   25· · · · · Having sex?· Yes, I had sex.

                                                                                                                       Pages 73–76
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1725 Filed 09/14/21 Page 21 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                           Page 77                                                              Page 79
·1· ·Q· · · I understand that.                                       ·1· ·Q· · · I don't think I finished it.
·2· ·A· · · Okay.· So what do you mean?                              ·2· ·A· · · If you haven't finished the question, I can't answer
·3· ·Q· · · But prior to you becoming incarcerated you were not      ·3· · · · · it.
·4· · · · · only having sex but getting sexually transmitted         ·4· ·Q· · · Okay.· But my question is, during your April 23, 2020
·5· · · · · infections; correct?                                     ·5· · · · · visit at the emergency room I did not see anywhere in
·6· ·A· · · That's what happens when you have sex with someone who   ·6· · · · · your record where you were complaining about any
·7· · · · · has an infection.                                        ·7· · · · · problems with your colostomy reversal or colostomy at
·8· ·Q· · · Are you having sex with the same person that's giving    ·8· · · · · all.· You would agree there were no complaints at that
·9· · · · · you this infection?                                      ·9· · · · · time?
10· ·A· · · What do you mean?· When?                                 10· ·A· · · I did not have a colostomy at that time.· I was
11· ·Q· · · When you were getting these infections that you were     11· · · · · already reversed.
12· · · · · going to the emergency room for -- consistently for      12· ·Q· · · But you would agree with me that you weren't having
13· · · · · the last -- maybe few years before you were              13· · · · · any issues or complaints when you went to the hospital
14· · · · · incarcerated in --                                       14· · · · · at that time for any colostomy or colostomy reversal
15· ·A· · · Did I get the infection from the same girl that I got    15· · · · · that you had had; correct?
16· · · · · it from before I went to prison?· Is that what you're    16· ·A· · · No, I'm not saying correct.· Actually, I visited the
17· · · · · asking me?                                               17· · · · · hospital and after I had been reversed I have had
18· ·Q· · · Why don't we start with that question.· Sure.            18· · · · · problems and I made my doctor, Dr. Webber, aware.
19· ·A· · · I don't know.                                            19· ·Q· · · My question is, on April the 23rd of --
20· ·Q· · · And then I guess my overall question is, the same type   20· ·A· · · You talking about when I went to the hospital for a
21· · · · · of situation that you were in --                         21· · · · · sexually transmitted infection?
22· ·A· · · What situation is that?· I haven't said.                 22· ·Q· · · Okay.· Mr. Jackson --
23· ·Q· · · You've got to let me finish my question.                 23· ·A· · · I'm asking you a question.
24· · · · · · · · · · · ·The same type of situation you were in      24· ·Q· · · But you've got to let me finish my question before you
25· · · · · prior to becoming incarcerated, where you were having    25· · · · · try to answer.
                                                           Page 78                                                              Page 80
·1· · · · · sex and getting a sexually transmitted infection, you    ·1· ·A· · · Okay.· Well, finish.
·2· · · · · were engaged in that same type of activity after you     ·2· ·Q· · · Because I may -- as I finish my question, I may clear
·3· · · · · were released from prison, where you were engaging in    ·3· · · · · up whatever you are going to ask me.
·4· · · · · sexual activity and getting a sexually transmitted       ·4· ·A· · · Okay.· So finish it.
·5· · · · · infection.                                               ·5· ·Q· · · My question to you is that on April 23, 2020, you did
·6· ·A· · · I'm not understanding what you mean.· I had sex -- I     ·6· · · · · not have any complaint at that time regarding a
·7· · · · · just answered that -- before I went to the prison. I     ·7· · · · · colostomy reversal problem that was bothering or any
·8· · · · · had sex when I got out of prison.· I caught a sexually   ·8· · · · · problems from your prior colostomy.· Am I correct in
·9· · · · · transmitted disease before I went to prison.· I also     ·9· · · · · that?
10· · · · · caught one -- infection when I was released from         10· ·A· · · On April of 2020, when I visited the hospital for a
11· · · · · prison.                                                  11· · · · · sexually transmitted infection, that is what I
12· ·Q· · · Similar to what had happened before you were             12· · · · · discussed with those people, the sexually transmitted
13· · · · · incarcerated?                                            13· · · · · infection.
14· ·A· · · The same thing happened to me before, yes.               14· ·Q· · · Okay.· You did not discuss anything regarding problems
15· ·Q· · · Okay.· And I didn't note any complaints in your record   15· · · · · with your reversal or problems --
16· · · · · from April 23, 2020 about your colostomy reversal        16· ·A· · · I had already discussed that prior to that visit with
17· · · · · posing any problems for you; correct?                    17· · · · · my stomach doctor, the one who deals with that.
18· ·A· · · When?                                                    18· ·Q· · · But I think we're in agreement.· Not with these
19· ·Q· · · In April 2020, when you were at the hospital for the     19· · · · · people.
20· · · · · sexually transmitted infection.· This was after you      20· ·A· · · What people are you talking about?
21· · · · · were released from prison.                               21· ·Q· · · The people on --
22· ·A· · · In April?                                                22· ·A· · · What hospital --
23· ·Q· · · April 23, 2020.                                          23· ·Q· · · McLaren Port Huron.
24· ·A· · · Okay, because I got out in '19.· So in April -- I'm      24· ·A· · · I never discussed anything with them about sexually
25· · · · · trying to answer your question, sir.· Can I answer it?   25· · · · · transmitted infection after I had been out of prison.

                                                                                                                       Pages 77–80
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1726 Filed 09/14/21 Page 22 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                           Page 81                                                             Page 83
·1· ·Q· · · And about a month after that, May 24th of 2020, it       ·1· · · · · · · · · · · ·So my question is, on May 24, 2020, when
·2· · · · · looks like that is when you're at McLaren Port Huron     ·2· · · · · you go to the emergency room, you would agree with me
·3· · · · · emergency room for your gunshot wound trauma.· Does      ·3· · · · · that you didn't have any complaints to the emergency
·4· · · · · that sound familiar?                                     ·4· · · · · room folks at that time about a problem with your
·5· ·A· · · Yes, sir.                                                ·5· · · · · colostomy reversal or your original colostomy.· You
·6· ·Q· · · And we've talked about the gunshot wound.· I'm just      ·6· · · · · would agree with that; correct?
·7· · · · · looking at the record here and you weren't having any    ·7· ·A· · · No, I wouldn't agree with you --
·8· · · · · complaints at that time, you would agree, regarding      ·8· ·Q· · · Okay.· What did you --
·9· · · · · any --                                                   ·9· ·A· · · Because I had -- wait.· You cutting me off, sir.
10· ·A· · · No, I wouldn't agree.                                    10· ·Q· · · Go ahead.· I was wrong.· You finish your answer.
11· · · · · · · · · · · ·COURT REPORTER:· I'm sorry.· You have to    11· ·A· · · Okay.· There you go.
12· · · · · let him finish before you answer.                        12· · · · · · · · · · · ·I had complaints but during the time
13· · · · · · · · · · · ·THE WITNESS:· Like I say, I wasn't having   13· · · · · where I went to the hospital dealing with a gunshot
14· · · · · no complaints about my colostomy at that time.           14· · · · · wound, that's what I dealt with.· I talked to my
15· ·A· · · That's what you were saying, right?· That was the        15· · · · · doctor already, Dr. Webber, about the complaints I had
16· · · · · question.                                                16· · · · · due to the surgery already.· So that's already --
17· ·BY MR. SCARBER:                                                 17· · · · · that's who I discussed that with because he's my
18· ·Q· · · It wasn't the question --                                18· · · · · doctor.· When I go to the hospital for emergency
19· ·A· · · Finish the question.                                     19· · · · · visits for sexually transmitted infection, gunshot
20· ·Q· · · And you're doing fine, but the way the depositions       20· · · · · wound, I tend to deal with the matter at hand.
21· · · · · have to work is I've got to be able to ask the           21· ·Q· · · Okay.
22· · · · · question and get the whole question out before you       22· ·A· · · That's all that is.
23· · · · · give me an answer.                                       23· ·Q· · · So I think the answer to my question, then, is, on May
24· ·A· · · Okay.                                                    24· · · · · 24, 2020, you did not discuss with them any issues
25· ·Q· · · Even though you might anticipate where I'm going with    25· · · · · regarding your colostomy reversal or your original
                                                           Page 82                                                             Page 84
·1· · · · · it or anticipate the last three or four words of what    ·1· · · · · colostomy; correct?
·2· · · · · my question is going to be, you still got to let me      ·2· ·A· · · Correct.
·3· · · · · finish the question and then you can give me the         ·3· ·Q· · · When was the last time you saw, if you can remember,
·4· · · · · answer.                                                  ·4· · · · · Dr. Webber prior to having the gunshot issue?
·5· ·A· · · Okay.· There you go.                                     ·5· ·A· · · Sometime in 2019.
·6· ·Q· · · And it becomes an issue only because we can't get        ·6· ·Q· · · Do you remember how many times you saw him after you
·7· · · · · your whole answer, I can't get my whole question in,     ·7· · · · · had your colostomy reversal?
·8· · · · · and then the court reporter can't really get down what   ·8· ·A· · · At least two or three times.
·9· · · · · we're saying.                                            ·9· ·Q· · · Do you remember the last time you would have seen him?
10· ·A· · · I understand.                                            10· · · · · Let's say, was it a few months after 2019?
11· ·Q· · · So if we ever have to play this back or even play the    11· ·A· · · It was at the end of the year 2019.· I may have seen
12· · · · · video back, it's going to be so jumbled that it's not    12· · · · · him in 2020 and -- yep, that was it.
13· · · · · going to make a lot of sense.                            13· ·Q· · · And where did you see him when you saw him?
14· ·A· · · I understand.                                            14· ·A· · · At Harper Hospital.
15· ·Q· · · That's why we've got to do it.                           15· ·Q· · · Did he have a separate clinic or something?
16· ·A· · · Yeah.                                                    16· ·A· · · No.· I was going to see him at Harper Hospital.· It
17· ·Q· · · But you're going to get an opportunity to say what you   17· · · · · would be the certain part.· It would be the floor -- I
18· · · · · have to say.· Even if I don't cover it, your attorney    18· · · · · don't know what floor he was on.· He had, like, inside
19· · · · · can cover it.· I'm just going to ask you the questions   19· · · · · the hospital, like a little clinic, I would say,
20· · · · · that I want to ask and then he can follow up and you     20· · · · · because it was like a certain floor, and that was his
21· · · · · can get out whatever you want to get out that way.       21· · · · · office.
22· ·A· · · Okay.· Thank you.· I appreciate your patience.           22· ·Q· · · When did you get your colostomy reversal?
23· ·Q· · · No.· It's -- you're doing fine.· Very fine.              23· ·A· · · Oh, was it June 2019?· Like, the next month after I
24· ·A· · · Thank you, sir.· So are you.                             24· · · · · got out they reversed it right away, no problem.
25· ·Q· · · Thank you.                                               25· ·Q· · · So if you got your reversal in May of 2019 -- if you

                                                                                                                       Pages 81–84
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1727 Filed 09/14/21 Page 23 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 85                                                              Page 87
·1· · · · · got your reversal done in 2019 --                        ·1· ·BY MR. SCARBER:
·2· ·A· · · Yeah, but not May.· June.                                ·2· ·Q· · · -- that even though you thought this colostomy was
·3· ·Q· · · I'm sorry -- in June of 2019, you would agree, then,     ·3· · · · · going to be permanent, it turns out that it was not
·4· · · · · that your colostomy was not permanent; correct?          ·4· · · · · permanent.· Yes or no?· You would agree with that;
·5· ·A· · · See, that's the thing.· I felt like when I was in        ·5· · · · · correct?
·6· · · · · prison it was going to be on me forever.                 ·6· ·A· · · Yeah.
·7· ·Q· · · But you would agree with me that ultimately it wasn't    ·7· ·Q· · · Okay.· Now, you ultimately did have your colostomy
·8· · · · · permanent and --                                         ·8· · · · · reversed and you say you had your procedure done with
·9· ·A· · · Because they reversed it?                                ·9· · · · · Dr. Webber; correct?
10· ·Q· · · -- and it did get reversed; correct?                     10· ·A· · · Yes, sir.
11· ·A· · · It did get reversed, yes, sir.· I agree with you.        11· ·Q· · · And when Dr. Webber did the reversal on you, on June
12· ·Q· · · So what you thought was permanent, you would agree       12· · · · · 19th of 2019, did Dr. Webber discuss with you the
13· · · · · turned out to not be permanent; correct?                 13· · · · · risks that could be associated with the reversal?· Yes
14· ·A· · · Correct.· Because it seemed like they was going to       14· · · · · or no?
15· · · · · keep it on me forever when they wouldn't reverse it.     15· ·A· · · Reversal.· Yeah, he told me that all surgeries is
16· · · · · That's how I felt.· Like, if these people don't pay      16· · · · · risky because I'm put under anesthesia.· That's what
17· · · · · for it here, why would they pay for it on the outside    17· · · · · he discussed with me.· He said it could be bleeding.
18· · · · · and I'm in their care?· That was my main worry, that I   18· · · · · He said that -- yeah, and it could be leakage.
19· · · · · was going to have it forever when I was in there.        19· ·Q· · · Did Dr. Webber specifically discuss with you that the
20· ·Q· · · I'm going to move to strike the last part of your        20· · · · · potential risk of the procedure that he was going to
21· · · · · answer, just because you had already answered my         21· · · · · perform, the colostomy reversal, could be a risk of
22· · · · · question regarding you would agree with me that it       22· · · · · heart attack, stroke, death, infection, the potential
23· · · · · wasn't -- it actually turned out that it was not         23· · · · · need for reoperation and the potential for a leak or
24· · · · · permanent like you thought it would be.· And that        24· · · · · potential for damage surrounding the structures
25· · · · · is --                                                    25· · · · · including the ureter and -- including your urethra
                                                          Page 86                                                              Page 88
·1· · · · · · · · · · · ·MR. WILLIS:· I'll join.                     ·1· · · · · system?
·2· ·BY MR. SCARBER:                                                 ·2· ·A· · · Dr. Webber told me that usually when he do this
·3· ·Q· · · So let me reask the question, just because I want a      ·3· · · · · surgery, the people that he dealing with be older
·4· · · · · clean record.· You would agree with me, Mr. Jackson,     ·4· · · · · people.· He said that I was younger and he said that I
·5· · · · · that even though you thought the colostomy was going     ·5· · · · · didn't have any other medical problems, so he said
·6· · · · · to be permanent, turns out that it really wasn't         ·6· · · · · that it was potential risk but he said he felt like I
·7· · · · · permanent and you did ultimately get it reversed;        ·7· · · · · should be fine.
·8· · · · · correct?· Yes or no?                                     ·8· ·Q· · · Okay.· Did he discuss with you -- and I'm going to
·9· ·A· · · Hold on.· You got to ask the question again.· Ask it     ·9· · · · · move to strike as nonresponsive.
10· · · · · one more time, sir, please.                              10· ·A· · · Because --
11· ·Q· · · Would you agree with me, Mr. Jackson, that even though   11· ·Q· · · Hang on.· Hang on one second.· My question for you is,
12· · · · · you thought your colostomy was going to be permanent,    12· · · · · did he discuss with you specifically -- and you don't
13· · · · · it turns out it actually was not permanent?              13· · · · · have to tell me anything else about why he might have
14· ·A· · · You talking about when I was in prison and I moved to    14· · · · · discussed certain things or what his opinions were
15· · · · · get it reversed and they wouldn't reverse it and I       15· · · · · about the discussion, whatever.· I want to know, did
16· · · · · felt like that I was going to have the bag forever and   16· · · · · he discuss specifically with you that the risk of the
17· · · · · when I got out I figured that they wouldn't reverse it   17· · · · · colostomy reversal could be a heart attack, stroke,
18· · · · · when I got it because they wouldn't do it in prison      18· · · · · death, infection, a need for a reoperation, a
19· · · · · and I was under their care?                              19· · · · · potential for leakage and damage surrounding the body
20· · · · · · · · · · · ·MR. SCARBER:· Move to strike as             20· · · · · parts that -- where he was doing his reversal?
21· · · · · nonresponsive.                                           21· ·A· · · Yes.· Yeah.· He said, "You got a pretty strong heart,
22· ·BY MR. SCARBER:                                                 22· · · · · man, so I'm not worried about a heart attack."
23· ·Q· · · I'm going to ask the question again.                     23· ·Q· · · But the question is --
24· · · · · · · · · · · ·Would you agree with me --                  24· ·A· · · You young.
25· · · · · · · · · · · ·MR. WILLIS:· I'll join.                     25· ·Q· · · Hang on.· Hang on one second.

                                                                                                                       Pages 85–88
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1728 Filed 09/14/21 Page 24 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                           Page 89                                                             Page 91
·1· ·A· · · Every time I answer the question, you stop me.           ·1· ·BY MR. SCARBER:
·2· ·Q· · · Because you answered my question and you said yes, and   ·2· ·Q· · · Hang on.· Hang on.
·3· · · · · I'm going to move to strike after all that.              ·3· · · · · · · · · · · ·He did discuss with you that there were
·4· ·A· · · Okay.                                                    ·4· · · · · risks associated with this procedure; correct?
·5· ·Q· · · So this is going to be a yes or no question, because I   ·5· ·A· · · He told me I was a young man.
·6· · · · · need a clean record.· Your counsel can come back and     ·6· ·Q· · · Did he discuss with you that there were risks --
·7· · · · · ask you whatever he wants to ask you and let you         ·7· ·A· · · Can I answer the question?
·8· · · · · explain whatever he wants to ask you.· That's fine.      ·8· ·Q· · · You've already answered the question in a way that's
·9· · · · · · · · · · · ·Yes or no.· You answered it but I can't     ·9· · · · · not responsive.
10· · · · · have another compound answer afterwards.· I understand   10· ·A· · · I answer how you want me to?
11· · · · · that you might want to get something across.             11· ·Q· · · Did he discuss with you that there were risks
12· ·A· · · I'm just telling you what he said to me.                 12· · · · · associated with this procedure?
13· ·Q· · · Did he discuss with you -- yes or no -- this is a yes    13· ·A· · · He told me that --
14· · · · · or no question -- that the risk of the procedure could   14· ·Q· · · Yes or no?
15· · · · · be a heart attack, stroke, death, infection, potential   15· ·A· · · I can't --
16· · · · · need for reoperation, and potential for leak or          16· ·Q· · · You said what?
17· · · · · potential damage to the surrounding body structures?     17· · · · · · · · · · · ·VIDEOGRAPHER:· Your microphone is
18· · · · · Yes or no?                                               18· · · · · backwards.· I can't --
19· ·A· · · He said that it's always a possibility with surgery      19· ·BY MR. SCARBER:
20· · · · · when you use anesthesia and he said -- yes, he did.      20· ·Q· · · I'll ask the question again.· Did he discuss with you
21· · · · · And he said I should be fine because I have a strong     21· · · · · that there were risks associated with the procedure?
22· · · · · heart; I'm a young man.                                  22· ·A· · · I just answered you, sir.· I can't recall.
23· ·Q· · · I'm going to do it this way, because I'm going to end    23· ·Q· · · Okay.· You can't recall now?
24· · · · · up getting the answer to my question.· So I'm going to   24· ·A· · · What you mean now?
25· · · · · give you a record and I want you to read the record.     25· ·Q· · · You just told me before that he discussed risks of the
                                                           Page 90                                                             Page 92
·1· · · · · I'm going to come behind you just because I don't have   ·1· · · · · procedure with you.
·2· · · · · a second copy of this thing.                             ·2· ·A· · · I told you Dr. Webber told me with surgery under
·3· · · · · · · · · · · ·Let's read the record here.· And I'm        ·3· · · · · anesthetics it's always risky.· That's what -- the
·4· · · · · reading page 575 of the DMC records.· Can you read       ·4· · · · · discussion we had.
·5· · · · · this particular sentence right here to yourself?· No.    ·5· ·Q· · · Okay.
·6· · · · · Why don't you read that sentence out loud for me,        ·6· ·A· · · He said I was a young man.· I had a strong heart.
·7· · · · · starting with "after."                                   ·7· · · · · · · · · · · ·MR. SCARBER:· Move to strike.
·8· ·A· · · "After patient was made aware" -- "After patient was     ·8· ·BY MR. SCARBER:
·9· · · · · made aware of all risk and benefits of the procedure,    ·9· ·Q· · · Let me ask you this question.· This is Dr. Webber's
10· · · · · including the //limited, the risk of heart attack,       10· · · · · record from his operative report.· Are you saying that
11· · · · · stroke, death, infection, the potential need for         11· · · · · if Dr. Webber signed this operative report saying he
12· · · · · respitation (sic)" --                                    12· · · · · discussed these particular things --
13· ·Q· · · Reoperation.                                             13· ·A· · · Am I saying?
14· ·A· · · -- "reoperation and the potential for a leak,            14· ·Q· · · I didn't even finish my question.
15· · · · · potential for damage to the surrounding structures" --   15· · · · · · · · · · · ·MR. CROSS:· Let him finish.
16· ·Q· · · Okay.· Stop right there.· Do you recall that Dr.         16· ·BY MR. SCARBER:
17· · · · · Webber discussed those particular things with you that   17· ·Q· · · Are you testifying today that if Dr. Webber prepared
18· · · · · you just read on the record just now?                    18· · · · · this record and signed this record and represents that
19· ·A· · · I don't recall.                                          19· · · · · this is his medical record, are you telling us that
20· ·Q· · · You don't know if he discussed those with you?           20· · · · · Dr. Webber is being untruthful with this medical
21· ·A· · · It was a while ago, sir.                                 21· · · · · record?
22· ·Q· · · But he did discuss with you that there --                22· ·A· · · I never said anything about Dr. Webber being
23· · · · · · · · · · · ·VIDEOGRAPHER:· Wait a second.· You're not   23· · · · · untruthful.
24· · · · · wearing your microphone.                                 24· ·Q· · · So are you telling us that this record is not true?
25· ·A· · · I don't --                                               25· ·A· · · I'm telling you I don't recall.

                                                                                                                       Pages 89–92
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1729 Filed 09/14/21 Page 25 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                           Page 93                                                              Page 95
·1· ·Q· · · Okay.· You don't recall?                               ·1· · · · · couldn't tell you.· You know what I mean?
·2· ·A· · · I don't recall.· I can't tell you that I remember if I ·2· ·Q· · · But my question is to you, do you disagree with
·3· · · · · don't remember.· I'm telling you what I do remember ·3· · · · · anything that I just read to you?
·4· · · · · Dr. Webber saying, about me being a young man and ·4· ·A· · · Do I disagree?· Read it again.
·5· · · · · having a strong heart.                                 ·5· ·Q· · · Quote, male who presented originally for evaluation of
·6· ·Q· · · Move to strike again, at least the last part of your   ·6· · · · · colostomy reversal.· At an outside hospital in Port
·7· · · · · response.                                              ·7· · · · · Huron on December 10, 2016, he underwent an
·8· · · · · · · · · · · ·Dr. Webber writes in his record from June ·8· · · · · exploratory laparotomy with sigmoid colectomy and
·9· · · · · 19, 2019, that -- I'll quote it -- "Male who presented ·9· · · · · Hartmann's procedure for suspected perforated
10· · · · · originally for evaluation of colostomy reversal.· At   10· · · · · diverticulitis.· At that time the urologist did fix
11· · · · · an outside hospital in Port Huron, on December 10,     11· · · · · his urinary bladder and there was an injury to it.· He
12· · · · · 2016, he underwent an exploratory laparotomy with 12· · · · · now has no issues, end quote.
13· · · · · sigmoid colectomy and Hartmann's procedure for a       13· · · · · · · · · · · ·Do you disagree with anything that I just
14· · · · · suspected perforated diverticulitis.· At that time the 14· · · · · read there?
15· · · · · urologist also did a fix -- did fix his urinary        15· ·A· · · I don't understand.· I don't understand how I would
16· · · · · bladder as there was an injury to it.· He now has no   16· · · · · disagree with it or agree.· I wouldn't say I agree or
17· · · · · issues, end quote.                                     17· · · · · disagree, because I don't know -- you just read some
18· · · · · · · · · · · ·That is Dr. Webber's record.· Are you     18· · · · · stuff -- some medical history on whatever is there. I
19· · · · · saying that that record is not true?                   19· · · · · don't know what question you asking me about it.
20· ·A· · · I didn't say anything.                                 20· ·Q· · · Do you agree on December 10th you underwent a
21· ·Q· · · Do you agree with that record that I just said?        21· · · · · procedure with Dr. Kansakar?
22· ·A· · · What do you mean?                                      22· ·A· · · I underwent a procedure on December 10th.· I agree
23· ·Q· · · Do you agree with the history that I just read to you? 23· · · · · with that.· I did do that.
24· ·A· · · What do you mean?                                      24· ·Q· · · You may not know exactly what it's called; correct?
25· ·Q· · · Do you agree that the statements that I just read to   25· ·A· · · The Hartmann's procedure?
                                                           Page 94                                                              Page 96
·1· · · · · you would be true?                                       ·1· ·Q· · · Yeah.
·2· ·A· · · As far as what?· Did Dr. Webber write that?              ·2· ·A· · · Yes, I do.
·3· ·Q· · · Not only -- not did he write it, but do you agree that   ·3· ·Q· · · Okay.· What's your understanding of the Hartmann's
·4· · · · · those statements that I just read to you, the history,   ·4· · · · · procedure?
·5· · · · · the truthfulness of that, do you agree that that is a    ·5· ·A· · · I wouldn't have an understanding of it.· What do you
·6· · · · · true statement by Dr. Webber?                            ·6· · · · · mean?
·7· ·A· · · I don't know if it was a true statement, but Dr.         ·7· ·Q· · · Well, you said you agree you underwent a Hartmann's
·8· · · · · Webber I know is reading there on that paper.            ·8· · · · · procedure; correct?
·9· ·Q· · · Okay.· Then do you disagree with what I just read to     ·9· ·A· · · Yes.
10· · · · · you?· Disagree that that's not true.                     10· ·Q· · · Okay.· You agree that the urologist fixed your urinary
11· ·A· · · I don't know enough about it to disagree or agree.       11· · · · · bladder at that time?
12· ·Q· · · So you're not saying it's not true; right?               12· ·A· · · Yes.
13· ·A· · · I don't know -- what you talking about?· What's not      13· ·Q· · · You would agree that you presented for a colostomy
14· · · · · true?                                                    14· · · · · reversal with Dr. Webber?
15· ·Q· · · Are you saying that the record that I just read to       15· ·A· · · Yes, sir.
16· · · · · you, the history from the record that I just read to     16· ·Q· · · You would agree that at the time you presented for the
17· · · · · you --                                                   17· · · · · colostomy reversal with Dr. Webber you weren't having
18· ·A· · · The history.                                             18· · · · · any issues with the colostomy, colostomy reversal --
19· ·Q· · · -- is a lie?                                             19· ·A· · · Hold on.
20· ·A· · · The history from the record.· I'm kind -- that's where   20· ·Q· · · So let me ask the question again.· You would agree
21· · · · · you're confusing me at.· The history from the record.    21· · · · · that as to the colostomy itself, at the time of your
22· · · · · What do you mean?· Am I saying -- I'm not trying to      22· · · · · surgical procedure with Dr. Webber, you weren't having
23· · · · · cut you off but I'm trying to get the question more      23· · · · · any physical problems with the colostomy at that
24· · · · · clear.· Are you saying that am I saying that what you    24· · · · · point; correct?
25· · · · · have written on that piece of paper is a lie? I          25· ·A· · · You kind of confusing.· Can I explain to you -- ask

                                                                                                                       Pages 93–96
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1730 Filed 09/14/21 Page 26 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 97                                                               Page 99
·1· · · · · you what the question was and then you tell me --        ·1· · · · · having the same pain in my stomach and I told Dr.
·2· ·Q· · · Let me try to ask it again.                              ·2· · · · · Webber after the reversal.· He looked at it and said
·3· ·A· · · Okay.                                                    ·3· · · · · it may be a hernia.· So that's why I'm --
·4· ·Q· · · When you presented for the colostomy --                  ·4· ·Q· · · Did he ever tell you you actually had a hernia?
·5· ·A· · · When I presented for.· That's what I'm asking.· When I   ·5· ·A· · · He didn't say actually you have a hernia but he said
·6· · · · · presented for.· What do you mean, present?               ·6· · · · · it was a suspected hernia and it's in the records.
·7· ·Q· · · When you were getting ready to undergo your colostomy    ·7· ·Q· · · What records are you referring to?
·8· · · · · reversal with Dr. Webber --                              ·8· ·A· · · The last visit I had at Harper Hospital, that's what
·9· ·A· · · Okay.                                                    ·9· · · · · we talked about.
10· ·Q· · · -- you would agree with me that particular time, prior   10· ·Q· · · Can you get the records out that you're talking about?
11· · · · · to you getting ready to undergo your procedure with      11· · · · · You just said it's in the records.
12· · · · · him for the colostomy reversal, you weren't having any   12· ·A· · · I'm for sure it is.· I have been there.· I went there
13· · · · · physical issues with the colostomy that was in place     13· · · · · and that's what we talked about.· I don't have the
14· · · · · at that particular time; correct?                        14· · · · · records that I could get out, but they --
15· ·A· · · I had been -- I had been having -- since I had the       15· · · · · · · · · · · ·MR. CROSS:· I believe we've given you
16· · · · · colostomy I had been having, you know, different         16· · · · · guys all the records.
17· · · · · little cramping or whatever, but -- you know what I'm    17· · · · · · · · · · · ·MR. SCARBER:· Can I see the records he's
18· · · · · saying?· That's all I can say.· I'd been having that     18· · · · · reviewed and what he's talking about?· He said he
19· · · · · since prison.                                            19· · · · · reviewed something over the weekend.
20· ·Q· · · So you had some cramping; correct?                       20· · · · · · · · · · · ·THE WITNESS:· I didn't say that. I
21· ·A· · · Uh-huh.                                                  21· · · · · didn't say that.
22· ·Q· · · But that's all you can recall?                           22· ·BY MR. SCARBER:
23· ·A· · · Uh-huh.                                                  23· ·Q· · · I thought you said you reviewed something in
24· ·Q· · · And if he indicates in his records or in his testimony   24· · · · · preparation for your deposition over the weekend and
25· · · · · that you were not having any particular issues at that   25· · · · · that it was medical records.
                                                          Page 98                                                             Page 100
·1· · · · · particular time from a medical standpoint, would you     ·1· ·A· · · Okay.· I never said nothing about me reviewing over
·2· · · · · agree with him?                                          ·2· · · · · the weekend Dr. Webber talking to me about my hernia.
·3· ·A· · · What you mean?· If he --                                 ·3· · · · · I didn't say that.· I never --
·4· ·Q· · · If his reports --                                        ·4· ·Q· · · Let me wait for your attorney.
·5· ·A· · · Nah, I can't even agree with his report, if I was. I     ·5· · · · · · · · · · · ·VIDEOGRAPHER:· Want to go off the record?
·6· · · · · told you I was having cramping just now.                 ·6· · · · · · · · · · · ·MR. SCARBER:· We can go off the record.
·7· ·Q· · · Cramping?                                                ·7· · · · · · · · · · · ·VIDEOGRAPHER:· We are going off the
·8· ·A· · · Yes.                                                     ·8· · · · · record.· It's 2:09 p.m.
·9· ·Q· · · Okay.· Describe the cramping you were having.            ·9· · · · · · · · · · · ·(Whereupon, a recess was held.)
10· ·A· · · Like, sharp pains.· Because I believe --                 10· · · · · · · · · · · · · · ·-· - -
11· ·Q· · · Just describe --                                         11· · · · · · · · · · · ·VIDEOGRAPHER:· We are back on the record.
12· ·A· · · It's just a sharp pain.                                  12· · · · · It is 2:17 p.m.
13· ·Q· · · Sharp pain.                                              13· ·BY MR. SCARBER:
14· ·A· · · Yeah.                                                    14· ·Q· · · Okay.· We took a brief intermission, Mr. Jackson.· You
15· ·Q· · · Where was the sharp pain?                                15· · · · · had referenced something about having a subsequent
16· ·A· · · On my right side of my abdominal.· Because I went to     16· · · · · visit with Dr. Webber, maybe in the fall or August or
17· · · · · go see Dr. Webber and he said it could possibly be a     17· · · · · sometime in 2019.
18· · · · · hernia.                                                  18· ·A· · · Yes.
19· ·Q· · · Was it a hernia, that you know of?                       19· ·Q· · · Neither your counsel nor I have that record nor does
20· ·A· · · I believe it is.· I'm afraid of getting cut back open    20· · · · · cocounsel for the other defendants in this case.
21· · · · · right now, recently, at this time.· Dr. Webber           21· ·A· · · Because it was --
22· · · · · discussed with me if it was a hernia, he have to cut     22· ·Q· · · So what we're going to do is, I'm going to move on
23· · · · · it out.· But that's the same problems I was having       23· · · · · from that part of this.· If we get that record, we'll
24· · · · · before the reversal.· Like, the same exact pain I was    24· · · · · reserve the right to come back and ask questions about
25· · · · · having in prison.· I told the people in prison I was     25· · · · · it.

                                                                                                                      Pages 97–100
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1731 Filed 09/14/21 Page 27 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 101                                                             Page 103
·1· ·A· · · Okay.                                                    ·1· ·Q· · · And you don't dispute that you signed such consent
·2· ·Q· · · Obviously, we're not saying you're lying.· We're just    ·2· · · · · forms prior to having the surgery?
·3· · · · · saying we don't have it, and since we don't have it,     ·3· ·A· · · No, I don't dispute that.
·4· · · · · we can't really cross-examine you about what happened.   ·4· ·Q· · · And you also agree that you would have signed consent
·5· · · · · That's what I'm saying.· Because you're testifying       ·5· · · · · forms prior to you having the original colostomy back
·6· · · · · from your memory and I don't have anything to verify     ·6· · · · · in 2016 with Dr. Kansakar?
·7· · · · · whatever it is you're saying, to ask you about, like I   ·7· ·A· · · Yeah.· I signed consent forms with Dr. Kansakar.· And
·8· · · · · have these records.· So I'm going to move on and let     ·8· · · · · that's the thing, because they told me the bag was
·9· · · · · me just --                                               ·9· · · · · going to come off in two months.
10· ·A· · · Because you all usually -- by being Dr. Webber's         10· ·Q· · · My question is, did you -- and we can get to that or
11· · · · · clinic --                                                11· · · · · your counsel can get to that -- but my question is --
12· ·Q· · · It's possible that maybe this is in a different area     12· ·A· · · But I'm trying to figure out did I sign something that
13· · · · · or different record than what we have.                   13· · · · · said the bag was going to come off.
14· ·A· · · Okay.· Thank you.                                        14· ·Q· · · That's not what I'm asking.· I'm not asking you that.
15· ·Q· · · And the three of us, we'll work on trying to figure      15· ·A· · · Okay.
16· · · · · out if there is something else -- if there's something   16· ·Q· · · What I'm asking is, you would agree that prior to her
17· · · · · else, and then we'll try to obtain it and follow up on   17· · · · · performing the surgery you would have signed consent
18· · · · · it.                                                      18· · · · · forms basically saying I understand that there are
19· ·A· · · Okay.                                                    19· · · · · risks that would be associated with this particular
20· ·Q· · · But you've already indicated to me, at least what        20· · · · · procedure and those risks can be infection, bleeding,
21· · · · · occurred, I believe, leading up to your visit with Dr.   21· · · · · loss of sensation, some paralysis, death.· You
22· · · · · Webber.                                                  22· · · · · understand that those were risks that were associated
23· · · · · · · · · · · ·So how many visits did you have with Dr.    23· · · · · and you had to sign off on that before you had the
24· · · · · Webber before he did his surgery on you in June of       24· · · · · surgery; correct?
25· · · · · 2019?                                                    25· ·A· · · Yeah, I signed that paper.
                                                         Page 102                                                             Page 104
·1· ·A· · · I believe it was maybe two but I can't recall for        ·1· ·Q· · · Okay.· Now, when you came to the MDOC in March of 2017
·2· · · · · sure.                                                    ·2· · · · · from the jail, it's my understanding from your prior
·3· ·Q· · · At the time you saw Dr. Webber in June of -- in the      ·3· · · · · testimony that when you had gotten to the jail -- I'm
·4· · · · · time -- in those times prior to the June 2019 reversal   ·4· · · · · sorry -- when you had gotten to the prison, that your
·5· · · · · surgery, was your colostomy at that point functional,    ·5· · · · · stoma site had healed up at that point; correct?
·6· · · · · meaning that it worked and you were able to use it?      ·6· ·A· · · As far as me not needing the rings?
·7· ·A· · · Yes, sir.                                                ·7· ·Q· · · Yes.
·8· ·Q· · · And you would agree that it was functional at least up   ·8· ·A· · · And it was a flat flush, yeah, more so.
·9· · · · · until the time he performed the surgery on you in June   ·9· ·Q· · · So when you got to the prison, then, you were able to
10· · · · · of 2019?                                                 10· · · · · use the paste at that point; correct?
11· ·A· · · Yes, sir.                                                11· ·A· · · Yes, sir, I was able to use the paste.
12· ·Q· · · If the -- do you recall that you would have signed any   12· ·Q· · · And it's my understanding from having reviewed some of
13· · · · · consent forms concerning the surgery that he performed   13· · · · · the records in this case that when you arrived at the
14· · · · · on you?· Let me --                                       14· · · · · prison you were very upset that you had not had your
15· ·A· · · Do I recall if I signed any?                             15· · · · · reversal done in February of 2017; correct?
16· ·Q· · · Yes.                                                     16· ·A· · · I was more so hurt than upset.
17· ·A· · · I'm sure I did.                                          17· ·Q· · · And you conveyed your dissatisfaction with the jail
18· ·Q· · · And you understand that when you signed a consent form   18· · · · · when you came to prison; correct?
19· · · · · prior to someone performing a surgery on you, that's     19· ·A· · · What do you mean?· I just explained that the fact that
20· · · · · basically where you are acknowledging that there are     20· · · · · I was in the prison's care and they didn't reverse my
21· · · · · potential risks that could happen, bad things that       21· · · · · bag, I felt like I was going to have to keep it.
22· · · · · might go wrong, and you're just indicating that you      22· ·Q· · · No.· My question is when you came to the prison in
23· · · · · have an understanding that there are risks and           23· · · · · March of 2017 --
24· · · · · something could happen; correct?                         24· · · · · · · · · · · ·MR. WILLIS:· You're breaking up here. I
25· ·A· · · Correct.                                                 25· · · · · can't hear anything that you're saying.· Sorry.


                                                                                                                    Pages 101–104
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1732 Filed 09/14/21 Page 28 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 105                                                             Page 107
·1· · · · · · · · · · · ·THE WITNESS:· Who?· Me?· Who you talking    ·1· · · · · correct?
·2· · · · · about?                                                   ·2· ·A· · · When I got there to the prison, they didn't have the
·3· · · · · · · · · · · ·MR. WILLIS:· Yes, yes, the witness.         ·3· · · · · correct colostomy -- the patches.· They didn't have
·4· · · · · · · · · · · ·MR. SCARBER:· Okay.· Let me reask the       ·4· · · · · the correct patches that I needed to fit my stoma.
·5· · · · · question again.                                          ·5· · · · · And when you don't have the correct patches to fit
·6· · · · · · · · · · · ·THE WITNESS:· Can you hear me now?· You     ·6· · · · · your stoma, then your feces get packed all around.
·7· · · · · can hear me clearly?                                     ·7· · · · · The rest, it doesn't come straight out in the back.
·8· · · · · · · · · · · ·MR. WILLIS:· I can now.                     ·8· · · · · It comes out and gets packed around your skin.· So
·9· ·BY MR. SCARBER:                                                 ·9· · · · · when I first came to the jail -- when I came to RGC,
10· ·Q· · · My question was, when you had come to the jail -- when   10· · · · · or whatever, they didn't have the correct size for me.
11· · · · · you had left the jail in March of 2017 and had come to   11· ·Q· · · Okay.· Did they ultimately order the correct size for
12· · · · · the prison, you were expressing concerns at that         12· · · · · you?
13· · · · · point --                                                 13· ·A· · · Yeah.· It took about two weeks before they got them.
14· ·A· · · About having the bag forever?                            14· ·Q· · · Okay.
15· ·Q· · · -- about having problems with the jail and you not       15· ·A· · · So during that time, you know, I had a lot of issues
16· · · · · being able to have your colostomy reversal while you     16· · · · · with the bag -- with the smelling, with the stuff
17· · · · · were in jail; correct?                                   17· · · · · being packed around the edges.· It wasn't sealing up.
18· ·A· · · I was discussing that with who?                          18· · · · · The bag even came off on me before -- you know, while
19· ·Q· · · With the medical staff that worked for the jail.         19· · · · · I was out in the yard I had feces all over me and the
20· ·A· · · Oh, yeah, yeah.· I definitely made them aware.           20· · · · · guys were looking at me crazy.
21· ·Q· · · And at that point you were already talking about         21· ·Q· · · Let me ask you this:· You're talking about when you
22· · · · · potentially filing a lawsuit even when you originally    22· · · · · first came in there during that two-week period?
23· · · · · came to the prison; correct?                             23· ·A· · · Yes.
24· ·A· · · Yes.                                                     24· ·Q· · · Okay.· Now, after the two-week period is up, though,
25· ·Q· · · Okay.                                                    25· · · · · they end up ordering the correct supplies; correct?
                                                         Page 106                                                             Page 108
·1· ·A· · · When I came to the prison, I was talking about filing    ·1· ·A· · · No.· They ordered the correct supplies that time but
·2· · · · · a lawsuit because of the fact that they didn't reverse   ·2· · · · · they also had wrong supplies throughout the whole time
·3· · · · · my colostomy bag because Ms. Colleen got mad at me       ·3· · · · · I was there.· They would run out and I would have to
·4· · · · · because I deflated my catheter and she told me that --   ·4· · · · · make do with what they had.· Like, one particular time
·5· · · · · when I talked to her about my reversal, that it was a    ·5· · · · · I went to health care and they had a different brand
·6· · · · · financial problem and it had been postponed.             ·6· · · · · of bags but -- you know, then the patches, and it kind
·7· ·Q· · · When you came to the -- to the jail -- I'm sorry -- to   ·7· · · · · of fit.· It looked like it fit it but after, like, a
·8· · · · · the prison in March of 2017, you actually saw somebody   ·8· · · · · couple of minutes it would, like, ease itself off.
·9· · · · · about your reversal; correct?                            ·9· · · · · The bag would ease itself off the patch.· And the bag
10· ·A· · · No.                                                      10· · · · · came off on me then in the yard.
11· ·Q· · · I'm sorry.· I'm sorry.· Let me strike my question.       11· ·Q· · · Do you remember what particular time period we're
12· · · · · Let me ask it again.                                     12· · · · · talking about?· I do have something that --
13· · · · · · · · · · · ·When you came to the prison in 2017 of      13· ·A· · · Yeah.
14· · · · · March, they actually did an assessment on you.· You      14· ·Q· · · Okay.· You go ahead.· I'm sorry.
15· · · · · would agree with that?                                   15· ·A· · · I remember one specific time when I moved from Jackson
16· ·A· · · Assessment, yeah.                                        16· · · · · to St. Louis and I got there and they didn't even have
17· ·Q· · · You told them that you were having -- that you had a     17· · · · · none of my supply.· They gave me a hole patch for
18· · · · · colostomy.                                               18· · · · · somebody else.· Like, the hole was, like, way big.
19· ·A· · · Uh-huh.                                                  19· · · · · This is, like, this fit somebody else.· They didn't
20· ·Q· · · They knew you had a colostomy.                           20· · · · · have my bags.· It was like a lot of times when they
21· ·A· · · Yes, sir.                                                21· · · · · wouldn't have my bags and I would just rinse the bags
22· ·Q· · · They performed X-rays on you and labs and everything.    22· · · · · out and just wash them.· They're disposable but you
23· · · · · Do you recall that?                                      23· · · · · supposed to be able to rinse them out, but I would,
24· ·A· · · Yes, sir.                                                24· · · · · like, rinse them out and have them for, like, a week
25· ·Q· · · They ordered colostomy supplies for you at that point;   25· · · · · or two.· You know what I mean?· Because they wouldn't


                                                                                                                    Pages 105–108
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1733 Filed 09/14/21 Page 29 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 109                                                            Page 111
·1· · · · · have the supplies at the right time.· Yeah.              ·1· · · · · · · · · · · ·(Whereupon, a recess was held.)
·2· ·Q· · · I have that you got to the prison on March 23, 2017,     ·2· · · · · · · · · · · · · · ·-· - -
·3· · · · · and per the records an order for colostomy supplies      ·3· · · · · · · · · · · ·VIDEOGRAPHER:· We are back on the record.
·4· · · · · was immediately put in for you.                          ·4· · · · · It is 2:35 p.m.
·5· ·A· · · Yeah, but when --                                        ·5· ·BY MR. SCARBER:
·6· ·Q· · · Let -- I've got to ask the question.                     ·6· ·Q· · · Mr. Jackson, we were talking about the supplies that
·7· ·A· · · Okay.                                                    ·7· · · · · you were receiving.· I have another record of 4/7 --
·8· ·Q· · · And then I have that you picked up colostomy supplies    ·8· · · · · of April 7th of 2017 where it indicates that you
·9· · · · · on March 31st of 2017.                                   ·9· · · · · picked up colostomy supplies as well.· And you may not
10· ·A· · · March the 31st of 2017.· Yeah.· I had to wait on them.   10· · · · · remember all of these exact dates, but let me ask you
11· · · · · I was there without supplies a week or two.              11· · · · · a question.· Would it be fair to say that over the
12· ·Q· · · You didn't have any supplies when you got there?         12· · · · · course of your time at the Michigan Department of
13· ·A· · · I had to make do with what I had on.· I'm talking        13· · · · · Corrections that you would have picked up colostomy
14· · · · · about the bag that I had on when I got to the jail.      14· · · · · supplies sometimes on a twice a month or at least a
15· ·Q· · · So -- okay.                                              15· · · · · monthly basis?· Would you agree with that?
16· ·A· · · And then they gave me the supplies that were improper,   16· ·A· · · Uh-huh.· When they had the right ones, yes.
17· · · · · because that's what they had at the prison.· I had to    17· ·Q· · · You're not saying that you think that somebody --
18· · · · · wait for them to order them, but the whole time I was    18· · · · · let's say they had the wrong thing or you needed a
19· · · · · waiting on them to order them, I didn't have the right   19· · · · · different supply.· You're not saying that they were
20· · · · · stuff.· My stuff leaked.· It would leak, it would        20· · · · · intentionally trying to give you some kind of bad
21· · · · · smell, because it would get worn out.· You know what I   21· · · · · supply or something like that.· What you're saying is
22· · · · · mean?                                                    22· · · · · that they either ordered the wrong thing or they
23· ·Q· · · Right.                                                   23· · · · · didn't have it or they gave you something that didn't
24· ·A· · · It was disposable.                                       24· · · · · work; right?
25· ·Q· · · And then they ended up getting the supplies, you said,   25· ·A· · · I don't know, but I assume.
                                                          Page 110                                                            Page 112
·1· · · · · about two weeks later; correct?                          ·1· ·Q· · · You assume what?
·2· ·A· · · I can't tell you exact time because I don't want to --   ·2· ·A· · · I don't know what happened, but I assume that's what
·3· · · · · you know what I'm saying?· I don't know exact but I      ·3· · · · · happened.· I can't tell you what happened.· I can't
·4· · · · · know it wasn't that same day or two.· I had to go        ·4· · · · · guess.
·5· · · · · without.· You know what I mean?                          ·5· ·Q· · · You don't --
·6· ·Q· · · My only question is -- and I think you testified -- I    ·6· ·A· · · I don't know what happened with the supply.· I'm just
·7· · · · · don't want to backtrack over what we already covered,    ·7· · · · · telling you what happened.· I can't say whether they
·8· · · · · but my only question is -- I think we talked about       ·8· · · · · intentionally or not.· I don't know.· I just tell you
·9· · · · · that point and you said they ended up ordering it and    ·9· · · · · what happened.
10· · · · · you got the stuff about a couple weeks later.· Right?    10· ·Q· · · But you're not alleging that somehow there was some
11· ·A· · · And then they ran out again and I had to do the same     11· · · · · kind of conspiracy to give you the wrong supplies or
12· · · · · thing, when they ran out again.                          12· · · · · anything like that; right?· You're just saying that
13· ·Q· · · Then my question for you is:· I have that throughout     13· · · · · sometimes some things didn't work and you had to get
14· · · · · your stay --                                             14· · · · · something different; correct?
15· · · · · · · · · · · ·MR. WILLIS:· The screen is cutting out      15· ·A· · · Yeah.· I mean, I never said it was conspiracy in the
16· · · · · and it's hard to -- I can't hear anything.               16· · · · · first place.· I don't know what you mean.· I'm just
17· · · · · · · · · · · ·MR. SCARBER:· It's not your fault.          17· · · · · telling you the facts.· They didn't have my supplies a
18· · · · · · · · · · · ·VIDEOGRAPHER:· Connection.· I'm sure it's   18· · · · · lot of times and I had to make do with the supplies
19· · · · · the bandwidth.                                           19· · · · · that didn't fit and leaked on me sometime.
20· · · · · · · · · · · ·Here.· Yeah.· You want to go off? I         20· ·Q· · · Okay.· But not all the time but --
21· · · · · can't do it while we're --                               21· ·A· · · Not all the time, no.
22· · · · · · · · · · · ·MR. SCARBER:· We got to fix it, Ken, so     22· ·Q· · · And you're not saying that they deliberately said,
23· · · · · we'll stop for a second.                                 23· · · · · "Oh, here comes Mr. Jackson.· Let's give him the wrong
24· · · · · · · · · · · ·VIDEOGRAPHER:· We're going off the          24· · · · · supplies" or something like that; right?· Or "let's
25· · · · · record.· It is 2:32 p.m.                                 25· · · · · give him something that doesn't work."· Right?

                                                                                                                    Pages 109–112
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1734 Filed 09/14/21 Page 30 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 113                                                             Page 115
·1· ·A· · · I don't know.· I can't speak for other people.           ·1· ·Q· · · Okay.· But for the jail you've got a specific
·2· ·Q· · · But you're not alleging that they somehow did that;      ·2· · · · · allegation that you think somebody deliberately did
·3· · · · · right?                                                   ·3· · · · · something to you to stop you from getting the surgery.
·4· ·A· · · I can't speak for other people.· I don't know why they   ·4· · · · · Am I correct?· You just said that.
·5· · · · · did or what they did.                                    ·5· ·A· · · Yes.
·6· ·Q· · · I know you can't speak --                                ·6· ·Q· · · But for the MDOC people -- that's what I'm getting at.
·7· ·A· · · It's just I don't know.· That's the answer:· I don't     ·7· ·A· · · Okay.
·8· · · · · know.                                                    ·8· ·Q· · · The MDOC people, do you have that same kind of
·9· ·Q· · · Okay.· But we're in a lawsuit and I'm just trying to     ·9· · · · · evidence or did you have that same kind of
10· · · · · make sure that you're not saying that somehow they --    10· · · · · conversation with somebody where they deliberately
11· ·A· · · I don't know.                                            11· · · · · said, "I'm going to stop you from getting your
12· ·Q· · · -- they somehow said, "Let's make sure we give Mr.       12· · · · · supplies" or I'm going to stop you from being able to
13· · · · · Jackson the wrong supplies or give him something that    13· · · · · have a bag for a few days or an extra week," or
14· · · · · doesn't work for him."· Right?                           14· · · · · something like that?
15· ·A· · · I don't know what they did for -- that's all.· I don't   15· · · · · · · · · · · ·MR. WILLIS:· Objection to form on that
16· · · · · know.· I'm not saying anything.· I don't know.           16· · · · · one.· Go ahead.
17· ·Q· · · Well, now is the time I've got to ask you.· Do you       17· ·BY MR. SCARBER:
18· · · · · have any proof as we sit here today that somehow one     18· ·Q· · · Answer the question.
19· · · · · of the nurses somehow said, "Let's make sure" --         19· ·A· · · I didn't have no conversation with no one about that.
20· ·A· · · You're talking about Nurse Colleen?                      20· ·Q· · · Okay.· So you're not going to come back next month or
21· ·Q· · · No.                                                      21· · · · · in a couple of weeks and say, "Oh, by the way, one of
22· ·A· · · You said one of the nurses.                              22· · · · · these people told me that they were trying to never
23· ·Q· · · I didn't even finish.· My question is -- I'm talking     23· · · · · give me a bag and trying to make my life miserable
24· · · · · about the prison at this point.· From March 23, 2017     24· · · · · because of the colostomy."· Right?
25· · · · · forward.· You're not claiming that somehow one of the    25· ·A· · · I can't say that.
                                                         Page 114                                                             Page 116
·1· · · · · nurses in the prison specifically said, "Here comes    ·1· ·Q· · · Well, I need --
·2· · · · · Mr. Jackson.· I'm going to deliberately try to give    ·2· · · · · · · · · · · ·MR. CROSS:· Just answer his question.
·3· · · · · him the wrong kind of supply for his colostomy."       ·3· ·A· · · I'm saying I don't know how to answer.· You're saying
·4· ·A· · · I can't say -- what do you mean?                       ·4· · · · · I'm not going to tell you because I never said that --
·5· ·Q· · · Well --                                                ·5· · · · · I never said that.· What do you mean?
·6· ·A· · · I can't speak for other people.· That's what I'm       ·6· ·BY MR. SCARBER:
·7· · · · · telling you.· I don't know why they ran out of my      ·7· ·Q· · · I got it.· I just want to make sure you're not saying
·8· · · · · supplies.· Why they didn't have them.· I do not know. ·8· · · · · that.· That's why I'm here, to kind of figure out --
·9· · · · · That's all I'm telling you.· I can't answer nothing I  ·9· ·A· · · You want to --
10· · · · · don't know.· That's it.                                10· ·Q· · · I'm here to figure out and make sure that --
11· ·Q· · · But I guess for my purposes for the deposition, then, 11· ·A· · · My answer to the question is I don't know why the
12· · · · · for the lawsuit, if you're claiming that somehow one   12· · · · · people not giving me the bags and the supplies that I
13· · · · · of the nurses or one of the health professionals       13· · · · · needed.
14· · · · · specifically told -- specifically came up with some    14· ·Q· · · Okay.
15· · · · · idea not to give you correct supplies intentionally or 15· ·A· · · And that was my answer to the question.
16· · · · · something like that, I need to know that that's what   16· ·Q· · · And I think I got your answer.· So if you don't know,
17· · · · · you're claiming.                                       17· · · · · then you're not claiming that --
18· ·A· · · Okay.· I got you.· I'm claiming that Nurse Colleen     18· ·A· · · I'm just saying I don't know.
19· · · · · intentionally cancelled my surgery, my reversal.       19· ·Q· · · But if you're claiming --
20· · · · · That's what I'm claiming.· She cancelled my surgery. 20· ·A· · · I don't mean to laugh.
21· · · · · She intentionally did.· Because when I asked her about 21· ·Q· · · My job is to kind of come here and figure out what
22· · · · · it, she said that it was postponed for financial       22· · · · · your claim is, as well as that's what Mr. Willis is
23· · · · · reasons.                                               23· · · · · trying to do, too.· That's a part of what we're doing.
24· ·Q· · · Okay.· But I'm talking about the MDOC now.             24· · · · · · · · · · · ·So if you were claiming that you had a
25· ·A· · · Okay.· I don't know why they ran out of supplies.      25· · · · · conversation with somebody from the MDOC and they told


                                                                                                                    Pages 113–116
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1735 Filed 09/14/21 Page 31 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 117                                                             Page 119
·1· · · · · you "We're not going to give you your bag" or "We're     ·1· · · · · lot of times they didn't have them and I had to make
·2· · · · · going to make life miserable for you," or "We are        ·2· · · · · do.· I still wasted stuff on my butt when I didn't
·3· · · · · intentionally or deliberately not going to give you      ·3· · · · · have the right supplies.· But nobody specifically
·4· · · · · some supplies or mess up an order" or something like     ·4· · · · · said, "Hey, we're not going to give you the right
·5· · · · · that, that's what I need to know.· Do you have any       ·5· · · · · supplies."· Is that the question?
·6· · · · · evidence or any specific claim like that?                ·6· ·Q· · · That's what I'm asking you.
·7· ·A· · · What do you mean?· Do I have any specific claim or any   ·7· ·A· · · Okay.· There you go.
·8· · · · · evidence that someone in MDOC said they was going to     ·8· ·Q· · · Okay.
·9· · · · · specifically not give me my stuff that I needed? I       ·9· ·A· · · Nobody told me that, like, "I'm not going to give you
10· · · · · never said that.· What do you mean?· I didn't say        10· · · · · the right supplies," purposely.· I'm not saying that's
11· · · · · that.                                                    11· · · · · the reason why they didn't have them.
12· ·Q· · · But you're not claiming that.· That's what I'm getting   12· ·Q· · · Listen.
13· · · · · at.· Right?                                              13· ·A· · · You know what I mean?
14· ·A· · · I don't know.· It's kind of -- you kind of confusing     14· ·Q· · · But I've got cut to you off, because once you answer
15· · · · · me.                                                      15· · · · · the question, I've got to move on.· That's why I keep
16· ·Q· · · You never said anything like that; correct?              16· · · · · coming back, because it's, like, you're giving me an
17· ·A· · · What do you mean?· You got to be specific before I say   17· · · · · answer -- I think I got your answer -- and then you
18· · · · · yes.                                                     18· · · · · say something after it and then I have to go back and
19· ·Q· · · You just answered the question and said you never said   19· · · · · make sure I actually thought I was thinking correctly
20· · · · · anything like somebody from the MDOC was doing           20· · · · · that you answered the question.
21· · · · · anything like that; correct?                             21· ·A· · · Yeah, yeah.· Makes perfect sense.
22· ·A· · · No.· I said that I never said nothing like that.         22· ·Q· · · So once you answer the question...
23· · · · · Like, I never said -- I never said that I said           23· · · · · · · · · · · ·Who gave you your supplies when you were
24· · · · · somebody from MDOC was not doing nothing correct. I      24· · · · · in MDOC?
25· · · · · didn't say that.· That's not what I answered the         25· ·A· · · Health care.
                                                         Page 118                                                             Page 120
·1· · · · · question for.· I said that I never said that someone     ·1· ·Q· · · Was it a nurse that gave it to you?
·2· · · · · intentionally didn't give me my bags or whatever. I      ·2· ·A· · · It was always a nurse, or someone working down in
·3· · · · · didn't say that.· I'm not agreeing.· I'm saying I        ·3· · · · · health care.
·4· · · · · don't know why they didn't give them to me.· That's      ·4· ·Q· · · Do you remember any of the nurses at MDOC?
·5· · · · · what I said.                                             ·5· ·A· · · Uh-uh.
·6· ·Q· · · Okay.· So as we sit here today can you tell me any       ·6· ·Q· · · I have a note that in December of 2017 you had advised
·7· · · · · specific instance where something like that happened     ·7· · · · · the health care people at the MDOC that they were
·8· · · · · that you're aware of?                                    ·8· · · · · giving you a Hollister bag and you wanted the ConvaTec
·9· ·A· · · Uh-huh.· Yes.                                            ·9· · · · · bag or something like that.
10· ·Q· · · That the MDOC specifically told you they weren't         10· ·A· · · Oh, that's what I was talking about.
11· · · · · giving you something deliberately to harm you or cause   11· ·Q· · · Let me -- I've got to ask the question, though.
12· · · · · you any kind of problem like that?                       12· ·A· · · There we go.· Go ahead.
13· ·A· · · No.· What you mean?· Nobody never said I'm not giving    13· ·Q· · · Now, I have that this --
14· · · · · it to you so I can cause you problems.· No one ever      14· ·A· · · It was ConvaTec and the what?
15· · · · · said that.· They just did it, at the jail.· You know     15· ·Q· · · And there was a Hollister.
16· · · · · what I mean?                                             16· ·A· · · You're talking about when they gave me the Hollister
17· ·Q· · · Okay.· I got you.· You're talking about before you got   17· · · · · patch and the ConvaTec bag and I had to make it work?
18· · · · · to the MDOC.                                             18· ·Q· · · But I've got to finish asking the question.
19· ·A· · · Yeah, yeah, yeah.· Oh, you talking about when I got to   19· ·A· · · Okay.
20· · · · · the MDOC, did anybody say -- whatever -- they told me    20· ·Q· · · There's a note from the MDOC records where it
21· · · · · that they wouldn't give me my reversal surgery.          21· · · · · indicates that -- it says that you came to pick up
22· ·Q· · · I'm not talking about that.                              22· · · · · some colostomy supplies.· You were issued a box of
23· ·A· · · When I got to the MDOC.· But that was it.                23· · · · · colostomy drainage pouches, but the prisoner brand and
24· ·Q· · · Okay.· Just the reversal surgery.                        24· · · · · stock number are not available, so they found an
25· ·A· · · And when it was time for me to go get my supplies, a     25· · · · · equivalent pouch that worked with the same wafer that

                                                                                                                    Pages 117–120
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1736 Filed 09/14/21 Page 32 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 121                                                             Page 123
·1· · · · · you had used.                                            ·1· · · · · all.
·2· ·A· · · Right.                                                   ·2· ·Q· · · So you thought it fit at first.· You thought it
·3· ·Q· · · Does that sound about what you were trying to            ·3· · · · · worked.· It ended up not working.· Then they ordered
·4· · · · · describe?                                                ·4· · · · · another bag for you that you wanted and it ultimately
·5· ·A· · · Yes, sir.                                                ·5· · · · · came and then you were able to use that bag that you
·6· ·Q· · · So it sounds like something happened with an order and   ·6· · · · · originally wanted.· Right?
·7· · · · · they tried to give you something that they thought       ·7· ·A· · · Yeah.
·8· · · · · would work for a period of time until they could get     ·8· ·Q· · · Okay.· That's what I was asking.
·9· · · · · the specific one you wanted.· Does that sound right?     ·9· ·A· · · Yeah, yeah.· It was like --
10· ·A· · · No, it doesn't.· What happened was, when I would go      10· ·Q· · · I don't want to -- if you keep -- so the question is
11· · · · · down there they wouldn't have my supplies so they        11· · · · · off the table at that point.
12· · · · · would give me anything they had in the back and try to   12· ·A· · · Okay.· There you go.
13· · · · · make it fit.· And that's what they did.· And there was   13· ·Q· · · You ended up getting into a fight on January the 5th
14· · · · · no choice that I had.· Once they gave it to me, it       14· · · · · or somewhere around January of 2018 at the prison;
15· · · · · was, like, they don't have them, so what do I do?        15· · · · · correct?
16· · · · · Either I try this or I try nothing.                      16· ·A· · · Yes, with my bunkie.· Yeah, that's what it was.· See,
17· ·Q· · · I have something on -- I have a record on December 11,   17· · · · · what happened with that was my bunkie -- I had a lot
18· · · · · 2017.· This is from the MDOC record, page 1.· And it     18· · · · · of problems with people everywhere I went because of
19· · · · · says that "The inmate arrived for a scheduled nurse      19· · · · · the bag.· When I was in prison -- like, guys in the
20· · · · · visit to pick up colostomy supplies.· He was given the   20· · · · · cube -- I was in an eight-man cubicle -- like, when I
21· · · · · usual ConvaTec wafers, however the usual ConvaTec        21· · · · · come in and they're first meeting me and they didn't
22· · · · · wafers" -- "the usual ConvaTec bags were not available   22· · · · · know I have a bag, everything be fine.· Then once they
23· · · · · at that time so he was given ten of the Hollister bags   23· · · · · get to smelling the bag, everybody had a problem with
24· · · · · after it was discovered that they fit into the           24· · · · · me.
25· · · · · ConvaTec flange.· He was also given stoma feces paste,   25· · · · · · · · · · · ·I got into, actually, a fight with my
                                                         Page 122                                                             Page 124
·1· · · · · barrier wipes and adhesive removal while he expressed    ·1· · · · · bunkie because he wanted me out and they wouldn't move
·2· · · · · thanks and exited the clinic without incident."· Does    ·2· · · · · me.· I talked to the counselor, Mr. Wilkinson, about
·3· · · · · that sound correct?                                      ·3· · · · · being moved before that, but they wouldn't move me,
·4· ·A· · · Yes.· That's the time when I was telling you that the    ·4· · · · · and my bunkie and I -- you know, we got -- that's how
·5· · · · · bag would come off, because it appeared like it fit,     ·5· · · · · my whole prison stay was.· Like, no one wanted me
·6· · · · · but once you put it on, like, less than, like a couple   ·6· · · · · around when I had that bag.
·7· · · · · minutes it would squeeze itself off and I had to deal    ·7· · · · · · · · · · · ·When I was in the county jail they would
·8· · · · · with that for almost two weeks.· The bag came off on     ·8· · · · · clear the whole rock -- everybody out for me to clean
·9· · · · · me on the yard and I got feces all over my clothes       ·9· · · · · my bag when I would go to the bathroom.· I would have
10· · · · · when I was in the weight pit, and I missed chow.         10· · · · · problems with people in the bathroom when I be
11· · · · · Because I had to go back to shower -- you know, right    11· · · · · cleaning my bag in the stall because the smell of
12· · · · · after weight pit I had to shower.· I missed chow a       12· · · · · it -- it did not smell like feces.· It smelled like
13· · · · · couple of times, yeah, because of that.                  13· · · · · the insides of me.· It was, like, terrible.· Would
14· ·Q· · · Okay.· Now I've got a follow-up note.· That note was     14· · · · · make me nauseous.· And I'm sure other people, too.
15· · · · · from the 11th of December 2017.· Then I have a           15· · · · · And my bunkie, he didn't appreciate that.
16· · · · · follow-up note from January of 2018, January 5th, and    16· ·Q· · · After you got into the fight with the inmate, the
17· · · · · it says that they just received the bags that the        17· · · · · hospital -- I'm sorry -- the MDOC sent you to the
18· · · · · patient is asking for from the warehouse.· They called   18· · · · · emergency room?
19· · · · · out immediately and gave him a box of pouches.           19· ·A· · · Uh-huh.
20· · · · · Patient was very happy to receive them.· Does that       20· ·Q· · · You got treated at the emergency room?
21· · · · · sound --                                                 21· ·A· · · The MDOC sent me to the emergency room?· No.
22· ·A· · · Yes, I was, because I was tired of that bag falling      22· ·Q· · · When you got into a fight --
23· · · · · off and getting feces on my clothes.· But I thought it   23· ·A· · · You mean outside of the prison?
24· · · · · had fitted when I first put it on, but it ease itself    24· ·Q· · · Outside of the hospital.
25· · · · · off.· And that's what I was trying to explain to you     25· ·A· · · No.

                                                                                                                    Pages 121–124
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1737 Filed 09/14/21 Page 33 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 125                                                             Page 127
·1· ·Q· · · You didn't receive any treatment after you had the --    ·1· ·Q· · · Wait.· Mr. Jackson --
·2· · · · · after you had an incident?· You never went to the ER?    ·2· ·A· · · Go ahead, sir.
·3· ·A· · · I never received any treatment in prison at all.· They   ·3· ·Q· · · I don't want to have her read the question back.
·4· · · · · maybe gave me some supplies for my colostomy but they    ·4· ·A· · · I'm trying to answer but you keep cutting me off.
·5· · · · · never treated me for nothing.· Not after the fight,      ·5· ·Q· · · You are actually --
·6· · · · · not before the fight.                                    ·6· · · · · · · · · · · ·MR. SCARBER:· Counsel, I'm going to have
·7· ·Q· · · They didn't send you to the Duane Waters --              ·7· · · · · to ask you to instruct him to let me at least finish
·8· ·A· · · Oh, yeah, I did go to Duane Waters.· Yeah.· And they     ·8· · · · · my answer (sic) before you start --
·9· · · · · did some X-rays.· Sure did.· Because my colostomy --     ·9· · · · · · · · · · · ·THE WITNESS:· And what I want to say to
10· · · · · I told them my colostomy was bleeding.· My stoma was     10· · · · · you was you finished that question and when I went to
11· · · · · bleeding.                                                11· · · · · answer, you cut me off.
12· ·Q· · · And that was after you had gotten punched in the         12· ·BY MR. SCARBER:
13· · · · · stomach; right?                                          13· ·Q· · · I was not finished and I haven't finished with a lot
14· ·A· · · During the fight.                                        14· · · · · of them.· And I'm allowing it just because you're
15· ·Q· · · So when you had that physical issue where you had some   15· · · · · trying to get out something and sometimes I'll let it
16· · · · · bleeding from the fight you were in, the health care     16· · · · · go, but other times I just want to get right to
17· · · · · at the MDOC at that point treated it, sent you to the    17· · · · · whatever my question is.
18· · · · · emergency room; right?                                   18· ·A· · · Okay.
19· ·A· · · Yeah, they sent me to the emergency room at MDOC.        19· ·Q· · · Okay.· Other than the fight in January of 2018 where
20· ·Q· · · Okay.· That's all I wanted to know.                      20· · · · · you had a physical injury to the colostomy, where
21· ·A· · · Yeah.· I remember that now.                              21· · · · · there was some kind of injury to it and maybe you had
22· ·Q· · · And that particular physical incident was the only       22· · · · · to go to the hospital for it and they sent you to the
23· · · · · incident that when you were in the Department of         23· · · · · hospital, did you have any other physical injury that
24· · · · · Corrections where you actually had an injury,            24· · · · · occurred with your colostomy?
25· · · · · something physical actually happened to the colostomy,   25· ·A· · · May I answer?
                                                         Page 126                                                             Page 128
·1· · · · · right, that was causing you a problem?                   ·1· ·Q· · · Yes.
·2· ·A· · · Uh-huh.· No, sir.                                        ·2· ·A· · · Right now?
·3· ·Q· · · So let me follow up on my question.· So you said no.     ·3· ·Q· · · Yes.
·4· · · · · Did you have any other fights in the MDOC where you      ·4· ·A· · · Yes.
·5· · · · · had some kind of physical injury that you sustained to   ·5· ·Q· · · Okay.· Now you answered yes.· So my question -- my
·6· · · · · your stomach or the area where your colostomy was?       ·6· · · · · follow-up question is going to what?· What was your
·7· ·A· · · I had another fight in St. Louis with my bunkie -- a     ·7· · · · · other injury that you had to your colostomy?
·8· · · · · different bunkie -- about the smell of my bag, but I     ·8· ·A· · · May I answer now?
·9· · · · · didn't receive any injuries.· Like, everywhere I went    ·9· ·Q· · · Yes.
10· · · · · I would get in problems with my bunkies and --           10· ·A· · · I always had a stomach pain on the right side of my
11· ·Q· · · Well, my question is more related -- and I appreciate    11· · · · · stomach since I first had the surgery, which I
12· · · · · that, but my question is more related to the injuries    12· · · · · informed Dr. Webber of, and he said maybe, possibly a
13· · · · · that you might have had to the colostomy, where it was   13· · · · · hernia.· I've been having that same pain since the
14· · · · · causing you some kind of physical issue.· And I think    14· · · · · beginning.· And I had it then.
15· · · · · you answered this.· Other than the fight where you had   15· ·Q· · · So my question is more related to a physical injury
16· · · · · a physical injury from the colostomy in January of       16· · · · · that you received to it.· Knowing that, when I say
17· · · · · 2018, did you ever have any other physical injury that   17· · · · · physical injury -- maybe I should use the word trauma.
18· · · · · occurred with the colostomy?                             18· · · · · Did you ever have any other trauma to your colostomy
19· ·A· · · Yes, sir.                                                19· · · · · area after January 2018 when they sent you to the
20· ·Q· · · What other physical injury did you have --               20· · · · · emergency room to be treated for it?
21· ·A· · · Oh --                                                    21· ·A· · · I had the same trauma the whole time since I had the
22· ·Q· · · Wait.· Let --                                            22· · · · · first surgery.· The pain in my stomach.
23· ·A· · · I'm trying to answer the question, Brother.· I'm         23· ·Q· · · But no one ever hit you in your stomach or --
24· · · · · trying to answer the question and you, like -- let me    24· ·A· · · Before then?
25· · · · · tell you --                                              25· ·Q· · · After January 5th of 2018.

                                                                                                                    Pages 125–128
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1738 Filed 09/14/21 Page 34 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 129                                                             Page 131
·1· ·A· · · No, sir.· No, sir.                                       ·1· · · · · aware of or nothing like that.· They ain't referred me
·2· ·Q· · · After January 5th of 2018, did any -- did you have any   ·2· · · · · to no doctors to get reversed or anything.· I had to
·3· · · · · other injury where someone caused you any trauma or      ·3· · · · · do all that on my own.· What do you mean care plan?
·4· · · · · hit you near the area of your colostomy?                 ·4· ·Q· · · Let me -- did they meet with you to provide you with
·5· ·A· · · Did anybody hit me in my stomach after the fight?· No.   ·5· · · · · 30 days of ostomy supplies when you were released from
·6· ·Q· · · When you were with the MDOC did you always receive       ·6· · · · · jail?
·7· · · · · what we call an order for the bottom bunk?               ·7· ·A· · · No.· I got my supplies --
·8· ·A· · · No.                                                      ·8· ·Q· · · I'm sorry -- from prison.
·9· ·Q· · · When you were staying with the MDOC there were times     ·9· ·A· · · No, not that I can remember.
10· · · · · when you did not have an order for a bottom bunk?        10· ·Q· · · I have a note here of --
11· ·A· · · Yes.                                                     11· ·A· · · I got --
12· ·Q· · · When was that?                                           12· ·Q· · · Well, let me finish.
13· ·A· · · When I -- I was on the top bunk when I first got in      13· ·A· · · You asked me a question and I can't answer --
14· · · · · Jackson.                                                 14· ·Q· · · I thought you were done.· Go ahead.· I'm sorry.· Go
15· ·Q· · · How long were you on the top bunk?                       15· · · · · ahead.
16· ·A· · · I can't tell you exactly how long but I know I was up    16· ·A· · · I got supplies for that month.
17· · · · · there until I got moved out of that total unit.· See,    17· ·Q· · · For the month of what?
18· · · · · the cube, they didn't want me in the unit because the    18· ·A· · · The last month I was in prison, in May.
19· · · · · bag, so they moved me.· And that's when I remember       19· ·Q· · · I have a note here of May 16, 2019.· It indicates that
20· · · · · first getting the bottom bunk.· Or did I go to the       20· · · · · the "Prisoner to have a 30-day ostomy supplies given
21· · · · · bottom bunk -- when I first got to prison, I didn't      21· · · · · as prisoner is paroling today."
22· · · · · have no order for the bottom bunk for a minute.          22· ·A· · · Yeah.· They might have given me some bags to go.
23· ·Q· · · At some point you did get an order for a bottom bunk?    23· ·Q· · · Okay.
24· ·A· · · Yes, I did.                                              24· ·A· · · But I believe that was the time I was supposed to get
25· ·Q· · · Okay.                                                    25· · · · · my refill anyway.· That's why I said that.· That was
                                                         Page 130                                                             Page 132
·1· ·A· · · Because when I would climb up to the top bunk,           ·1· · · · · the time -- every month I got my refill.· That was the
·2· · · · · sometimes my bag would come off because they wasn't      ·2· · · · · time.· It's, like, two weeks -- every two weeks it was
·3· · · · · always fitting right.                                    ·3· · · · · time to get my refill, so basically that's what that
·4· ·Q· · · So at some point, though, after that had happened you    ·4· · · · · was.
·5· · · · · ended up getting an order so that you could be on the    ·5· ·Q· · · So every two weeks they would give you a refill and
·6· · · · · bottom bunk; right?                                      ·6· · · · · then on this particular occasion when you were getting
·7· ·A· · · Yes.                                                     ·7· · · · · paroled, they gave you another refill for even when
·8· ·Q· · · You were also provided, in addition to bags, pouches,    ·8· · · · · you weren't going to be in the prison; right?
·9· · · · · paste for your colostomy supplies -- you were also       ·9· ·A· · · I just believe they just gave me the 30-day refill
10· · · · · provided with an odor eliminator drop; right?            10· · · · · last time, right before I left.
11· ·A· · · They didn't start giving me that odor eliminator drop    11· ·Q· · · So you had supplies even after you left from the
12· · · · · till four months, five months before it was time for     12· · · · · prison; correct?
13· · · · · me to go.· Yeah, I did get it.· And I said, man,         13· ·A· · · The ones they gave me, the refill.
14· · · · · that's crazy.· Why didn't I --                           14· ·Q· · · Okay.· When you came to the prison in March of 2017,
15· ·Q· · · When you got the odor eliminator drop, that helped       15· · · · · your colostomy was functional; correct?
16· · · · · things; right?                                           16· ·A· · · It worked.
17· ·A· · · Yeah, to a certain extent it did.                        17· ·Q· · · Your colostomy was functional the entire time you were
18· ·Q· · · Okay.· And when you got ready to be released from        18· · · · · in the prison; right?
19· · · · · prison, they actually met with you and tried to help     19· ·A· · · Yes.
20· · · · · you develop a care plan for when you got released;       20· ·Q· · · Now, I note that they also offered you some counseling
21· · · · · correct?                                                 21· · · · · if you wanted some counseling, like psychological
22· ·A· · · Who are they?                                            22· · · · · counseling on how to be able to cope with having a
23· ·Q· · · The people from the jail.· The health care people.       23· · · · · colostomy when you came to the prison.
24· ·A· · · A care plan?· I wouldn't say that.· No.· No, they        24· ·A· · · They offered everybody.· They offered the standard to
25· · · · · didn't.· They didn't -- it wasn't a care plan that I'm   25· · · · · prisoners.· You know what I mean?· They wasn't nothing

                                                                                                                    Pages 129–132
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1739 Filed 09/14/21 Page 35 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 133                                                             Page 135
·1· · · · · special they gave me.· They offered a standard to a      ·1· ·Q· · · And you wrote the -- we'll call it the ombudsman for
·2· · · · · prisoner for anybody that feel like they need mental     ·2· · · · · the prison, and do you recall that the ombudsman told
·3· · · · · health or whatever, you know, to see somebody.· That's   ·3· · · · · you that specifically in order to get or to qualify
·4· · · · · just standardly offered.                                 ·4· · · · · for the reversal, he had to look at some of their
·5· ·Q· · · But it was also offered to you; correct?                 ·5· · · · · policies to determine whether or not you met the MDOC
·6· ·A· · · Yes, just like any other inmate without a bag or with    ·6· · · · · policies?
·7· · · · · one.                                                     ·7· ·A· · · Uh-huh.
·8· ·Q· · · Did you use it?                                          ·8· ·Q· · · Is that a yes?
·9· ·A· · · No.· I never went to see a psych because I'm not real    ·9· ·A· · · What do you mean?
10· · · · · big on medication.· You know, most of the people that    10· ·Q· · · Did the ombudsman, when you contacted the ombudsman,
11· · · · · were seeing the psych they had to be on meds in the      11· · · · · advise you that there were specific MDOC policies that
12· · · · · jail, and I didn't want to be on meds.                   12· · · · · you had to have met and satisfied in order for you to
13· ·Q· · · So we talked about, Mr. Jackson, that when you came to   13· · · · · be able to have a colostomy reversal while you were in
14· · · · · the prison -- we talked about that they did              14· · · · · the MDOC?
15· · · · · assessments on you, they did X-rays on you, they         15· ·A· · · They told me that if I could pay for it, if my family
16· · · · · provided you with supplies.· We talked about some of     16· · · · · could pay for it, that they would do the surgery, that
17· · · · · the issues with that.· We talked about providing you     17· · · · · they would do the reversal.· They said that if I could
18· · · · · with supplies.· They offered you mental health.· When    18· · · · · pay for the expenses of the surgery, if I could pay
19· · · · · you went to the emergency room when you got into a       19· · · · · the overtime to the officers that were watching me in
20· · · · · fight and had a physical injury or physical trauma to    20· · · · · the hospital, then I would be requesting outside
21· · · · · the colostomy, they sent you to emergency room for       21· · · · · medical services and they would indeed do the surgery.
22· · · · · treatment for that.· Now I want to talk to you about     22· · · · · And that's what I didn't understand, because I'm,
23· · · · · the reversal that you wanted in prison.· Well, that      23· · · · · like, you guys would have did the surgery if my family
24· · · · · you originally wanted in the jail but you didn't get     24· · · · · would have paid for it, but you all won't do it now
25· · · · · it in the jail so you wanted it also in prison;          25· · · · · because you all got to pay for it, and I can't afford
                                                         Page 134                                                             Page 136
·1· · · · · correct?                                               ·1· · · · · to pay for it.
·2· ·A· · · Uh-huh.                                                ·2· ·Q· · · Did the MDOC specifically advise you --
·3· ·Q· · · Is that correct?· Yes?                                 ·3· ·A· · · That was the letter I got --
·4· ·A· · · Yes.· I needed it in prison.· Not wanted.· I needed    ·4· ·Q· · · -- that there were --
·5· · · · · it.                                                    ·5· ·A· · · -- from the ombudsman.
·6· ·Q· · · And did you ever have any reviews performed as to      ·6· ·Q· · · -- that there were policies that your surgery would
·7· · · · · whether it would be provided to you while you were in ·7· · · · · fall under and those policies would have to be
·8· · · · · prison?                                                ·8· · · · · satisfied in order for you to have the surgery?
·9· ·A· · · Reviews performed.· What do you mean?                  ·9· ·A· · · MDOC told me they wouldn't do the surgery because it
10· ·Q· · · Let me rephrase my question.· It's a technical         10· · · · · was cosmetic, and they said I was more worried about
11· · · · · question.· It's not a good question.· I should ask     11· · · · · my appearance, I think.
12· · · · · this question:· Did you ever go through any procedures 12· ·Q· · · Okay.· And you were having some issues with how it
13· · · · · where you tried to get the MDOC to do a reversal of    13· · · · · appeared, how people looked at you --
14· · · · · your colostomy while you were in prison?               14· ·A· · · Who said that?
15· ·A· · · Did I write (inaudible) and stuff like that?· That's   15· ·Q· · · I'm not finished with my question.· Let me finish my
16· · · · · what you asking me?                                    16· · · · · question.
17· ·Q· · · Sure.                                                  17· ·A· · · Yeah, thank you.· Because you said "you were."
18· · · · · · · · · · · ·COURT REPORTER:· I'm sorry.· Did I write 18· ·Q· · · Were you having issues with how the colostomy
19· · · · · -- I didn't understand.                                19· · · · · appeared?
20· · · · · · · · · · · ·MR. SCARBER:· The ombudsman.              20· ·A· · · No.
21· ·A· · · Yes, I wrote the ombudsman.· I did everything          21· ·Q· · · Were you having issues with how other -- how the other
22· · · · · possible.· I wrote the medical staff.· I did           22· · · · · inmates were perceiving you because you had the
23· · · · · everything that I could possibly do to receive the     23· · · · · colostomy?
24· · · · · reversal.· Yes, I did.                                 24· ·A· · · I was having issues with how the other inmates was
25· ·BY MR. SCARBER:                                               25· · · · · reacting to me having the colostomy.

                                                                                                                    Pages 133–136
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1740 Filed 09/14/21 Page 36 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 137                                                             Page 139
·1· ·Q· · · Okay.                                                    ·1· ·A· · · What do you mean?· Did I have a problem about changing
·2· ·A· · · But as far appearance go, you couldn't see it because    ·2· · · · · the bag?
·3· · · · · it was under my clothes, unless it would blow up in a    ·3· ·Q· · · Yes.
·4· · · · · balloon when I passed gas.· That's a whole other         ·4· ·A· · · I had no problem about changing the bag.· Actually, I
·5· · · · · issue.· But as far as appearance go, it wasn't           ·5· · · · · wanted to keep it changed.
·6· · · · · appearance.· It was about me having to have this bag     ·6· ·Q· · · And you were able to change the bag; correct?
·7· · · · · and feel like an animal.· Every time I cleaned it, it    ·7· ·A· · · Yes, when I was able to have the right supplies to
·8· · · · · would be like cleaning a dog kennel, and it was about    ·8· · · · · change the bag.
·9· · · · · me having to be uncomfortable with this bag the whole    ·9· ·Q· · · And you were taught how to do that; correct?
10· · · · · time and it was about me wondering if they ever was      10· ·A· · · Yes.
11· · · · · going to take it off.· That's what my issue was.· It     11· ·Q· · · And you knew how to change it.
12· · · · · wasn't nothing about the appearance.                     12· ·A· · · Yes.· It was the --
13· ·Q· · · The issues that you describe, would you agree with me    13· ·Q· · · There's no question on the table.
14· · · · · that they concern the colostomy from the standpoint of   14· ·A· · · I'll be --
15· · · · · it being something that was attached to you that you     15· ·Q· · · So you can't --
16· · · · · basically had to learn how to function with?             16· ·A· · · I'm still answering.
17· ·A· · · You got to rephrase the question.                        17· ·Q· · · But we're done with the answer.
18· ·Q· · · Yeah, let me rephrase the question.· The issues that     18· ·A· · · I didn't know we was done.
19· · · · · you were having with the colostomy bag, you would        19· ·Q· · · We're done.
20· · · · · agree with me even the issues that you just described    20· ·A· · · All right.· Thank you.
21· · · · · are more about how you were going to have to cope with   21· ·Q· · · Were you ever disabled because you had the colostomy
22· · · · · this thing with the other inmates with the smell, with   22· · · · · bag on?
23· · · · · --                                                       23· ·A· · · Disabled to do what?· For what?
24· ·A· · · It wasn't -- I didn't just describe that.· I'm sorry.    24· ·Q· · · Were you ever not able to walk because you had the
25· · · · · I didn't say that.                                       25· · · · · colostomy bag?
                                                         Page 138                                                             Page 140
·1· ·Q· · · Did you have a problem with the way it smelled?          ·1· ·A· · · You mean, because the colostomy bag was on, I was
·2· ·A· · · I had a problem --                                       ·2· · · · · unable to walk?
·3· ·Q· · · Just answer my question.· Did you have the problem       ·3· ·Q· · · Yes.
·4· · · · · with the way that it smelled?                            ·4· ·A· · · The colostomy bag didn't stop me from walking but
·5· ·A· · · I didn't like the way it smelled.                        ·5· · · · · there was a point in time when I was unable to walk
·6· ·Q· · · Did you have a problem with how the other inmates        ·6· · · · · after the surgery.
·7· · · · · looked at you because --                                 ·7· ·Q· · · Okay.· After the surgery and after you were healed you
·8· ·A· · · I didn't have -- you ask me the question.· Let me        ·8· · · · · were able to walk with the colostomy bag; correct?
·9· · · · · answer it, sir.                                          ·9· ·A· · · Yes.
10· ·Q· · · I never even finished it.                                10· ·Q· · · And you also indicated, I think, with Mr. Willis's
11· ·A· · · Okay.· Go ahead.· Finish.                                11· · · · · counseling -- questions -- I'm sorry -- that you were
12· ·Q· · · Did you have a problem with the way the inmates looked   12· · · · · also able to work out with the colostomy bag; correct?
13· · · · · at you because -- or felt about you because you had a    13· ·A· · · Yes.
14· · · · · colostomy bag?                                           14· ·Q· · · And what kind of workouts did you do when you were in
15· ·A· · · Are you finished?                                        15· · · · · the Department of Corrections in prison?
16· ·Q· · · I'm finished.                                            16· ·A· · · Calisthenics.
17· ·A· · · Okay.· I didn't have the problem with the way the        17· ·Q· · · Tell me what --
18· · · · · inmates looked at me.· I had a problem about the way     18· ·A· · · Weights.
19· · · · · they reacted to me.· The things that they did.· It       19· ·Q· · · Describe to me the calisthenics that you were doing.
20· · · · · wasn't about the way someone looked at me.· It was --    20· · · · · Just break it down for me.
21· ·Q· · · So it was how they reacted to you?                       21· ·A· · · Just different things.· Jumping jacks.· Pushups.
22· ·A· · · Yes, yes.· I didn't like the way they reacted to me      22· · · · · Pull-ups.
23· · · · · because I had a bag.                                     23· ·Q· · · How often did you do those types of workouts or
24· ·Q· · · Did you have a problem because you had to change the     24· · · · · calisthenics?
25· · · · · bag?                                                     25· ·A· · · As often as I could.

                                                                                                                    Pages 137–140
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1741 Filed 09/14/21 Page 37 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 141                                                             Page 143
·1· ·Q· · · Several times a week?                                    ·1· ·Q· · · -- of your grievance was --
·2· ·A· · · Yeah.· But it was like --                                ·2· ·A· · · No.
·3· ·Q· · · The question is over.                                    ·3· ·Q· · · -- with the Department of Corrections?
·4· · · · · · · · · · · ·Did you receive a letter from the           ·4· ·A· · · No.
·5· · · · · ombudsman on November the 7th, 2017 that stated that     ·5· ·Q· · · Did you ever remember receiving a document like that?
·6· · · · · the MDOC policy directive states that corrective         ·6· · · · · · · · · · · ·MR. SCARBER:· And let the record reflect
·7· · · · · surgery is a surgical procedure to alter or adjust       ·7· · · · · that I just handed Mr. Jackson and his counsel the
·8· · · · · body parts or the body structure.· Reconstructive        ·8· · · · · grievance appeal response that was attached to his
·9· · · · · surgery is a surgical procedure to reform body           ·9· · · · · Complaint as Exhibit H.
10· · · · · structure or correct defects.· For the purposes of       10· ·A· · · Yeah, okay.
11· · · · · this policy, corrective and reconstructive surgery       11· ·BY MR. SCARBER:
12· · · · · does not include procedures which can be done            12· ·Q· · · Do you recall receiving that?
13· · · · · under local anesthesia.· Corrective and reconstructive   13· ·A· · · Yes, sir.
14· · · · · surgery shall be authorized for a prisoner only if       14· ·Q· · · And do you see the box that says, "Summary of Step 2
15· · · · · determined medically necessary and only if approved by   15· · · · · Investigation"?
16· · · · · the CMO, Chief Medical Officer.· It shall not be         16· ·A· · · Yeah, Summary of Step 2 Investigation.· Okay.
17· · · · · approved for the sole purpose to improve appearance.     17· ·Q· · · And do you see where it indicates that "The Michigan
18· · · · · · · · · · · ·Did you receive a letter to that extent?    18· · · · · Department of Corrections doesn't reverse colostomies
19· ·A· · · Yes, sir.                                                19· · · · · unless it is medically necessary.· The surgery you are
20· ·Q· · · And did you have an understanding of the policies that   20· · · · · requesting is not essential.· Currently documentation
21· · · · · were being referenced?                                   21· · · · · reflects the colostomy is functional"?· Do you see
22· ·A· · · Yes, and I believe --                                    22· · · · · that?
23· ·Q· · · You had an understanding.· I didn't ask you              23· ·A· · · Uh-huh.· The Michigan Department of Corrections.
24· · · · · to comment.· Did you have an understanding of it?        24· ·Q· · · Okay.· Do you also see down at the bottom in the
25· ·A· · · I say yes.                                               25· · · · · Conclusion section that it indicates that your
                                                         Page 142                                                             Page 144
·1· ·Q· · · Okay.· Are you aware that -- you said you reviewed Dr.   ·1· · · · · grievance is being denied and that it says that the
·2· · · · · Kansakar's testimony?                                    ·2· · · · · reversal is a major surgery with potential
·3· ·A· · · I watched the deposition.                                ·3· · · · · complications, up to death, and the department will
·4· ·Q· · · You watched the video?                                   ·4· · · · · not okay a dangerous, unnecessary elective procedure?
·5· ·A· · · Uh-huh.                                                  ·5· · · · · A reversal for a functional colostomy is considered
·6· ·Q· · · Are you aware that she testified when asked about the    ·6· · · · · nonessential.· Do you see that?
·7· · · · · particular policies that the MDOC was citing to you      ·7· ·A· · · Uh-huh.
·8· · · · · that she basically described the procedure that you      ·8· ·Q· · · And you recall receiving this response at some point;
·9· · · · · were having as a corrective surgery or a                 ·9· · · · · correct?
10· · · · · reconstructive surgery?                                  10· ·A· · · Uh-huh.
11· ·A· · · Uh-uh.· I can't speak on that.                           11· ·Q· · · You have to answer yes.
12· ·Q· · · Where she was specifically asked --                      12· ·A· · · Yes, sir.
13· ·A· · · I don't remember.                                        13· ·Q· · · And if you said "uh-huh" to the question before that
14· ·Q· · · So you don't remember?                                   14· · · · · you meant yes; correct?
15· ·A· · · Yeah.                                                    15· ·A· · · Correct.
16· ·Q· · · Okay.· Did you ultimately file any -- take any actions   16· ·Q· · · Okay.
17· · · · · concerning your getting a colostomy reversal such as a   17· ·A· · · I received this.
18· · · · · grievance or anything like that?                         18· ·Q· · · And who is this particular grievance response signed
19· ·A· · · You mean did I file a grievance?                         19· · · · · by?
20· ·Q· · · Did you file a grievance with the Michigan Department    20· ·A· · · I don't know.· You tell me.
21· · · · · of Corrections regarding colostomy reversal?             21· ·Q· · · At the bottom does it indicate a Subrina Aiken, RN?
22· ·A· · · Yes.· I also filed one with St. Clair County.· Filed     22· ·A· · · Yeah.
23· · · · · grievances with them, too.                               23· ·Q· · · Do you know if Subrina Aiken, RN works for Corizon?
24· ·Q· · · And do you remember what the result --                   24· ·A· · · I don't know her.
25· ·A· · · No, I don't remember.                                    25· ·Q· · · I want you to assume that Mrs. Aiken does not work for

                                                                                                                    Pages 141–144
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1742 Filed 09/14/21 Page 38 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 145                                                             Page 147
·1· · · · · Corizon and that she works for the MDOC.                 ·1· ·Q· · · Let me repeat my question again.· Do you have an
·2· ·A· · · Why am I assuming that?                                  ·2· · · · · understanding that some people elect to have their
·3· ·Q· · · Because it's true.                                       ·3· · · · · colostomy --
·4· ·A· · · Okay.                                                    ·4· ·A· · · Elect.
·5· ·Q· · · So why didn't you sue Subrina Aiken?                     ·5· ·Q· · · Let me rephrase the question.
·6· ·A· · · Why didn't I sue Subrina Aiken?· What do you mean? I     ·6· · · · · · · · · · · ·MR. CROSS:· Let him --
·7· · · · · don't know Subrina Aiken.                                ·7· · · · · · · · · · · ·THE WITNESS:· I don't understand.
·8· ·Q· · · According to the letter that I just read to you from     ·8· ·BY MR. SCARBER:
·9· · · · · the ombudsman, as well as the Step 2 grievance appeal    ·9· ·Q· · · I'm going to use a different word.· Do you have an
10· · · · · response, it indicates that there is an MDOC policy      10· · · · · understanding, sir, that some patients choose to have
11· · · · · that describes whether or not your particular            11· · · · · a colostomy reversal and some people choose not to
12· · · · · colostomy reversal will be approved.· My question is,    12· · · · · have a colostomy reversal?
13· · · · · why didn't you sue the MDOC in this particular case      13· ·A· · · Am I aware that some people choose and some people
14· · · · · instead of the Corizon defendants?                       14· · · · · choose not to?
15· ·A· · · Huh?                                                     15· ·Q· · · Yes.
16· ·Q· · · Do you --                                                16· ·A· · · By choice?· Or by some people don't have a colostomy
17· ·A· · · Who is Corizon defendants?· Insurance company; right?    17· · · · · reversal because they can't?
18· ·Q· · · Corizon defendants, Mr. Jackson, are the health care     18· ·Q· · · Are you aware that by choice --
19· · · · · providers within the jail -- I'm sorry -- within the     19· ·A· · · By choice.· So they choose not to.· So you telling me
20· · · · · prison.                                                  20· · · · · that if someone with a colostomy --
21· ·A· · · Right.· Because they were the responsible people,        21· ·Q· · · My question --
22· · · · · obviously.                                               22· ·A· · · I'm asking the question, sir.· Can I ask the question?
23· ·Q· · · And my question to you is, are you aware that Corizon    23· · · · · That's all I'm saying.· Can I ask the question so I
24· · · · · does not make the Michigan Department of Corrections     24· · · · · can answer it correctly?
25· · · · · policies?                                                25· ·Q· · · If you can't understand the question --
                                                         Page 146                                                             Page 148
·1· ·A· · · Am I aware that the Corizon doesn't make -- am I         ·1· ·A· · · Then rephrase it.
·2· · · · · aware?· Who said that?· You showing me that?· No, I'm    ·2· ·Q· · · -- then I'll rephrase.
·3· · · · · not aware.· But now that you're informing me, I am.      ·3· ·A· · · There you go.
·4· · · · · Is that true?                                            ·4· ·Q· · · Do you understand, sir, that there are some patients
·5· ·Q· · · That is true.                                            ·5· · · · · that choose to have a colostomy reversed and there are
·6· ·A· · · Okay.· Now I'm aware.                                    ·6· · · · · some people that choose not to have a colostomy
·7· ·Q· · · When you saw Dr. Webber after you got released from      ·7· · · · · reversed?
·8· · · · · prison, did he explain to you that you can have a        ·8· ·A· · · No, I don't understand that.
·9· · · · · reversal if you want to have a reversal, you could       ·9· ·Q· · · Okay.· So you --
10· · · · · decide you don't want to have a reversal, it's kind of   10· ·A· · · So are you saying -- I'm asking you, are you saying
11· · · · · up to you if you want to have a reversal or not?         11· · · · · that is people with the colostomy bag that can get it
12· ·A· · · Nobody never told me that.                               12· · · · · reversed, no problem, choose not to?· Is that what you
13· ·Q· · · So when you saw Dr. Webber, he insisted and forced you   13· · · · · telling me?
14· · · · · to have a colostomy reversal?                            14· ·Q· · · Are you aware that that occurs, where some people --
15· ·A· · · Nobody gave me the option you can have it or you         15· ·A· · · No, I'm not.
16· · · · · can't.· Of course I needed it.                           16· ·Q· · · -- who are eligible for reversal decide they don't
17· ·Q· · · But did Dr. Webber advise you that you could choose to   17· · · · · want --
18· · · · · have the procedure or you could choose not to have the   18· ·A· · · No, I'm not aware of that.
19· · · · · procedure?                                               19· ·Q· · · Okay.· When you got out of prison did anybody ever
20· ·A· · · He never gave me that option.· It's common sense.        20· · · · · tell you -- any medical doctor when you got out of
21· · · · · Either I can walk out this door or I can't not.· He      21· · · · · prison ever tell you that you absolutely had to -- you
22· · · · · never gave me an option.                                 22· · · · · had to choose to have a colostomy reversal?
23· ·Q· · · Do you have an understanding that some people elect to   23· ·A· · · Say that again.· Rephrase that question again.
24· · · · · have their colostomies reversed?                         24· ·Q· · · When you got out of prison in May of 2019, did any
25· ·A· · · Huh?                                                     25· · · · · medical doctor, any medical professional at all, at

                                                                                                                    Pages 145–148
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1743 Filed 09/14/21 Page 39 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 149                                                             Page 151
·1· · · · · that point tell you that you absolutely had to have a  ·1· ·A· · · What you mean back to?· Yeah.· The natural way I would
·2· · · · · colostomy reversal?                                    ·2· · · · · have been going to the bathroom, that was the whole
·3· ·A· · · Nobody told me.· I wanted it.· Needed it.              ·3· · · · · purpose --
·4· ·Q· · · So no health care provider ever told you that after    ·4· ·Q· · · Okay.
·5· · · · · you got out of jail; correct?                          ·5· ·A· · · -- to go to the bathroom in a natural way.
·6· ·A· · · Of course not.· I needed it.· I wanted it.             ·6· ·Q· · · And that's what you -- so you wanted Dr. Webber to put
·7· ·Q· · · My question is, did any -- you would agree with me     ·7· · · · · you back to the way you were before the surgery;
·8· · · · · that no medical provider or doctor ever told you that  ·8· · · · · correct?
·9· · · · · you had to have it when you got out of prison.· Yes or ·9· ·A· · · I wanted to -- wanted Dr. Webber to put me to the way
10· · · · · no?                                                    10· · · · · I could use the bathroom in a more normal and natural
11· ·A· · · Yes.                                                   11· · · · · way.
12· ·Q· · · No, you agree; right?                                  12· ·Q· · · Okay.· Like you had been using before you had the
13· ·A· · · Yes.· No, I don't agree.                               13· · · · · colostomy in the first place; right?
14· ·Q· · · So what doctor told you that you must --               14· ·A· · · What do you mean?
15· ·A· · · Not must.· A doctor prescribed for me to have it.· Dr. 15· ·Q· · · Had you been using --
16· · · · · Kansakar.                                              16· ·A· · · Had I been going to the bathroom in a natural, normal
17· ·Q· · · I'm talking about when you got out of jail.            17· · · · · way before the surgery?
18· ·A· · · Oh, when I got out of jail someone had told me I had 18· ·Q· · · Yes.
19· · · · · to have it?                                            19· ·A· · · Yes, I was.· Did I want to go to the bathroom in a
20· ·Q· · · Yeah.                                                  20· · · · · natural, normal way after the surgery?· Yes, I did.
21· ·A· · · No one told.· I needed and wanted it.                  21· ·Q· · · So you chose to go to Dr Webber and Dr. Webber agreed
22· ·Q· · · Okay.· You feel like you needed it and you wanted it; 22· · · · · that he would perform the surgery for you; correct?
23· · · · · right?                                                 23· ·A· · · Yes.· Correct.
24· ·A· · · Yes.· No one --                                        24· ·Q· · · And, in fact, he -- before he even did the surgery he
25· ·Q· · · So my next question is, so you elected to have it;     25· · · · · had you sign -- we talked about this -- he had you
                                                         Page 150                                                             Page 152
·1· · · · · right?                                                   ·1· · · · · sign something saying that you were the one that
·2· ·A· · · I elected to have it?                                    ·2· · · · · wanted the surgery and that you understood what all
·3· ·Q· · · I'm sorry.· You chose to have it because you felt like   ·3· · · · · the risk and complications could be; right?
·4· · · · · you needed it and wanted it; correct?                    ·4· ·A· · · I don't recall.
·5· ·A· · · Yes.                                                     ·5· ·Q· · · I'll rely on your prior answer, Mr. Jackson.
·6· ·Q· · · That's what we call in medical terms elective            ·6· · · · · · · · · · · ·Do you know Dr. Papendick?
·7· · · · · procedure.· When it's not necessarily something that     ·7· ·A· · · Who is Dr. Papendick?
·8· · · · · you -- that a doctor tells you you absolutely have to    ·8· ·Q· · · So you don't know Dr. Papendick?
·9· · · · · have but it's something that you choose to have.· We     ·9· ·A· · · I think I do know who you're referring to but I don't
10· · · · · call that something that you elect -- we call that an    10· · · · · know him on a personal basis.
11· · · · · elective procedure.· You understand that?                11· ·Q· · · Do you know who Dr. Papendick is?
12· ·A· · · Uh-uh.· No, I don't know because the fact that I did     12· ·A· · · Dr. Papendick has to be -- yeah.· I believe -- is Dr.
13· · · · · not choose to go to the bathroom on my stomach. I        13· · · · · Papendick the person who denied my reversal?
14· · · · · didn't choose.· That's not like a choice thing.· It      14· ·Q· · · Yes.
15· · · · · was, like, normal to put me back how I was born.· So     15· ·A· · · Yeah.· I know who that is.· I don't know him
16· · · · · it was like -- that's not, like, a choice type of        16· · · · · personally.
17· · · · · thing.                                                   17· ·Q· · · Well, let me rephrase the question.· And I'm not here
18· ·Q· · · So then you would agree, then, that the procedure that   18· · · · · to answer questions, but your allegation is that Dr.
19· · · · · you wanted to have was something that was going to       19· · · · · Papendick denied your colostomy reversal.
20· · · · · kind of reconstruct your body to the way it originally   20· ·A· · · Okay.
21· · · · · was; correct?                                            21· ·Q· · · Did I just show you a record from the ombudsman that
22· ·A· · · I wouldn't say reconstruct but I would say it will       22· · · · · indicated that a final decision on whether you got a
23· · · · · allow me to go to the bathroom in a more natural way.    23· · · · · colostomy reversal or not would have to be made by the
24· ·Q· · · Back to the way you originally went to the bathroom      24· · · · · chief medical officer for the MDOC?
25· · · · · before you had the surgery to begin with; right?         25· ·A· · · Huh?· You just read something on a paper.· You never

                                                                                                                    Pages 149–152
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1744 Filed 09/14/21 Page 40 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 153                                                             Page 155
·1· · · · · let me see something.· I don't recall you saying that.   ·1· · · · · procedure?
·2· ·Q· · · I'm going to hand you what is District Court filing      ·2· ·A· · · Why am I suing Dr. Papendick?
·3· · · · · 12-7 page ID 261.· Can you read what's highlighted for   ·3· ·Q· · · Yes.
·4· · · · · me, please?                                              ·4· ·A· · · Because, obviously, he did -- what you mean? I
·5· ·A· · · "Constructive and reconstructive surgery shall be        ·5· · · · · couldn't answer that.· I don't know the facts behind
·6· · · · · authorized for a prisoner only if determined             ·6· · · · · exactly what Dr. Papendick did.· I don't know the
·7· · · · · necessary" -- "medical necessarily and only if           ·7· · · · · facts behind exactly that, and I don't know the
·8· · · · · approved by the CMO."                                    ·8· · · · · situation of that, so I can't answer that.· I can just
·9· ·Q· · · And you don't have any knowledge that Dr. Papendick is   ·9· · · · · say I don't know.· That's the best I can.· Because
10· · · · · the CMO, which means chief medical officer, do you?      10· · · · · it's not within my knowledge for me to give you a
11· ·A· · · I couldn't -- I don't know.· I don't know that for       11· · · · · correct answer.
12· · · · · sure.· I don't know.                                     12· ·Q· · · We've already discussed, sir, that in the -- in the
13· ·Q· · · Is your understanding from reading this, though, that    13· · · · · documents concerning your colostomy reversal in June
14· · · · · it would be the chief medical officer that would have    14· · · · · of 2019 that you were advised that there could be
15· · · · · to approve -- make a final decision on a corrective      15· · · · · potential complications up to death when we discussed
16· · · · · reconstructive surgery?                                  16· · · · · those records, and you would agree with me that that
17· ·A· · · Say that again.                                          17· · · · · particular record there indicates, specifically right
18· ·Q· · · I just showed you a document --                          18· · · · · here -- doesn't this record particularly state that
19· ·A· · · Yeah, yeah, I read that, but what was your question?     19· · · · · reversal is a major surgery with potential
20· ·Q· · · My question is, from what we just read, do you           20· · · · · complications up to death?
21· · · · · understand here where -- that it would be the chief      21· ·A· · · Huh?
22· · · · · medical officer, or CMO, that would have to give a       22· ·Q· · · Does that particular note that I just gave you, that
23· · · · · final authorization and approval of whether you would    23· · · · · grievance appeal --
24· · · · · be able to have constructive or reconstructive           24· ·A· · · I wouldn't agree with it, but I see it.
25· · · · · surgery?                                                 25· ·Q· · · You see that it says --
                                                         Page 154                                                             Page 156
·1· ·A· · · Okay.· It says that on the paper and that's what you     ·1· ·A· · · I'm not in agreement but I see what you're explaining
·2· · · · · said?                                                    ·2· · · · · to me.· I'm not in agreement with that.
·3· ·Q· · · Yes.· You agree with that?                               ·3· ·Q· · · You don't agree that there were potential
·4· ·A· · · I'm saying that's what it says on the paper and that's   ·4· · · · · complications up to death with the procedure that you
·5· · · · · what you said.                                           ·5· · · · · had?
·6· ·Q· · · Okay.· So if Dr. Papendick is not the CMO or chief       ·6· ·A· · · I believe that with any surgery under anesthesia
·7· · · · · medical officer of the MDOC, why are you suing Dr.       ·7· · · · · there's complications and the risk of death.
·8· · · · · Papendick?                                               ·8· ·Q· · · And in fact, you would have signed an authorization
·9· ·A· · · What?· You have to ask my attorney.· You know what I     ·9· · · · · and a consent with Dr. Webber and Dr. Kansakar
10· · · · · mean?· That's, like, a legal question.· You know?· You   10· · · · · indicating that you understood those risks; correct?
11· · · · · have to ask my attorney.· You can't ask me stuff like    11· ·A· · · I signed something saying that I understood, yeah. I
12· · · · · that, why am I suing somebody.                           12· · · · · signed something saying that -- you know, that I was
13· ·Q· · · Well, this is ultimately your lawsuit.                   13· · · · · ready to have the surgery.· I don't even think I read
14· ·A· · · Yes, but that's a question my attorney will have to      14· · · · · over it.· I just was ready to have the surgery and
15· · · · · answer.· You know what I mean?· About why are we suing   15· · · · · signed it.
16· · · · · Dr. Papendick and -- you know what I mean?               16· ·Q· · · Okay.· You also signed something that indicated you
17· ·Q· · · So you don't know why you're suing Dr. Papendick?        17· · · · · had been explained those risks; correct?
18· ·A· · · I know but I don't feel like that's my place to answer   18· ·A· · · I signed something -- I explained -- I don't know.· Do
19· · · · · it.· I feel like it's my attorney's.                     19· · · · · you have that?
20· ·Q· · · Well, I can't ask your attorney the question.· You're    20· ·Q· · · I do.
21· · · · · the plaintiff.· He's just representing you.· So I have   21· ·A· · · Okay.· Show me where I signed it and I can tell
22· · · · · to ask you the questions.                                22· · · · · you that answer.
23· · · · · · · · · · · ·Why are you suing Dr. Papendick if it is    23· · · · · · · · · · · ·MR. WILLIS:· In the meantime, can we
24· · · · · the CMO of the MDOC that makes the final determination   24· · · · · adjust the camera?· It looks like the witness is
25· · · · · on whether or not you would have a colostomy reversal    25· · · · · moving out of frame or whatever.

                                                                                                                    Pages 153–156
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1745 Filed 09/14/21 Page 41 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 157                                                             Page 159
·1· · · · · · · · · · · ·THE WITNESS:· We've been at this for        ·1· ·Q· · · And since you have been out of prison, have you had
·2· · · · · quite a while, man.· I'm sorry.                          ·2· · · · · any problems with the colostomy reversal that Dr.
·3· · · · · · · · · · · ·MR. WILLIS:· That's okay.· Thank you.       ·3· · · · · Webber performed?
·4· · · · · · · · · · · ·THE WITNESS:· Thank you.                    ·4· ·A· · · Just a potential hernia that I've been having since I
·5· ·BY MR. SCARBER:                                                 ·5· · · · · had the original surgery.
·6· ·Q· · · That was your --                                         ·6· ·Q· · · Other than the potential hernia, are you having any
·7· ·A· · · And I signed?· You said I signed.                        ·7· · · · · kind of functional problems as a result of him
·8· ·Q· · · You could turn it over.                                  ·8· · · · · performing the colostomy reversal that occurred when
·9· ·A· · · Yeah, this doesn't say nothing about potential risk.     ·9· · · · · you got out prison?
10· · · · · Does it say something over here?· Because where it       10· ·A· · · No, sir, other than -- what I want to say was, I
11· · · · · says, "I hereby" --                                      11· · · · · believe that if I would have had the surgery right
12· ·Q· · · Let me show you, sir.· It's highlighted up at the top.   12· · · · · away that I wouldn't have this much trauma.· But they
13· · · · · This is a consent form that you would have signed when   13· · · · · allowed me to heal all the way for years before they
14· · · · · you were undergoing even your original surgery here      14· · · · · did the second surgery.· If they had did surgery in
15· · · · · with Dr. Kansakar.                                       15· · · · · the two months I don't believe I would have as much
16· ·A· · · Okay.                                                    16· · · · · trauma to my stomach that I'm having.· Like the
17· ·Q· · · So you do --                                             17· · · · · potential hernia and the pains I've been having.· You
18· ·A· · · Yeah, I signed it.· I can't say I read it, but I         18· · · · · know?· Because it healed all the way up and then they
19· · · · · signed it.                                               19· · · · · did the surgery after I got out of prison.
20· ·Q· · · Okay.· Here's another form that you signed with          20· ·Q· · · Let me just try to ask the question again.· And not
21· · · · · respect to your original surgery.· And I'll just show    21· · · · · necessarily from your medical opinion or about what
22· · · · · you here.· "Severe complications with anesthesia can     22· · · · · you believe could have happened and all that kind of
23· · · · · occur with the possibility of infection, bleeding,       23· · · · · stuff.· My question is more direct.· Since you had the
24· · · · · drug reaction, blood clots, loss of sensation, loss of   24· · · · · colostomy reversal surgery from Dr. Webber have you
25· · · · · limb function, paralysis, stroke, brain damage, heart    25· · · · · had any problems with the colostomy reversal that he
                                                         Page 158                                                             Page 160
·1· · · · · attack, death."· Do you see that?                      ·1· · · · · actually performed?
·2· ·A· · · Uh-huh.· Hold on.· When was this?· Yeah.· Right,       ·2· ·A· · · I have a problem with my stom- -- the potential
·3· · · · · right, right.· Okay, okay, okay.· I remember that      ·3· · · · · hernia.
·4· · · · · exactly.· Because that's when Dr. Kansakar said that,  ·4· ·Q· · · Other than the potential hernia that you're talking
·5· · · · · you know, usually, most people that she do the         ·5· · · · · about, have you experienced --
·6· · · · · reversal on are older and they have those but I really ·6· ·A· · · I've been having the pains --
·7· · · · · don't -- I don't have nothing wrong with me, so things ·7· ·Q· · · So --
·8· · · · · should go fine.· Yeah, I remember that.                ·8· ·A· · · -- from the potential hernia.
·9· ·Q· · · Do you also -- you remember signing it, too; right?    ·9· ·Q· · · So after he performed the surgery, the colostomy
10· ·A· · · Yeah.· Yeah, I do.                                     10· · · · · reversal on you, is it your testimony that you're
11· ·Q· · · And in particular in this grievance appeal, they're    11· · · · · still having the same type of hernia pain that you
12· · · · · indicating here that that is a possibility; correct?   12· · · · · were having when the original colostomy was performed?
13· ·A· · · Uh-huh.· That all surgeries that you go under          13· ·A· · · Yes.
14· · · · · anesthesia could be risky, yeah.· Like, even if I      14· ·Q· · · So the colostomy reversal, Mr. Jackson, did not fix
15· · · · · broke my finger and I go have surgery and I have to be 15· · · · · your stomach pain that you were experiencing before
16· · · · · under anesthesia, that could risk death -- cause of    16· · · · · you had the reversal; correct?
17· · · · · death, yeah.                                           17· ·A· · · No, it didn't.· My colostomy reversal didn't fix the
18· ·Q· · · Is that your medical opinion?                          18· · · · · stomach pain, but it did fix a lot of other stuff.
19· ·A· · · No.· That's what I was told.                           19· ·Q· · · But you're still having pain; right?
20· ·Q· · · Okay.                                                  20· ·A· · · Yeah, because I believe this is a potential hernia.
21· · · · · · · · · · · ·MR. SCARBER:· I'm going to move to strike 21· ·Q· · · Okay.· And when did that pain with the hernia start?
22· · · · · that on foundation and hearsay.                        22· ·A· · · The pain -- when did it start?· Right after the
23· ·BY MR. SCARBER:                                               23· · · · · surgery while I was healing up, in jail.· Like, you
24· ·Q· · · You have been out of prison for how long now?          24· · · · · know, I was just thinking, oh, maybe this is just
25· ·A· · · Since May 19, 2019.                                    25· · · · · trauma to my gut.

                                                                                                                    Pages 157–160
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1746 Filed 09/14/21 Page 42 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 161                                                             Page 163
·1· ·Q· · · I just want to know when it started, and you said it     ·1· ·Q· · · Did you ever treat with a medical provider in the
·2· · · · · happened right after the surgery while you were in       ·2· · · · · MDOC?
·3· · · · · jail; correct?                                           ·3· ·A· · · No.
·4· ·A· · · Uh-huh.· I don't know for sure if that's hernia pain     ·4· ·Q· · · You never saw a nurse?
·5· · · · · but I'm just telling you about the pains I'm having.     ·5· ·A· · · See, you putting the treat word on there and I never
·6· ·Q· · · I guess my -- you're having the same type of pain with   ·6· · · · · received treatment.· I partially got supplies some of
·7· · · · · your colostomy reversal -- strike my question, because   ·7· · · · · the time.· Like, you know, I mean they gave me
·8· · · · · I want to be clear, because you added on some stuff.     ·8· · · · · supplies all the time but they wasn't always right. I
·9· · · · · I just want to make sure I'm clear.· And I respect       ·9· · · · · didn't get no treatment.· What treatment are you
10· · · · · that you wanted to clarify.                              10· · · · · talking about?
11· · · · · · · · · · · ·My question is this:· You're still having   11· ·Q· · · Mr. Jackson, I'm not talking about a colostomy
12· · · · · pain, even after the colostomy reversal surgery that     12· · · · · reversal.· What I'm talking about is, we have already
13· · · · · you had in January of 2019, the same kind of pain that   13· · · · · been discussing throughout this deposition various
14· · · · · you were having immediately after you had your           14· · · · · instances where you were assessed by the people at the
15· · · · · colostomy back in December of 2016; right?               15· · · · · medical providers --
16· ·A· · · Immediately after I had my colostomy?· I wouldn't say    16· ·A· · · You mean assessed as far as what?
17· · · · · -- I'm trying to clarify.· I wouldn't say that it was    17· ·Q· · · You were seen by the --
18· · · · · immediately because I didn't know what kind of pain I    18· ·A· · · And given my supplies.
19· · · · · was having until I healed up completely, because I was   19· ·Q· · · I haven't even finished my question, sir.
20· · · · · in pain.· You get what I'm saying?                       20· · · · · · · · · · · ·MR. SCARBER:· Counsel --
21· ·Q· · · I do but my question is a little more simple.· The       21· · · · · · · · · · · ·MR. CROSS:· Just let him finish the
22· · · · · same pain that you were having after you had your        22· · · · · question.
23· · · · · colostomy --                                             23· ·BY MR. SCARBER:
24· ·A· · · I've been having that same pain the whole time.· The     24· ·Q· · · Okay.· We spent a lot of time talking about the
25· · · · · whole time since.· Yeah.                                 25· · · · · various instances where the health care providers at
                                                         Page 162                                                             Page 164
·1· ·Q· · · That's a great answer.· I just didn't finish the         ·1· · · · · the MDOC saw you.· For instance, they saw you when you
·2· · · · · question, so I don't know if --                          ·2· · · · · came to the MDOC.· They performed X-rays on you.· They
·3· ·A· · · You don't know if you want that one yet.                 ·3· · · · · examined you.· They provided you with colostomy
·4· ·Q· · · I want it but I never asked the question.· So I got to   ·4· · · · · supplies.· They sent you to the emergency room when
·5· · · · · ask the question.· Just remember what you just said.     ·5· · · · · you had an injury near the area of your colostomy.
·6· · · · · · · · · · · ·What you're telling me, Mr. Jackson, is     ·6· · · · · They provided supplies to you after you left the MDOC
·7· · · · · that after your colostomy was performed in December      ·7· · · · · so that you could have it after you were paroled from
·8· · · · · 2016, you were having some kind of pain that felt like   ·8· · · · · the MDOC.· We talked about those various instances.
·9· · · · · a hernia pain at that time; correct?                     ·9· ·A· · · Okay.· What about them?
10· ·A· · · I wouldn't say so.· I don't know what hernia pain        10· ·Q· · · So my question for you is -- and, honestly, I think I
11· · · · · feels like.· I'm telling you what Dr. Webber said it     11· · · · · forgot the question because I had to go and ask the
12· · · · · could be when I went to him.                             12· · · · · question again.· So just move to strike it altogether.
13· ·Q· · · Okay.· Well, let me rephrase the question again.         13· · · · · I'll just rely on whatever you said.· I know that's a
14· · · · · · · · · · · ·After your colostomy reversal surgery       14· · · · · good strategy but --
15· · · · · that was done in 2016 (sic), you were experiencing       15· ·A· · · Yeah.
16· · · · · some kind of pain that you're still experiencing after   16· ·Q· · · The medical provider -- let me just ask the question
17· · · · · you had the colostomy reversal in June of 2019.          17· · · · · this way.· What I was doing was a question where I was
18· ·A· · · Uh-huh.                                                  18· · · · · just trying to lay some foundation for it.· We've
19· ·Q· · · Is that yes?                                             19· · · · · already talked about a number of times that you saw
20· ·A· · · Yes, sir.                                                20· · · · · the MDOC health care providers and they did certain
21· ·Q· · · Okay.· So you -- we talked about the records from the    21· · · · · things for you.· Do you ever recall talking with a
22· · · · · MDOC where you received medical treatment while you      22· · · · · doctor named Dr. Alsalman?
23· · · · · were in the MDOC; correct?                               23· ·A· · · Do I recall?
24· ·A· · · I never said nothing about receiving no medical          24· ·Q· · · Yeah.
25· · · · · treatment at MDOC.                                       25· ·A· · · When did I talk with him?

                                                                                                                    Pages 161–164
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1747 Filed 09/14/21 Page 43 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 165                                                             Page 167
·1· ·Q· · · Do you recall talking to him?                            ·1· · · · · further regarding getting any kind of medical
·2· ·A· · · It's a lot of doctors.· I can't tell -- if you could     ·2· · · · · procedure approved on your behalf?
·3· · · · · give me something to remind me maybe I could recall      ·3· ·A· · · I don't know.
·4· · · · · it.                                                      ·4· ·Q· · · Are you aware of Dr. Alsalman submitting any kind of
·5· ·Q· · · When you first got to the jail -- I'm sorry -- to the    ·5· · · · · appeal regarding your request for an alternative
·6· · · · · prison, were you ever evaluated to determine whether     ·6· · · · · treatment plan or a review of whether or not you would
·7· · · · · or not it was medically necessary for you to have a      ·7· · · · · qualify for a surgery of medical necessity at all?
·8· · · · · colostomy reversal?                                      ·8· ·A· · · I don't know.
·9· ·A· · · Was I ever evaluated when I first got to the jail?       ·9· ·Q· · · Was this the only time it was ever discussed with you
10· · · · · Yes.                                                     10· · · · · as to whether or not you would qualify for the
11· ·Q· · · Okay.                                                    11· · · · · surgery, from Dr. Alsalman?
12· ·A· · · To the prison?                                           12· ·A· · · I'm not for sure.· I couldn't say yes for sure.· I had
13· ·Q· · · To the prison.                                           13· · · · · a lot of medical stuff and staff -- stuff going on. I
14· ·A· · · Yes.                                                     14· · · · · couldn't say for sure.· Was it the only time or wasn't
15· ·Q· · · Okay.· And are you aware that that particular health     15· · · · · it, I couldn't say it.· I don't remember.· But I do
16· · · · · care provider made a request to -- that there be some    16· · · · · remember that time for sure.
17· · · · · kind of determination made of whether or not you would   17· ·Q· · · And this wasn't even -- so it's fair to say, sir, that
18· · · · · qualify or whether it was medically necessary for you    18· · · · · you had decided you were going to file a lawsuit
19· · · · · to have --                                               19· · · · · within a month of even being at the prison because you
20· ·A· · · No, I'm not aware.                                       20· · · · · couldn't have a colostomy reversal immediately; right?
21· ·Q· · · -- a colostomy reversal?                                 21· ·A· · · No.· I knew right away I was filing a lawsuit anyway
22· ·A· · · I'm not aware as far as (inaudible) --                   22· · · · · for everything that had went on back at the jail.
23· · · · · · · · · · · ·COURT REPORTER:· I'm sorry.· "I'm not       23· · · · · That's what I was referring to.
24· · · · · aware as far as" --                                      24· ·Q· · · Okay.
25· · · · · · · · · · · ·THE WITNESS:· As far as I don't know.       25· ·A· · · That I knew.
                                                         Page 166                                                             Page 168
·1· ·BY MR. SCARBER:                                                 ·1· ·Q· · · Did Dr. Alsalman ever discuss with you that the reason
·2· ·Q· · · Let me just go to something.· I'm going to wrap up       ·2· · · · · we're not going to do the colostomy reversal is
·3· · · · · here, because I know Mr. Willis probably has a couple    ·3· · · · · because it cost too much?
·4· · · · · of follow-up questions, and I'm going to try to get      ·4· ·A· · · Who?
·5· · · · · done with this but this is taking longer than I          ·5· ·Q· · · Dr. Alsalman.
·6· · · · · wanted, obviously.· No fault of --                       ·6· ·A· · · I never talked to Dr. Alsalman.· Have I?· Did I talk
·7· ·A· · · It's fine.                                               ·7· · · · · to Dr. Alsalman?· Like, did he examine me in person?
·8· ·Q· · · Dr. Alsalman was a doctor who has a note from April      ·8· · · · · Did I see him in person?
·9· · · · · 26, 2017.· He says -- and this is at page 33 of the      ·9· ·Q· · · Yes.· This was the visit that I just referred to you.
10· · · · · MDOC records -- that -- it says, quote, he's ready for   10· ·A· · · He did not examine me as a doctor.· I had a meeting
11· · · · · a colostomy reversal for which a 407 was submitted on    11· · · · · with someone and they told me that they decided not to
12· · · · · 4/18/17 that got ATP for medical necessity, not          12· · · · · reverse my bag.· It wasn't -- it wasn't no one who
13· · · · · demonstrated at this time.· The patient was scheduled    13· · · · · examined me.· It was someone who came in and I spoke
14· · · · · for today's appointment to discuss the ATP," which       14· · · · · it.· So I'm a little confused.
15· · · · · stands for alternative treatment plan.· "He became so    15· ·Q· · · I have in my record that you were examined on March 24
16· · · · · upset when told about the not approved consult request   16· · · · · of 2017 by a nurse practitioner named Ronald Drinkert.
17· · · · · stating that he's planning to file a lawsuit."           17· ·A· · · Okay.· That's what I'm talking about.
18· · · · · · · · · · · ·Do you recall a meeting with a Dr.          18· ·Q· · · Do you remember that?
19· · · · · Alsalman back in April of 2017 where he had advised      19· ·A· · · Vaguely.· But what I'm saying is, the doctor that
20· · · · · you that he had submitted a request for them to          20· · · · · you're saying, I wasn't even aware he was a doctor. I
21· · · · · determine whether or not it was medically necessary      21· · · · · remember meeting with someone that came in and spoke
22· · · · · for you to have the procedure and that this incident     22· · · · · with me.· I don't remember them examining me or being
23· · · · · occurred here?· Do you recall that?                      23· · · · · a doctor.· It was someone that came in and spoke with
24· ·A· · · Yes, I do.· Yes, I do.· And here we are.                 24· · · · · me.
25· ·Q· · · And are you aware of Dr. Alsalman doing anything         25· ·Q· · · In this particular case, Mr. Jackson, a determination

                                                                                                                    Pages 165–168
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1748 Filed 09/14/21 Page 44 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 169                                                             Page 171
·1· · · · · was made by the health care providers here as to       ·1· · · · · reversal would not be reversed were wrong about their
·2· · · · · whether, based upon their medical judgment, they       ·2· · · · · decisions?
·3· · · · · believed that you would qualify for medical necessity ·3· ·A· · · Doctors -- did doctors make medical decisions? I
·4· · · · · for a colostomy reversal.                              ·4· · · · · wasn't aware doctors made the medical decisions. I
·5· ·A· · · You said they believed that I wouldn't?                ·5· · · · · thought it was the jail, the prison that made the
·6· ·Q· · · They believed that you would not.                      ·6· · · · · decision.· I was never aware that doctors made the
·7· ·A· · · Okay.                                                  ·7· · · · · decision.
·8· ·Q· · · Okay.· Is it your testimony today that you disagree    ·8· ·Q· · · You just testified a little while ago that Dr.
·9· · · · · with their medical judgment about whether or not you ·9· · · · · Papendick you think is the doctor that determined that
10· · · · · should be getting a colostomy reversal or not?         10· · · · · your colostomy wouldn't be reversed.
11· · · · · · · · · · · ·MR. CROSS:· I'm going to object.· I mean  11· ·A· · · I just testified a little while ago that I never knew
12· · · · · --                                                     12· · · · · that it was a doctor that -- no one ever examined me.
13· · · · · · · · · · · ·THE WITNESS:· (Inaudible) testimony today 13· · · · · It was just a person came in and spoke with me.
14· · · · · that I agree or don't agree?                           14· ·Q· · · So let's assume for the record -- we don't have to do
15· · · · · · · · · · · ·MR. CROSS:· That's not in evidence that   15· · · · · that.· I'm going to show you record number -- page No.
16· · · · · it was their medical judgment.                         16· · · · · 37.· It's from the MDOC records.· Down at the bottom
17· · · · · · · · · · · ·MR. SCARBER:· I'm going to object to a    17· · · · · of this particular page it says, "Medical necessity
18· · · · · speaking objection.                                    18· · · · · not demonstrated at this time.· Continue to follow in
19· · · · · · · · · · · ·Let me ask you the question again.· And   19· · · · · on site clinically by MSP."
20· · · · · this is subject to whatever objection you want to      20· ·A· · · MSP.· That's a yes.· Okay.· What about it?
21· · · · · make.· I'm free to ask this question.                  21· ·Q· · · My question is -- and the record is signed by Dr.
22· ·BY MR. SCARBER:                                               22· · · · · Papendick.· So --
23· ·Q· · · In this particular case there was a decision made -- a 23· ·A· · · Uh-huh.
24· · · · · medical decision made by the doctors in this           24· ·Q· · · So my question -- so my question is, do you disagree
25· · · · · particular case as to whether or not you would qualify 25· · · · · with Dr. Papendick's medical decision about whether a
                                                         Page 170                                                             Page 172
·1· · · · · for a colostomy reversal and they decided, based upon    ·1· · · · · medical necessity was demonstrated at that time for a
·2· · · · · the reasons that are set forth in that document there    ·2· · · · · colostomy reversal?
·3· · · · · that you reviewed, the grievance, that they did not      ·3· ·A· · · I still -- you got to rephrase.
·4· · · · · believe there was a medical necessity demonstrated for   ·4· ·Q· · · Do you disagree with Dr. Papendick's medical
·5· · · · · a colostomy reversal.· Is it your testimony today,       ·5· · · · · determination that medical necessity was not
·6· · · · · then, that you disagree with their medical               ·6· · · · · demonstrated for you to have a reversal?
·7· · · · · determination about whether or not --                    ·7· ·A· · · I don't agree or disagree.· I don't know what you want
·8· ·A· · · So you said --                                           ·8· · · · · me to say on that.· It's not even -- I don't have no
·9· ·Q· · · Wait --                                                  ·9· · · · · say-so or opinion because I don't know -- I really
10· ·A· · · I'm just asking --                                       10· · · · · don't understand the question like that.
11· ·Q· · · I haven't asked the question.                            11· ·Q· · · Do you disagree with Dr. Papendick's medical judgment
12· ·A· · · So I can understand the question.· Because I have a      12· · · · · as to whether or not you needed a colostomy reversal?
13· · · · · question about your question.                            13· ·A· · · (Inaudible).
14· ·Q· · · So go ahead and ask me the question about my question.   14· · · · · · · · · · · ·COURT REPORTER:· I'm sorry, sir.· You're
15· ·A· · · Are you saying that doctors determined that my           15· · · · · mumbling.· Can you --
16· · · · · reversal was not medically necessary and are you         16· · · · · · · · · · · ·THE WITNESS:· I'm sorry, ma'am.· I'm just
17· · · · · asking me was I aware of the doctors saying that?        17· · · · · thinking to myself.· When I talk quietly, that's just
18· ·Q· · · Let me ask the question again, then.                     18· · · · · like me rehearsing something out loud, verbally in my
19· ·A· · · Okay.                                                    19· · · · · head.
20· ·Q· · · Are you aware that there were medical doctors that       20· · · · · · · · · · · ·Did you hear that?
21· · · · · determined that your colostomy was not going to --       21· · · · · · · · · · · ·COURT REPORTER:· Yeah, I did.
22· · · · · strike my question, because I need to say reversal.      22· ·BY MR. SCARBER:
23· · · · · Strike that.                                             23· ·Q· · · So what's your answer?
24· · · · · · · · · · · ·Is it your testimony, Mr. Jackson, that     24· ·A· · · I forgot the question.
25· · · · · doctors who made medical decisions that your colostomy   25· ·Q· · · Mr. Jackson, the question is this:· Do you disagree

                                                                                                                    Pages 169–172
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1749 Filed 09/14/21 Page 45 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 173                                                             Page 175
·1· · · · · with Dr. Papendick's medical judgment that you did not   ·1· · · · · some meeting with Nurse Colleen?
·2· · · · · demonstrate a medical necessity for a colostomy          ·2· ·A· · · Yes.
·3· · · · · reversal?                                                ·3· ·Q· · · How many meetings did you have with Nurse Colleen?
·4· ·A· · · No.                                                      ·4· ·A· · · I know for sure we had a meeting with the sergeant.
·5· ·Q· · · You don't disagree with --                               ·5· · · · · It wasn't Lebeau.· The sergeant -- we had a meeting,
·6· ·A· · · I don't agree with him.                                  ·6· · · · · Miss Colleen, the sergeant, and another sheriff.· We
·7· ·Q· · · You don't agree with him.· Okay.· You can leave your     ·7· · · · · had a meeting.· I believe it was -- it was
·8· · · · · answer right there.· That's fine.                        ·8· · · · · basically -- the meeting was about the fact that I
·9· ·A· · · I don't agree with him what?· Ask the question again.    ·9· · · · · wasn't receiving the correct supplies and Nurse
10· ·Q· · · You've answered it.                                      10· · · · · Colleen told me that I was -- I would have to make do
11· ·A· · · I'm saying I'm not answering that because -- I'm         11· · · · · with one over ring a week because they couldn't afford
12· · · · · saying I'm -- that's not my answer because I don't       12· · · · · them and I would have to use the paste to seal my
13· · · · · know if I heard it correctly.· So ask me one more time   13· · · · · patch, but I told them that the paste wasn't working.
14· · · · · so I can know if I'm hearing it correctly.               14· · · · · It was still leaking.· The only thing that made it
15· ·Q· · · Do you disagree with Dr. Papendick's medical judgment    15· · · · · flush flat was the over ring, and that's why I showed
16· · · · · that you did not require a colostomy reversal?           16· · · · · you all my stomach earlier.
17· ·A· · · Yeah.                                                    17· ·Q· · · Besides that meeting did you have any other
18· ·Q· · · Okay.                                                    18· · · · · conversations with Nurse Colleen about your colostomy?
19· ·A· · · Yes.· I feel like I did require it.                      19· ·A· · · Yes, I did.· I talked to Nurse Colleen sometime in
20· ·Q· · · Great.· So you believe that -- is it fair to say that    20· · · · · January -- no, no, no.· I did.· I talked to Nurse
21· · · · · you believe that instead of treating you the way they    21· · · · · Colleen sometime in January.· I talked to her the
22· · · · · did when you were in the MDOC in terms of giving you     22· · · · · whole time but -- yeah, in January -- the beginning of
23· · · · · medical assessments, supplies, referring you to the      23· · · · · January she told me that I was going to have the
24· · · · · ER, determining what type of supplies you might need,    24· · · · · reversal -- that I was going to be reversed.· And then
25· · · · · performing labs and X-rays, you believe that they        25· · · · · she -- after all the confrontation, like the over
                                                         Page 174                                                             Page 176
·1· · · · · should have also been doing a colostomy reversal as    ·1· · · · · ring, I ended up deflating my catheter because I was,
·2· · · · · well; right?                                           ·2· · · · · like, having real bad pains with my catheter.· I have
·3· ·A· · · I believe they should have did the colostomy reversal. ·3· · · · · enlarged prostate and, like, when I was urinating I
·4· ·Q· · · Instead of all the other stuff they were doing?        ·4· · · · · was having spasms and it was coming all around my
·5· ·A· · · Yes.                                                   ·5· · · · · catheter.· I was in pain.· They had me on medical
·6· · · · · · · · · · · ·MR. SCARBER:· Ken, I don't have anything  ·6· · · · · lockdown.· I met with Miss Colleen about the medical
·7· · · · · else right at this time.· You want to take a quick     ·7· · · · · lockdown because it was, like, if you got sick in the
·8· · · · · break?· Do you have anything to follow up?             ·8· · · · · jail or if you got hurt in the jail, they would lock
·9· · · · · · · · · · · ·MR. WILLIS:· I probably -- I've got a     ·9· · · · · you down, but that's the same thing that they do to
10· · · · · couple of things to follow up, but it might also       10· · · · · people who get into fights or do disciplinary -- so I
11· · · · · depend on if Ian has got any questions or not.         11· · · · · felt like I was being punished.· I had a meeting with
12· · · · · · · · · · · ·MR. CROSS:· Yeah, I do.                   12· · · · · her.· But then -- and I had a meeting with her about
13· · · · · · · · · · · ·VIDEOGRAPHER:· Are we taking a break? 13· · · · · my over rings because they were leaking and during the
14· · · · · · · · · · · ·MR. CROSS:· Do you want to take a break?  14· · · · · end when it was time for me to get my reversal I
15· · · · · · · · · · · ·MR. SCARBER:· Go ahead and ask your       15· · · · · talked with Miss Colleen about it because the nurses
16· · · · · questions and then -- do you have a lot?               16· · · · · told me that somehow that she was going back and forth
17· · · · · · · · · · · ·MR. CROSS:· I don't have that much.       17· · · · · with Dr. Kansakar's office and they hadn't for sure
18· · · · · · · · · · · ·MR. SCARBER:· Okay.                       18· · · · · came to some type of agreement.· So when I talked to
19· · · · · · · · · · · · · · ·-· - -                              19· · · · · Nurse Colleen about it, she said, "Hey."
20· · · · · · · · · · · · · · EXAMINATION                          20· · · · · · · · · · · ·I said, "What's going on, Miss Nurse
21· ·BY MR. CROSS:                                                 21· · · · · Colleen?"
22· ·Q· · · Mr. Jackson, do you remember being asked some          22· · · · · · · · · · · ·She said, "Your surgery has been
23· · · · · questions about a Nurse Colleen?                       23· · · · · postponed for financial reasons."
24· ·A· · · Yes.                                                   24· ·Q· · · When did she say that?
25· ·Q· · · All right.· And I believe you testified that you had   25· ·A· · · She said that after my surgery had been postponed.

                                                                                                                    Pages 173–176
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1750 Filed 09/14/21 Page 46 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 177                                                             Page 179
·1· · · · · After February 9th.                                      ·1· · · · · employing medical judgment?
·2· ·Q· · · Where did she say that?· Where were you?                 ·2· ·A· · · Do I know when that happened?
·3· ·A· · · I was in the jail.· I went to see go her in the          ·3· ·Q· · · Do you know if he was -- if it was a medical decision
·4· · · · · medical line.· You know, she come in.· She do the        ·4· · · · · or not?
·5· · · · · medical line, whatever, whatever.· Everybody line up.    ·5· ·A· · · It was a financial thing the whole time.· I know that.
·6· · · · · You know?                                                ·6· · · · · · · · · · · ·MR. CROSS:· Okay.· I don't have any
·7· · · · · · · · · · · ·I -- every time a nurse came in or a        ·7· · · · · further questions.
·8· · · · · sergeant came in I wanted to talk to them.               ·8· · · · · · · · · · · ·THE WITNESS:· Because -- I'm just saying
·9· ·Q· · · So I believe Mr. Scarber asked you some questions        ·9· · · · · it was a financial thing because they told me that if
10· · · · · about a letter you got from the ombudsman office?        10· · · · · my family could pay for it, I would do outside
11· ·A· · · Uh-huh.                                                  11· · · · · resources, and they would do the surgery.· That's how
12· ·Q· · · Did you ever talk to anyone from the ombudsman office    12· · · · · I know it was a financial thing.· You know what I'm
13· · · · · in person or did you just get a letter?                  13· · · · · saying?· Because they was going to do it.· If I could
14· ·A· · · I got a letter and they said that what --                14· · · · · afford to pay for it -- the people to get paid, like
15· ·Q· · · Answer the question.· Did you talk to them on the        15· · · · · pay for the sheriff's overtime, if I could pay for the
16· · · · · phone or did you just write letters?                     16· · · · · surgery, then they would have did it.· But since I
17· ·A· · · Just write letters.                                      17· · · · · couldn't, I had to rely on them to pay for it.· They
18· ·Q· · · So is there any information the ombudsman's office       18· · · · · said it was a medical issue -- it was a medical
19· · · · · gave you beyond that letter that you were showed by      19· · · · · decision why they didn't do it.
20· · · · · Mr. Scarber?                                             20· · · · · · · · · · · ·MR. CROSS:· Okay.· I have no further
21· ·A· · · I can't remember about that.· I just know that they      21· · · · · questions.
22· · · · · said they won't reverse my surgery because it was        22· · · · · · · · · · · ·MR. SCARBER:· Hey, Ken, let me just
23· · · · · cosmetic; right?· They don't do reconstructive -- they   23· · · · · follow up on that.· Is that okay?
24· · · · · don't do reconstructive and cosmetic surgery.            24· · · · · · · · · · · ·MR. WILLIS:· Sure.
25· ·Q· · · So all you heard from the ombudsman's office was that    25· · · · · · · · · · · ·MR. SCARBER:· Okay.
                                                         Page 178                                                             Page 180
·1· · · · · letter which we talked about earlier?                    ·1· · · · · · · · · · · · · · ·-· - -
·2· ·A· · · Yes, sir, that I can remember.· Yes, sir, for sure.      ·2· · · · · · · · · · · · · RE-EXAMINATION
·3· ·Q· · · You were asked some questions about a Dr. Papendick.     ·3· ·BY MR. SCARBER:
·4· ·A· · · Uh-huh.                                                  ·4· ·Q· · · Did Dr. Papendick specifically tell you that it was a
·5· ·Q· · · Do you remember that?                                    ·5· · · · · medical decision that he wouldn't perform?
·6· ·A· · · Yes.                                                     ·6· ·A· · · I never talked to Dr. Papendick a day in my life, so
·7· ·Q· · · And have you ever met Dr. Papendick?                     ·7· · · · · he couldn't have told me.
·8· ·A· · · No, I haven't met Dr. Papendick.                         ·8· ·Q· · · Okay.· Thank you.
·9· ·Q· · · Have you ever done a telemedicine visit with Dr.         ·9· · · · · · · · · · · ·Where is the information that you got
10· · · · · Papendick?                                               10· · · · · that said it was a financial decision?
11· ·A· · · No, I did not.                                           11· ·A· · · I have some type of form that says that I can request
12· ·Q· · · Do you know what Dr. Papendick --                        12· · · · · outside services, and requested outside services
13· ·A· · · Looks like?                                              13· · · · · meaning paying for all the expenses that my surgery
14· ·Q· · · Yeah.                                                    14· · · · · costs, including paying the sheriff's overtime.· Yes.
15· ·A· · · No.                                                      15· · · · · Do I need to go find that?· I need to do the break,
16· ·Q· · · Has Dr. Papendick ever provided you any medical          16· · · · · because I can find that.
17· · · · · treatment?                                               17· ·Q· · · I don't know if it applies to me.· You said for the
18· ·A· · · Of course not.· I never saw the man.· That's what I      18· · · · · sheriff, and I'm not involved in that.
19· · · · · said.· Somebody just came in and talked to me.· Wasn't   19· · · · · · · · · · · ·My question, more directly to you is,
20· · · · · no doctor.                                               20· · · · · where is the information while you were in the state
21· ·Q· · · You were asked some questions about disagreeing with     21· · · · · prison that you got that indicated that it was a
22· · · · · medical judgment.· Do you remember that?                 22· · · · · financial decision?
23· ·A· · · Uh-huh.· Yes, sir.                                       23· ·A· · · Where is the information while I was -- oh, yeah,
24· ·Q· · · Do you know if when Dr. Papendick decided that you       24· · · · · that's what I'm talking about.· When they told me --
25· · · · · should not have the colostomy reversal he was            25· · · · · it wasn't about no sheriff.· I had a meeting and I

                                                                                                                    Pages 177–180
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1751 Filed 09/14/21 Page 47 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 181                                                             Page 183
·1· · · · · talked to some type of nurse or medical staff and they ·1· · · · · forms that you have to complete with respect to
·2· · · · · advised me that if I could have outside services --    ·2· · · · · whether or not you could pay for it --
·3· · · · · saying if my people can pay for the surgery and pay    ·3· ·A· · · Outside -- requested outside medical services.
·4· · · · · for the overtime of the police that would have to      ·4· ·Q· · · Yeah.· Where did those come from?
·5· · · · · watch me at the hospital, then they would do it.· But  ·5· ·A· · · Where did they come from?· What do you mean?· I had a
·6· · · · · if I can't afford to request outside medical services, ·6· · · · · meeting with a lady about requesting outside medical
·7· · · · · then they won't do it.                                 ·7· · · · · services and everything.
·8· ·Q· · · Okay.                                                  ·8· ·Q· · · Do you remember when that meeting occurred,
·9· ·A· · · So that's how I knew it wasn't a medical thing. I      ·9· · · · · approximately?
10· · · · · knew it was a financial thing.· Because if I could     10· ·A· · · I have to look in the medical records, but I know for
11· · · · · afford to pay for it, I would have been having it      11· · · · · sure that they're in there.
12· · · · · reversed before I got out of prison.                   12· ·Q· · · Do you remember -- where did this meeting occur in the
13· ·Q· · · So my question to you is, who specifically told you -- 13· · · · · prison?
14· ·A· · · I read that on the paper.· I can't --                  14· ·A· · · In health services.
15· · · · · · · · · · · ·MR. CROSS:· Let him finish the question.  15· ·Q· · · In health services?
16· ·A· · · All right.· Go ahead.                                  16· ·A· · · Uh-huh.· It was a nurse.· A lady.
17· ·BY MR. SCARBER:                                               17· ·Q· · · Was it the same nurse that we're referencing here --
18· ·Q· · · So you testified that nobody specifically told you     18· ·A· · · I don't know.· I can't recall.
19· · · · · that.· You saw it on a piece of paper.                 19· ·Q· · · -- on the grievance appeal response?
20· ·A· · · No, no.· Someone did tell me that.· Excuse me.         20· ·A· · · I can't recall, because I'm good with faces, not
21· · · · · Someone did tell me that.· I had a meeting.· I went    21· · · · · names.· You show me her face, I might be able to tell
22· · · · · in, had the meeting at Jackson, I believe.· I went in, 22· · · · · you.
23· · · · · had the meeting, because I had a meeting about my      23· ·Q· · · So as we sit here today you would agree with me that
24· · · · · reversal and that's when they told me about the        24· · · · · you have no proof that you can think of that the
25· · · · · outside services -- I could request outside services   25· · · · · person who told you about you could get a procedure
                                                         Page 182                                                             Page 184
·1· · · · · to have my people pay for it.                            ·1· · · · · done as long as you pay for it yourself was somebody
·2· ·Q· · · So was the meeting with Dr. Papendick?                   ·2· · · · · from Corizon or Dr. Papendick; correct?
·3· ·A· · · No.· I never seen Dr. Papendick a day in my life.        ·3· ·A· · · You've got to rephrase that question.
·4· ·Q· · · Okay.· So then you're going to answer my next            ·4· ·Q· · · As you sit here today you can't show me anything that
·5· · · · · question.· The meeting was not with Dr. Papendick that   ·5· · · · · tells me specifically that it was someone from Corizon
·6· · · · · you're talking about; correct?                           ·6· · · · · or Dr. Papendick, who you're suing in this case, that
·7· ·A· · · He wasn't there.· I never seen him.                      ·7· · · · · told you that --
·8· ·Q· · · So we can agree, Mr. Jackson --                          ·8· ·A· · · You can request outside services?
·9· ·A· · · If we agree.                                             ·9· ·Q· · · -- that the decision was financial not to perform your
10· ·Q· · · We can agree, Mr. Jackson, that Dr. Papendick did not    10· · · · · colostomy reversal?
11· · · · · tell you that it was a financial decision as to why he   11· ·A· · · You have to rephrase it again.
12· · · · · had determined that there was no medical necessity for   12· ·Q· · · Do you have anything to show me today that somebody
13· · · · · your surgery?                                            13· · · · · from Corizon or Dr. Papendick told you specifically
14· ·A· · · I can't agree with that.                                 14· · · · · that it was financial as the reason as to why you
15· ·Q· · · If you can't agree with it, tell me when Dr. Papendick   15· · · · · could not have a colostomy reversal?
16· · · · · --                                                       16· ·A· · · Yes.
17· ·A· · · Oh, no, I never talked with Dr. Papendick, so, yeah, I   17· ·Q· · · Okay.· What?
18· · · · · do agree with that, because I never saw Dr. Papendick.   18· ·A· · · I have documents that show that me paying for outside
19· ·Q· · · Okay.                                                    19· · · · · medical services, I would have been able to get my
20· ·A· · · I'm sorry about that.· Yeah, I never saw Dr.             20· · · · · surgery done.
21· · · · · Papendick, so he couldn't tell me anything.              21· ·Q· · · Now, as we sit here today are you able to tell me that
22· ·Q· · · Okay.                                                    22· · · · · that was -- with one hundred percent certainty, that
23· ·A· · · There we go.                                             23· · · · · it was somebody from Corizon or Dr. Papendick that
24· ·Q· · · The document that you're talking about where you also    24· · · · · gave you that paperwork or told you that?
25· · · · · received something in writing telling you about some     25· ·A· · · They gave me the paperwork or told me that?· Rephrase

                                                                                                                    Pages 181–184
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1752 Filed 09/14/21 Page 48 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 185                                                             Page 187
·1· · · · · the question.                                            ·1· · · · · decision regarding medical necessity or colostomy
·2· ·Q· · · You said you have some paperwork talking about you       ·2· · · · · reversal is based upon financial reasons.
·3· · · · · could get your procedure done if you pay for it.· So     ·3· ·A· · · Yeah, because this right here says that I can request
·4· · · · · my question is --                                        ·4· · · · · outside medical service and that means my family or
·5· ·A· · · Hold on.· Let me clear that up for you, what I say. I    ·5· · · · · someone can pay for my outside medical services.
·6· · · · · said that I have paperwork stating that if I pay for     ·6· · · · · Meaning they would do the surgery if my family or
·7· · · · · or request outside services, outside medical services,   ·7· · · · · someone pays for it on the outside.· They would do it
·8· · · · · that my surgery would be done and approved to be done.   ·8· · · · · if they can afford the cost of the overtime for the
·9· · · · · I have that.                                             ·9· · · · · sheriffs and the surgery that it cost, then they would
10· ·Q· · · Where is it?                                             10· · · · · do the surgery.· This is a request, because that's
11· ·A· · · You got to give me a break and I have to find it.        11· · · · · what they do, that's their custom policy, to allow
12· · · · · · · · · · · ·MR. SCARBER:· Off the record.               12· · · · · people on the outside to pay their medical bills.
13· · · · · · · · · · · ·(There was a discussion off the record.)    13· ·Q· · · Show me --
14· · · · · · · · · · · ·MR. SCARBER:· Let's take a break.· The      14· ·A· · · Let's look this up.· Because this paper is just a
15· · · · · videographer has to change it anyway.                    15· · · · · note.· Let's look up what the outside medical -- let's
16· · · · · · · · · · · ·VIDEOGRAPHER:· We are going off the         16· · · · · look what that is -- what we're talking about here.
17· · · · · record.· It's 4:25 p.m.                                  17· · · · · · · · · · · ·MR. WILLIS:· You're talking about in
18· · · · · · · · · · · ·(Whereupon, a recess was held.)             18· · · · · prison; correct?
19· · · · · · · · · · · · · · ·-· - -                                19· · · · · · · · · · · ·THE WITNESS:· Yes, in prison.
20· · · · · · · · · · · ·VIDEOGRAPHER:· We are back on the record.   20· · · · · · · · · · · ·MR. WILLIS:· You used the word sheriff
21· · · · · It is 4:35 p.m.                                          21· · · · · again and I --
22· ·BY MR. SCARBER:                                                 22· · · · · · · · · · · ·THE WITNESS:· I mean deputy, sorry.
23· ·Q· · · Mr. Jackson, we're back on the record.· We took a        23· · · · · Deputy sheriff.
24· · · · · brief pause.· The court reporter -- videographer had     24· · · · · · · · · · · ·MR. WILLIS:· You mean corrections
25· · · · · to make a couple of changes -- video needed to be        25· · · · · officer?
                                                         Page 186                                                             Page 188
·1· · · · · changed.· During that time period you and your counsel   ·1· · · · · · · · · · · ·THE WITNESS:· Yeah, correction officer.
·2· · · · · met briefly and you provided me with what looks like     ·2· · · · · · · · · · · ·MR. WILLIS:· Okay.· Sorry.
·3· · · · · three records.· The first record is from -- looks like   ·3· · · · · · · · · · · ·MR. SCARBER:· I'm sorry, Ken.
·4· · · · · a Nurse Ausmus from the Michigan Department of           ·4· ·BY MR. SCARBER:
·5· · · · · Corrections.· I guess this was in response to a kite,    ·5· ·Q· · · I guess my question is more simple.· I'm just looking
·6· · · · · and it is dated 5/25/17.                                 ·6· · · · · on this form.· Can you show me the language where you
·7· ·A· · · '17?                                                     ·7· · · · · say it is talk -- it's Corizon or Dr. Papendick
·8· ·Q· · · Yeah, May 25th of 2017.· Can you take a look at that?    ·8· · · · · telling you that it's a financial decision?
·9· · · · · And while you are reading that I'll just refresh the     ·9· ·A· · · Show you on that paper?· This is a paper --
10· · · · · foundation here for our questions here.· You were        10· ·Q· · · No.· What I want you to do -- I know what the paper
11· · · · · trying to find if there was something that               11· · · · · is.
12· · · · · specifically demonstrated that the Corizon defendants    12· ·A· · · Okay.· What is --
13· · · · · or Dr. Papendick told you or communicated to you that    13· ·Q· · · Show me where you see on that paper --
14· · · · · their decision was solely based on financial reasons.    14· ·A· · · Dr. Papendick's name or something?
15· · · · · Do you see anything on that document that talks about    15· ·Q· · · -- that it says specifically something about a
16· · · · · a decision for you not to have a colostomy reversal      16· · · · · financial decision.
17· · · · · being based upon financial reasons?                      17· ·A· · · A financial decision?· Wait.· It says, "Schedule nurse
18· ·A· · · Yes.· It speaks for itself.                              18· · · · · sick call approximately 5/30/2017 with RN nurse by
19· ·Q· · · Okay.· Let me take a look at it again.                   19· · · · · Christine" -- how do you pronounce her last name?
20· ·A· · · It says outside medical resources.· What I'm saying      20· ·Q· · · I'm going to assume it's Ausmus.
21· · · · · is, it's obviously --                                    21· ·A· · · -- Ausmus -- with Christine Ausmus, RN.· Reason:
22· ·Q· · · I don't want you to tell me what you think is obvious.   22· · · · · Request outside medical service kite.· No. 1, I am
23· · · · · I just want to know if there's something on this         23· · · · · requesting outside medical service to schedule -- to
24· · · · · specific form that states that somebody from Corizon     24· · · · · schedule a colostomy reversal operation as soon as
25· · · · · or Dr. Papendick told you specifically that their        25· · · · · possible.

                                                                                                                    Pages 185–188
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1753 Filed 09/14/21 Page 49 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 189                                                             Page 191
·1· · · · · · · · · · · ·So that's -- so I'm requesting for my     ·1· ·A· · · Yes.
·2· · · · · people to pay for me to get reversed.· You know?· This ·2· ·Q· · · Okay.· So the procedure has to be something that's
·3· · · · · is something you can do.· This is procedure that they  ·3· · · · · approved?
·4· · · · · do in prison.· I could have paid for it.· I couldn't   ·4· ·A· · · Yes.
·5· · · · · afford it, so they didn't do it.· So that's what I'm   ·5· ·Q· · · Okay.
·6· · · · · showing you.· That's my evidence.                      ·6· ·A· · · So you have to have the money to be able to get it
·7· ·Q· · · Let me help you out here.· Let's see about -- you      ·7· · · · · approved.· You have to have the money to pay all costs
·8· · · · · would agree with me, though, on the page that you just ·8· · · · · to have it approved.· So it didn't get approved
·9· · · · · showed me, that nothing about financial is listed;     ·9· · · · · because I didn't have money.
10· · · · · correct?                                               10· ·Q· · · Does that approval for you, as far as your
11· ·A· · · Financial?                                             11· · · · · understanding of it, has nothing to do with whether or
12· ·Q· · · There's nothing about payment or financial listed on 12· · · · · not it's something that is medically necessary for
13· · · · · here.· You would agree?                                13· · · · · you; correct?
14· ·A· · · It says --                                             14· ·A· · · Rephrase the question.
15· ·Q· · · And if it's not there, it's okay to admit it.          15· ·Q· · · Does approval in your mind have anything to do with
16· ·A· · · No, no, no, I'm going to admit the truth.· There's no 16· · · · · whether or not it's medically necessary?
17· · · · · problem.· But it does not say nothing about financial 17· ·A· · · Approval in my mind?
18· · · · · or medical, but -- it's obvious.· What's understood    18· ·Q· · · So it says you will be responsible for all costs if
19· · · · · don't have to be explained.· There you go.             19· · · · · approval for the request is granted.· Right?
20· ·Q· · · So we can agree that page 23 does not use the words 20· ·A· · · Uh-huh.
21· · · · · financial or payment on it; correct?                   21· ·Q· · · So does this suggest to you that it's still something
22· ·A· · · It doesn't have it, financial or payment.              22· · · · · that has to be approved in order for you to ultimately
23· ·Q· · · That's fine.                                           23· · · · · be responsible for the cost?
24· ·A· · · Yeah.                                                  24· ·A· · · Yes, it has to be approved.· It doesn't say nothing
25· ·Q· · · Now let's go to page 22.· You read that and then I'm 25· · · · · about medical -- medical approval.· It just says
                                                         Page 190                                                             Page 192
·1· · · · · going to ask you some questions.· Don't answer           ·1· · · · · approved.
·2· · · · · anything yet because I haven't asked you.                ·2· ·Q· · · Okay.· And it also says generated by Christine Ausmus;
·3· ·A· · · "Spoke with" --                                          ·3· · · · · right?
·4· ·Q· · · Just read it to yourself.                                ·4· ·A· · · That's what the document says.
·5· ·A· · · Oh, read it to myself.                                   ·5· ·Q· · · Okay.· The second document you handed me is page 122
·6· ·Q· · · And then I'm going to ask you some questions.            ·6· · · · · of the MDOC records.· Just read it.
·7· ·A· · · Okay.· Okay.· That's what I thought.                     ·7· ·A· · · Okay.
·8· · · · · · · · · · · ·It says --                                  ·8· ·Q· · · Okay.· Does this particular document, Mr. Jackson, say
·9· ·Q· · · So my question for you is, you would agree that it       ·9· · · · · anything on here about cost and payment, yes or no?
10· · · · · says at the bottom that this document was generated by   10· · · · · Do you see those words listed here at all?
11· · · · · Christine Ausmus, RN; correct?                           11· ·A· · · Okay.· So I don't see anything about cost on here.
12· ·A· · · Yes, but I also see something about Paul Stone           12· ·Q· · · Or payment; correct?
13· · · · · (phonetic) here, too.                                    13· ·A· · · Correct.
14· ·Q· · · Would you agree with me, Mr. Jackson, that this          14· ·Q· · · Thank you.
15· · · · · document says it was generated by Christine Ausmus,      15· ·A· · · You welcome.
16· · · · · RN?· Yes or no?                                          16· ·Q· · · Do you know how much your surgery cost with Dr.
17· ·A· · · Yes.                                                     17· · · · · Webber, your reversal surgery?
18· ·Q· · · Now, there is a portion on here that you want to read    18· ·A· · · No, sir, I'm not aware.
19· · · · · to me.· Can you go ahead and read it?                    19· ·Q· · · Did your family pay for it?
20· ·A· · · "It was explained that any request should be submitted   20· ·A· · · No, sir.
21· · · · · to the HUM on kite form and that prisoner will be        21· ·Q· · · What does your grandmother do?
22· · · · · responsible for all costs incurred if above request is   22· ·A· · · She's retired.
23· · · · · granted."                                                23· ·Q· · · What is your grandmother's income?
24· ·Q· · · So does this indicate to you, sir, that -- does it       24· ·A· · · I wouldn't know that.· You'd have to ask her.
25· · · · · specifically say if approval for request is granted?     25· ·Q· · · You're not on your grandmother's medical insurance,

                                                                                                                    Pages 189–192
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1754 Filed 09/14/21 Page 50 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 193                                                             Page 195
·1· · · · · are you?                                                 ·1· ·A· · · Yes, I do.
·2· ·A· · · No.                                                      ·2· ·Q· · · And you also agree with me, then, that you feel like
·3· ·Q· · · What's your sister's name?                               ·3· · · · · it was the responsibility of the MDOC to pay for your
·4· ·A· · · Fatima Jackson.                                          ·4· · · · · procedure.
·5· ·Q· · · And how old is Fatima Jackson?                           ·5· ·A· · · Just because I was in their custody.
·6· ·A· · · Forty.                                                   ·6· ·Q· · · Okay.· That's -- I think we've answered our questions,
·7· ·Q· · · What other relative did you have at the time you were    ·7· · · · · then, about whether financial payment of your --
·8· · · · · in the -- you were in the Michigan Department of         ·8· · · · · whether you financially paying for your own procedure
·9· · · · · Corrections?                                             ·9· · · · · was even in play while you were in MDOC.
10· ·A· · · What do you mean?· I have a lot of relatives.            10· ·A· · · What do you mean?
11· ·Q· · · I'm sorry.· What other relative that you had that was    11· ·Q· · · You weren't going to pay for it and you hadn't even
12· · · · · going to be in a position to pay for you to have a       12· · · · · talked to your family about paying for it; correct?
13· · · · · medical procedure done?                                  13· ·A· · · Yeah, I hadn't talked to my family about paying for it
14· ·A· · · What do you mean?· I didn't know that unless I asked     14· · · · · and I couldn't pay for it.· I couldn't pay for it.
15· · · · · them.· I didn't get to that point where I could have     15· · · · · Not that I wasn't going to pay for it.· I couldn't.
16· · · · · asked my family about paying for the medical treatment   16· · · · · I'm not even sure my family could but I didn't want to
17· · · · · or anything like that.                                   17· · · · · put that responsibility on them.
18· ·Q· · · So you had never spoken with your family about paying    18· ·Q· · · Okay.· I'm going to move on, then.
19· · · · · for you to have a colostomy reversal, being              19· ·A· · · Okay.
20· · · · · hospitalized and undergoing any kind of procedures for   20· ·Q· · · You indicated that you had not seen a doctor or
21· · · · · a colostomy reversal while you were in the --            21· · · · · medical provider prior to your colostomy reversal
22· ·A· · · No, I did not because I didn't feel that was their       22· · · · · being determined to not be medically necessary by Dr.
23· · · · · responsibility because I wasn't in their custody. I      23· · · · · Papendick; correct?
24· · · · · was in the custody of St Clair County or MDOC.           24· ·A· · · Huh?· Rephrase your question.
25· ·Q· · · Okay.· So you just indicated, sir, that you had not      25· ·Q· · · Did you indicate earlier that you had not seen a
                                                         Page 194                                                             Page 196
·1· · · · · spoken with your family about paying for the procedure   ·1· · · · · medical provider or been examined by a medical
·2· · · · · and that you did not have a means of paying for the      ·2· · · · · provider prior to Dr. Papendick determining that it
·3· · · · · procedure; correct?                                      ·3· · · · · wasn't medically necessary for you to have a procedure
·4· ·A· · · Right.· I didn't feel it to be their responsibility      ·4· · · · · -- a colostomy reversal procedure?
·5· · · · · and I didn't want to put that on them.                   ·5· ·A· · · You got to rephrase the question again.
·6· ·Q· · · So your position is not that you could have paid for     ·6· ·Q· · · There's a medical note in your chart at pages 43
·7· · · · · it but your position is that you feel like the MDOC      ·7· · · · · through 45 of your MDOC medical records and it's a
·8· · · · · should have been the responsible party for paying for    ·8· · · · · visit with Dr. Alsalman that occurs on 4/18/2017.
·9· · · · · it; correct?                                             ·9· · · · · April 18, 2017.· I think you recalled talking with Dr.
10· ·A· · · What you mean, not that I could have paid for it? I      10· · · · · Alsalman at one point; right?
11· · · · · don't understand.                                        11· ·A· · · I couldn't -- it's been years ago, but if it's noted,
12· ·Q· · · You're not saying that you could have paid for you to    12· · · · · I probably did talk to him.
13· · · · · have a procedure done for a colostomy reversal while     13· ·Q· · · Okay.· The record indicates that 12 -- December 10,
14· · · · · you were in MDOC.                                        14· · · · · 2016 you had a resection of your rectum, a bladder
15· ·A· · · I'm not saying that.                                     15· · · · · repair, and a colonoscopy.· It also indicates that you
16· ·Q· · · Correct?                                                 16· · · · · are currently doing well having a functional
17· ·A· · · What you mean?· I didn't say anything.· Why you asking   17· · · · · colostomy.· You denied abdominal pain or UTIs and it
18· · · · · what I said?                                             18· · · · · says that you were ready for a colostomy reversal.
19· ·Q· · · Are you saying that -- you agree with me, Mr. Jackson,   19· · · · · Does that -- so far that's accurate; correct?
20· · · · · that you could not pay for a procedure to be done        20· ·A· · · That's correct.· But I don't -- it hadn't -- but I'm
21· · · · · while you were in the MDOC; correct?                     21· · · · · telling you the whole exact time I told them about the
22· ·A· · · Yeah.· I agree with you that I couldn't do that, yes.    22· · · · · pains I was having, so...· You know what I mean?
23· ·Q· · · You also agree with me that you had not even spoken      23· ·Q· · · So it also indicates that there was a physical
24· · · · · with your family about paying for a procedure while      24· · · · · examination performed on you.
25· · · · · you were in MDOC.                                        25· ·A· · · Uh-huh.

                                                                                                                    Pages 193–196
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1755 Filed 09/14/21 Page 51 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 197                                                             Page 199
·1· ·Q· · · It says that you were in no apparent distress.· You      ·1· · · · · trying to figure out where is this coming from.· How
·2· · · · · were well nourished and well developed.· Respiratory     ·2· · · · · would they just -- you know what I saying?· Saying
·3· · · · · was normal.· Cardiovascular was normal.· But they get    ·3· · · · · what they want you to say.· I never said nothing about
·4· · · · · an inspection of your abdomen.· You had normal           ·4· · · · · body issues.· My whole issue was about the way I had
·5· · · · · abdominal muscles.· Your abdomen was soft and            ·5· · · · · to go to the bathroom.
·6· · · · · nontender.· No large organs or anything like that.· No   ·6· ·Q· · · You also indicate that you had a problem with the way
·7· · · · · enlargements, no swelling.· You did have a scar.· They   ·7· · · · · other inmates were --
·8· · · · · noted that you had your colostomy in place.· They also   ·8· ·A· · · Reacting.
·9· · · · · noted there was no abdominal tenderness, no liver        ·9· ·Q· · · -- were reacting to you; right?
10· · · · · enlargement, no spleen enlargement and no palpable       10· ·A· · · Yes.· Yes.
11· · · · · masses.                                                  11· ·Q· · · It also says on here that your colostomy was
12· · · · · · · · · · · ·Are you denying, sir, that you were not     12· · · · · functional, which you talked about.· It indicates that
13· · · · · physically examined on or about April the 18th of        13· · · · · they reviewed radiology studies on April 7th or --
14· · · · · 2017?                                                    14· · · · · taken on April 7, 2017, which showed no issues with
15· ·A· · · No, I'm not denying that.                                15· · · · · the colostomy.
16· ·Q· · · Okay.                                                    16· ·A· · · Uh-huh.
17· ·A· · · April 18.· I'm not denying that.· If they say they did   17· ·Q· · · And it looks like, based upon this particular document
18· · · · · it, they did it.                                         18· · · · · and the records that they reviewed, these are some of
19· ·Q· · · Could you take a look at that document again that is     19· · · · · the things that led them to the reasons that they
20· · · · · the grievance that was responded to by the MDOC?· And    20· · · · · didn't feel like it was a medical necessity.· Now, my
21· · · · · in this particular grievance response it looks like      21· · · · · question for you is, you're disagreeing with the
22· · · · · Nurse Aiken, in response to the grievance, is looking    22· · · · · medical reasons that they are stating here as to why
23· · · · · at medical records and she indicates here that based     23· · · · · they don't think a colostomy is necessary; correct?
24· · · · · upon her review of the medical records it didn't show    24· ·A· · · You said it.
25· · · · · a medical reason for the reasons she's outlined as to    25· ·Q· · · You disagree, Mr. Jackson, with the medical reasons
                                                         Page 198                                                             Page 200
·1· · · · · why you should not have a reversal.· Now, she            ·1· · · · · that they're giving here as to why you don't need a
·2· · · · · indicates that --                                        ·2· · · · · colostomy reversal; right?· It's okay if you --
·3· ·A· · · That's not the way it's written.· It says that -- you    ·3· ·A· · · It's okay if I say what you want me to say.
·4· · · · · want to read it?                                         ·4· ·Q· · · Do you disagree --
·5· ·Q· · · Well, I'll tell you what.· Let me rephrase the           ·5· ·A· · · I'm trying to think of the question before I agree or
·6· · · · · question.· In this particular document, Dr. -- I'm       ·6· · · · · disagree so I have it clear.
·7· · · · · sorry -- Nurse Aiken indicates in here that they have    ·7· ·Q· · · Do you need me to repeat the question here?
·8· · · · · reviewed your records to determine if there was a        ·8· ·A· · · I mean, it wouldn't hurt.
·9· · · · · medical necessity for your procedure, and what she       ·9· ·Q· · · Do you disagree with the medical reasons that they
10· · · · · indicates here is that the records show that your        10· · · · · list here as to why they don't think that you require
11· · · · · colostomy was in good status.· You were able to          11· · · · · a colostomy reversal?
12· · · · · complete self care, which we talked about.· It           12· ·A· · · I disagree with some of the reasons.
13· · · · · indicates that you did have a great degree of body       13· ·Q· · · Okay.· That's all I need for you to say.
14· · · · · image issue concerns.                                    14· · · · · · · · · · · ·My next question for you is, they
15· ·A· · · Where -- body issue concerns.· And that's the thing,     15· · · · · indicate here specifically that, quote, the Michigan
16· · · · · where are you getting that from?· That's, like,          16· · · · · Department of Corrections, MDOC, doesn't reverse
17· · · · · slander because I never at one time told anybody I was   17· · · · · colostomies unless it is medically necessary.· The
18· · · · · having any body issue concerns.· That's just something   18· · · · · surgery you are requesting is nonessential.· Current
19· · · · · they just put in here and you read through it like I     19· · · · · documentation reflects the colostomy is functional."
20· · · · · said it.                                                 20· · · · · · · · · · · ·So you disagree, Mr. Jackson, that it was
21· ·Q· · · Well, this is in your medical records.                   21· · · · · not medically necessary for you to have a colostomy
22· ·A· · · I mean, that's stuff that they put in the records, but   22· · · · · reversal?
23· · · · · I never said it.· It doesn't say he had -- see, all      23· ·A· · · Yes.
24· · · · · these people are saying that I have body images but I    24· ·Q· · · Okay.
25· · · · · never one time told anybody that.· That's why I'm        25· ·A· · · That it was not.

                                                                                                                    Pages 197–200
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1756 Filed 09/14/21 Page 52 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 201                                                             Page 203
·1· ·Q· · · You disagree with their decision here, based upon        ·1· · · · · · · · · · · ·THE WITNESS:· Yeah, I understand that.
·2· · · · · their review of the medical records, that it was not     ·2· ·BY MR. SCARBER:
·3· · · · · medically --                                             ·3· ·Q· · · I don't have any -- let me ask you a question here.
·4· · · · · · · · · · · ·MR. CROSS:· The questioning is vague in     ·4· · · · · Do you know a Larry Cowan or Cowen?
·5· · · · · that we haven't defined medical necessity.               ·5· ·A· · · I have to see a picture.· I'm good with faces, not
·6· · · · · · · · · · · ·MR. SCARBER:· My question is -- and I       ·6· · · · · names.
·7· · · · · think you -- now you've made a speaking objection.       ·7· ·Q· · · Have you ever been -- has anybody ever come to you,
·8· ·BY MR. SCARBER:                                                 ·8· · · · · Mr. Jackson, and said, "Hey, I had a situation in the
·9· ·Q· · · My question is this:· I've just cited to you various     ·9· · · · · jail where they wouldn't reverse my colostomy
10· · · · · instances here where they're talking about the medical   10· · · · · reversals (sic), too?"· Anybody ever specifically come
11· · · · · records and they're talking about the reasons from a     11· · · · · up and tell you that?
12· · · · · medical standpoint why they don't think the reversal     12· ·A· · · Yeah.
13· · · · · is warranted.                                            13· ·Q· · · And I used the wrong -- let me ask the question
14· ·A· · · Okay.                                                    14· · · · · because I said jail.
15· ·Q· · · And you disagree with that; right?                       15· ·A· · · I said yes.
16· ·A· · · I feel -- listen, I feel like it was medically           16· ·Q· · · I need to -- I got to reask the question because I
17· · · · · necessary for me to be reversed.                         17· · · · · said jail and I meant to say prison, and I know
18· ·Q· · · So you feel like in their judgment they should have      18· · · · · there's a distinction and Mr. Willis is going to ask
19· · · · · determined that it was medically necessary?              19· · · · · me to correct it at some point or have it corrected.
20· ·A· · · I can't say that.· You can't put words in my mouth,      20· · · · · · · · · · · ·So my question is, did any inmate or any
21· · · · · sir.· You do that a lot.                                 21· · · · · former inmate ever come up to you personally, Mr.
22· · · · · · · · · · · ·MR. SCARBER:· Move to strike.               22· · · · · Jackson, and say to you that they had an issue while
23· ·BY MR. SCARBER:                                                 23· · · · · they were in the MDOC where they did not have their
24· ·Q· · · You've had more than every opportunity to change the     24· · · · · colostomy reversed?
25· · · · · questions, have me repeat the questions.· I've given     25· ·A· · · Yes.
                                                         Page 202                                                             Page 204
·1· · · · · you the opportunity to answer every last question that ·1· ·Q· · · Who?
·2· · · · · I've given you.· I've gone way beyond.                 ·2· ·A· · · I don't know his name but there is a guy in there that
·3· ·A· · · This is the only thing I want to say:· When you ask ·3· · · · · wanted his colostomy reversed and they didn't reverse
·4· · · · · the questions, you give me the answer before you ask ·4· · · · · it.
·5· · · · · the question.· You say, "It's fair to say that you're  ·5· ·Q· · · What facility did you see him in?
·6· · · · · drunk."· You know what I mean?· You give me -- you ·6· ·A· · · St. Louis.
·7· · · · · answer the questions before you even ask.· I just want ·7· ·Q· · · Where is the St. Louis facilities?
·8· · · · · you to ask the questions.                              ·8· ·A· · · St. Louis, Michigan.
·9· ·Q· · · Your attorney is here and he has gone to law school ·9· ·Q· · · And when did that occur?
10· · · · · and passed a very vigorous bar exam in Michigan so 10· ·A· · · It was at the end of my (inaudible) --
11· · · · · that he can understand what the law is and what the 11· · · · · · · · · · · ·COURT REPORTER:· I'm sorry.· The end of
12· · · · · legal requirements are and the way that I can ask a    12· · · · · my what?
13· · · · · question, not ask a question.· If he thinks that my    13· · · · · · · · · · · ·THE WITNESS:· Not too long before I went
14· · · · · form is improper, he has to object.· If he does not    14· · · · · home.· So it had to be in two thousand and sometime in
15· · · · · object, then you've got to answer.· And I don't think 15· · · · · '18, '19.
16· · · · · I've gotten a whole lot of objections here.            16· ·BY MR. SCARBER:
17· ·A· · · See, the thing is, it's all about how you asking the   17· ·Q· · · Anybody else?
18· · · · · question.· You already answered --                     18· · · · · · · · · · · ·MR. WILLIS:· Yeah, I've got some
19· · · · · · · · · · · ·MR. CROSS:· Kohchise, listen to me.· He   19· · · · · questions.
20· · · · · is allowed to ask the questions the way he is asking   20· · · · · · · · · · · ·MR. SCARBER:· No.· Any --
21· · · · · them.                                                  21· · · · · · · · · · · ·MR. WILLIS:· I'm sorry.· I thought after
22· · · · · · · · · · · ·THE WITNESS:· Okay.                       22· · · · · that long pause there, I thought --
23· · · · · · · · · · · ·MR. CROSS:· And you just have to listen   23· ·BY MR. SCARBER:
24· · · · · to him ask the question and then answer it.· Even if I 24· ·Q· · · Any other people, Mr. Jackson, other than the guy you
25· · · · · object, you still have to answer it.                   25· · · · · are talking about at the St. Louis facility?

                                                                                                                    Pages 201–204
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1757 Filed 09/14/21 Page 53 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 205                                                            Page 207
·1· ·A· · · That I -- that didn't get -- that's the guy that I       ·1· · · · · colostomy bags.· That had them in the past.· You know
·2· · · · · knew for sure.                                           ·2· · · · · what I mean?· One guy had it on.· Yeah, I recall a few
·3· ·Q· · · Was his name Larry Cowan?                                ·3· · · · · people.
·4· ·A· · · Larry Collin.· Larry Collin.                             ·4· ·Q· · · Were they all at the same facility or different
·5· ·Q· · · Cowan, C-O-W-A-N.                                        ·5· · · · · facilities?
·6· ·A· · · I couldn't say for sure because everybody call each      ·6· ·A· · · I was only at two facilities.
·7· · · · · other by nicknames unless you in the same unit.          ·7· ·Q· · · So would they have all been at St. Louis or would they
·8· ·Q· · · What was your nickname?                                  ·8· · · · · have been at another facility?
·9· ·A· · · Everybody called me Kohchise.· You know what I mean?     ·9· ·A· · · They were at both.
10· ·Q· · · So do you remember the nickname that you called          10· ·Q· · · But Mr. -- but "O" in the St. Louis facility is the
11· · · · · this other gentleman?                                    11· · · · · only person you specifically remember coming up to you
12· ·A· · · Yeah.· We called him "O," I believe.                     12· · · · · and you guys talking about a colostomy --
13· ·Q· · · "O"?                                                     13· ·A· · · Yes.
14· ·A· · · Yeah, "O."· I believe.· That could have been -- so I     14· · · · · · · · · · · ·MR. SCARBER:· I don't have anything
15· · · · · couldn't tell you for sure if that was this guy.· It     15· · · · · further at this time.· I'll pass the witness.
16· · · · · might turn out his name is Larry.· I don't know.         16· · · · · · · · · · · · · · ·-· - -
17· · · · · Because you really don't know people's government name   17· · · · · · · · · · · · · RE-EXAMINATION
18· · · · · in prison.                                               18· ·BY MR. WILLIS:
19· ·Q· · · So was he the only guy?                                  19· ·Q· · · Mr. Jackson, I just have a few more questions for you.
20· ·A· · · What you mean, only guy?                                 20· ·A· · · No problem.
21· ·Q· · · The only guy that ever came to you and you had a         21· ·Q· · · Who gave you your colostomy supplies while you were at
22· · · · · conversation with about that never -- didn't get his     22· · · · · the St. Clair County Jail?
23· · · · · colostomy reversed?                                      23· ·A· · · Oh, that was the thing.· Speaking of colostomy
24· ·A· · · Yeah, that I can recall.· The guy that I can remember.   24· · · · · supplies while I was at the St. Clair County Jail,
25· ·Q· · · Do you know exactly what his medical records stated or   25· · · · · they had -- I would go get them from the deputy and it
                                                          Page 206                                                            Page 208
·1· · · · · what his specific --                                     ·1· · · · · was some little -- it didn't even fit me.· I had to
·2· ·A· · · How would I know that?                                   ·2· · · · · cut it out with some kid scissors, like the stoma
·3· ·Q· · · -- issues were?                                          ·3· · · · · part.· Yeah, they gave me the cheapest thing they
·4· ·A· · · No.                                                      ·4· · · · · could find in there.· I had to cut them out.· But when
·5· ·Q· · · So you don't really know whether his medical issues      ·5· · · · · I got to prison, they had -- the patches were already
·6· · · · · were exactly the same as yours; correct?                 ·6· · · · · pre-holes in them to fit your stoma.· But when I was
·7· ·A· · · No, sir.                                                 ·7· · · · · in St. Clair County, they would give you a pair of kid
·8· ·Q· · · What about Larry Cowan?                                  ·8· · · · · scissors.· And when I brought it up to the deputy
·9· ·A· · · You just asked.· He could be Larry Cowan.                ·9· · · · · officer -- you would have to try cut out a perfect
10· ·Q· · · So your attorney has mentioned two people, Larry Cowan   10· · · · · circle or cut around the pouch to make it fit your
11· · · · · and Keith Swift.· Do you know a Keith Swift?· Could he   11· · · · · stoma, and you know I could never get it right.
12· · · · · be "O", too.                                             12· · · · · Sometimes I'd cut a star or a heart, triangle.· That's
13· ·A· · · I know he ain't "O".                                     13· · · · · when I really be having bad problems with the feces
14· ·Q· · · Do you know him personally?                              14· · · · · packing around my stoma.
15· ·A· · · No, I'm just saying if his name is Keith Swift, that's   15· ·Q· · · So I guess your answer is, it's the deputies are the
16· · · · · a name I would remember.                                 16· · · · · ones who gave you the colostomy supplies?
17· ·Q· · · But what if he had a nickname, though?                   17· ·A· · · No.· I -- Nurse Colleen and the medical staff are the
18· ·A· · · If he had a nickname, then -- what about it?             18· · · · · ones who dropped them off in my unit, for sure.· And I
19· ·Q· · · I'm saying would you remember --                         19· · · · · just went and got them one at a time from the deputy
20· ·A· · · His nickname?                                            20· · · · · when I needed to change them.
21· ·Q· · · Yeah.                                                    21· ·Q· · · Okay.· So there were -- as far as you know they were
22· ·A· · · Yeah, if he had a colostomy bag, I'm sure I would.       22· · · · · brought to your unit by the medical staff but it was
23· ·Q· · · How many people in the MDOC that you encountered that    23· · · · · deputies who gave them to you each time?
24· · · · · had a colostomy bag while you were there?                24· ·A· · · Yes.
25· ·A· · · A guy for sure -- I counted a few people that had        25· ·Q· · · Is that your testimony?

                                                                                                                    Pages 205–208
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1758 Filed 09/14/21 Page 54 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 209                                                             Page 211
·1· ·A· · · Yes.· I saw the medical staff bring them in.             ·1· · · · · catheter, she was mad -- really mad at me.· I think
·2· ·Q· · · And you previously testified that Nurse Colleen said     ·2· · · · · that was like the straw that broke the camel's back.
·3· · · · · the reversal surgery was postponed for financial         ·3· · · · · Like, you know?· Because we had a couple run-ins about
·4· · · · · reasons.· Do you remember that?                          ·4· · · · · the medical supply and then another time my stomach
·5· ·A· · · Yes.                                                     ·5· · · · · had bust open right after surgery and they called her
·6· ·Q· · · Do you have any evidence that Nurse Colleen said that    ·6· · · · · down to my room and she told me that usually people
·7· · · · · the reversal surgery was postponed for financial         ·7· · · · · that have stitches and stuff, they get, like, a mucous
·8· · · · · reasons?                                                 ·8· · · · · plug or whatever -- something.· You know what I mean?
·9· ·A· · · Everything was verbal between me and her.                ·9· · · · · Just bust open.· That's, like, normal, but it was
10· ·Q· · · So you've never seen anything in writing or from         10· · · · · bleeding all over.· So that was like the first
11· · · · · anybody else that it was a financial reason?             11· · · · · incident.
12· ·A· · · Everything I had to do with Nurse Colleen was verbal.    12· · · · · · · · · · · ·And then we had -- I mean, that was like
13· · · · · Everything was said.                                     13· · · · · the first incident, then we had a disagreement about
14· ·Q· · · Well, you would send medical kites; right?               14· · · · · the medical supplies and she didn't want to give me
15· ·A· · · Yes, but I never talked to Nurse Colleen medically --    15· · · · · the over ring, but when I deflated my catheter, that
16· · · · · I mean, electronically.· It was always verbal.           16· · · · · was it.· I had to apologize to her and everything just
17· ·Q· · · So you would agree that you don't have any evidence      17· · · · · to come off lockdown and act like everything was okay.
18· · · · · that Nurse Colleen made the decision that the reversal   18· · · · · And then I was just waiting on my surgery and then
19· · · · · surgery would be postponed for financial reasons;        19· · · · · they said it's been postponed and I have to talk to
20· · · · · correct?                                                 20· · · · · Nurse Colleen about it, and when I talked to her about
21· ·A· · · Wrong.· In fact, I have every right to believe Nurse     21· · · · · it, that's what she told me.
22· · · · · Colleen postponed it for medical reasons.· Would you     22· ·Q· · · You mentioned your catheter.· The medical record says
23· · · · · like to know why?                                        23· · · · · you pulled it out on December 18, 2016.· Is that
24· ·Q· · · Postponed for medical reasons?                           24· · · · · correct?
25· ·A· · · I mean postponed for financial reasons.                  25· ·A· · · I didn't pull it out.· I deflated it and then took it
                                                         Page 210                                                             Page 212
·1· ·Q· · · No.· I want to see your evidence.· That's what I want    ·1· · · · · out.
·2· · · · · to see.                                                  ·2· ·Q· · · Why did you deflate it and then take it out?
·3· ·A· · · You want to see my evidence?                             ·3· ·A· · · Because -- okay.· I have a large -- enlarged prostate
·4· ·Q· · · Did you write it in a kite?                              ·4· · · · · and the whole time I had the catheter in, I was having
·5· ·A· · · Yeah.· I wrote plenty grievances about her.              ·5· · · · · bladder spasms, pain, and a lot of trouble with that
·6· ·Q· · · Did you write in a kite anywhere that the surgery was    ·6· · · · · catheter.· And I told them I was in pain, I was having
·7· · · · · postponed for financial reasons?                         ·7· · · · · bladder spasms.· Like, you know, when you urinate it's
·8· ·A· · · I told them that the surgery was postponed for           ·8· · · · · supposed to go directly down the tube.· Well, it was
·9· · · · · personal reasons.· For personal reasons.· She told me    ·9· · · · · going all around the tube and just coming out in my
10· · · · · financial.· But it was personal reasons, what I put.     10· · · · · pants and everything, around the tube.· I was just
11· ·Q· · · So is it your testimony that you're assuming that        11· · · · · having really bad pains and they -- I felt like they
12· · · · · Nurse Colleen postponed the --                           12· · · · · were ignoring me.· But once I deflated the catheter,
13· ·A· · · I'm not a --                                             13· · · · · and they took me to the hospital and they put a better
14· ·Q· · · -- surgery because of personal reasons?                  14· · · · · one in and I didn't have no problems.
15· ·A· · · I'm not assuming.· I'm going off of her actions.· But,   15· ·Q· · · How was it that you physically deflated the catheter
16· · · · · yeah, I guess you --                                     16· · · · · and removed it?· Could you explain that?
17· ·Q· · · Did Nurse Colleen tell you that she was mad at you and   17· ·A· · · Yes.· And that was another thing why she was upset,
18· · · · · as a result she was going to --                          18· · · · · because Nurse Colleen said I had a syringe.· "You got
19· ·A· · · No.                                                      19· · · · · a syringe in your room.· You have a syringe in your
20· ·Q· · · -- postpone your surgery and tell you it was for         20· · · · · room.· How you deflate the catheter?"· And I told her
21· · · · · financial reasons?                                       21· · · · · -- I said, "I saw the people at the hospital do it
22· ·A· · · She never said that.                                     22· · · · · with a syringe.· I just turned it with my hair comb
23· ·Q· · · So that would be an assumption on your part; correct?    23· · · · · and it deflated, the screw on it."· And she was, like,
24· ·A· · · I'm saying that because I had to apologize to Nurse      24· · · · · "You didn't do it.· No, you didn't.· You got a
25· · · · · Colleen to get off lockdown.· When I deflated my         25· · · · · syringe."· And I told her that.· And when she figured

                                                                                                                    Pages 209–212
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1759 Filed 09/14/21 Page 55 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 213                                                             Page 215
·1· · · · · that out, when they -- you know, she was, like, real     ·1· ·A· · · I would say that just because they have the records
·2· · · · · upset at me.· I swear she was.                           ·2· · · · · doesn't mean it was given to me.
·3· ·Q· · · So you went to the hospital to have it replaced the      ·3· ·Q· · · Okay.· That's not quite what my question was.· It was
·4· · · · · same day that you intentionally deflated it and          ·4· · · · · just --
·5· · · · · removed it; correct?                                     ·5· ·A· · · I can't recall.
·6· ·A· · · Yes, the same night.· I believe they put in a smaller    ·6· ·Q· · · You can't recall?· That wasn't my question.· My
·7· · · · · one or whatever one they put in, it was better.· But I   ·7· · · · · question was, I want you to assume that the medical
·8· · · · · know by me having a prostate -- a large prostate, I      ·8· · · · · record documents, page 191 -- that you were given
·9· · · · · had to have a smaller catheter, because I was having     ·9· · · · · discharge instructions for a diagnosis of
10· · · · · trouble.                                                 10· · · · · diverticulitis.· Are you telling me that you disagree
11· ·Q· · · Have you -- who has diagnosed you with an enlarged       11· · · · · that you were informed back in December of 2014 that
12· · · · · prostate?                                                12· · · · · you had diverticulitis?
13· ·A· · · During the surgery, the people at the hospital.· I had   13· ·A· · · Yes, I do.· I never remember someone telling me that I
14· · · · · trouble with the catheter from the beginning.            14· · · · · had diverticulitis.· I remember them telling me I had
15· ·Q· · · Is that in your medical record somewhere that you were   15· · · · · irritable bowel syndrome.· I remember them also --
16· · · · · diagnosed with an enlarged prostate?                     16· · · · · took tests from me and told me that they were waiting
17· ·A· · · It has to be because it's the truth.                     17· · · · · on results.· So them finding out I had diverticulitis,
18· ·Q· · · And if it's not there, you would --                      18· · · · · I wasn't aware of it.· Maybe it came back on the
19· ·A· · · Find it.· If it's not there, it's somewhere, because     19· · · · · results and I never returned back to the hospital to
20· · · · · it's the truth.· And one thing about the truth, it       20· · · · · get the -- you know what I mean?
21· · · · · don't need no support.                                   21· ·Q· · · Well, according to those -- the records from McLaren
22· ·Q· · · Well, you need evidence for a lawsuit.                   22· · · · · Port Huron, you were a regular visitor there around
23· ·A· · · I can find it.· That's not a thing, sir.· That was a     23· · · · · that time, usually for your complaints of the STIs and
24· · · · · problem that I had and they had to give me a smaller     24· · · · · abdominal pain.
25· · · · · catheter.· That's not a problem.· So it won't be a       25· ·A· · · Abdominal pain?· What you mean?· I showed up for
                                                         Page 214                                                             Page 216
·1· · · · · problem to find it.                                      ·1· · · · · abdominal pain, like, once or twice.
·2· ·Q· · · When you say the surgery at the hospital, are you        ·2· ·Q· · · According to the records you went to McLaren Port
·3· · · · · talking about --                                         ·3· · · · · Huron in August 27, 2014 --
·4· ·A· · · The original, initial.                                   ·4· ·A· · · 2014.
·5· ·Q· · · With Dr. Kansakar?                                       ·5· ·Q· · · -- with complaints of urogenital issues, dysuria and
·6· ·A· · · Yes.                                                     ·6· · · · · particulate matter in urine.· Do you remember that?
·7· ·Q· · · In December?                                             ·7· ·A· · · Yes, but that's not abdominal pain.
·8· ·A· · · Yes.                                                     ·8· ·Q· · · My point is you were a regular visitor to McLaren Port
·9· ·Q· · · When were you first diagnosed with diverticulitis?       ·9· · · · · Huron in 2014.· Do you remember that?
10· ·A· · · Right before the surgery in December 2019.· I mean,      10· ·A· · · Yes, and like I told your guy, when I went, that's
11· · · · · December 2016.                                           11· · · · · what I went for.· Like, if I went for a sexually
12· ·Q· · · So if we were to look at the McLaren Port Huron          12· · · · · transmitted infection, that's what I dealt with.· But
13· · · · · medical records from December 2014, it's on page 119     13· · · · · as far as abdominal pains, I only went to the hospital
14· · · · · of those the documents, that you were given discharge    14· · · · · one time for that.
15· · · · · instructions for a diagnosis of diverticulitis, would    15· ·Q· · · According to medical records you went to McLaren Port
16· · · · · you disagree with that?                                  16· · · · · Huron December 3, 2014 with complaints of fever and
17· ·A· · · Discharge from diverticulitis.· I was given discharge    17· · · · · abdominal pain.· You were given a CT exam.· Do you
18· · · · · -- thought this guy -- yeah, he just said I had          18· · · · · remember that?
19· · · · · colitis, now you say I have diverticulitis.· You know,   19· ·A· · · Uh-huh.· That's what I'm talking about.
20· · · · · I disagree because those people told me I had -- they    20· ·Q· · · Right.· And you returned on December 10, 2014 in the
21· · · · · did some tests -- I never got the results -- but they    21· · · · · emergency department with complaints of abdominal
22· · · · · told me I had irritable bowel syndrome.                  22· · · · · pain --
23· ·Q· · · I'm just asking you, if the medical record documents     23· ·A· · · The only two times ever.
24· · · · · that you were given instructions for a diagnosis of      24· ·Q· · · -- with a diagnosis of diverticulitis.· Do you
25· · · · · diverticulitis, would you disagree with that?            25· · · · · remember that?

                                                                                                                    Pages 213–216
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1760 Filed 09/14/21 Page 56 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 217                                                              Page 219
·1· ·A· · · Yes.· See, that's what I'm talking about.· That was      ·1· · · · · was wrong with me.· You know what I'm saying?· It's in
·2· · · · · the last time I went and I wasn't there when they made   ·2· · · · · my medical records.· If I ever had diverticulitis,
·3· · · · · the diagnosis.· The first time I went and I was having   ·3· · · · · they would have knew that automatically.· Like, he's
·4· · · · · stomach problems and everything like that, that's when   ·4· · · · · got diverticulitis.· He might be suffering from
·5· · · · · they told me I had irritable bowel syndrome.· The        ·5· · · · · cramping.· He might have a fistula.
·6· · · · · second time I went, that's when they gave me the CAT     ·6· ·Q· · · Did you ever follow up with anybody, another doctor,
·7· · · · · scans and took the test but they hadn't gave me a        ·7· · · · · for your colitis or your irritable bowel syndrome?
·8· · · · · diagnosis in hand.· They must have sent it to wherever   ·8· ·A· · · Follow up with another doc -- I just returned to the
·9· · · · · and told me I had to come back, but I wasn't aware of    ·9· · · · · hospital.· That was my follow-up.
10· · · · · the diverticulitis.                                      10· ·Q· · · Is that what your plan always was, just to go back to
11· ·Q· · · Well, according to the records you did come back a       11· · · · · the emergency department?
12· · · · · week later on December 17, 2014 to McLaren Port Huron    12· ·A· · · I didn't have any insurance, so that's what I had to
13· · · · · when you came to the ED with complaints of abdominal     13· · · · · do at the time.
14· · · · · pain.· They did an X-ray, referred to your prior CT      14· ·Q· · · Who paid for your reversal surgery with Dr. Webber?
15· · · · · scan and documented that you did not take your           15· ·A· · · My insurance, I believe.
16· · · · · antibiotics that were prescribed.· Do you remember       16· ·Q· · · What insurance did you have?
17· · · · · that?                                                    17· ·A· · · Medicaid.· Medicare.· Medicare.
18· ·A· · · That was the second time.· It's only two visits that I   18· ·Q· · · Is it Medicaid?· You're not old enough for Medicare,
19· · · · · went for abdominal pain; right?                          19· · · · · are you?
20· ·Q· · · No.                                                      20· ·A· · · No.· Medicaid.
21· ·A· · · How many?                                                21· · · · · · · · · · · ·Because do you know -- the reason why I
22· ·Q· · · That's the third -- at least the third one just in       22· · · · · asked you that question like that is because right
23· · · · · December at McLaren Port Huron.                          23· · · · · before I had my reversal surgery I -- they had to take
24· ·A· · · The third one in December?                               24· · · · · tests for hours to see exactly what was wrong with me
25· ·Q· · · Yeah.                                                    25· · · · · because they told me if I -- if I didn't have
                                                         Page 218                                                              Page 220
·1· ·A· · · What was the first one?                                  ·1· · · · · diverticulitis, if I had something else, then they --
·2· ·Q· · · December 3.                                              ·2· · · · · Crohn's.· They tested me for Crohn's disease.· See,
·3· ·A· · · Uh-huh.                                                  ·3· · · · · she wasn't sure.· My surgeon wasn't sure if I had
·4· ·Q· · · December 10 and December 17.                             ·4· · · · · Crohn's disease or diverticulitis.· If I knew I had
·5· ·A· · · Uh-huh.· Yeah.· That's when I told you I went and had    ·5· · · · · diverticulitis, I would have told her, like, "I've got
·6· · · · · the test done.· And the third time when I went and       ·6· · · · · diverticulitis."· You know what I'm saying?· Because
·7· · · · · they diagnosed me with diverticulitis or whatever,       ·7· · · · · if I had Crohn's disease I don't think they would have
·8· · · · · that's what I say, I wasn't aware of that.· I didn't     ·8· · · · · done the bag or something like that.· You know?· She
·9· · · · · get the results.                                         ·9· · · · · told me she had to figure out whether I had Crohn's or
10· ·Q· · · So your version is that you didn't get the results,      10· · · · · diverticulitis.· And she went under tests to figure it
11· · · · · even though the medical records say that you were        11· · · · · out.· They found the diverticulitis right before my
12· · · · · given the results; correct?                              12· · · · · reversal.· Dr. Kansakar.· Because they tested me for
13· ·A· · · My version is I -- they, to me, my understanding was     13· · · · · Crohn's.
14· · · · · they did not know what it was.· I had been diagnosed     14· ·Q· · · So your discharge instructions from December 2014 from
15· · · · · with a few things.· I had been diagnosed with            15· · · · · McLaren Port Huron say that you had diverticulitis but
16· · · · · irritable bowel syndrome.· I had been diagnosed -- you   16· · · · · you say no one told you; right?
17· · · · · know what I mean?· They did not know what it was.· The   17· ·A· · · That I can recall, that I remember.· But I know for
18· · · · · last time I had went that's when they gave me the        18· · · · · sure right before my surgery to when I had the
19· · · · · test, the CAT scan and scraped something on the card     19· · · · · colostomy, to get the bag, Dr. Kansakar had to do some
20· · · · · and everything like that.· I left.· I left the           20· · · · · tests before I even signed to do the surgery because
21· · · · · hospital after they did the test.· I didn't sit there    21· · · · · she had to make sure it was Crohn's or diverticulitis.
22· · · · · and wait on results and they didn't tell me the          22· · · · · She had to find out what it was.· So if they had
23· · · · · results.· They must have figured that out on their       23· · · · · diagnosed me with diverticulitis, she would have
24· · · · · own.· But I know, because when I went to the jail and    24· · · · · automatically knew.· Like, "You have diverticulitis.
25· · · · · I was having all those problems, they didn't know what   25· · · · · They diagnosed you with it."· But she did tests to

                                                                                                                     Pages 217–220
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1761 Filed 09/14/21 Page 57 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 221                                                             Page 223
·1· · · · · find out if it was Crohn's or diverticulitis and found   ·1· · · · · if it is a hernia is not the same thing as actually
·2· · · · · out it was diverticulitis and I didn't have Crohn's.     ·2· · · · · having surgery for a hernia, is it?
·3· · · · · And that should be on record because I had to wait for   ·3· ·A· · · Listen, I feel like when I go follow up and they say
·4· · · · · the test to find what I had.· So if I already knew       ·4· · · · · it's a hernia, I'm going to have to get the surgery.
·5· · · · · what I had, I wouldn't have had to do a test.            ·5· · · · · So I've been dragging my feet.
·6· ·Q· · · Sir, you need to focus on the question.· You keep        ·6· ·Q· · · Where exactly is the hernia or the potential hernia?
·7· · · · · expanding on it.· You're being nonresponsive.            ·7· ·A· · · On the right side of my stomach.· You want to see it?
·8· ·A· · · I know it.· Especially if -- if I don't say the answer   ·8· · · · · I can show you.
·9· · · · · you want me to say, I'm being nonresponsive.             ·9· ·Q· · · Sure, but that's on the opposite of where your stoma
10· ·Q· · · Have you ever been officially diagnosed with a hernia?   10· · · · · was; correct?
11· ·A· · · Not officially.                                          11· ·A· · · Yes.· Let me show you why.· You see the lump?· See how
12· ·Q· · · Is Dr. Webber the only doctor who has ever mentioned     12· · · · · that's a lump?
13· · · · · the possibility of a hernia?                             13· ·Q· · · Kind of looks like the other side.
14· ·A· · · Dr. Webber is the only and the latest doctor to have     14· ·A· · · Yeah, but you can see that this is a lump.· It's a
15· · · · · seen my stomach.                                         15· · · · · lump right there.· Right here (indicating).· It's a
16· ·Q· · · Did Dr. Kansakar ever mention that you had a hernia      16· · · · · lump, a knot, and it's hard.· There's not a knot or a
17· · · · · postoperatively or at any point?                         17· · · · · lump on this side.· It's nothing hard.· It's hard
18· ·A· · · I haven't seen Dr. Kansakar since I was wearing a bag.   18· · · · · right here.· It's a knot and a lump.
19· ·Q· · · Focus on my question.· Did Dr. Kansakar ever say         19· ·Q· · · It's my understanding that you were going to maybe get
20· · · · · either in the hospital or the two postoperative visits   20· · · · · some pictures taken of your abdomen at the deposition
21· · · · · that you had with her that she was concerned about a     21· · · · · when it's done?
22· · · · · potential hernia?                                        22· ·A· · · Yeah.· No problem.
23· ·A· · · No, she didn't.· Her whole thing was the reversal        23· ·Q· · · So just for the record can we do both sides and maybe
24· · · · · plan.· She was focused on the fact they wouldn't         24· · · · · you can point, and when you point at the right side
25· · · · · contact me about --                                      25· · · · · you can point to where your hernia is, if that's okay,
                                                         Page 222                                                             Page 224
·1· ·Q· · · Sir, focus on the question.· I mean --                   ·1· · · · · in the picture.
·2· ·A· · · I'm answering the best I can, sir.                       ·2· ·A· · · No problem.
·3· ·Q· · · Well, we're getting on in time here and part of the      ·3· ·Q· · · Or your potential hernia I should say.
·4· · · · · reason is you keep on adding on.· You're not focusing    ·4· ·A· · · Alleged.· Alleged.
·5· · · · · on the question.                                         ·5· ·Q· · · Alleged hernia.
·6· ·A· · · Okay.· I'll let you tell it.                             ·6· · · · · · · · · · · ·Now, can you give me a second?· I just
·7· ·Q· · · So at any point did Dr. Kansakar ever mention she was    ·7· · · · · need to go through my notes.· I'm going to go off for
·8· · · · · concerned about a hernia in the multiple times that      ·8· · · · · a few minutes.· Is that all right?
·9· · · · · she saw you?                                             ·9· ·A· · · Yeah, no problem.· Take your time.
10· ·A· · · That was -- no.· Dr. Kansakar, that wasn't her concern   10· · · · · · · · · · · ·VIDEOGRAPHER:· We are going off the
11· · · · · about a hernia.· She was reversal care.· That's the      11· · · · · record.· It's 5:35 p.m.
12· · · · · only thing I ever talked to her about, was reversal      12· · · · · · · · · · · ·(Whereupon, a recess was held.)
13· · · · · care after the surgery.                                  13· · · · · · · · · · · · · · ·-· - -
14· ·Q· · · Did Dr. Webber say what kind of a hernia he thought it   14· · · · · · · · · · · ·VIDEOGRAPHER:· We are back on record.· It
15· · · · · might be?                                                15· · · · · is 5:41 p.m.
16· ·A· · · If he did, I can't remember.· I couldn't tell you        16· · · · · · · · · · · ·MR. WILLIS:· I have no further questions
17· · · · · specifically.                                            17· · · · · at this time.
18· ·Q· · · Did Dr. Webber ever schedule a return appointment for    18· · · · · · · · · · · ·MR. SCARBER:· I've got a couple -- just a
19· · · · · you so you could follow up for a potential hernia?       19· · · · · couple follow-up questions for you, Mr. Jackson.
20· ·A· · · Yes, he did.                                             20· · · · · · · · · · · · · · ·-· - -
21· ·Q· · · When is that?· Have you gone to that appointment?        21· · · · · · · · · · · · · RE-EXAMINATION
22· ·A· · · No, I did not because I had two major surgeries and      22· ·BY MR. SCARBER:
23· · · · · I'm not ready to have a third one.· So I'm dragging my   23· ·Q· · · Do you recall when you saw nurse practitioner Drinkert
24· · · · · feet on that.                                            24· · · · · when you first came to the MDOC back on March 24, 2017
25· ·Q· · · Okay.· But going and following up with a doctor to see   25· · · · · that you were concerned about not having your


                                                                                                                    Pages 221–224
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1762 Filed 09/14/21 Page 58 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 225                                                             Page 227
·1· · · · · colostomy reversal prior to getting to the MDOC?· Do     ·1· ·Q· · · So you agree that this record says that; correct?
·2· · · · · you remember that?                                       ·2· ·A· · · Yeah, I agree that says that.
·3· ·A· · · No.                                                      ·3· ·Q· · · It also indicates in this record, quote, able to
·4· ·Q· · · We talked about the fact that when you came into the     ·4· · · · · complete self-care, has greater degree of body image
·5· · · · · MDOC in March of 2017 you were already upset because     ·5· · · · · issues than other concerns.
·6· · · · · you hadn't got your colostomy done prior to coming to    ·6· ·A· · · See, that's my problem.· Like, I never said that.
·7· · · · · the MDOC.· You remember we talked about that for a       ·7· · · · · That's why I feel like I'm not agreeing with that
·8· · · · · little bit?                                              ·8· · · · · because I've never said that.· It's a lot of stuff you
·9· ·A· · · You mentioned that and I said I wasn't upset.· I said    ·9· · · · · all just be saying.· I never said anything about body
10· · · · · I was hurt.                                              10· · · · · issues, and that's what I'm trying to figure out,
11· ·Q· · · You were hurt?                                           11· · · · · where are you all getting that from?
12· ·A· · · Yeah.                                                    12· ·Q· · · You agree that the record says this.· You don't think
13· ·Q· · · Okay.· I'm sorry.· Wrong choice of words from me.        13· · · · · you said this, though; right?
14· ·A· · · Thank you.                                               14· ·A· · · Let me see.· You say that the record --
15· ·Q· · · Nurse practitioner Drinkert has a note in his records    15· ·Q· · · The record says that you would agree with me.· I just
16· · · · · where he says that, quote, you were fixated on a         16· · · · · quoted to you what the record says; correct?
17· · · · · perceived injustice of not having your colostomy         17· ·A· · · You see something about body issues on here?
18· · · · · reversed.· You were reporting youthfulness and you       18· ·Q· · · Right here (indicating), this last quote.· I just read
19· · · · · were reporting that you needed to have the colostomy     19· · · · · that.
20· · · · · reversed.· Do you remember coming into the jail having   20· ·A· · · Has a great degree of body issues.· Yes, it says that
21· · · · · that kind of discussion with them where you were         21· · · · · on the paper.
22· · · · · telling them about how you were young, you didn't want   22· ·Q· · · And you also testified earlier that they had offered
23· · · · · to have this for the rest of your life, and you needed   23· · · · · you some counseling and coping stuff.· You say it was
24· · · · · to have this reversed?                                   24· · · · · similar to what they had offered to other prisoners
25· ·A· · · I don't remember.                                        25· · · · · but you said you didn't need that, though; right?
                                                         Page 226                                                             Page 228
·1· ·Q· · · It could have happened.· You just don't remember it?     ·1· ·A· · · No, I didn't say that they offered me anything
·2· ·A· · · I don't remember.· I can't say it could have happened.   ·2· · · · · different than they offered other prisoners.· I said
·3· · · · · I'm just saying I don't remember.· I mean, you know,     ·3· · · · · as standard, when you go to prison, they ask anybody
·4· · · · · if you got it written in paper or whatever like that,    ·4· · · · · if they want someone to talk to -- anyone -- people
·5· · · · · then maybe it did happen.· But I'm saying I don't        ·5· · · · · without medical issues or a colostomy bag, perfectly
·6· · · · · remember it.                                             ·6· · · · · healthy people.· If you want to talk to somebody, they
·7· ·Q· · · Let me show you my note here, and this is on page 89     ·7· · · · · offer that to all prisoners.· They didn't offer me
·8· · · · · of the MDOC records.· Can you read what I have           ·8· · · · · nothing different than they offer any other prisoner,
·9· · · · · highlighted there?· Just read what I highlighted, if     ·9· · · · · someone to talk to.· I didn't choose to talk to no one
10· · · · · you can.                                                 10· · · · · because I didn't want to be on meds.
11· ·A· · · Okay.· I see what it says here.                          11· ·Q· · · I want to refer you to page 72 of the medical records
12· ·Q· · · Okay.· So according to the record, the record states,    12· · · · · from the Michigan Department of Corrections.· And can
13· · · · · quote, fixated on perceived injustice of not having      13· · · · · you just read what I highlighted here?
14· · · · · colostomy reversed, reporting youthfulness and           14· ·A· · · Uh-huh.
15· · · · · repeating the need to have colostomy reversed, end       15· ·Q· · · Read it to yourself and I'll ask you a question about
16· · · · · quote.                                                   16· · · · · it.· Your counsel can look at it.
17· ·A· · · End quote.                                               17· ·A· · · Okay.
18· ·Q· · · You need to see it again?                                18· ·Q· · · Let me see it back for a second.
19· ·A· · · Yeah.                                                    19· ·A· · · Okay.
20· ·Q· · · Okay.                                                    20· ·Q· · · And what I just showed you was -- it is a mental
21· ·A· · · Fixated.· You see a quote?· Where do you see a quote?    21· · · · · health services referral from Nurse Practitioner
22· · · · · Isn't a quote, like, a parentheses?                      22· · · · · Ronald Drinkert, and what it states here is, quote, I
23· ·Q· · · I was quoting it for the record, so that's --            23· · · · · am only 35 years old and I cannot have this my whole
24· ·A· · · Oh, I thought you said that's what it says.· Excuse      24· · · · · life, end quote.· And it indicates that you were
25· · · · · me.                                                      25· · · · · referring to the colostomy here.· Do you recall having

                                                                                                                    Pages 225–228
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1763 Filed 09/14/21 Page 59 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 229                                                             Page 231
·1· · · · · that conversation with NP Drinkert?                      ·1· ·Q· · · Because physically, when you got out of jail, the job
·2· ·A· · · I don't recall, but I do recall saying that I don't      ·2· · · · · you were able to do -- you were still able to do work
·3· · · · · want this bag for the rest of my life.· I said that      ·3· · · · · and do all of this hands-on work that you like to
·4· · · · · many of times.· So that's fair to say that I said        ·4· · · · · do -- landscaping, snow removal, and work with your
·5· · · · · that.                                                    ·5· · · · · hands; correct?
·6· ·Q· · · Okay.· And ultimately we discussed that you didn't       ·6· ·A· · · Yes, sir.· Yes, sir.· I was able to do -- yep, I was
·7· · · · · have it for the rest of your life.· You got rid of the   ·7· · · · · able to do it to a certain extent.
·8· · · · · bag now; right?· Correct?                                ·8· ·Q· · · And as far as you are aware you never sought any
·9· ·A· · · Yes.                                                     ·9· · · · · further request for a colostomy reversal where you
10· ·Q· · · It also says here at the bottom, Desired Action,         10· · · · · kind of went up some kind of ladder and had it
11· · · · · quote, evaluate for current level of coping ability      11· · · · · reviewed by someone other than Dr. Papendick's review,
12· · · · · and possible need for supportive mental health care      12· · · · · which is where we went over the note from 2017 where
13· · · · · regarding the body image and other possible issues,      13· · · · · it indicated it wasn't medically necessary.· Is that
14· · · · · end quote.· Do you -- did I read that correctly from     14· · · · · true?
15· · · · · that medical record?                                     15· ·A· · · Rephrase your question.
16· ·A· · · Yes, sir, you read it correctly.                         16· ·Q· · · Your denial for this particular colostomy reversal
17· ·Q· · · And you said that you chose not to really deal with      17· · · · · occurs in 2017.· Would you agree with that?
18· · · · · the mental health care because you didn't want           18· ·A· · · My denial occurs in 2017?· I'm not sure.· You have to
19· · · · · medications and things like that; right?                 19· · · · · show me.· I can't answer the question unless I see it.
20· ·A· · · Yeah, to be on medication.                               20· · · · · Like, I have to see.
21· ·Q· · · Okay.· It's my understanding, Mr. Jackson, that the      21· ·Q· · · So the document you have in front of you right
22· · · · · damages you're seeking in this case are primarily        22· · · · · there --
23· · · · · based upon what?· What are the damages you're seeking    23· ·A· · · Yes.
24· · · · · in this case?                                            24· ·Q· · · -- at the bottom, that's signed by Subrina Aiken,
25· ·A· · · Mental and physical pain and suffering.                  25· · · · · RN --
                                                         Page 230                                                             Page 232
·1· ·Q· · · You have not indicated that you have made any claim      ·1· ·A· · · Yes.
·2· · · · · for physical pain and suffering in this case.· Are you   ·2· ·Q· · · -- she says, "Subrina Aiken, RN, Clinical
·3· · · · · aware of that?                                           ·3· · · · · Administrative Assistant, Jackson Healthcare
·4· ·A· · · Yeah because it's all -- mental, I had to go through     ·4· · · · · Administration."· She has a signature here.· This
·5· · · · · mental.· Yeah.                                           ·5· · · · · particular response to your agreement is dated June 8,
·6· ·Q· · · Okay.                                                    ·6· · · · · 2017 at the bottom; correct?
·7· ·A· · · Like, me having a bag didn't disable me, but it -- I     ·7· ·A· · · Yes, sir.
·8· · · · · was uncomfortable with it.· Yes.                         ·8· ·Q· · · That is, again, page ID 26 of the court's electronic
·9· ·Q· · · Okay.                                                    ·9· · · · · filing.
10· ·A· · · Very.                                                    10· · · · · · · · · · · ·Did you appeal her decision?
11· ·Q· · · So the damages you're seeking are for mental anguish,    11· ·A· · · I can't remember, sir.· Can I refer to the notes?
12· · · · · embarrassment; correct?                                  12· · · · · This was, like, years ago.· I don't want to speak on
13· ·A· · · I don't know why you're talking about embarrassment.     13· · · · · nothing.
14· · · · · I didn't say that.                                       14· ·Q· · · I just want to know --
15· ·Q· · · Are you seeking damages in this case because you were    15· ·A· · · I did a lot of paperwork and stuff.
16· · · · · embarrassed because you had to have the bag?             16· ·Q· · · There is also a page 2 to that -- or a page 3, if you
17· ·A· · · No.· That's not -- nothing about embarrassed.· What do   17· · · · · will.· If you turn over the page.· This looks like
18· · · · · you mean?· I'm angry because I had to have the bag and   18· · · · · it's a Step 3 grievance response.· Okay?· And this
19· · · · · it could have been reversed.· I had to go through all    19· · · · · indicates here that your grievance is being denied to
20· · · · · of that stuff.                                           20· · · · · reverse your colostomy, and it's dated 10 -- October
21· ·Q· · · You're not making any claims in this case for lost       21· · · · · 19, 2017.
22· · · · · wages --                                                 22· ·A· · · Uh-huh.
23· ·A· · · No.                                                      23· ·Q· · · Do you see that?
24· ·Q· · · -- or potential future earnings or anything like that?   24· ·A· · · Yes, sir.
25· ·A· · · No.                                                      25· ·Q· · · Are you aware of receiving any further grievance

                                                                                                                    Pages 229–232
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1764 Filed 09/14/21 Page 60 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 233                                                             Page 235
·1· · · · · denials after October of 2017 with respect to the      ·1· ·Q· · · So are you telling us that you're just as certain that
·2· · · · · Michigan Department of Corrections?                    ·2· · · · · there was another aspect to your grievance or appeal?
·3· ·A· · · I can't remember.· It was a long time ago.             ·3· ·A· · · No, I'm not.· You couldn't say that either.
·4· ·Q· · · Did you ever pursue, as far as you know, any denials ·4· ·Q· · · Listen:· I'm going to tell you when we walk out of
·5· · · · · of this -- any formal denials of your request for a    ·5· · · · · here today, whatever your answers that you give, those
·6· · · · · colostomy reversal after October 2017?                 ·6· · · · · are going to be your answers.· So I'm giving you every
·7· ·A· · · It's been a long time, so I can't remember.            ·7· · · · · opportunity to say if you feel like you did it or if
·8· ·Q· · · According to your records you did not.· If our records ·8· · · · · you didn't do it.· I'm trying to give you every
·9· · · · · show that you did not, would you disagree with that,   ·9· · · · · opportunity to say --
10· · · · · since you really don't have a memory?                  10· ·A· · · No big deal.· I'm saying what I want to say.· Thank
11· ·A· · · I didn't pursue -- so the question was, did I pursue   11· · · · · you.
12· · · · · any other grievances after I was denied in 2017?       12· ·Q· · · So you can't tell us today whether or not you --
13· ·Q· · · Yes.· Well, I asked that question and you said you     13· ·A· · · You --
14· · · · · can't remember.                                        14· · · · · · · · · · · ·COURT REPORTER:· I'm sorry.· Sir, you've
15· ·A· · · And you said if your records show that I haven't,      15· · · · · got to let him get his full question out.· I can't
16· · · · · would I agree?· I still -- I can't say.· They can be   16· · · · · write both of you at the same time.
17· · · · · somewhere and you all didn't get them.                 17· ·BY MR. SCARBER:
18· ·Q· · · But you're not sitting here saying that you actually   18· ·Q· · · So, Mr. Jackson, you're not able to tell us today
19· · · · · did; right?                                            19· · · · · whether you pursued any further grievance or not?
20· ·A· · · I'm not saying that I actually did, right.· That I     20· ·A· · · I'm telling you that was years ago and I don't recall
21· · · · · actually didn't.                                       21· · · · · whether I did or didn't.· I would be wrong by saying I
22· ·Q· · · You're not saying --                                   22· · · · · did or didn't and don't remember.
23· ·A· · · I did or I didn't.                                     23· ·Q· · · Okay.· That's fine.· And I appreciate that.· But you
24· ·Q· · · -- whether you did or you didn't.                      24· · · · · said something after in your last answer that said,
25· ·A· · · Yes.· Because I can't remember.                        25· · · · · "I'm just as certain about this as" --
                                                         Page 234                                                             Page 236
·1· ·Q· · · So if the records that I have shows that the last step   ·1· ·A· · · No.· That's what you said.
·2· · · · · to the grievance --                                      ·2· ·Q· · · No, I didn't say that.· You did.· But it's okay.· The
·3· ·A· · · That's not necessarily true because it could be          ·3· · · · · record will speak for itself.
·4· · · · · somewhere just like the other record that you all        ·4· ·A· · · Thank you.
·5· · · · · don't have, so...                                        ·5· ·Q· · · The denial of -- the determination of a lack of
·6· ·Q· · · What record don't we have?                               ·6· · · · · medical necessity not being demonstrated at this time
·7· ·A· · · Remember we were talking about -- what was we talking    ·7· · · · · by Dr. Papendick that was from an April 19, 2017 time
·8· · · · · about here?· It was like a surgery or something that I   ·8· · · · · frame, are you telling us today that there was another
·9· · · · · knew that we had but you all didn't -- oh, that's what   ·9· · · · · request subsequent to this denial with respect to Dr.
10· · · · · it was.· It was Dr. Webber's -- him telling me that I    10· · · · · Papendick or any review of -- any kind of utilization
11· · · · · -- me following up and him saying that I potentially     11· · · · · review of your need or necessity for a colostomy
12· · · · · have a hernia.· You all don't have no records of that,   12· · · · · reversal?
13· · · · · but I know for sure that happened.· I went to it.· So    13· ·A· · · You have to rephrase that one.
14· · · · · just because you all don't have a record of it doesn't   14· ·Q· · · Okay.· I will rephrase it.· You're probably right.
15· · · · · mean that it's not true, so I'm saying with this I       15· · · · · · · · · · · ·This denial or this determination by Dr.
16· · · · · don't know.                                              16· · · · · Papendick, that there was no medical necessity
17· ·Q· · · Well, with that you were pretty certain that something   17· · · · · demonstrated at this time, is dated April 19, 2017.
18· · · · · occurred.                                                18· ·A· · · Uh-huh.
19· ·A· · · Okay.                                                    19· ·Q· · · My question to you is, are you aware of any other
20· ·Q· · · With this one you're not quite certain whether it --     20· · · · · requests that were made to review Dr. Papendick's
21· ·A· · · I wouldn't say -- I'm no more certain than the other     21· · · · · determination after April 19, 2017?
22· · · · · one.· I'm about the same.· It's even, 50/50.             22· ·A· · · I don't recall, sir.· It's a long time.
23· ·Q· · · But you were really certain about your -- that you had   23· ·Q· · · What your counsel had put in front of you earlier
24· · · · · another visit with Dr. Webber.· You told us about --     24· · · · · today are your Answers to Interrogatories and Request
25· ·A· · · I'm about the same level.                                25· · · · · to Produce in this matter.· Can you take a quick look

                                                                                                                    Pages 233–236
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1765 Filed 09/14/21 Page 61 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 237                                                             Page 239
·1· · · · · at those?· I'm not going to spend a lot of time on       ·1· ·A· · · He's a friend.· I know his whole family.· His whole,
·2· · · · · these.                                                   ·2· · · · · entire family.
·3· · · · · · · · · · · ·Okay.· At the end of this particular        ·3· ·Q· · · When did you meet him, though?· Under what
·4· · · · · document is -- it's an electronic signature --           ·4· · · · · circumstances?· Were you guys childhood friends?· Did
·5· ·A· · · Okay.                                                    ·5· · · · · you used to play together outside?· Did you work with
·6· ·Q· · · -- on page 19.· What my question is going to be to you   ·6· · · · · him?· That's what I'm getting at.
·7· · · · · is, do you recall Mr. Cross and Mr. Margolis actually    ·7· ·A· · · Yeah, I worked with him.
·8· · · · · speaking with you and asking you these questions about   ·8· ·Q· · · How did you originally meet him?
·9· · · · · your lawsuit and trying to get information from you      ·9· ·A· · · He was doing work on a house in my neighborhood and I
10· · · · · and them drafting this particular document for you,      10· · · · · worked with him.· I was a kid.· He taught me how to --
11· · · · · you reviewing it and then you signing it?                11· · · · · it started out he taught me how to clean bricks for,
12· ·A· · · Do I remember this document?· No.                        12· · · · · like -- okay.· You know how somebody take all the
13· ·Q· · · Let me ask the question this way.· At some point         13· · · · · bricks off the house and you got to chisel them so
14· · · · · during the course of this lawsuit did Mr. Cross or       14· · · · · they be flat bricks and you reuse them?· That's the
15· · · · · Mr. Margolis speak with you about answering certain      15· · · · · first thing I ever did when I met Mike.· That's what
16· · · · · questions pertaining to this lawsuit?                    16· · · · · he was doing.· I was a kid.
17· ·A· · · They said just be truthful.· That's the only thing       17· ·Q· · · Do you live with Mike now?
18· · · · · they ever said to me about anything to do with           18· ·A· · · No.
19· · · · · answering questions.                                     19· ·Q· · · Who do you actually live with now?
20· ·Q· · · My question is not really about that.· I'm -- my         20· ·A· · · Fatima Jackson.
21· · · · · question is really getting at -- this document here      21· ·Q· · · Do you pay rent there?
22· · · · · that I just gave you is a document that your attorneys   22· ·A· · · Yes.
23· · · · · are representing that they went over with you and you    23· ·Q· · · How much rent do you pay?
24· · · · · would have agreed to the answers that are in there.      24· ·A· · · Just two hundred dollars a month.
25· ·A· · · Yeah.· What about it?                                    25· ·Q· · · And how are you able to pay it?
                                                         Page 238                                                             Page 240
·1· ·Q· · · And it's not physically signed by you but it's an        ·1· ·A· · · Money I saved from odd jobs that I do.
·2· · · · · electronic signature by you.                             ·2· ·Q· · · You mentioned also that odd jobs and --
·3· ·A· · · Oh, yeah, yeah, yeah.                                    ·3· ·A· · · Like, as far as landscaping.· You know?
·4· ·Q· · · So what I went to know is -- just quickly look over      ·4· ·Q· · · But you mentioned earlier, Mr. Jackson, I think, that
·5· · · · · that and let us know that, yes, this is the document I   ·5· · · · · the odd jobs you do and a stimulus is the source of
·6· · · · · went over with my attorneys.                             ·6· · · · · your income.
·7· ·A· · · Yes, he went over this with me.· He always but, you      ·7· ·A· · · Yeah.· That was my stimulus check.· Everybody got
·8· · · · · know, I just couldn't remember.· That's all.· If it's    ·8· · · · · that.
·9· · · · · my electronic signature, I definitely signed that.       ·9· ·Q· · · And you received yours already?
10· ·Q· · · Yep.· And I'm not trying to make a trick question here   10· ·A· · · Not this one, but I received the 600 one.· I'm waiting
11· · · · · or anything like.· I just want to -- we don't have       11· · · · · on one.· It should be here any day, the 14. I
12· · · · · your physical signature.                                 12· · · · · received the 12, six.· I'm waiting on the 14.· Should
13· ·A· · · Oh, no, you doing fine, man.· I really enjoyed you       13· · · · · be here any day.
14· · · · · today.                                                   14· ·Q· · · How did you get to your deposition today?
15· ·Q· · · Well, I appreciate that.                                 15· ·A· · · I got a ride.
16· · · · · · · · · · · ·We don't have a physical signature, so I    16· ·Q· · · Who gave you a ride?
17· · · · · was just trying to make sure that these are in effect    17· ·A· · · My attorney.
18· · · · · your answers.                                            18· ·Q· · · And where are you coming from today?
19· ·A· · · Yeah.                                                    19· ·A· · · Home.· My girlfriend's house.
20· ·Q· · · You would agree with that?                               20· ·Q· · · I thought you live with your sister.
21· ·A· · · Yes, sir.· Stand by that a hundred percent.              21· ·A· · · I was at my girlfriend's house today.
22· ·Q· · · How long have you known Michael Washington?              22· ·Q· · · Who is your girlfriend?
23· ·A· · · Michael Washington?· Maybe 20 years.· Little more than   23· ·A· · · Well, it's -- her name is Rachel.
24· · · · · 20 years.                                                24· ·Q· · · Can you spell her full name for us?
25· ·Q· · · And in what capacity did you meet Mr. Washington?        25· ·A· · · Rachel, R-A-C-H-E-L.· Fuller, F-U-L-L-E-R.

                                                                                                                    Pages 237–240
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1766 Filed 09/14/21 Page 62 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 241                                                             Page 243
·1· ·Q· · · And where does she live?                                 ·1· · · · · through with my bags and supplies.· I talked to him
·2· ·A· · · Where I was coming from, in Highland Park.               ·2· · · · · about that.· Yep, Mr. Richardson.· Mr. Richardson, he
·3· ·Q· · · Do you know an address?                                  ·3· · · · · was at St. Louis.
·4· ·A· · · No.                                                      ·4· ·Q· · · St. Louis, Mr. Richardson; Mrs. Wilson, St. Louis; and
·5· ·Q· · · What street?                                             ·5· · · · · Mr. Willis was where?
·6· ·A· · · What was it?· Midland?· Yeah.                            ·6· ·A· · · Yeah, St. Louis.
·7· ·Q· · · What are the cross-streets, if you know?                 ·7· ·Q· · · St. Louis?
·8· ·A· · · Woodward.                                                ·8· ·A· · · No, Mr. Willis was Jackson.
·9· ·Q· · · How long have you -- so do you spend some time there     ·9· ·Q· · · Jackson.
10· · · · · and some time at your sister's, then?                    10· ·A· · · He was the counselor.· Mr. Willis, yeah.
11· ·A· · · I'm at my sister's mostly but, yeah, I be there.         11· ·Q· · · Do you know whether they worked for the MDOC or
12· ·Q· · · And you stay there for at least overnight or maybe a     12· · · · · whether they were with another agency?· If you know.
13· · · · · couple nights sometimes?                                 13· ·A· · · I don't know.
14· ·A· · · I spend a couple nights here and there.                  14· ·Q· · · Okay.· After the deposition today you're going to get
15· ·Q· · · Have you seen your son at all since you got out of       15· · · · · some form of a picture ID to your counsel, your
16· · · · · jail?                                                    16· · · · · attorney, so he can get it to us?
17· ·A· · · I don't have any rights of my son to see him.            17· ·A· · · Yeah.· I'll do my best.
18· ·Q· · · Okay.· So I didn't understand that.· So if you don't     18· ·Q· · · Okay.· When you said your attorney had been trying to
19· · · · · have any rights, you can't see him at all?               19· · · · · help you get a state ID, were you talking about this
20· ·A· · · No.· Can't.                                              20· · · · · attorney or another --
21· ·Q· · · And that's something you're working on?                  21· ·A· · · Yeah.· He took me to the Secretary of State one time
22· ·A· · · Yes, sir.· I'm working on getting my life together and   22· · · · · but I didn't have enough documents to get it.
23· · · · · getting my rights, since I've been out of prison.        23· ·Q· · · Mr. Cross did?
24· ·Q· · · Do you recall the names of any corrections officers      24· ·A· · · Yeah.· Him himself.
25· · · · · while you were at the Department of Corrections that     25· · · · · · · · · · · ·MR. SCARBER:· Mr. Jackson, I want to
                                                         Page 242                                                             Page 244
·1· · · · · would have --                                            ·1· · · · · thank you for your time today.
·2· ·A· · · Yes.                                                     ·2· · · · · · · · · · · ·THE WITNESS:· Thank you.
·3· ·Q· · · -- encountered you or remembered you or you dealt        ·3· · · · · · · · · · · ·MR. SCARBER:· I don't have anything
·4· · · · · with?                                                    ·4· · · · · further for you.
·5· ·A· · · Uh-huh.· Yes, sir.                                       ·5· · · · · · · · · · · ·I don't think we need to mark his answers
·6· ·Q· · · Who?                                                     ·6· · · · · to it, but you agree with me that these answers are
·7· ·A· · · I have to think.· Give me one second.· Willis.           ·7· · · · · signed and dated.· They're 19 pages long and they have
·8· ·Q· · · That's the last name or first name?                      ·8· · · · · a date at the bottom of them of when they were served
·9· ·A· · · That's the last name.· He was my counselor that I went   ·9· · · · · as being November the 9th of 2020.· Do you agree with
10· · · · · to and talked to to try to get moved before I got into   10· · · · · that?
11· · · · · the fight with my bunkie to let him know that I was,     11· · · · · · · · · · · ·THE WITNESS:· Yes, sir.
12· · · · · you know, having a lot of trouble and issues because     12· · · · · · · · · · · ·MR. SCARBER:· Okay.· I don't have
13· · · · · of my bag.                                               13· · · · · anything else.
14· ·Q· · · Okay.· So that would have been in or around January of   14· · · · · · · · · · · ·MR. CROSS:· (Inaudible).
15· · · · · 2018, maybe end of '17?                                  15· · · · · · · · · · · ·COURT REPORTER:· Are we off the record?
16· ·A· · · Uh-huh.                                                  16· · · · · · · · · · · ·MR. CROSS:· No, we're not.
17· ·Q· · · Okay.· Who else?                                         17· · · · · · · · · · · ·COURT REPORTER:· I'm sorry.· I couldn't
18· ·A· · · Yep.· It was another that -- I remember her name was     18· · · · · hear you.
19· · · · · Miss Wilson.                                             19· · · · · · · · · · · ·MR. CROSS:· I'm sorry.
20· ·Q· · · And what facility was she at?                            20· · · · · · · · · · · · · · ·-· - -
21· ·A· · · St. Louis.· There was another -- Mr. Richardson. I       21· · · · · · · · · · · · · RE-EXAMINATION
22· · · · · used to always go to him and he helped me with extra     22· ·BY MR. CROSS:
23· · · · · supplies as far as, like, toilet paper and tissue, and   23· ·Q· · · You were asked about grievances, Mr. Jackson.· Are you
24· · · · · he knew everything I was going through, like, you        24· · · · · familiar with the grievance procedure at MDOC?
25· · · · · know, with other guys and the things I was going         25· ·A· · · Yes, sir.

                                                                                                                    Pages 241–244
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1767 Filed 09/14/21 Page 63 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 245                                                              Page 247
·1· ·Q· · · Can you describe the grievance procedure for us?         ·1· ·A· · · No, it's not.
·2· ·A· · · The grievance procedure is Step 1 grievance.· You        ·2· ·BY MR. CROSS:
·3· · · · · write the grievance and then they gave you the           ·3· ·Q· · · So were there any procedural steps you could have
·4· · · · · response to the grievance.· If there is not a response   ·4· · · · · taken that you knew of that you did not take to
·5· · · · · to the grievance that you feel like you deserved, then   ·5· · · · · further contest the denial of the surgery?
·6· · · · · you write another Step 2 grievance.· You write a Step    ·6· ·A· · · No.· I followed all the procedures that I was aware of
·7· · · · · 2 grievance and then they give you a response.· If       ·7· · · · · that I could take.· Every single one.· Filed Step 1,
·8· · · · · it's not the response that you feel you deserved, you    ·8· · · · · 2, 3 grievance.· I wrote the ombudsman and then I
·9· · · · · write a Step 3 grievance.· After the Step 3 grievance,   ·9· · · · · filed a formal complaint when I was released.· Meaning
10· · · · · if they don't give you the answer you feel you           10· · · · · the lawsuit or whatever that I filed with you.· Right?
11· · · · · deserve, then I believe you appeal it.                   11· · · · · · · · · · · ·MR. CROSS:· Okay.· I don't have any
12· ·Q· · · You think you can appeal it after the Step 3             12· · · · · further questions.
13· · · · · grievance?                                               13· · · · · · · · · · · · · · ·-· - -
14· ·A· · · It's been a while but I think you appeal it or           14· · · · · · · · · · · · · RE-EXAMINATION
15· · · · · something.· You appeal it at one point in time.· You     15· ·BY MR. SCARBER:
16· · · · · appeal something.                                        16· ·Q· · · Mr. Jackson, you indicated that after Step 3 you could
17· ·Q· · · Do you know if you're allowed to grieve the same issue   17· · · · · do an appeal; correct?
18· · · · · you've already grieved?                                  18· ·A· · · I said don't quote me.· As far as I can remember.· But
19· ·A· · · Yes.                                                     19· · · · · I'm not sure.
20· ·Q· · · You are?                                                 20· ·Q· · · Okay.
21· ·A· · · That's what it is about -- oh, no, you can't grieve      21· ·A· · · You know what I'm saying?· That's something that I'm
22· · · · · that issue again.· If you got denied at Step 3, then     22· · · · · thinking I remember but I'm not sure.· It's been a
23· · · · · you have to appeal the whole grievance.· That's what I   23· · · · · while since I had to deal with this stuff.
24· · · · · believe.· Don't quote me.· But as far as I can           24· · · · · · · · · · · ·MR. SCARBER:· Okay.· I don't have
25· · · · · remember.· But I know for sure if you got denied the     25· · · · · anything further.
                                                         Page 246                                                              Page 248
·1· · · · · Step 3 grievance, it's over until you get an appeal.     ·1· · · · · · · · · · · · · · ·-· - -
·2· · · · · You can't send in another grievance because it's         ·2· · · · · · · · · · · · · RE-EXAMINATION
·3· · · · · already been denied.· Like, it's another Step 1          ·3· ·BY MR. WILLIS:
·4· · · · · grievance.· You can't send that in.· It's already been   ·4· ·Q· · · Mr. Jackson, you were asked some questions about
·5· · · · · denied.                                                  ·5· · · · · grievance procedures.· Do you know what the grievance
·6· ·Q· · · Now, you wrote the legislative corrections ombudsman;    ·6· · · · · procedure was at the St. Clair County Jail?
·7· · · · · is that correct?                                         ·7· ·A· · · No.
·8· ·A· · · Yes, sir.                                                ·8· ·Q· · · Or the appeals process?
·9· ·Q· · · Is that outside the grievance process?                   ·9· ·A· · · No.· See, that was the thing about that.· I asked for
10· ·A· · · Yes, sir.                                                10· · · · · a grievance.· That's what I'm about to tell you.· I'm
11· ·Q· · · Do you know when you did that?                           11· · · · · answering your question.· I asked them guys for a
12· ·A· · · I believe that was in Jackson when I first got to        12· · · · · grievance and they told me and wrote in the kite.· It
13· · · · · prison.                                                  13· · · · · should be in the records that they would not give me a
14· ·Q· · · Okay.· Was there a procedure besides the three-step      14· · · · · grievance.· All grievances are done on the tablet.
15· · · · · grievance procedure by which you could appeal the        15· ·Q· · · Who?
16· · · · · denial of your request for the surgery?                  16· ·A· · · Look at my own -- in the response.
17· · · · · · · · · · · ·MR. SCARBER:· I'm just going to place an    17· ·Q· · · Was it the deputies?
18· · · · · objection.· Asked and answered.                          18· ·A· · · It was somebody.· I can't remember.· But I know that's
19· ·A· · · Could you rephrase the question again?                   19· · · · · what was said to me, that they don't got paper
20· ·BY MR. CROSS:                                                   20· · · · · grievance.· Can't write a paper grievance.· All
21· ·Q· · · Is there another procedure besides the three-step        21· · · · · grievances are done on the tablet.· So that's what I
22· · · · · grievance procedure we just discussed by which you       22· · · · · did -- made a grievance on the tablet.
23· · · · · could appeal the denial of your surgery?                 23· ·Q· · · Okay.· So what did you do?· Whatever the process was,
24· ·A· · · No.                                                      24· · · · · you didn't do it; correct?
25· · · · · · · · · · · ·MR. SCARBER:· Same objection.               25· ·A· · · No.· I did it.· Whatever the process was I was

                                                                                                                     Pages 245–248
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1768 Filed 09/14/21 Page 64 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 249                                                             Page 251
·1· · · · · supposed to do, I did.                                   ·1· ·Q· · · You kept that information?
·2· ·Q· · · What did you do?                                         ·2· ·A· · · Yes, I did.· I have to find it.
·3· ·A· · · I wrote a grievance on the tablet like they told me.     ·3· ·Q· · · Did you give it to your lawyers?
·4· ·Q· · · When?                                                    ·4· ·A· · · I'm not sure what I did with it.· I have to find it.
·5· ·A· · · When I was in the county jail.                           ·5· ·Q· · · Well, I ask -- I'm sure that our deposition notice
·6· ·Q· · · What did you say in your grievance?                      ·6· · · · · requested that you bring any of that information.
·7· ·A· · · I'd have to look at the grievance to tell you.           ·7· ·A· · · So what?· Do you want me to take a break and look to
·8· ·Q· · · Have you seen these records at your attorney's office?   ·8· · · · · see if I could find it?· Because that's not a problem.
·9· ·A· · · I haven't seen any records about the St. Clair County    ·9· ·Q· · · What did you bring with you that you can look while on
10· · · · · Jail.· I haven't seen them.                              10· · · · · a break?
11· ·Q· · · Did you get a response to your grievance?                11· ·A· · · Everything is on computer.· I can't look at nothing
12· ·A· · · Can't remember.· This was so long ago.· I don't want     12· · · · · because everything is on the computer.· I have to
13· · · · · to tell you I did.                                       13· · · · · break and go through it.
14· ·Q· · · So you don't know if you did or you didn't?              14· ·Q· · · Whose computer?
15· ·A· · · I can't remember if I did or didn't.                     15· ·A· · · The computer I'm with, it's, like -- the computer I've
16· ·Q· · · When did you file a grievance or an appeal at the        16· · · · · been looking at, it's on the phone and on the
17· · · · · county jail after you were told that you weren't going   17· · · · · computer.
18· · · · · to have the surgery right away?                          18· ·Q· · · What's on your phone?
19· ·A· · · When I filed a grievance?· You mean on the tablet?       19· ·A· · · Everything that we're talking about.
20· ·Q· · · Yes.                                                     20· ·Q· · · You've got a copy of the grievance on there?
21· ·A· · · I can't tell you exactly, sir.· It's been a long time,   21· ·A· · · No.· Yeah, I should.· All my records is on here, so,
22· · · · · but I'm sure I did.                                      22· · · · · yeah, it should be on here.· I have to look and see.
23· ·Q· · · When?                                                    23· · · · · · · · · · · ·MR. CROSS:· Can I just help out here?
24· ·A· · · I can't tell you, sir.· I don't remember.· It's been     24· · · · · The grievances that he made on the tablet are in the
25· · · · · years.· Sorry.· I can't tell you, like, the month or     25· · · · · records that one of you guys provided to us -- the St.
                                                         Page 250                                                             Page 252
·1· · · · · the date because I don't remember.· Like, you ask me     ·1· · · · · Clair County jail records.· It's in the records.· And
·2· · · · · the question but I have to tell you a month or a date    ·2· · · · · some of the grievances I believe we attached to the
·3· · · · · and I don't actually remember a month or a date.         ·3· · · · · Complaint.
·4· ·Q· · · Was it after the first time you were told that you       ·4· · · · · · · · · · · ·MR. WILLIS:· Okay.
·5· · · · · were going to have the surgery right away or the         ·5· ·BY MR. WILLIS:
·6· · · · · second time or --                                        ·6· ·Q· · · Is it your testimony that your grievance or your
·7· ·A· · · Can't remember which time but I know I did.              ·7· · · · · appeal was denied?
·8· ·Q· · · Was it in January?                                       ·8· ·A· · · Grievance or appeal was denied?· Which one?
·9· ·A· · · Can't remember but I know I did.                         ·9· ·Q· · · Either one.· A grievance is a form of an appeal.
10· ·Q· · · You ever see a copy of it?                               10· ·A· · · What grievance are you talking about?· The grievance I
11· ·A· · · I can't remember but I know I did.· This was years ago   11· · · · · filed in prison?· The grievance I filed in jail?· What
12· · · · · we talking about.· This wasn't, like, last year          12· · · · · grievance are you talking about?
13· · · · · and this wasn't last week.· Like, you know what I        13· ·Q· · · I'm asking you about the stuff in the St. Clair County
14· · · · · mean?                                                    14· · · · · Jail.
15· ·Q· · · How do you know you did it if you haven't seen it?       15· ·A· · · I actually don't even remember getting a response.
16· ·A· · · Because I for sure remember that I did it.· Because      16· ·Q· · · Who did you send the grievance to?
17· · · · · that's why I did it, because I was looking for a         17· ·A· · · Who I was supposed to have to send it to at that time.
18· · · · · grievance and they wouldn't give me the paperwork and    18· · · · · Can't remember because I know I sent it to the right
19· · · · · they told me all grievances was done on the tablet.      19· · · · · person because I found out who I was supposed to send
20· · · · · Not only did I do it on the tablet, I wrote down the     20· · · · · it before I sent it.
21· · · · · numbers and kept a log of all the numbers of the         21· · · · · · · · · · · ·MR. WILLIS:· Can we take a break and take
22· · · · · tablet grievances.· Like, it would be grievance number   22· · · · · a look and see if we can find any grievances?
23· · · · · 00000.· You know what I'm saying?                        23· · · · · · · · · · · ·THE WITNESS:· From St. Clair County.
24· ·Q· · · Where did you write it down at and did you keep that?    24· · · · · · · · · · · ·MR. WILLIS:· From St. Clair County.
25· ·A· · · I have to find that.· Yes.                               25· · · · · · · · · · · ·THE WITNESS:· Yes, sir.

                                                                                                                    Pages 249–252
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1769 Filed 09/14/21 Page 65 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                         Page 253                                                             Page 255
·1· · · · · · · · · · · ·VIDEOGRAPHER:· We're going off the          ·1· ·BY MR. SCARBER:
·2· · · · · record.· It's 6:25 p.m.                                  ·2· ·Q· · · Mr. Jackson, while you were in the Department of
·3· · · · · · · · · · · ·(Whereupon, a recess was held.)             ·3· · · · · Corrections, you were able to eat also; correct?
·4· · · · · · · · · · · · · · ·-· - -                                ·4· ·A· · · Yeah, I ate at jail.
·5· · · · · · · · · · · ·VIDEOGRAPHER:· We are back on the record.   ·5· ·Q· · · And --
·6· · · · · It is 6:32 p.m.                                          ·6· ·A· · · In prison, yes.
·7· · · · · · · · · · · ·MR. WILLIS:· Everybody ready?               ·7· ·Q· · · So we talked about working out.· We talked about
·8· · · · · · · · · · · ·MR. CROSS:· Yeah.                           ·8· · · · · eating.· We talked about walking.· We talked about
·9· · · · · · · · · · · ·MR. WILLIS:· Thank you.· We were -- just    ·9· · · · · your ability to be able to care for your colostomy.
10· · · · · took a brief break and looked at some grievances, and    10· · · · · You were trained on how to do it.· Were there any
11· · · · · plaintiff's counsel pointed out two grievances, one      11· · · · · other activities that you engaged in that I have not
12· · · · · for February 7, 2017 that went to Lieutenant Adams,      12· · · · · mentioned?
13· · · · · another on March 18, 2017 that went to Sergeant          13· ·A· · · Well, eating was a problem at times.· I would get sick
14· · · · · Lebeau.                                                  14· · · · · and nauseous when I would smell that bag.· I vomited
15· ·BY MR. WILLIS:                                                  15· · · · · sometimes.· Like, the smell was not, like,
16· ·Q· · · I guess my question is, sir, did you ever fill out a     16· · · · · you-going-to-the-bathroom smell.· It was like a
17· · · · · medical grievance?                                       17· · · · · different total smell.
18· ·A· · · A medical grievance?· These are the only grievances      18· ·Q· · · Let me ask you this.· My question is, are there any
19· · · · · that they offered us, on the tablet.                     19· · · · · other activities that you did in jail other than what
20· ·Q· · · That's not my question.· Did you ever file a medical     20· · · · · we've discussed with respect to eating, walking,
21· · · · · grievance?                                               21· · · · · working out?
22· ·A· · · These are the only grievances that they offered us.      22· ·A· · · Going to school.
23· · · · · They were on the tablet.· Where do you --                23· ·Q· · · You went to school?
24· ·Q· · · These are the ones that you wrote; right?                24· ·A· · · Yeah.· Can I tell you about that?
25· ·A· · · Where do you see medical grievance?· We were not         25· ·Q· · · I'm not asking any questions about that.
                                                         Page 254                                                             Page 256
·1· · · · · available to give medical grievances because I           ·1· ·A· · · Okay.
·2· · · · · would've filled one out.                                 ·2· ·Q· · · But you did go to school?
·3· ·Q· · · Just answer the question.· Are these the only two        ·3· ·A· · · Uh-huh.
·4· · · · · grievances that you filed in the St. Clair County        ·4· · · · · · · · · · · ·MR. SCARBER:· Okay.· I think I'm
·5· · · · · Jail, these two that were identified by your attorney?   ·5· · · · · finished.· I don't have anything further for you.
·6· ·A· · · No.· There's more than two.· What do you mean?           ·6· · · · · · · · · · · ·THE WITNESS:· Okay.· Thank you.
·7· · · · · There's one, two, three, four, five.· You mean are       ·7· · · · · · · · · · · ·MR. SCARBER:· Thank you.
·8· · · · · these the only five grievances?· That's what you         ·8· · · · · · · · · · · ·VIDEOGRAPHER:· Is that -- are we done?
·9· · · · · asking me?· Because it's not two.· Where you get two?    ·9· · · · · · · · · · · ·MR. CROSS:· I think we're done.
10· · · · · It's five.                                               10· · · · · · · · · · · ·MR. WILLIS:· I think we're done.
11· ·Q· · · I'm not sure -- first of all, I'm not sure what you're   11· · · · · · · · · · · ·VIDEOGRAPHER:· This concludes the
12· · · · · holding.· Your attorney identified two grievances.       12· · · · · deposition.· It is 6:36 p.m.· We are off the record.
13· ·A· · · But it's more than two grievances.                       13· · · · · · · · · · · · · · · -· - -
14· ·Q· · · Where do they say grievances on -- are they identified   14
15· · · · · as grievances?                                           15
16· ·A· · · Request -- ain't nothing identified as grievances, to    16
17· · · · · be honest with you.· Everything is identified as         17
18· · · · · detail of request.· But this about me making             18
19· · · · · continuous complaints.                                   19
20· · · · · · · · · · · ·MR. WILLIS:· All right.· Well, that's all   20
21· · · · · the questions I have.· Thank you.                        21
22· · · · · · · · · · · ·VIDEOGRAPHER:· Are we done?                 22
23· · · · · · · · · · · ·MR. WILLIS:· I'm done.                      23
24· · · · · · · · · · · · · · ·-· - -                                24
25· · · · · · · · · · · · · RE-EXAMINATION                           25

                                                                                                                    Pages 253–256
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                             YVer1f
     Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1770 Filed 09/14/21 Page 66 of 89

Deposition of                                                                          JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                         March 22, 2021
                                                          Page 257                                                               Page 259
·1· · · · · · · · · · · · · * * *                                    ·1· ·PAGE· · LINE· · CHANGE/ADD/DELETE· · · ·REASON
·2                                                                   ·2· ·____· · ____· · _______________________ _______________
·3                                                                   ·3· ·____· · ____· · _______________________ _______________
·4                                                                   ·4· ·____· · ____· · _______________________ _______________
·5
                                                                     ·5· ·____· · ____· · _______________________ _______________
·6· · · · · · DECLARATION OF PENALTY OF PERJURY
                                                                     ·6· ·____· · ____· · _______________________ _______________
·7
                                                                     ·7· ·____· · ____· · _______________________ _______________
·8
                                                                     ·8· ·____· · ____· · _______________________ _______________
·9· · · · · I, _______________________, do hereby declare under
                                                                     ·9· ·____· · ____· · _______________________ _______________
10· ·penalty of perjury that I have read the foregoing
11· ·transcript; that I have made any corrections as                 10· ·____· · ____· · _______________________ _______________

12· ·appear noted, in ink, initialed by me, or attached              11· ·____· · ____· · _______________________ _______________

13· ·hereto; that my testimony as contained herein, as               12· ·____· · ____· · _______________________ _______________
14· ·corrected, is true and correct.                                 13· ·____· · ____· · _______________________ _______________
15· · · · · EXECUTED this ______ day of __________________,          14· ·____· · ____· · _______________________ _______________
16· ·20______, at _______________________,________________.          15· ·____· · ____· · _______________________ _______________
· · · · · · · · · · · · ·(City)· · · · · · · · (State)               16· ·____· · ____· · _______________________ _______________
17                                                                   17· ·____· · ____· · _______________________ _______________
18
                                                                     18· ·____· · ____· · _______________________ _______________
· · · · · · · · ____________________________________
                                                                     19· ·____· · ____· · _______________________ _______________
19· · · · · · · · · · · ·KOHCHISE JACKSON
                                                                     20· ·____· · ____· · _______________________ _______________
20
                                                                     21· ·____· · ____· · _______________________ _______________
21
                                                                     22· ·____· · ____· · _______________________ _______________
22
23                                                                   23· ·____· · ____· · _______________________ _______________

24                                                                   24· ·____· · ____· · _______________________ _______________
25                                                                   25· ·Deponent's Signature ____________________ Date ________

                                                          Page 258                                                               Page 260
·1· · · · · · ·DEPONENT'S CHANGES OR CORRECTIONS                     ·1· · · · · · · · · ·CERTIFICATE OF NOTARY PUBLIC
·2· ·Note:· If you are adding to your testimony, print               ·2· ·STATE OF MICHIGAN )

·3· ·the exact words you want to add.· If you are deleting           · · · · · · · · · · · ·)· · ·SS.
                                                                     ·3· ·COUNTY OF OAKLAND )
·4· ·from your testimony, print the exact words you want
                                                                     ·4
·5· ·to delete.· Specify with "Add" or "Delete" and sign
                                                                     ·5· · · · · I, Elizabeth A. Tubbert, do hereby certify that the
·6· ·this form.
                                                                     ·6· ·witness whose attached testimony was taken before me in the
·7                                                                   ·7· ·above-entitled matter, was by me first duly sworn to testify
·8· ·DEPOSITION OF:· · · ·KOHCHISE JACKSON                           ·8· ·to the truth, the whole truth; that the testimony contained
·9· ·CASE:· · · · · · · · JACKSON V. CORIZON HEALTH, INC.            ·9· ·herein was by me reduced to writing in the presence of the
10· ·DATE OF DEPOSITION:· MARCH 22, 2021                             10· ·witness by means of stenography; afterward transcribed; and
11                                                                   11· ·that this is the true and complete transcript of the

12· ·PAGE· · LINE· · CHANGE/ADD/DELETE· · · ·REASON                  12· ·testimony given by the witness.
                                                                     13· · · · · I further certify I am not connected by blood or
13· ·____· · ____· · _______________________ _______________
                                                                     14· ·marriage with any of the parties, their attorneys or agents;
14· ·____· · ____· · _______________________ _______________
                                                                     15· ·and that I am not interested, directly or indirectly, in the
15· ·____· · ____· · _______________________ _______________
                                                                     16· ·matter of controversy.
16· ·____· · ____· · _______________________ _______________         17· · · · · ·IN WITNESS WHEREOF, I have hereunto set my hand and
17· ·____· · ____· · _______________________ _______________         18· ·affixed my notarial seal.
18· ·____· · ____· · _______________________ _______________         19
19· ·____· · ____· · _______________________ _______________         20

20· ·____· · ____· · _______________________ _______________         21· · · · · · · · · · ________________________________________
                                                                     · · · · · · · · · · · Elizabeth A. Tubbert, CSR-4248
21· ·____· · ____· · _______________________ _______________
                                                                     22· · · · · · · · · · Notary Public, Oakland County, Michigan
22· ·____· · ____· · _______________________ _______________
                                                                     · · · · · · · · · · · My Commission Expires:· October 25, 2023
23· ·____· · ____· · _______________________ _______________
                                                                     23
24· ·____· · ____· · _______________________ _______________         24
25· ·Deponent's Signature ____________________ Date ________         25



                                                                                                                    Pages 257–260
                        THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860                                                                YVer1f
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1771 Filed 09/14/21 Page 67 of 89

Deposition of                                                                   JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                  March 22, 2021
                               17 9:20 32:16 186:7 217:12      161:15 162:8,15 196:14        2:35 111:4
                -               218:4 242:15                   211:23 214:11
                               17902 9:6                      2017 8:15 33:21 47:1 51:5                    3
 -2 12:15                                                      52:3,7,9,11 54:7,10,23
                               17920 9:13
                                                               104:1,15,23 105:11 106:8,     3 216:16 218:2 232:16,18
                0              18 15:7 33:11 196:9 197:17      13 109:2,9,10 111:8 113:24     245:9,12,22 246:1 247:8,16
                                204:15 211:23 253:13           120:6 121:18 122:15 132:14
                                                               141:5 166:9,19 168:16         30 131:5
 00000 250:23                  18th 197:13                     186:8 196:9 197:14 199:14     30-day 131:20 132:9
                               19 78:24 93:9 158:25 204:15     224:24 225:5 231:12,17,18
                1               232:21 236:7,17,21 237:6       232:6,21 233:1,6,12 236:7,    31st 109:9,10
                                244:7                          17,21 253:12,13               3228 11:13,15
 1 71:16 121:18 188:22 245:2   191 215:8                      2018 122:16 123:14 126:17
  246:3 247:7                                                                                33 166:9
                                                               127:19 128:19,25 129:2
                               19th 87:12                      242:15                        35 228:23
 10 33:20 93:11 95:7 196:13
  216:20 218:4 232:20                                         2019 9:15 28:8,9 67:14         37 171:16
                                               2               75:24 84:5,10,11,23,25
 10:14 4:8
                                                               85:1,3 87:12 93:9 100:17                    4
 10th 95:20,22                 2 56:15 143:14,16 145:9         101:25 102:4,10 131:19
                                232:16 245:6,7 247:8           148:24 155:14 158:25
 11 121:17                                                                                   4/18/17 166:12
                               2/5/82 8:5                      161:13 162:17 214:10
 119 214:13                                                                                  4/18/2017 196:8
                               20 238:23,24                   2020 26:2,4,5 29:11 30:17
 11:14 4:3                                                     76:1 78:16,19,23 79:4 80:5,   4/7 111:7
 11:25 41:8                    200 59:3 61:21                  10 81:1 83:1,24 84:12 244:9
                                                                                             407 166:11
 11th 122:15                   2001 12:15,16 15:18 16:20      2021 4:2,7 14:1
                                21:24,25                                                     43 196:6
 12 6:20 196:13 240:12                                        21 26:5
                               2002 12:16 16:20 17:17                                        45 196:7
 12-7 153:3                     18:16,18                      214 4:10
                                                                                             48104 4:10
 12/10/2016 67:20,21           2003 17:1                      22 4:2,7 189:25
                                                                                             4:25 185:17
 122 192:5                     2004 17:1                      23 47:1 78:16,23 79:4 80:5
                                                               109:2 113:24 189:20           4:35 185:21
 12:36 41:12                   2005 17:1
                                                              23rd 51:5 76:1 79:19
 12:51 49:1                    201 59:3 61:21                                                              5
                                                              24 14:9 83:1,24 168:15
 12:58 49:5                    2010 55:18                      224:24                        5/25/17 186:6
 13 13:20,23                   2011 55:8,16                   24th 14:8 81:1                 5/30/2017 188:18
 133 75:1                      2012 13:19 14:3,6 29:2,7       25th 186:8                     50/50 234:22
 134 75:1                      2013 14:9                      26 166:9 232:8                 532 67:23
 13th 75:18                    2014 14:1 55:22 56:2,5         261 153:3                      575 90:4
                                57:12 58:21 62:24 64:2,6,20
 14 240:11,12                                                 27 38:24 216:3
                                214:13 215:11 216:3,4,9,16,                                  5:35 224:11
 149 72:5                       20 217:12 220:14              27th 39:1,5                    5:41 224:15
 15 6:20                       2015 14:1 70:24 71:16 74:3,    29 33:24                       5th 122:16 123:13 128:25
                                24 75:5,8,18
 15th 74:23                                                   2:09 100:8                      129:2
                               2016 8:25 9:20,25 10:7,20,
 16 67:14 75:24 131:19                                        2:17 100:12
                                21,22 12:16 23:8 29:10
                                                                                                           6
 16031 10:3,13                  31:22 32:16 33:3,11,24        2:19-cv-13382 4:14
                                34:6,20 38:24 73:17 74:24
 16th 74:24                                                   2:32 110:25                    6 34:6
                                76:13 93:12 95:7 103:6



                                                                                                  Index: -2–6Page 261
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1772 Filed 09/14/21 Page 68 of 89

Deposition of                                                                 JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                March 22, 2021
 600 240:10                    action 27:12 52:19 229:10       231:17 233:16 238:20         anguish 230:11
                                                               244:6,9
 6:25 253:2                    actions 142:16 210:15                                        animal 137:7
                                                              agreed 151:21 237:24
 6:32 253:6                    activities 255:11,19                                         Ann 4:1,10
                                                              agreeing 118:3 227:7
 6:36 256:12                   activity 76:20,24 78:2,4                                     Anna 59:20
                                                              agreement 6:2 80:18
 6th 33:6                      Adams 253:12                                                 answering 65:24 139:16
                                                               156:1,2 176:18 232:5
                                                                                             173:11 222:2 237:15,19
                               added 161:8
                                                              ahead 44:6 83:10 108:14        248:11
                7
                               adding 222:4                    115:16 120:12 127:2
                                                                                            answers 235:5,6 236:24
                                                               131:14,15 138:11 170:14
 7 199:14 253:12               addition 130:8                                                237:24 238:18 244:5,6
                                                               174:15 181:16 190:19
 72 228:11                     address 10:1,3 11:9,12                                       antibiotic 71:24
                                                              Aiken 144:21,23,25 145:5,6,
                                241:3
 7th 111:8 141:5 199:13                                        7 197:22 198:7 231:24        antibiotics 71:6 72:19,22
                               addresses 10:2,13               232:2                         217:16

                8              adhesive 122:1                 air 37:19                     anticipate 81:25 82:1
                               adjust 141:7 156:24            Akil 6:12                     anymore 43:10
 8 232:5
                               Administration 232:4           alias 6:10,11,13,16 24:23     apologize 210:24 211:16
 89 226:7                                                      25:1,2
                               Administrative 232:3                                         apparent 197:1
                                                              aliases 6:9,14 11:16
                9              admit 189:15,16                                              apparently 67:25
                                                              allegation 115:2 152:18
                               admitted 34:7                                                appeal 143:8 145:9 155:23
 90 21:19 22:3                                                allegations 73:14              158:11 167:5 183:19 232:10
                               advice 53:10                                                  235:2 245:11,12,14,15,16,
 900 15:24                                                    Alleged 224:4,5
                               advise 135:11 136:2 146:17                                    23 246:1,15,23 247:17
 9th 39:20 177:1 244:9                                        alleging 112:10 113:2          249:16 252:7,8,9
                               advised 53:12 120:6 155:14
                                166:19 181:2                  allowed 159:13 202:20         appeals 248:8
                A                                              245:17
                               afford 42:14,25 43:19                                        appearance 136:11 137:2,
                                135:25 175:11 179:14          allowing 127:14                5,6,12 141:17
 a.m. 4:3,8 41:8                181:6,11 187:8 189:5
                                                              Alsalman 164:22 166:8,19,     appeared 122:5 136:13,19
 abdomen 68:1 197:4,5          afraid 98:20                    25 167:4,11 168:1,5,6,7
  223:20                                                                                    appearing 4:25 5:2
                                                               196:8,10
                               afternoon 49:9                                               applies 180:17
 abdominal 62:2,4 68:18,19                                    alter 141:7
  98:16 196:17 197:5,9         agency 243:12                                                apply 38:17
  215:24,25 216:1,7,13,17,21                                  alternative 166:15 167:5
                               ages 13:3                                                    appointment 166:14
  217:13,19                                                   altogether 164:12
                               agree 62:13 63:9,14,22,24                                     222:18,21
 ability 229:11 255:9           66:20 70:11 73:17 79:8,12     ambulance 26:22
                                                                                            appointments 32:23
 abscess 68:5                   81:8,10 83:2,6,7 85:3,7,11,
                                                              amount 21:20
                                12,22 86:4,11,24 87:4                                       apprentice 16:24 17:4
 absolutely 50:6 148:21         93:21,23,25 94:3,5,11         amoxicillin 37:21 69:6 70:8    18:23
  149:1 150:8                   95:16,20,22 96:7,10,13,16,
                                                              anesthesia 87:16 89:20        apprenticeship 16:3
 accident 25:22,25 26:7,9,      20 97:10 98:2,5 102:8
                                                               141:13 156:6 157:22
  19 27:13,15,22                103:4,16 106:15 111:15                                      approached 59:13
                                                               158:14,16
                                137:13,20 149:7,12,13
 accurate 62:3 196:19                                                                       approval 153:23 190:25
                                150:18 154:3 155:16,24        anesthetics 92:3
                                                                                             191:10,15,17,19,25
 acknowledging 102:20           156:3 169:14 172:7 173:6,7,
                                                              Angelo 6:6
                                9 182:8,9,10,14,15,18                                       approve 153:15
 act 211:17                     183:23 189:8,13,20 190:9,     Anglan 13:6,8
                                14 194:19,22,23 195:2
                                                                                            approved 141:15,17 145:12
 acting 60:5                                                  angry 230:18                   153:8 166:16 167:2 185:8
                                200:5 209:17 227:1,2,12,15
                                                                                             191:3,7,8,22,24 192:1


                                                                     Index: 600–approvedPage 262
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1773 Filed 09/14/21 Page 69 of 89

Deposition of                                                                 JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                March 22, 2021
 approximately 75:8 183:9      attorney 4:21,24 8:2 27:16,    backwards 91:18                believed 169:3,5,6
  188:18                        23 50:11,14,15,17,21 51:7,
                                                              bad 57:7 60:20 61:11 63:4      bell 55:9 75:3,7
                                11 52:23 58:8 82:18 100:4
 April 78:16,19,22,23,24                                       102:21 111:20 176:2 208:13
                                154:9,11,14,20 202:9                                         benefits 48:3 90:9
  79:4,19 80:5,10 111:8                                        212:11
                                206:10 240:17 243:16,18,20
  166:8,19 196:9 197:13,17                                                                   big 12:19 42:6,23 108:18
                                254:5,12                      badly 26:25
  199:13,14 236:7,17,21                                                                       133:10 235:10
                               attorney's 154:19 249:8        bag 35:6,8,9 36:4,14 38:17
 Arbor 4:1,10                                                                                bills 34:23 187:12
                                                               42:17 43:2 65:1 66:1,14
                               attorneys 4:17 51:1,15
 area 10:10 21:9 101:12                                        67:10 86:16 103:8,13          birth 7:22 8:4
                                52:8,20 53:1,3,6 54:25
  126:6 128:19 129:4 164:5                                     104:21 105:14 106:3
                                237:22 238:6                                                 birthday 14:7
                                                               107:16,18 108:9 109:14
 argumentative 59:22
                               audio 40:15                     115:13,23 117:1 120:8,9,17    bit 18:19 225:8
 arrangement 13:14                                             122:5,8,22 123:4,5,19,22,23
                               August 55:22 100:16 216:3                                     bitch 59:23
                                                               124:6,9,11 126:8 129:19
 arrangements 37:22 38:2
                               Ausmus 186:4 188:20,21          130:2 133:6 137:6,9,19        bladder 35:4 37:11 93:16
 arrest 23:11 24:2              190:11,15 192:2                138:14,23,25 139:2,4,6,8,      95:11 96:11 196:14 212:5,7
                                                               22,25 140:1,4,8,12 148:11
 arrested 23:14 25:6           authorization 153:23            168:12 206:22,24 220:8,19     bleeding 87:17 103:20
                                156:8                                                         125:10,11,16 157:23 211:10
 arrests 23:11,13 24:13 25:4                                   221:18 228:5 229:3,8 230:7,
                               authorized 141:14 153:6         16,18 242:13 255:14           blood 70:25 71:4,19 157:24
 arrived 104:13 121:19
                               automatically 43:16 219:3      bags 41:22 108:6,20,21         Bloomfield 19:23 21:21
 asks 44:1 47:19 73:2           220:24                         116:12 118:2 121:22,23
                                                               122:17 130:8 131:22 207:1     blow 137:3
 aspect 235:2                  aware 42:6,7 55:5 57:3 60:6     243:1                         Boat 29:6,19
 assault 22:25 23:2 24:9        63:5 67:13,18 69:12,18 70:9
                                73:24 79:18 90:8,9 105:20     balloon 137:4                  bodily 24:20 29:3,9
 assessed 163:14,16             118:8 131:1 142:1,6 145:23
                                                              bandwidth 110:19               body 88:19 89:17 141:8,9
 assessment 106:14,16           146:1,2,3,6 147:13,18
                                148:14,18 165:15,20,22,24     bar 202:10                      150:20 198:13,15,18,24
 assessments 133:15             166:25 167:4 168:20                                           199:4 227:4,9,17,20 229:13
  173:23                                                      barber 15:2,25 16:8,10,19,
                                170:17,20 171:4,6 192:18                                     born 8:6 13:21,22 14:2,3,6,
                                                               21 17:2,4,12 18:11
 assistance 48:5                215:18 217:9 218:8 230:3                                      8,12 150:15
                                231:8 232:25 236:19 247:6     barrier 122:1
 Assistant 232:3                                                                             bother 61:22
                                                              based 19:7 64:2 169:2
 Association 19:23                           B                 170:1 186:14,17 187:2         bothering 80:7
 assume 9:2 13:11 22:15                                        197:23 199:17 201:1 229:23    bottom 44:8 56:8 61:13
  30:21 46:16 111:25 112:1,2   back 16:7 26:10,12 27:9        basically 14:16 18:22 19:5      129:7,10,20,21,22,23 130:6
  144:25 171:14 188:20 215:7    28:6 33:10,17 38:5,13,21       39:5,6 53:14 60:16 62:9        143:24 144:21 171:16
                                40:1 41:11,20 49:4 55:9        71:6 102:20 103:18 132:3       190:10 229:10 231:24 232:6
 assuming 145:2 210:11,15
                                56:8,18,20,24 57:12 63:3       137:16 142:8 175:8             244:8
 assumption 210:23              64:2,4,6 65:19,23 66:10,15,
                                                              basis 25:17 111:15 152:10      bought 74:2
                                17,19 67:4 70:21 76:21
 ate 60:24,25 255:4             82:11,12 89:6 98:20 100:11,   bathroom 39:8 124:9,10         Boulevard 10:4,14 11:19,
 ATP 166:12,14                  24 103:5 107:7 111:3           150:13,23,24 151:2,5,10,16,    22
                                115:20 119:16,18 121:12        19 199:5
 attached 137:15 143:8          122:11 127:3 150:15,24
                                                                                             bowel 69:4 70:6,13,15
  252:2                                                       began 32:15 63:15 66:21         214:22 215:15 217:5 218:16
                                151:1,7 161:15 166:19
                                                                                              219:7
 attack 87:22 88:17,22 89:15    167:22 176:16 185:20,23       begin 5:11 41:25 150:25
  90:10 158:1                   211:2 215:11,18,19 217:9,                                    bowels 35:4 37:10 68:19
                                11 219:10 224:14,24 228:18    beginning 52:2,3 57:14,15       70:12
 attempted 22:24                253:5                          62:14 128:14 175:22 213:14
                                                                                             box 120:22 122:19 143:14
 attended 15:11                background 14:20               behalf 4:20,25 5:2 49:14
                                                               167:2                         Boy 22:16
 attending 4:22 17:24 18:1     backtrack 110:7



                                                                Index: approximately–BoyPage 263
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1774 Filed 09/14/21 Page 70 of 89

Deposition of                                                                  JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                 March 22, 2021
 brain 157:25                   10,12 211:5                   certificates 15:23           claiming 113:25 114:12,17,
                                                                                            18,20 116:17,19,24 117:12
 brand 69:20 108:5 120:23      camel's 211:2                  Chalfonte 10:3,14,17
                                                               11:18,24                    claims 28:4 50:19 51:12
 break 41:4 140:20 174:8,13,   camera 5:22 40:22,25 44:9
                                                                                            230:21
  14 180:15 185:11,14 251:7,    48:17 156:24                  change 42:17 138:24 139:6,
  10,13 252:21 253:10                                          8,11 185:15 201:24 208:20   Clair 8:25 9:20,24 22:4 23:6,
                               Campau 9:12
                                                                                            9 25:4 29:19 31:21 32:8,14,
 breaking 22:22 23:23                                         changed 16:12 139:5 186:1
                               cancelled 114:19,20                                          18,25 34:13 38:13 41:20
  104:24
                                                              changing 139:1,4              46:6,10,17 69:11,15 142:22
                               capacity 238:25
 bricks 239:11,13,14                                                                        193:24 207:22,24 208:7
                                                              charge 59:16                  248:6 249:9 252:1,13,23,24
                               car 18:8 25:22,25 27:12,22
 Bridge 48:5                                                                                254:4
                                                              charged 22:23,24 30:17
                               card 7:3,9,18 48:5 69:9 70:4
 briefly 4:17 5:21 186:2                                                                   clarification 46:4
                                218:19                        chart 196:6
 bring 6:22 209:1 251:6,9                                                                  clarify 7:13 10:6 46:12
                               Cardiovascular 197:3           cheapest 208:3
 bringing 50:19                                                                             56:12 73:14,22,25 161:10,
                               care 25:12,14,21 27:1 32:19    check 26:22 240:7             17
 broke 18:8 158:15 211:2        33:1 34:2 38:19 39:12 41:22
                                                              checked 37:17 39:5,6         clarifying 56:25
                                59:6,7 60:14,15 61:4 85:18
 broken 32:5
                                86:19 104:20 108:5 119:25     checking 39:9                clean 86:4 89:6 124:8
 brother 10:25 11:4 29:14,15    120:3,7 125:16 130:20,23,
                                                                                            239:11
                                24,25 131:3 145:18 149:4
                                                              chief 62:2 141:16 152:24
  45:8 126:23
                                                               153:10,14,21 154:6          cleaned 137:7
                                163:25 164:20 165:16 169:1
 brothers 11:1                  198:12 222:11,13 229:12,18    child 13:4,11,15             cleaning 124:11 137:8
 brought 208:8,22               255:9
                                                              child's 13:5                 clear 30:12 65:7 67:8 80:2
 bubbles 37:19 69:17           carpenter 18:23
                                                              childhood 239:4               94:24 124:8 161:8,9 185:5
 buddies' 16:22                carpentry 16:3 17:14,24                                      200:6
                                18:17                         children 12:25
 buddy 17:11                                                                               clearer 30:15
                               case 4:11,14 46:15 50:2        children's 13:2
 bullet 31:10,11                                                                           climb 130:1
                                51:2 52:10 53:4,6,23 54:16,   chisel 239:13
 bunk 129:7,10,13,15,20,21,     17 100:20 104:13 145:13                                    clinic 84:15,19 101:11
                                168:25 169:23,25 184:6        choice 121:14 147:16,18,19    122:2
  22,23 130:1,6
                                229:22,24 230:2,15,21          150:14,16 225:13
 bunkie 123:16,17 124:1,4,                                                                 clinical 71:17 232:2
                               cash 17:12 19:13,15,16,18      choose 146:17,18 147:10,
  15 126:7,8 242:11                                                                        clinically 171:19
                                22:6,8                         11,13,14,19 148:5,6,12,22
 bunkies 126:10                                                150:9,13,14 228:9           close 8:8 48:16
                               CAT 217:6 218:19
 business 16:13 19:10                                         chose 150:3 151:21 229:17    clothes 122:9,23 137:3
                               catheter 33:11,14 106:4
 bust 211:5,9                   176:1,2,5 211:1,15,22         chow 122:10,12               clots 157:24
 butt 119:2                     212:4,6,12,15,20 213:9,14,    Christine 188:19,21
                                25
                                                                                           CMO 141:16 153:8,10,22
                                                               190:11,15 192:2              154:6,24
                C              caught 78:8,10                 circle 208:10                cocaine 24:22
                               caused 64:9,11 129:3           Circuit 46:17
 C-O-W-A-N 205:5                                                                           cocounsel 100:20
                               causing 126:1,14               circumstances 239:4
 calisthenics 46:3,9 140:16,                                                               coincide 18:5
  19,24                        cellphone 44:23                cited 201:9                  cold 60:9
 call 11:1,17 29:15 55:11      Center 4:20 28:21 33:4,7,      citing 73:19 142:7
                                10,23 34:7,12 36:18 37:2,23
                                                                                           colectomy 93:13 95:8
  59:12 129:7 135:1 150:6,10                                  city 11:10
  188:18 205:6                  38:7 67:23                                                 colitis 67:17,18 68:1,6,24
                                                              claim 50:18 116:22 117:6,7    69:3,11,13,18,19,20 214:19
 called 27:14,19 59:15 61:9    certainty 184:22
                                                               230:1                        219:7
  75:12 95:24 122:18 205:9,    certificate 7:22



                                                                      Index: brain–colitisPage 264
                        THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1775 Filed 09/14/21 Page 71 of 89

Deposition of                                                                   JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                  March 22, 2021
 Colleen 4:14,21 35:13,18         236:11 255:9                 connecting 20:20                16:8 22:15,18,19 23:6,7,9,
  36:15,18,23,24 37:1,14,22                                                                    10 32:16 33:8,12,21,22,24
                                 colovesical 68:5              Connection 110:18
  38:6 42:6,13,22,24 58:18                                                                     34:8,9,11,14 38:14,15,18
  106:3 113:20 114:18 174:23     comb 212:22                   consent 102:13,18 103:1,4,      45:19 46:23 47:15 55:4
  175:1,3,6,10,18,19,21                                         7,17 156:9 157:13              57:13 63:18 64:15 66:24
                                 comfortable 12:22
  176:6,15,19,21 208:17                                                                        67:10 68:9,12 72:22 73:5,9
  209:2,6,12,15,18,22 210:12,
                                                               considered 144:5                76:5,6,13,22 77:5 78:17
                                 comment 141:24
  17,25 211:20 212:18                                          consistently 77:12              79:15,16 80:8 83:6 84:1,2
                                 common 146:20                                                 85:4,10,13,14 86:8 87:5,9
 college 14:24 15:1,2,3,10,                                    conspiracy 112:11,15
                                 communicated 186:13                                           91:4 95:24 96:8,24 97:14,20
  11,19,25 16:2,8,11,19
                                                               constantly 42:18                102:24,25 103:24 104:5,10,
  17:14,25 18:11,12              Community 15:1,3,10,19                                        15,18 105:17,23 106:9
 Collin 205:4                     16:2 17:13,25 18:11          construction 15:13,15           107:1,3,4,5,10,11,25 108:1
                                                                16:6,13,15 18:10,21 19:10      110:1 112:14 114:15 115:4
 colonoscopy 68:2,3,25           company 19:4 20:5 74:3,4
                                                                47:22 48:1                     117:16,21,24 122:3 123:15
  69:1,23 196:15                  145:17
                                                               constructive 153:5,24           130:21 132:12,15 133:5
 colostomies 143:18              compensation 28:4                                             134:1,3 139:6,9 140:8,12
  146:24 200:17                                                consult 166:16                  141:10 144:9,14,15 149:5
                                 complaining 37:9 79:6
                                                               contact 14:15,16 54:2           150:4,21 151:8,22,23
 colostomy 34:8,20 35:9          complaint 62:2 73:14 75:2                                     155:11 156:10,17 158:12
  36:3 38:17 39:7,14 64:7                                       221:25
                                  80:6 143:9 247:9 252:3                                       160:16 161:3 162:9,23
  67:10 78:16 79:7,10,14                                       contacted 27:16 135:10          175:9 182:6 184:2 187:18
  80:7,8 81:14 83:5,25 84:1,7,   complaints 31:18 78:15
                                  79:8,13 81:8,14 83:3,12,15   contacting 40:6                 189:10,21 190:11 191:13
  22 85:4 86:5,12 87:2,7,21                                                                    192:12,13 194:3,9,16,21
  88:17 93:10 95:6 96:13,17,      215:23 216:5,16,21 217:13
                                                               contents 50:13 53:21            195:12,23 196:19,20 199:23
  18,21,23 97:4,7,12,13,16        254:19
                                                               contest 247:5                   203:19 206:6 209:20 210:23
  102:5 103:5 105:16 106:3,      complete 6:4 16:10 17:18,                                     211:24 213:5 218:12 223:10
  18,20,25 107:3 109:3,8          19 183:1 198:12 227:4        continue 53:12 171:18           227:1,16 229:8 230:12
  111:9,13 114:3 115:24                                                                        231:5 232:6 246:7 247:17
  120:22,23 121:20 125:4,9,      completely 161:19             continued 59:11,14
                                                                                               248:24 255:3
  10,25 126:6,13,16,18           complicated 68:4              continuous 254:19
  127:20,24 128:7,18 129:4                                                                    corrected 74:25 203:19
  130:9 132:15,17,23 133:21      complications 144:3 152:3     Convatec 120:8,14,17
                                  155:15,20 156:4,7 157:22      121:21,22,25                  correction 188:1
  134:14 135:13 136:18,23,25
  137:14,19 138:14 139:21,25     compound 89:10                conversation 115:10,19         corrections 9:17 47:1 51:4
  140:1,4,8,12 142:17,21                                        116:25 205:22 229:1            52:22 111:13 125:24 140:15
  143:21 144:5 145:12 146:14     computer 251:11,12,14,15,                                     142:21 143:3,18,23 145:24
  147:3,11,12,16,20 148:5,6,      17                           conversations 175:18            186:5 187:24 193:9 200:16
  11,22 149:2 151:13 152:19,     concern 137:14 222:10                                         228:12 233:2 241:24,25
                                                               conveyed 104:17
  23 154:25 155:13 159:2,8,                                                                    246:6 255:3
  24,25 160:9,12,14,17 161:7,    concerned 221:21 222:8        convicted 23:24
                                  224:25                                                      corrective 141:6,11,13
  12,15,16,23 162:7,14,17
                                                               cope 132:22 137:21              142:9 153:15
  163:11 164:3,5 165:8,21        concerns 52:13,14 105:12
  166:11 167:20 168:2 169:4,      198:14,15,18 227:5
                                                               coping 227:23 229:11           correctly 72:20 119:19
  10 170:1,5,21,25 171:10                                                                      147:24 173:13,14 229:14,16
                                 concludes 256:11              copy 90:2 250:10 251:20
  172:2,12 173:2,16 174:1,3
                                                                                              cosmetic 136:10 177:23,24
  175:18 178:25 184:10,15
                                 Conclusion 143:25             Corbet 4:21 41:1 45:9 49:14
  186:16 187:1 188:24                                           61:19,22                      cost 168:3 187:8,9 191:23
  193:19,21 194:13 195:21        confrontation 42:7,23                                         192:9,11,16
                                  175:25
                                                               Corizon 4:12,25 49:10
  196:4,17,18 197:8 198:11
  199:11,15,23 200:2,11,19,
                                                                144:23 145:1,14,17,18,23      costs 180:14 190:22 191:7,
                                 confused 28:18 168:14          146:1 184:2,5,13,23 186:12,    18
  21 203:9,24 204:3 205:23
                                                                24 188:7
  206:22,24 207:1,12,21,23       confusing 94:21 96:25                                        counsel 6:2 44:24 45:8
  208:16 220:19 225:1,6,17,       117:14                       corona 26:20,23                 56:13 70:21 72:11 73:22
  19 226:14,15 228:5,25                                                                        89:6 100:19 103:11 127:6
                                 connect 52:20 53:22           correct 7:11,14 9:20,21
  231:9,16 232:20 233:6                                                                        143:7 163:20 186:1 228:16



                                                                    Index: Colleen–counselPage 265
                          THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1776 Filed 09/14/21 Page 72 of 89

Deposition of                                                                 JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                March 22, 2021
  236:23 243:15 253:11           251:23 253:8 256:9          deal 83:20 122:7 229:17        denial 231:16,18 236:5,9,15
                                                              235:10 247:23                  246:16,23 247:5
 counseling 132:20,21,22        Cross's 52:25
  140:11 227:23                                              dealing 83:13 88:3             denials 233:1,4,5
                                cross-examine 101:4
 counselor 124:2 242:9                                       deals 80:17                    denied 53:6 60:1 144:1
                                cross-streets 241:7
  243:10                                                                                     152:13,19 196:17 232:19
                                                             dealt 83:14 216:12 242:3
                                crossroads 9:9                                               233:12 245:22,25 246:3,5
 counted 206:25
                                                             death 87:22 88:18 89:15         252:7,8
                                CT 33:7 68:1 216:17 217:14
 county 8:25 9:20,25 10:6                                     90:11 103:21 144:3 155:15,
                                                                                            denying 197:12,15,17
  22:5 23:6,9 25:4,7,8 29:20    cube 123:20 129:18            20 156:4,7 158:1,16,17
  31:22 32:8,15,19,25 34:13                                                                 Deon 11:5,6,16,17 22:13
                                cubicle 123:20               December 33:6,11,20,24
  38:13 41:20 46:6,10,17 51:8                                                                29:16
                                                              34:6,20,25 37:2 38:24 39:1,
  52:13,15 69:11,15 124:7       cup 71:5,23                   5,13 41:21 45:12,14,16        department 9:16 46:25
  142:22 193:24 207:22,24
                                current 6:25 7:11 200:18      55:18 56:2,5 67:14,15 93:11    51:3 52:21 111:12 125:23
  208:7 248:6 249:5,9,17
                                 229:11                       95:7,20,22 120:6 121:17        140:15 142:20 143:3,18,23
  252:1,13,23,24 254:4
                                                              122:15 161:15 162:7 196:13     144:3 145:24 186:4 193:8
 couple 27:6 31:2 34:3 108:8    curse 59:12                   211:23 214:7,10,11,13          200:16 216:21 219:11
  110:10 115:21 122:6,13        cursing 59:22 60:1            215:11 216:16,20 217:12,       228:12 233:2 241:25 255:2
  166:3 174:10 185:25 211:3                                   23,24 218:2,4 220:14
                                custody 13:14,16 14:11,14                                   depend 174:11
  224:18,19 241:13,14
                                 193:23,24 195:5             decide 146:10 148:16
                                                                                            deposition 4:6,9 6:1 28:1
 court 4:15 5:4 13:17 23:1
                                custom 187:11                decided 52:17 167:18            49:16,20 50:5,6,7 99:24
  30:12,15 46:17,20 48:16
                                                              168:11 170:1 178:24            114:11 142:3 163:13 223:20
  65:23 66:2,5,15 81:11 82:8    cut 17:10 18:18,19 22:11                                     240:14 243:14 251:5 256:12
  134:18 153:2 165:23            94:23 98:20,22 119:14       decision 152:22 153:15
  172:14,21 185:24 204:11        127:11 208:2,4,9,10,12       169:23,24 171:6,7,25 179:3,   depositions 81:20
  235:14 244:15,17                                            19 180:5,10,22 182:11
                                cutting 16:23 83:9 110:15                                   deputies 34:13 208:15,23
                                                              184:9 186:14,16 187:1
 court's 232:8                   127:4                                                       248:17
                                                              188:8,16,17 201:1 209:18
 cousin 29:12 30:20,22          Cylus 13:6,8,9,21,24          232:10                        deputy 187:22,23 207:25
                                                                                             208:8,19
 cover 82:18,19                 cystogram 33:24              decisions 170:25 171:2,3,4
                                                                                            describe 98:9,11 121:4
 covered 110:7                                               defects 141:10
                                                                                             137:13,24 140:19 245:1
 Cowan 203:4 205:3,5                          D              defendant 36:24 57:25
                                                                                            describes 145:11
  206:8,9,10
                                damage 87:24 88:19 89:17     defendants 4:20,25 49:11
                                                                                            deserve 245:11
 Cowen 203:4                     90:15 157:25                 100:20 145:14,17,18 186:12
                                                                                            deserved 245:5,8
 crackers 61:10                 damages 229:22,23            defined 201:5
                                 230:11,15                                                  Desired 229:10
 cramping 62:16 64:11                                        deflate 212:2,20
  97:17,20 98:6,7,9 219:5       Dan 4:21 45:4                                               detail 254:18
                                                             deflated 106:4 210:25
 crazy 107:20 130:14            dangerous 144:4               211:15,25 212:12,15,23        determination 154:24
                                                              213:4                          165:17 168:25 170:7 172:5
 credits 15:12,13,21,24         date 8:4,22 56:10 244:8                                      236:5,15,21
                                 250:1,2,3                   deflating 176:1
 Crohn's 220:2,4,7,9,13,21
                                                                                            determine 135:5 165:6
  221:1,2                       dated 186:6 232:5,20         degree 198:13 227:4,20
                                                                                             166:21 198:8
 Cross 5:2 23:18 24:4,11         236:17 244:7                degrees 15:12,21
                                                                                            determined 141:15 153:6
  41:6 44:1 53:22 56:18 65:19   dates 111:10                 deliberately 112:22 114:2       170:15,21 171:9 182:12
  73:2,10 74:1 92:15 99:15
                                day 18:8 20:6 39:21 61:10     115:2,10 117:3 118:11          195:22 201:19
  116:2 147:6 163:21 169:11,
  15 174:12,14,17,21 179:6,      110:4 180:6 182:3 213:4     demonstrate 173:2              determining 173:24 196:2
  20 181:15 201:4 202:19,23      240:11,13
  237:7,14 243:23 244:14,16,
                                                             demonstrated 166:13            Detroit 8:7 9:6,14 10:12,17
                                days 21:19 22:3 38:11         170:4 171:18 172:1,6           11:11 19:8 21:10 32:2
  19,22 246:20 247:2,11
                                 60:24 61:1 115:13 131:5      186:12 236:6,17



                                                                 Index: counseling–DetroitPage 266
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1777 Filed 09/14/21 Page 73 of 89

Deposition of                                                                     JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                    March 22, 2021
 develop 130:20                  167:9 229:6 246:22 255:20      184:18 214:14,23 215:8        ED 217:13
                                                                243:22
 developed 197:2                discussing 105:18 163:13                                      edges 107:17
                                                               dog 137:8
 developing 63:17 66:23         discussion 88:15 92:4                                         education 14:19 18:9
                                 185:13 225:21                 dollars 239:24
 Devlin 4:24 40:16 49:9                                                                       effect 238:17
  61:19                         disease 71:18,21 72:16         door 146:21
                                                                                              eight-man 123:20
                                 75:12,20 78:9 220:2,4,7
 diagnose 60:12                                                drafting 237:10
                                                                                              elaborating 70:19
                                diseases 72:4,21 75:9
 diagnosed 37:5 63:3 64:12,                                    dragging 222:23 223:5
                                                                                              elect 146:23 147:2,4 150:10
  25 66:12 67:9,12,17,25        Dish 19:22 21:3,8,11,15
                                                               drainage 120:23
  68:6,24 71:8,9 213:11,16                                                                    elected 149:25 150:2
                                disposable 108:22 109:24
  214:9 218:7,14,15,16                                         Drinkert 168:16 224:23
                                                                                              elective 144:4 150:6,11
  220:23,25 221:10              disposition 72:3,24             225:15 228:22 229:1
 diagnosis 214:15,24 215:9                                                                    electronic 232:8 237:4
                                dispute 103:1,3                driven 9:2,3
                                                                                               238:2,9
  216:24 217:3,8
                                dissatisfaction 104:17         driver 12:19
                                                                                              electronically 209:16
 dip 42:1,8 43:1,4 44:10,14
                                distinction 75:13 203:18       driver's 7:3,16 8:9,17 12:7,
 diploma 15:13                                                                                electronics 23:3
                                                                8,17 18:3,5
                                distress 197:1
                                                                                              eligible 148:16
 dipped 44:10                                                  driving 12:20,22
                                District 4:15 153:2
 direct 159:23                                                                                eliminator 130:10,11,15
                                                               drop 130:10,11,15
                                diverticulitis 55:5 57:3,4
                                                                                              embarrassed 230:16,17
 directive 141:6                 60:5,6,13 64:13,14,25 66:13   dropped 208:18
 directly 47:13 180:19 212:8
                                 67:9,13,19 68:4 93:14 95:10                                  embarrassment 230:12,13
                                                               drug 157:24
                                 214:9,15,17,19,25 215:10,
                                                                                              emergency 57:22 72:25
 disable 230:7                   12,14,17 216:24 217:10        drunk 202:6
                                                                                               75:19 76:22 77:12 79:5 81:3
                                 218:7 219:2,4 220:1,4,5,6,
 disabled 47:11 139:21,23                                      Duane 125:7,8                   83:2,3,18 124:18,20,21
                                 10,11,15,21,23,24 221:1,2
                                                                                               125:18,19 128:20 133:19,21
 disagree 94:9,10,11 95:2,4,                                   due 26:20,23 55:5 83:16
                                Division 4:16                                                  164:4 216:21 219:11
  13,16,17 169:8 170:6
                                DMC 90:4                       duly 5:8
  171:24 172:4,7,11,25 173:5,                                                                 employed 18:16
  15 199:25 200:4,6,9,12,20                                    dysuria 216:5
                                doc 219:8                                                     employing 179:1
  201:1,15 214:16,20,25
  215:10 233:9                  doctor 25:14,16,19,20,21,                                     EMS 26:20
                                                                              E
                                 23 26:12 27:2,3,4 70:10
 disagreeing 178:21 199:21                                                                    EMT 27:2
                                 79:18 80:17 83:15,18
 disagreement 211:13             148:20,25 149:8,14,15         earlier 49:12 59:19 62:14      encountered 206:23 242:3
                                 150:8 164:22 166:8 168:10,     68:22 74:16,19 175:16
 discharge 31:18 41:16,18                                       178:1 195:25 227:22 236:23    end 60:1 68:5 84:11 89:23
                                 19,20,23 171:9,12 178:20
  58:24 59:4,5 62:6 75:3,9,11                                   240:4                          93:17 95:12 107:25 176:14
                                 195:20 219:6 221:12,14
  214:14,17 215:9 220:14                                                                       204:10,11 226:15,17 228:24
                                 222:25                        early 50:23                     229:14 237:3 242:15
 discharged 9:16 20:8 62:8
                                doctors 131:2 165:2 169:24     earn 15:12
  71:6                                                                                        ended 29:6 33:7 34:7 60:19,
                                 170:15,17,20,25 171:3,4,6
                                                               earned 15:13                    22 62:18 63:10 64:21,22
 disciplinary 176:10
                                document 143:5 153:18                                          109:25 110:9 123:3,13
 discovered 74:18 121:24         170:2 182:24 186:15           earnings 230:24                 130:5 176:1
                                 190:10,15 192:4,5,8 197:19    ease 108:8,9 122:24
 discuss 37:1 80:14 83:24        198:6 199:17 231:21 237:4,                                   engaged 76:21 78:2 255:11
  87:12,19 88:8,12,16 89:13                                    Eastern 4:15
                                 10,12,21,22 238:5                                            engaging 78:3
  90:22 91:3,6,11,20 166:14
  168:1                         documentation 143:20           eat 59:17,20,21,24 61:1,8      enjoyed 238:13
                                 200:19                         255:3
 discussed 50:14 53:21                                                                        enlarged 176:3 212:3
  68:10 80:12,16,24 83:17       documented 217:15              eaten 62:9                      213:11,16
  87:17 88:14 90:17,20 91:25                                   eating 255:8,13,20
                                documents 49:20 155:13                                        enlargement 197:10
  92:12 98:22 155:12,15



                                                            Index: develop–enlargementPage 267
                        THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1778 Filed 09/14/21 Page 74 of 89

Deposition of                                                                   JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                  March 22, 2021
 enlargements 197:7             explained 104:19 156:17,       feel 12:22 37:15 61:2,3 63:3    find 20:14 30:18 66:2
                                 18 189:19 190:20               74:11,14 133:2 137:7            180:15,16 185:11 186:11
 entailed 35:2
                                                                149:22 154:18,19 173:19         208:4 213:19,23 214:1
                                explaining 156:1
 entered 51:3                                                   193:22 194:4,7 195:2            220:22 221:1,4 250:25
                                explanation 64:3                199:20 201:16,18 223:3          251:2,4,8 252:22
 entire 132:17 239:2                                            227:7 235:7 245:5,8,10
                                exploratory 93:12 95:8                                         finding 51:15 215:17
 equivalent 120:25                                             feeling 61:1
                                expressed 122:1                                                fine 81:20 82:23 88:7 89:8,
 ER 125:2 173:24                                               feels 162:11                     21 123:22 158:8 166:7
                                expressing 105:12                                               173:8 189:23 235:23 238:13
 essential 143:20                                              feet 222:24 223:5
                                extent 130:17 141:18 231:7                                     finger 158:15
 evaluate 229:11                                               felonious 22:25 23:1 24:9
                                extra 115:13 242:22                                            finish 77:23 79:24 80:1,2,4
 evaluated 165:6,9                                             felt 40:4 59:7 60:11,15,16,21
                                                                                                81:12,19 82:3 83:10 92:14,
 evaluation 93:10 95:5                                          61:11 62:5,10 85:5,16 86:16
                                               F                                                15 113:23 120:18 127:7
                                                                88:6 104:21 138:13 150:3
 evidence 115:9 117:6,8                                                                         131:12 136:15 138:11 162:1
                                                                162:8 176:11 212:11
  169:15 189:6 209:6,17         F-U-L-L-E-R 240:25                                              163:21 181:15
  210:1,3 213:22                                               festival 29:4
                                face 183:21                                                    finished 79:1,2 127:10,13
 exact 98:24 110:2,3 111:10                                    fever 60:9 216:16                136:15 138:10,15,16 163:19
  196:21                        faces 183:20 203:5                                              256:5
                                                               fields 16:12
 exam 202:10 216:17             facilities 204:7 207:5,6                                       firm 49:10 52:25
                                                               fight 123:13,25 124:16,22
 examination 5:13 49:7          facility 204:5,25 207:4,8,10    125:5,6,14,16 126:7,15         fistula 35:3 37:5,16 62:15,
  174:20 196:24                  242:20                         127:19 129:5 133:20 242:11      16 64:6,7,9 68:5 219:5

 examine 168:7,10               facing 48:18                   fights 126:4 176:10             fit 107:4,5 108:7,19 112:19
                                fact 104:19 106:2 150:12                                        121:13,24 122:5 123:2
 examined 164:3 168:13,15                                      figure 65:17 101:15 103:12       208:1,6,10
  171:12 196:1 197:13            151:24 156:8 175:8 209:21      116:8,10,21 199:1 220:9,10
                                 221:24 225:4                   227:10                         fitted 122:24
 examining 168:22
                                facts 37:3 112:17 155:5,7      figured 16:14,16 86:17          fitting 130:3
 Excuse 62:22 181:20                                            212:25 218:23
  226:24                        fair 111:11 167:17 173:20                                      five- 17:22
                                 202:5 229:4                   file 142:16,19,20 166:17
 exercise 45:11,13,16,18                                                                       fix 93:15 95:10 110:22
                                fall 100:16 136:7               167:18 249:16 253:20
                                                                                                160:14,17,18
 exercised 45:22,24                                            filed 142:22 247:7,9,10
                                falling 122:22                                                 fixated 225:16 226:13,21
 exercises 46:1                                                 249:19 252:11 254:4
                                familiar 55:15 81:4 244:24                                     fixed 96:10
 exercising 46:5                                               filing 105:22 106:1 153:2
                                family 135:15,23 179:10         167:21 232:9                   fixing 22:8
 Exhibit 143:9                   187:4,6 192:19 193:16,18
                                 194:1,24 195:12,13,16         fill 253:16                     flange 121:25
 exited 122:2
                                 239:1,2                       filled 254:2                    flat 42:3 104:8 175:15
 expanding 221:7                                                                                239:14
                                Fatima 12:6 193:4,5 239:20     final 152:22 153:15,23
 expenses 135:18 180:13                                         154:24                         flesh 43:21
                                fault 110:17 166:6
 expensive 42:14                                               financial 106:6 114:22          floor 17:10 84:17,18,20
                                feasible 53:9,15,18
 experience 63:15 66:21                                         176:23 179:5,9,12 180:10,
                                February 39:20 70:24                                           flush 42:3 44:11,13,17
                                                                22 181:10 182:11 184:9,14
 experienced 160:5               71:16 74:23,24 75:5,8                                          104:8 175:15
                                                                186:14,17 187:2 188:8,16,
 experiencing 160:15             104:15 177:1 253:12            17 189:9,11,12,17,21,22        focus 221:6,19 222:1
  162:15,16                     feces 107:6,19 121:25           195:7 209:3,7,11,19,25
                                                                210:7,10,21
                                                                                               focused 221:24
 explain 35:1 56:24 89:8         122:9,23 124:12 208:13
                                                               financially 53:9,15,16,18       focusing 222:4
  96:25 122:25 146:8 212:16     federal 48:9
                                                                195:8                          folks 83:4



                                                                 Index: enlargements–folksPage 268
                          THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1779 Filed 09/14/21 Page 75 of 89

Deposition of                                                                    JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                   March 22, 2021
 follow 27:1,17 82:20 101:17    functioning 39:8,14            graduate 14:25 15:4,5          guy's 30:22
  126:3 171:18 174:8,10
                                future 230:24                  Grand 10:4,14,18 11:18,22      guys 26:21,23 27:14 99:16
  179:23 219:6,8 222:19
                                                                16:1                           107:20 123:19 135:23
  223:3
                                                                                               207:12 239:4 242:25 248:11
                                             G                 grandmother 10:24 11:20,
 follow-up 32:23 47:18                                                                         251:25
                                                                25 12:5 192:21
  49:13 70:9 122:14,16 128:6
  166:4 219:9 224:19            G.E.D. 15:5,6,7,9 18:9         grandmother's 11:12
                                                                                                            H
                                gas 29:13 30:4 137:4            192:23,25
 follow-ups 70:22
                                gave 27:15 43:8 60:15 62:6     granted 15:8 190:23,25         hair 16:23 17:10 18:19
 food 48:6,7 61:8
                                 63:8 69:6 70:5,7 71:6,24       191:19                         212:22
 forced 146:13                   72:18,22 108:17 109:16        grass 18:19 20:15 22:11        haircut 16:13
 Ford 8:7 15:1 16:2 17:13,18,    111:23 119:23 120:1,16
                                 121:14 122:19 125:4 132:7,    great 24:20 29:3,9 30:10,13    hand 83:20 153:2 217:8
  25 18:11
                                 9,13 133:1 146:15,20,22        45:6 56:14 162:1 173:20
 forever 85:6,15,19 86:16                                       198:13 227:20                 handed 143:7 192:5
                                 155:22 163:7 177:19
  105:14                         184:24,25 207:21 208:3,16,                                   hands 16:4,5 20:3 231:5
                                                               greater 227:4
 forgot 12:9,10 164:11           23 217:6,7 218:18 237:22
                                 240:16 245:3                  grievance 142:18,19,20         hands-on 231:3
  172:24
                                                                143:1,8 144:1,18 145:9        Hang 88:11,25 91:2
 form 102:18 115:15 157:13,     GBH 24:18 29:3                  155:23 158:11 170:3 183:19
  20 180:11 186:24 188:6        generated 190:10,15 192:2       197:20,21,22 232:18,19,25     happen 36:13 102:21,24
  190:21 202:14 243:15 252:9                                    234:2 235:2,19 244:24          226:5
                                gentleman 205:11                245:1,2,3,4,5,6,7,9,13,23
 formal 18:9 233:5 247:9                                                                      happened 16:18 23:8 26:8
                                Georgian 19:23                  246:1,2,4,9,15,22 247:8        29:7 30:4 43:6 61:16 73:16
 forms 102:13 103:2,5,7,18                                      248:5,10,12,14,20,22 249:3,    74:5 78:12,14 101:4 112:2,
  183:1                         Gill 19:22                      6,7,11,16,19 250:18,22         3,6,7,9 118:7 121:6,10
                                girl 77:15                      251:20 252:6,8,9,10,11,12,     123:17 125:25 130:4 159:22
 Forty 193:6                                                    16 253:17,18,21,25             161:2 179:2 226:1,2 234:13
 forward 45:5 67:6 113:25       girlfriend 240:22
                                                               grievances 142:23 210:5        happy 122:20
 found 120:24 220:11 221:1      girlfriend's 240:19,21          233:12 244:23 248:14,21
  252:19                                                        250:19,22 251:24 252:2,22     hard 18:3 110:16 223:16,17
                                give 14:19 17:10 37:20
                                 42:25 56:8 60:12 61:8 62:7     253:10,11,18,22 254:1,4,8,    harm 24:20 29:3,9 118:11
 foundation 40:9,17 158:22                                      12,13,14,15,16
  164:18 186:10                  72:19 81:23 82:3 89:25
                                                                                              Harper 28:10 47:4 84:14,16
                                 111:20 112:11,23,25           grieve 245:17,21
 frame 156:25 236:8                                                                            99:8
                                 113:12,13 114:2,15 115:23
                                 117:1,3,9 118:2,4,21 119:4,   grieved 245:18                 Hartmann's 93:13 95:9,25
 free 169:21
                                 9 121:7,12 132:5 153:22       guess 41:2 68:7 77:20           96:3,7
 friend 11:1 22:13 29:15         155:10 165:3 185:11 202:4,     112:4 114:11 161:6 186:5
  239:1                          6 208:7 211:14 213:24
                                                                                              head 38:4 172:19
                                                                188:5 208:15 210:16 253:16
 friend's 11:3                   224:6 235:5,8 242:7 245:7,                                   headlights 12:9,11
                                 10 248:13 250:18 251:3        guidelines 5:19
 friends 29:5 239:4              254:1                                                        heal 43:23 45:25 159:13
                                                               guilty 46:21
 front 56:18 231:21 236:23      giving 28:1 77:8 116:12                                       healed 43:21,22 45:18 46:2,
                                                               gunpoint 29:2,4                 11 104:5 140:7 159:18
                                 118:11,13 119:16 120:8
 full 235:15 240:24                                            gunshot 31:4 81:3,6 83:13,      161:19
                                 130:11 173:22 200:1 235:6
 full-time 17:5,7                                               19 84:4                       healing 39:7,12 160:23
                                glad 59:10
 Fuller 240:25                                                 gut 160:25                     health 4:12 5:1 27:1 108:5
                                good 10:25 11:3 49:9 66:8
 function 137:16 157:25          134:11 164:14 183:20          guy 18:22 19:5 29:6,8,11,12     114:13 119:25 120:3,7
                                 198:11 203:5                   30:18 204:2,24 205:1,15,19,    125:16 130:23 133:3,18
 functional 102:5,8 132:15,                                     20,21,24 206:25 207:2          145:18 149:4 163:25 164:20
  17 143:21 144:5 159:7         government 5:15 48:9            214:18 216:10                  165:15 169:1 183:14,15
  196:16 199:12 200:19           205:17                                                        228:21 229:12,18




                                                                       Index: follow–healthPage 269
                          THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1780 Filed 09/14/21 Page 76 of 89

Deposition of                                                                    JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                   March 22, 2021
 Healthcare 4:12 74:2,5          240:19                          16,17 153:3 232:8 243:15,    individuals 58:9
  232:3                                                          19
                                Homeland 19:22                                                infection 37:7,10,13 55:10
 healthy 228:6                                                  idea 48:15 51:23 114:15        57:1 61:15 69:14,15 71:18
                                homeless 10:2,7,20
                                                                                               75:10,15,16,21 76:2,23
 hear 13:7 40:11,19 104:25                                      identification 5:15,19,20
                                homes 10:5                                                     77:7,9,15 78:1,5,10,20
  105:6,7 110:16 172:20                                          6:23 7:9 8:10
                                                                                               79:21 80:11,13,25 83:19
  244:18                        honest 254:17
                                                                identified 67:23 254:5,12,     87:22 88:18 89:15 90:11
 heard 173:13 177:25            honestly 164:10                  14,16,17                      103:20 157:23 216:12

 hearing 46:17,19 173:14        hospital 8:7 26:18 28:10,       identify 4:18 57:20 58:25     infections 31:18 77:5,11
                                 15,17,19,24 29:11 30:1          59:2
 hearsay 40:9,17 158:22                                                                       information 177:18 180:9,
                                 31:1,17,24 32:1,3,11 34:17,
                                                                ignoring 212:12                20,23 237:9 251:1,6
 heart 87:22 88:17,21,22         18 35:15,17,23 36:9,15,20
  89:15,22 90:10 92:6 93:5       37:17 38:6,8,10,16,20 47:5     Illegal 23:3                  informed 128:12 215:11
  157:25 208:12                  57:16,22 58:6,7,11,13,16,
                                                                image 198:14 227:4 229:13     informing 146:3
                                 17,22 60:10 62:11,24 68:8,
 held 19:20 41:9 49:2 100:9
                                 12,16 70:25 71:4,10,11,14      images 198:24                 initial 36:2 214:4
  111:1 185:18 224:12 253:3
                                 73:7,10,15,21,25 74:2 76:1,
                                                                immediately 26:18 50:25       initially 37:3
 helped 17:11 44:17 130:15       22 78:19 79:13,17,20 80:10,
                                                                 51:13 109:4 122:19 161:14,
  242:22                         22 83:13,18 84:14,16,19                                      injured 26:9
                                                                 16,18 167:20
                                 93:11 95:6 99:8 124:17,24
 hematuria 71:17,19              127:22,23 135:20 181:5
                                                                                              injuries 126:9,12
                                                                impersonal 44:21
 Henry 8:7 15:1 16:2 17:13,      212:13,21 213:3,13 214:2                                     injury 93:16 95:11 125:24
                                 215:19 216:13 218:21 219:9     impression 71:17
  18,25 18:11                                                                                  126:5,16,17,20 127:20,21,
                                 221:20                         imprisonment 22:24 24:9        23 128:7,15,17 129:3
 hernia 98:18,19,22 99:3,4,5,
                                                                                               133:20 164:5
  6 100:2 128:13 159:4,6,17     hospitalized 57:7 60:4          improper 109:16 202:14
  160:3,4,8,11,20,21 161:4       61:13,14,15 193:20                                           injustice 225:17 226:13
  162:9,10 221:10,13,16,22
                                                                improve 141:17
                                hours 31:2 219:24                                             inmate 121:19 124:16 133:6
  222:8,11,14,19 223:1,2,4,6,                                   improvement 19:5 20:5          203:20,21
  25 224:3,5 234:12             house 239:9,13 240:19,21         22:10
                                Houslander 4:8                                                inmates 136:22,24 137:22
 Hey 119:4 176:19 179:22                                        inaudible 134:15 165:22        138:6,12,18 199:7
  203:8                                                          169:13 172:13 204:10
                                hundred 184:22 238:21
                                                                 244:14                       inside 84:18
 high 14:25 15:4,5               239:24
                                Huron 4:13,20 10:10,11          incarcerated 32:14 62:18      insides 124:13
 Highland 26:7,8 241:2
                                 11:2,4,6 22:4 28:15,17,19,      63:11,15,20 66:22 67:1
                                                                                              insisted 146:13
 highlighted 153:3 157:12        21,24 29:5,13,24,25 30:1,6      68:9,15 69:25 76:13 77:3,
  226:9 228:13
                                 31:25 33:4,6,10,23 34:6,12      14,25 78:13                  inspection 197:4
 Hill 19:22                      36:18 37:2,23 38:6 57:22       incarceration 63:12,18        instance 118:7 164:1
                                 58:1,11,12,19 59:2 67:22        65:2 66:24 70:13
 history 28:6 49:24 93:23        71:13 73:5,7 74:25 75:19,25                                  instances 163:14,25 164:8
  94:4,16,18,20,21 95:18         80:23 81:2 93:11 95:7          incident 60:2 122:2 125:2,     201:10
                                 214:12 215:22 216:3,9,16        22,23 166:22 211:11,13
 hit 30:23,25 31:8 128:23                                                                     institution 15:8
  129:4,5                        217:12,23 220:15               include 141:12
                                                                                              instruct 127:7
 hold 22:4 72:17 86:9 96:19     hurt 26:21 104:16 176:8         including 87:25 90:10
  158:2 185:5                    200:8 225:10,11                                              instructed 72:21
                                                                 180:14
 holding 254:12                 hurting 26:11,25                                              instructions 41:17,19
                                                                income 47:21 48:8 192:23
                                                                                               71:20 72:3,6,10,16 214:15,
                                                                 240:6
 hole 35:4 108:17,18                                                                           24 215:9 220:14
                                              I                 Incorporated 4:12
 Hollister 120:8,15,16                                                                        insurance 60:17 145:17
  121:23                                                        incurred 190:22                192:25 219:12,15,16
                                Ian 5:2 174:11
 home 12:9 14:13 19:5,24                                        indicating 102:22 156:10      intentionally 111:20 112:8
  20:5 21:21,25 22:10 204:14
                                ID 5:17 6:22 7:1,3,18,20 8:8,
                                                                 158:12 223:15 227:18          114:15,19,21 117:3 118:2


                                                             Index: Healthcare–intentionallyPage 270
                          THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1781 Filed 09/14/21 Page 77 of 89

Deposition of                                                                     JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                    March 22, 2021
  213:4                          38:4,14,21 39:25 40:6 41:20    157:15 158:4 214:5 220:12,   landscaping 16:6,15 18:20
                                 45:11,13,21,22,24 46:2,5,6,    19 221:16,18,19 222:7,10      19:16 20:10,11,21,23 47:24
 intercourse 76:8,9
                                 10,14 51:8 52:13,15,18 55:4                                  48:1 231:4 240:3
                                                               Kansakar's 50:7 142:2
 interested 53:11                62:20 63:16,25 64:15,23
                                                                176:17                       language 188:6
                                 65:2,9 66:22 68:9,13,15,20
 intermission 100:14             69:11,16 70:13 73:16,18,20    Keith 4:13 5:1 206:11,15      laparotomy 93:12 95:8
 Interrogatories 236:24          74:6,7 104:2,3,17 105:10,
                                 11,15,17,19 106:7 107:9
                                                               Ken 45:4 110:22 174:6         laptop 40:15
 interrupt 61:20                 109:14 115:1 118:15 124:7
                                                                179:22 188:3
                                                                                             large 197:6 212:3 213:8
 introduce 49:12                 130:23 131:6 133:12,24,25     kennel 137:8
                                 145:19 149:5,17,18 160:23                                   Larry 203:4 205:3,4,16
 Investigation 143:15,16         161:3 165:5,9 167:22 171:5    Kenneth 4:19                   206:8,9,10

 involved 180:18                 176:8 177:3 203:9,14,17       kid 208:2,7 239:10,16         latest 221:14
                                 207:22,24 218:24 225:20
 irritable 69:4 70:6 214:22      231:1 241:16 248:6 249:5,     kind 16:24 18:2 19:14 48:18   laugh 116:20
  215:15 217:5 218:16 219:7      10,17 252:1,11,14 254:5        51:25 52:18 70:12 94:20
                                                                                             law 22:22 23:23 49:10 53:10
                                 255:4,19                       96:25 108:6 111:20 112:11
 issue 52:14 62:25 63:1 82:6                                                                  202:9,11
                                                                114:3 115:8,9 116:8,21
  84:4 125:15 126:14 137:5,     January 33:20 122:16            117:14 118:12 126:5,14       lawsuit 27:11,18,21,24 28:1
  11 179:18 198:14,15,18         123:13,14 126:16 127:19        127:21 140:14 146:10          50:20 73:8,24 74:8 105:22
  199:4 203:22 245:17,22         128:19,25 129:2 161:13         150:20 159:7,22 161:13,18     106:2 113:9 114:12 154:13
 issued 120:22                   175:20,21,22,23 242:14         162:8,16 165:17 167:1,4       166:17 167:18,21 213:22
                                 250:8                          193:20 222:14 223:13          237:9,14,16 247:10
 issues 55:3 57:8,11,17                                         225:21 231:10 236:10
  61:16 63:17,24 64:1 66:23     job 17:5 30:13 116:21 231:1                                  lawsuits 28:2
  68:16 79:13 83:24 93:17       jobs 19:16,20 20:2,14 22:4,    kite 186:5 188:22 190:21
                                                                210:4,6 248:12
                                                                                             lawyers 251:3
  95:12 96:18 97:13,25           6,8 240:1,2,5
  107:15 133:17 136:12,18,
                                                               kites 209:14                  lay 43:3 164:18
  21,24 137:13,18,20 199:4,     Johnson 11:5,6,16
                                                               knew 30:20 57:7 60:7 69:19    leading 62:21 101:21
  14 206:3,5 216:5 227:5,10,    join 86:1,25
  17,20 228:5 229:13 242:12                                     106:20 139:11 167:21,25      leak 43:2,21 44:14 87:23
                                Joseph 9:12                     171:11 181:9,10 205:2         89:16 90:14 109:20
 IV 60:5,16 62:6 63:8                                           219:3 220:4,24 221:4 234:9
                                Joy 16:1                                                     leakage 42:3 43:14 87:18
                                                                242:24 247:4
                                judgment 169:2,9,16                                           88:19
               J
                                 172:11 173:1,15 178:22
                                                               knot 223:16,18
                                                                                             leaked 44:12 109:20 112:19
 jacks 140:21                    179:1 201:18                  Knowing 128:16
                                                                                             leaking 42:5,18 43:2 44:18
 Jackson 4:7,11 5:3,7 6:1,6,    July 14:8,9                    knowledge 39:18 153:9          175:14 176:13
  12 12:6 41:14 49:9 67:24                                      155:10
                                jumbled 82:12                                                learn 137:16
  79:22 86:4,11 100:14                                         Kohchise 4:6,11 5:3,7 6:1,6
  108:15 111:6 112:23 113:13    jumped 29:5,8                                                learning 17:6,7
                                                                74:1 202:19 205:9
  114:2 127:1 129:14 133:13     Jumping 140:21                                               leave 32:24,25 34:1 59:15
  143:7 145:18 152:5 160:14                                                                   173:7
  162:6 163:11 168:25 170:24    June 26:1,2,3,4,5 84:23                       L
  172:25 174:22 181:22           85:2,3 87:11 93:8 101:24                                    Lebeau 42:11,12 175:5
  182:8,10 185:23 190:14         102:3,4,9 155:13 162:17       labs 106:22 173:25             253:14
  192:8 193:4,5 194:19           232:5
                                                               lack 236:5                    led 23:8 29:1 66:1 199:19
  199:25 200:20 203:8,22        justice 24:22,25
  204:24 207:19 224:19                                         ladder 231:10                 left 18:17 31:15 38:16 59:13
  229:21 232:3 235:18 239:20                                                                  76:9 105:11 132:10,11
  240:4 243:8,9,25 244:23                      K               lady 183:6,16                  164:6 218:20
  246:12 247:16 248:4 255:2                                    Lake 4:20 28:21 33:4,6,10,    leg 31:11,12,14,15 32:5
                                Kansakar 33:19 34:10,25         23 34:6,12 36:18 37:1,23
 jail 8:25 9:20,25 10:6 12:17
                                 35:14,17,22 36:7,8 38:23       38:6 58:1 67:22              legal 27:12 52:18 53:8 54:8,
  14:12 23:9,15,17,23 29:7,18
                                 41:15 50:4 68:3 95:21                                        11 154:10 202:12
  31:22 32:8,15,19,25 34:2,13
                                 103:6,7 149:16 156:9


                                                                 Index: intercourse–legalPage 271
                        THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1782 Filed 09/14/21 Page 78 of 89

Deposition of                                                                    JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                   March 22, 2021
 legislative 246:6                136:13 138:7,12,18,20         makes 119:21 154:24             meaning 71:19 102:6
                                  253:10                                                         180:13 187:6 247:9
 legs 29:23 30:24,25 31:9                                       making 39:9,11,16 75:13
                                 loop 8:8                        230:21 254:18                  means 153:10 187:4 194:2
 letter 136:3 141:4,18 145:8
  177:10,13,14,19 178:1          lose 14:11                     male 93:9 95:5                  meant 51:23,24 144:14
                                                                                                 203:17
 letters 177:16,17               loss 103:21 157:24             man 48:17 88:22 89:22 91:5
                                                                 92:6 93:4 130:13 157:2         meantime 156:23
 letting 58:15                   lost 13:16,17 14:17 230:21
                                                                 178:18 238:13
                                                                                                Medicaid 219:17,18,20
 level 229:11 234:25             lot 18:25 30:2 82:13 107:15
                                                                Marcelle 6:6
                                  108:20 112:18 119:1 123:17                                    medical 4:20 28:6,8,21
 license 7:3,16 8:10,17,18,
                                  127:13 160:18 163:24 165:2    March 4:2,7 47:1 51:5 52:3,      31:23 32:19 33:1,4,7,10,23
  20 9:3 12:7,8,13,18 18:4,5
                                  167:13 174:16 193:10           7,8,11 54:7,9,10,12,23 55:8,    34:2,6,12 35:10 36:18 37:2,
 lie 28:23 51:21 94:19,25         201:21 202:16 212:5 227:8      15 104:1,23 105:11 106:8,       8,23 38:6 49:22,24 55:3,22
                                  232:15 237:1 242:12            14 109:2,9,10 113:24            60:12 63:16,20 66:23 67:1,
 Lieutenant 253:12                                               132:14 168:15 224:24 225:5      22 69:12 71:11 88:5 92:19,
                                 loud 90:6 172:18
 life 16:18 115:23 117:2                                         253:13                          20 95:18 98:1 99:25 105:19
  180:6 182:3 225:23 228:24      Louis 108:16 126:7 204:6,7,                                     134:22 135:21 141:16
                                                                Margolis 52:25 53:21,24
  229:3,7 241:22                  8,25 207:7,10 242:21 243:3,                                    148:20,25 149:8 150:6
                                                                 55:1 237:7,15
                                  4,6,7                                                          152:24 153:7,10,14,22
 limb 157:25                                                    Marie 4:14                       154:7 158:18 159:21
                                 lump 223:11,12,14,15,16,                                        162:22,24 163:1,15 164:16
 limited 90:10                    17,18                         marijuana 24:21                  166:12 167:1,7,13 169:2,3,
 list 33:16 200:10               lying 101:2                    mark 72:11,13,14 244:5           9,16,24 170:4,6,20,25
 listed 189:9,12 192:10                                                                          171:3,4,17,25 172:1,4,5,11
                                                                married 12:23                    173:1,2,15,23 176:5,6
 listen 47:18 119:12 201:16                    M                                                 177:4,5 178:16,22 179:1,3,
                                                                mask 5:21
  202:19,23 223:3 235:4                                                                          18 180:5 181:1,6,9 182:12
                                 M-A-I-N-E 9:8                  masses 197:11                    183:3,6,10 184:19 185:7
 live 9:5,22,23,24 10:23 11:6,
  19 239:17,19 240:20 241:1      machine 70:4                   master 18:23                     186:20 187:1,4,5,12,15
                                                                                                 188:22,23 189:18 191:25
 lived 9:13 10:1 11:4,18         mad 106:3 210:17 211:1         matter 49:15 50:16 83:20         192:25 193:13,16 195:21
                                                                 216:6 236:25                    196:1,6,7 197:23,24,25
 liver 197:9                     Madam 65:23
                                                                Mclaren 28:21 29:24 30:1         198:9,21 199:20,22,25
 lives 11:8 12:1,2,4 13:11       made 37:22 38:2 42:5,7          31:24 57:21 58:12,19 59:2       200:9 201:2,5,10,12 205:25
 living 10:11,15 11:25 12:4,6     63:5 79:18 90:8,9 105:20       71:13,14 73:5,7 74:25           206:5 208:17,22 209:1,14,
                                  152:23 165:16,17 169:1,23,     75:19,25 80:23 81:2 214:12      22,24 211:4,14,22 213:15
 Livonia 21:10                    24 170:25 171:4,5,6 175:14     215:21 216:2,8,15 217:12,       214:13,23 215:7 216:15
                                  201:7 209:18 217:2 230:1       23 220:15                       218:11 219:2 228:5,11
 LLC 4:13
                                  236:20 248:22 251:24                                           229:15 236:6,16 253:17,18,
 local 141:13                                                   MDOC 46:6,18 51:3 104:1          20,25 254:1
                                 main 4:10 85:18                 114:24 115:6,8 116:25
 lock 176:8                                                      117:8,20,24 118:10,18,20,      medically 141:15 143:19
                                 Maine 9:6,7,13 12:4
                                                                 23 119:24 120:4,7,20            165:7,18 166:21 170:16
 lockdown 176:6,7 210:25
  211:17
                                 major 9:9 144:2 155:19          121:18 124:17,21 125:17,19      191:12,16 195:22 196:3
                                  222:22                         126:4 129:6,9 134:13 135:5,     200:17,21 201:3,16,19
 log 250:21                                                      11,14 136:2,9 141:6 142:7       209:15 231:13
                                 make 39:6 42:9,10,15 43:12
 long 6:16 7:25 8:16 9:13         44:13,19 82:13 108:4           145:1,10,13 152:24 154:7,      Medicare 219:17,18
  14:21 19:9 21:5,11 22:2         109:13 112:18 113:10,12,19     24 162:22,23,25 163:2
  25:22 31:1 129:15,16                                           164:1,2,6,8,20 166:10          medication 59:9 133:10
                                  115:23 116:7,10 117:2
                                                                 171:16 173:22 192:6 193:24      229:20
  158:24 184:1 204:13,22          119:1,19 120:17 121:13
  233:3,7 236:22 238:22           124:14 145:24 146:1 153:15     194:7,14,21,25 195:3,9         medications 59:23 229:19
  241:9 244:7 249:12,21           161:9 169:21 171:3 175:10      196:7 197:20 200:16 203:23
                                  185:25 208:10 220:21           206:23 224:24 225:1,5,7        medicine 61:6,7 62:7
 longer 7:11 166:5                                               226:8 243:11 244:24
                                  238:10,17                                                     meds 133:11,12 228:10
 looked 37:15 99:2 108:7



                                                                     Index: legislative–medsPage 272
                           THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1783 Filed 09/14/21 Page 79 of 89

Deposition of                                                                 JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                March 22, 2021
 meet 131:4 238:25 239:3,8     money 191:6,7,9 240:1          117:9 134:4 146:16 149:3,6,    198:7 208:17 209:2,6,12,15,
                                                              21,22 150:4 172:12 185:25      18,21 210:12,17,24 211:20
 meeting 42:12,22,23           month 51:19 81:1 84:23
                                                              208:20 225:19,23               212:18 224:23 225:15
  123:21 166:18 168:10,21       111:14 115:20 131:16,17,18
                                                                                             228:21
  175:1,4,5,7,8,17 176:11,12    132:1 167:19 239:24 249:25   needing 63:25 64:5 104:6
  180:25 181:21,22,23 182:2,    250:2,3                                                     nurses 56:6 113:19,22
                                                             neighborhood 239:9
  5 183:6,8,12                                                                               114:1,13 120:4 176:15
                               monthly 111:15
                                                             Network 19:22 21:3,8,11,15
 meetings 175:3                                                                             nurses' 59:13
                               months 16:1 17:21 21:12
                                                             Nevada 9:10,11
 memory 101:6 233:10            35:9,19 37:4,9,18 69:14,15                                  nursing 19:23 21:21,25
                                84:10 103:9 130:12 159:15    Nicholas 4:8
 mental 133:2,18 228:20
  229:12,18,25 230:4,5,11      mother 13:11 14:15            nickname 205:8,10 206:17,                      O
                                                              18,20
 mention 221:16 222:7          mouth 201:20
                                                             nicknames 205:7                object 23:18 169:11,17
 mentioned 10:13 15:11         move 11:21 48:18 67:5                                         202:14,15,25
  23:15 39:16 62:13 68:11       85:20 86:20 88:9 89:3 92:7   night 26:24 29:6,19 213:6
  73:7 206:10 211:22 221:12     93:6 100:22 101:8 119:15                                    objected 40:17
  225:9 240:2,4 255:12          124:1,3 158:21 164:12
                                                             nights 241:13,14
                                                                                            objection 40:9 115:15
                                195:18 201:22                nonessential 144:6 200:18       169:18,20 201:7 246:18,25
 Mercy 28:18 29:25 30:1
  31:24 58:11                  moved 11:22,23 86:14          nonresponsive 86:21 88:9       objections 202:16
                                108:15 124:3 129:17,19        221:7,9
 mess 117:4                                                                                 obstruction 24:22,25
                                242:10
 met 17:2 130:19 135:5,12                                    nontender 197:6
                               moving 156:25                                                obtain 54:7,11 101:17
  176:6 178:7,8 186:2 239:15                                 normal 150:15 151:10,16,
                               MSP 171:19,20                  20 197:3,4 211:9              obvious 186:22 189:18
 Michael 18:24 19:2 20:19
  21:2 238:22,23               mucous 211:7                  note 56:5,7,11 57:20,22        occasion 22:18 132:6
                                                              58:23 59:18 64:2 67:22 72:2   occasions 33:20
 Michigan 4:1,10,16 8:9,10     multiple 30:23 31:17 222:8
                                                              78:15 120:6,20 122:14,16
  9:6 15:2,25 16:8,10,19                                                                    occur 157:23 183:12 204:9
                               mumbling 172:15                131:10,19 132:20 155:22
  18:11 46:25 51:3 52:21
                                                              166:8 187:15 196:6 225:15     occurred 73:19 101:21
  70:14 111:12 142:20          muscles 197:5
                                                              226:7 231:12                   126:18 127:24 159:8 166:23
  143:17,23 145:24 186:4
  193:8 200:15 202:10 204:8                                  noted 57:11 196:11 197:8,9      183:8 234:18
                                            N
  228:12 233:2                                                                              occurs 148:14 196:8
                                                             notes 55:7 224:7 232:11
 microphone 40:12 90:24                                                                      231:17,18
                               Nah 98:5                      notice 6:2 251:5
  91:17                                                                                     October 33:3 232:20 233:1,
                               named 164:22 168:16           notified 59:16
 Midland 241:6                                                                               6
                               names 6:7 13:2 183:21         nourished 197:2
 Mike 239:15,17                                                                             odd 240:1,2,5
                                203:6 241:24
 military 22:15                                              November 141:5 244:9           odor 130:10,11,15
                               natural 150:23 151:1,5,10,
 mind 44:23 191:15,17           16,20                        NP 229:1                       offer 228:7,8
 mine 11:1                     nauseous 61:7 124:14          number 67:23 120:24            offered 132:20,24 133:1,4,
                                255:14                        164:19 171:15 250:22           5,18 227:22,24 228:1,2
 minute 129:22                                                                               253:19,22
                               necessarily 46:15 50:13       numbers 250:21
 minutes 108:8 122:7 224:8      150:7 153:7 159:21 234:3                                    office 26:16 27:7 33:19
                                                             nurse 35:13,18 36:10,15,18,
 misdiagnosed 74:14                                           23,24 37:1,14,22 38:4,6        38:24 41:15 53:10,16,19
                               necessity 166:12 167:7
                                                              42:22 59:9,16 60:23,24         84:21 176:17 177:10,12,18,
 miserable 115:23 117:2         169:3 170:4 171:17 172:1,5
                                                              113:20 114:18 120:1,2          25 249:8
                                173:2 182:12 187:1 198:9
 misplaced 7:23                 199:20 201:5 236:6,11,16      121:19 163:4 168:16 174:23    officer 61:9 141:16 152:24
                                                              175:1,3,9,18,19,20 176:19,     153:10,14,22 154:7 187:25
 missed 47:25 122:10,12        needed 42:5,8 43:1 44:12       20 177:7 181:1 183:16,17       188:1 208:9
 Monday 4:2                     61:7 107:4 111:18 116:13      186:4 188:17,18 197:22



                                                                      Index: meet–officerPage 273
                        THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1784 Filed 09/14/21 Page 80 of 89

Deposition of                                                                    JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                   March 22, 2021
 officers 135:19 241:24         overnight 241:12               paperwork 41:16,18             pay 19:1,17 40:2 85:16,17
                                                                184:24,25 185:2,6 232:15       135:15,16,18,25 136:1
 officially 221:10,11           overtime 135:19 179:15
                                                                250:18                         179:10,14,15,17 181:3,11
                                 180:14 181:4 187:8
 older 12:6 88:3 158:6                                                                         182:1 183:2 184:1 185:3,6
                                                               paralysis 103:21 157:25
                                owned 74:3                                                     187:5,12 189:2 191:7
 Omari 6:12
                                                               parentheses 226:22              192:19 193:12 194:20
 ombudsman 134:20,21                                                                           195:3,11,14,15 239:21,23,
                                             P                 parents 14:16
  135:1,2,10 136:5 141:5                                                                       25
  145:9 152:21 177:10,12                                       Park 26:7,8 241:2              paycheck 19:21
  246:6 247:8                   p.m. 41:12 49:1,5 100:8,12
                                 110:25 111:4 185:17,21        paroled 132:7 164:7            paying 180:13,14 184:18
 ombudsman's 177:18,25           224:11,15 253:2,6 256:12                                      193:16,18 194:1,2,8,24
                                                               paroling 131:21
 on-site 36:10                  pack 62:9                                                      195:8,12,13
                                                               part 27:21,24 28:2 40:3
 ongoing 25:17                  packed 107:6,8,17               47:25 65:24 73:8 74:7 84:17   payment 40:1,6 189:12,21,
                                                                85:20 93:6 100:23 116:23       22 192:9,12 195:7
 open 98:20 211:5,9             packing 208:14                  208:3 210:23 222:3
                                                                                              payments 48:7
 operation 188:24               pages 75:1 196:6 244:7         partially 163:6                pays 187:7
 operative 92:10,11             paid 17:8,12 19:13,15,18       particles 37:12,18 69:16       pee 71:5,23
 opinion 158:18 159:21           34:20 135:24 179:14 189:4
                                 194:6,10,12 219:14            particulate 216:6
  172:9                                                                                       penile 31:18 75:2,9,11
                                pain 27:10 62:2,4 68:19        parties 49:15                  penis 37:12,19 69:16,17
 opinions 88:14
                                 98:12,13,15,24 99:1 128:10,   parts 39:23 88:20 141:8
 opportunity 49:12 82:17         13,22 160:11,15,18,19,21,                                    people 17:10 20:14 22:9
  201:24 202:1 235:7,9           22 161:4,6,12,13,18,20,22,    party 194:8                     25:16 27:14 30:11 35:14,17
                                 24 162:8,9,10,16 176:5                                        40:5 60:11,25 80:12,19,20,
 opposite 223:9                                                pass 12:21 207:15               21 85:16 88:3,4 98:25
                                 196:17 212:5,6 215:24,25
 ops 12:8,12                     216:1,7,17,22 217:14,19       passed 137:4 202:10             113:1,4 114:6 115:6,8,22
                                 229:25 230:2                                                  116:12 120:7 123:18
 option 146:15,20,22                                           passenger 12:20                 124:10,14 130:23 133:10
                                pains 60:8 68:18 98:10                                         136:13 145:21 146:23
 order 107:11 109:3,18,19                                      passing 60:8
                                 159:17 160:6 161:5 176:2                                      147:2,11,13,16 148:6,11,14
  117:4 121:6 129:7,10,22,23
                                 196:22 212:11 216:13          passport 7:3,13                 158:5 163:14 176:10 179:14
  130:5 135:3,12 136:8
  191:22                        pair 208:7                     past 68:2 207:1                 181:3 182:1 187:12 189:2
                                                                                               198:24 204:24 206:10,23,25
 ordered 106:25 108:1           palpable 197:10                paste 42:10 43:11,13,15,16,     207:3 211:6 212:21 213:13
  111:22 123:3                                                  22 44:13 104:10,11 121:25      214:20 228:4,6
                                pants 212:10                    130:9 175:12,13
 ordering 43:10 107:25                                                                        people's 205:17
                                Papendick 4:13 5:1 49:11
  110:9                                                        patch 42:2,18 43:17 108:9,
                                 152:6,7,8,11,12,13,19 153:9                                  perceived 225:17 226:13
                                                                17 120:17 175:13
 ordinarily 43:15                154:6,8,16,17,23 155:2,6
                                 171:9,22 178:3,7,8,10,12,     patches 107:3,4,5 108:6        perceiving 136:22
 organs 197:6
                                 16,24 180:4,6 182:2,3,5,10,    208:5                         percent 184:22 238:21
 original 83:5,25 103:5          15,17,18,21 184:2,6,13,23
                                                               patience 82:22                 perfect 119:21 208:9
  157:14,21 159:5 160:12         186:13,25 188:7 195:23
  214:4                          196:2 236:7,10,16             patient 59:4,5,6,7,8,10,11,    perfectly 43:5 228:5
                                                                13,16,20,21,23,25 60:1
 originally 11:24 60:21         Papendick's 171:25 172:4,                                     perforated 93:14 95:9
                                                                67:25 68:2,3,6 90:8 122:18,
  64:12 93:10 95:5 105:22        11 173:1,15 188:14 231:11
                                                                20 166:13                     perform 87:21 151:22
  123:6 133:24 150:20,24         236:20
  239:8                                                        patient's 58:24                 180:5 184:9
                                paper 70:6 94:8,25 103:25
 ostomy 41:22 42:2,21            152:25 154:1,4 181:14,19      patients 147:10 148:4          performed 102:9,13 106:22
  131:5,20                       187:14 188:9,10,13 226:4                                      134:6,9 159:3 160:1,9,12
                                                               Paul 190:12                     162:7 164:2 196:24
                                 227:21 242:23 248:19,20
 outlined 197:25
                                                               pause 185:24 204:22



                                                                  Index: officers–performedPage 274
                          THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1785 Filed 09/14/21 Page 81 of 89

Deposition of                                                                    JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                   March 22, 2021
 performing 102:19 103:17         131:3 166:15 167:6 219:10     postoperative 41:14             102:4,19 103:2,5,16 104:2
  159:8 173:25                    221:24                         221:20                         152:5 195:21 196:2 217:14
                                                                                                225:1,6
 period 32:14 43:10 47:15        planned 39:19                  postoperatively 38:25
  107:22,24 108:11 121:8                                         221:17                        prison 6:18,19 7:7,8,9,11
                                 planning 166:17
  186:1                                                                                         8:11,12,14,24 10:5 20:8,17,
                                                                postpone 210:20
                                 plans 39:10,17                                                 21 21:1,6,7 22:17 23:12
 permanent 35:5 36:5 85:4,
                                                                postponed 106:6 114:22          28:7 31:19 43:24 44:16
  8,12,13,24 86:6,7,12,13        play 82:11 195:9 239:5                                         46:6,14 50:22,23 51:14,17,
                                                                 176:23,25 209:3,7,19,22,24,
  87:3,4
                                 plead 46:21                     25 210:7,8,12 211:19           24 52:16 54:1,3,6,24 55:1
 person 5:16 12:8,12 37:14                                                                      63:16 64:1,22 65:3,9 66:22
                                 plenty 210:5                   potassium 69:6 70:8             68:9 75:22 76:5,7,9,17,18
  77:8 152:13 168:7,8 171:13
  177:13 183:25 207:11           plug 211:8                     potential 87:20,22,23,24        77:16 78:3,7,8,9,11,21
  252:19                                                         88:6,19 89:15,16,17 90:11,     80:25 85:6 86:14,18 97:19
                                 point 11:23 24:1 52:21          14,15 102:21 144:2 155:15,     98:25 104:4,9,14,18,22
 personal 152:10 210:9,10,        64:21 71:21 76:12 96:24                                       105:12,23 106:1,8,13 107:2
                                                                 19 156:3 157:9 159:4,6,17
  14                              102:5 104:5,10 105:13,21
                                                                 160:2,4,8,20 221:22 222:19     109:2,17 113:24 114:1
                                  106:25 110:9 113:24 123:11                                    123:14,19 124:5,23 125:3
 personally 27:23 152:16                                         223:6 224:3 230:24
                                  125:17 129:23 130:4 140:5                                     129:21 130:19 131:8,18
  203:21 206:14
                                  144:8 149:1 193:15 196:10     potentially 105:22 234:11       132:8,12,14,18,23 133:14,
 persons 50:1                     203:19 216:8 221:17 222:7                                     23,25 134:4,8,14 135:2
                                                                pouch 120:25 208:10
                                  223:24,25 237:13 245:15                                       140:15 145:20 146:8
 pertaining 237:16
                                                                pouches 120:23 122:19           148:19,21,24 149:9 158:24
                                 pointed 253:11
 phone 177:16 251:16,18                                          130:8                          159:1,9,19 165:6,12,13
                                 police 6:13,17 7:21 25:2                                       167:19 171:5 180:21 181:12
 phonetic 42:11 190:13                                          practitioner 168:16 224:23
                                  181:4                                                         183:13 187:18,19 189:4
                                                                 225:15 228:21
 photo 44:22 45:4                                                                               203:17 205:18 208:5 228:3
                                 policies 135:5,6,11 136:6,7
                                                                pre-holes 208:6                 241:23 246:13 252:11 255:6
 physical 96:23 97:13             141:20 142:7 145:25
  125:15,22,25 126:5,14,16,                                     premises 32:25 34:2            prison's 104:20
                                 policy 141:6,11 145:10
  17,20 127:20,23 128:15,17
                                  187:11                        preparation 49:19 99:24        prisoner 120:23 131:20,21
  133:20 196:23 229:25 230:2
  238:12,16                      Port 4:13 10:10,11 11:2,4,6    prepared 92:17                  133:2 141:14 153:6 190:21
                                  22:4 28:15,17,19,21,24                                        228:8
 physically 36:20 197:13                                        prescribed 39:21 149:15
                                  29:5,13,24,25 30:1,6 31:25                                   prisoners 132:25 227:24
  212:15 231:1 238:1                                             217:16
                                  57:21 58:11,12,19 59:2                                        228:2,7
 physician 25:12                  71:13 73:5,7 74:25 75:19,25   prescription 70:7
                                  80:23 81:2 93:11 95:6                                        problem 18:2 41:6 45:1
 pick 120:21 121:20                                             present 97:6                    61:24 62:17 63:2,6 64:2,14
                                  214:12 215:22 216:2,8,15
 picked 109:8 111:9,13            217:12,23 220:15              presented 93:9 95:5 96:13,      70:12 72:23 73:1 80:7 83:4
                                                                 16 97:4,5,6                    84:24 106:6 118:12 123:23
 picture 44:23 203:5 224:1       portion 190:18                                                 126:1 138:1,2,3,6,12,17,18,
  243:15
                                 posing 78:17                   pretty 19:19 20:18 88:21        24 139:1,4 148:12 160:2
                                                                 234:17                         189:17 199:6 207:20
 pictures 223:20
                                 position 193:12 194:6,7                                        213:24,25 214:1 223:22
                                                                previous 24:12
 piece 70:5 94:25 181:19                                                                        224:2,9 227:6 251:8 255:13
                                 possess 7:2,6,7,13,16,18
                                                                previously 76:21 209:2
 pit 122:10,12                                                                                 problems 26:10,12 39:24
                                 possessed 8:9
                                                                primarily 229:22                60:21 63:9,14,20 66:21 67:2
 place 4:7,9 40:8 57:23,25
                                 possession 24:21,22,23                                         70:15 75:8 78:17 79:7,18
  97:13 112:16 151:13 154:18                                    primary 25:12,14,21 27:1
  197:8 246:17                   possibility 89:19 157:23                                       80:8,14,15 88:5 96:23 98:23
                                  158:12 221:13
                                                                Prime 4:12 74:1,2,5             105:15 118:14 123:18
 places 58:4                                                                                    124:10 126:10 159:2,7,25
                                 possibly 98:17 128:12          prior 9:22,23 51:7 54:14
 plaintiff 5:3,8 154:21                                                                         208:13 212:14 217:4 218:25
                                                                 63:17 64:14 65:2,8 66:24
                                  134:23
                                                                 68:8,12,15 69:10,25 70:13     procedural 247:3
 plaintiff's 45:8 253:11
                                 post 68:3                       73:16,18,20 74:3,22 76:12
 plan 36:4 130:20,24,25                                          77:3,25 80:8,16 84:4 97:10    procedure 87:8,20 89:14



                                                               Index: performing–procedurePage 275
                           THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1786 Filed 09/14/21 Page 82 of 89

Deposition of                                                                   JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                  March 22, 2021
  90:9 91:4,12,21 92:1 93:13    pulled 12:10,11 33:11,13        161:7,11,21 162:2,4,5,13      reach 52:16 54:15,21
  95:9,21,22,25 96:4,8,22        211:23                         163:19,22 164:10,11,12,16,
                                                                                              reached 52:23 53:1,3
  97:11 103:20 141:7,9 142:8                                    17 169:19,21 170:11,12,13,
                                punched 125:12
  144:4 146:18,19 150:7,11,                                     14,18,22 171:21,24 172:10,    reacted 138:19,21,22
  18 155:1 156:4 166:22         punished 176:11                 24,25 173:9 177:15 180:19
                                                                                              reacting 136:25 199:8,9
  167:2 183:25 185:3 189:3                                      181:13,15 182:5 184:3
  191:2 193:13 194:1,3,13,20,
                                purpose 32:19 141:17            185:1,4 188:5 190:9 191:14    reaction 157:24
                                 151:3
  24 195:4,8 196:3,4 198:9                                      195:24 196:5 198:6 199:21
  244:24 245:1,2 246:14,15,                                     200:5,7,14 201:6,9 202:1,5,   read 58:24 64:3 65:19
                                purposely 119:10
  21,22 248:6                                                   13,18,24 203:3,13,16,20        66:10,19 72:20 89:25 90:3,
                                purposes 5:19,21 114:11         215:3,6,7 219:22 221:6,19      4,6,18 93:23,25 94:4,9,15,
 procedures 134:12 141:12        141:10                                                        16 95:3,4,14,17 127:3 145:8
                                                                222:1,5 228:15 231:15,19
  193:20 247:6 248:5                                                                           152:25 153:3,19,20 156:13
                                pursuant 6:1                    233:11,13 235:15 236:19
                                                                                               157:18 181:14 189:25
 process 7:20,24 246:9                                          237:6,13,20,21 238:10
  248:8,23,25                   pursue 52:18 53:13 233:4,       246:19 248:11 250:2            190:4,5,18,19 192:6 198:4,
                                 11                             253:16,20 254:3 255:18         19 226:8,9 227:18 228:13,
 Produce 236:25                                                                                15 229:14,16
                                pursued 235:19                 questioning 23:19 201:4
 professional 148:25                                                                          reading 56:20 90:4 94:8
                                Pushups 140:21                 questions 32:13 47:17,19        153:13 186:9
 professionals 114:13                                           49:13,14 56:23 58:9 59:1
                                put 36:4 43:16,17 44:13                                       ready 39:22,24 97:7,11
 program 16:3,10 17:14,18,       60:4 70:3,4 87:16 109:4        70:18 73:2 82:19 100:24
                                                                140:11 152:18 154:22 166:4     130:18 156:13,14 166:10
  20,22,23,24 18:1,10,17 40:1    122:6,24 150:15 151:6,9
                                                                174:11,16,23 177:9 178:3,      196:18 222:23 253:7
                                 194:5 195:17 198:19,22
 progress 67:22                                                 21 179:7,21 186:10 190:1,6
                                 201:20 210:10 212:13                                         real 12:22 57:7 133:9 176:2
 prompt 30:11,13                 213:6,7 236:23                 195:6 201:25 202:4,7,8,20      213:1
                                                                204:19 207:19 224:16,19
 pronounce 188:19               putting 163:5                   237:8,16,19 247:12 248:4      reask 86:3 105:4 203:16
 proof 113:18 183:24                                            254:21 255:25                 reason 60:19 119:11 168:1
                                               Q               quick 41:4 174:7 236:25         184:14 188:21 197:25
 proper 61:3,4
                                                                                               209:11 219:21 222:4
 properly 39:7,14               qualify 135:3 165:18 167:7,    quickly 238:4
                                                                                              reasons 53:12 114:23
 prostate 176:3 212:3 213:8,     10 169:3,25                   quietly 172:17                  170:2 176:23 186:14,17
  12,16                         question 24:4,12 40:18         quote 11:13 59:4,19,23 60:1     187:2 197:25 199:19,22,25
                                 46:7 50:3 51:10 62:23 63:13    67:25 68:5 93:9,17 95:5,12     200:9,12 201:11 209:4,8,19,
 provide 131:4                                                                                 22,24,25 210:7,9,10,14,21
                                 65:5,19,24 66:18,20 68:7,21    166:10 200:15 225:16
 provided 15:8 41:16,21          69:21 70:19 76:11 77:18,20,    226:13,16,17,21,22 227:3,     recall 32:20 33:3 34:3 38:25
  42:4 50:11 130:8,10 133:16     23 78:25 79:2,4,19,23,24       18 228:22,24 229:11,14         39:4 60:2,3 61:17 71:1,19
  134:7 164:3,6 178:16 186:2     80:2,5 81:16,18,19,22 82:2,    245:24 247:18                  75:7,18,23,25 90:16,19
  251:25                         3,7 83:1,23 85:22 86:3,9,23
                                                               quoted 227:16                   91:22,23 92:25 93:1,2 97:22
 provider 149:4,8 163:1          88:11,23 89:1,2,5,14,24                                       102:1,12,15 106:23 135:2
  164:16 165:16 195:21           91:7,8,20 92:9,14 94:23       quoting 226:23                  143:12 144:8 152:4 153:1
  196:1,2                        95:2,19 96:20 97:1 103:10,                                    164:21,23 165:1,3 166:18,
                                 11 104:22 105:5,10 106:11                                     23 183:18,20 205:24 207:2
 providers 145:19 163:15,        109:6 110:6,8,13 111:11                    R
                                                                                               215:5,6 220:17 224:23
  25 164:20 169:1                113:23 115:18 116:2,11,15                                     228:25 229:2 235:20 236:22
                                 117:19 118:1 119:5,15,20,     R-A-C-H-E-L 240:25              237:7 241:24
 providing 133:17
                                 22 120:11,18 123:10 126:3,
                                                               Rachel 240:23,25               recalled 196:9
 psych 133:9,11                  11,12,23,24 127:3,10,17
                                 128:5,6,15 131:13 134:10,     radiology 199:13               receive 48:6 59:6,8 122:20
 psychological 132:21
                                 11,12 136:15,16 137:17,18                                     125:1 126:9 129:6 134:23
                                                               ran 110:11,12 114:7,25
 Public 5:9                      138:3,8 139:13 141:3                                          141:4,18
                                 144:13 145:12,23 147:1,5,     RE-EXAMINATION 180:2
 pull 211:25                                                                                  received 59:8 122:17 125:3
                                 21,22,23,25 148:23 149:7,      207:17 224:21 244:21
 Pull-ups 140:22                 25 152:17 153:19,20            247:14 248:2 254:25            128:16 144:17 162:22 163:6
                                 154:10,14,20 159:20,23                                        182:25 240:9,10,12



                                                              Index: procedures–receivedPage 276
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1787 Filed 09/14/21 Page 83 of 89

Deposition of                                                                     JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                    March 22, 2021
 receiving 32:2,3 59:15         refer 228:11 232:11              215:13,14,15 216:6,9,18,25    represents 92:18
  111:7 143:5,12 144:8                                           217:16 220:17 222:16
                                referenced 100:15 141:21                                       request 165:16 166:16,20
  162:24 175:9 232:25                                            225:2,7,20,25 226:1,2,3,6
                                                                                                167:5 180:11 181:6,25
                                referencing 183:17               232:11 233:3,7,14,25 234:7
 recent 24:15                                                                                   184:8 185:7 187:3,10
                                                                 235:22 237:12 238:8 242:18
                                referral 228:21                                                 188:22 190:20,22,25 191:19
 recently 20:25 98:21                                            245:25 247:18,22 248:18
                                                                                                231:9 233:5 236:9,24
                                referred 11:3 131:1 168:9        249:12,15,24 250:1,3,7,9,
 recess 41:9 49:2 100:9                                          11,16 252:15,18
                                                                                                246:16 254:16,18
                                 217:14
  111:1 185:18 224:12 253:3
                                                                                               requested 59:16,20 180:12
                                referring 99:7 152:9 167:23     remembered 242:3
 reconstruct 150:20,22                                                                          183:3 251:6
                                 173:23 228:25
                                                                remind 165:3
 reconstructive 141:8,11,                                                                      requesting 135:20 143:20
                                refill 131:25 132:1,3,5,7,9,    removal 122:1 231:4             183:6 188:23 189:1 200:18
  13 142:10 153:5,16,24
                                 13
  177:23,24
                                                                remove 5:21                    requests 236:20
                                reflect 5:25 143:6
 record 4:5,18 5:25 6:4
                                                                removed 212:16 213:5           require 173:16,19 200:10
  19:19 24:2 30:12 41:8,11      reflects 143:21 200:19
  44:20 48:22,24 49:1,4 56:6,                                   renal 33:4                     requirements 202:12
  12 57:21 61:18 62:1 67:6,
                                reform 141:9
                                                                rent 19:1 239:21,23            resection 196:14
  20,24 68:23 70:11 71:16       refrain 59:25
  73:10 74:23 78:15 79:6 81:7                                   reoperation 87:23 88:18        reserve 100:24
  86:4 89:6,25 90:3,18 92:10,   refresh 186:9                    89:16 90:13,14
  18,19,21,24 93:8,18,19,21
                                                                                               resources 52:20,22 179:11
                                refused 61:8
  94:15,16,20,21 100:5,6,8,
                                                                repair 196:15                   186:20
  11,19,23 101:13 110:25        refusing 59:22                  repaired 35:5                  respect 157:21 161:9 183:1
  111:3,7 121:17,18 143:6       region 21:8                                                     233:1 236:9 255:20
  152:21 155:17,18 168:15                                       repeat 147:1 200:7 201:25
  171:14,15,21 185:12,13,17,    regular 25:16,20 215:22                                        Respiratory 197:2
                                                                repeating 226:15
  20,23 186:3 196:13 211:22      216:8
                                                                                               respitation 90:12
  213:15 214:23 215:8 221:3                                     rephrase 50:3 51:10 62:23
                                rehearsing 172:18                63:13 134:10 137:17,18        respond 40:1
  223:23 224:11,14 226:12,23
  227:1,3,12,14,15,16 229:15    related 63:1 68:16 126:11,       147:5 148:1,2,23 152:17
                                                                                               responded 27:20 197:20
  234:4,6,14 236:3 244:15        12 128:15                       162:13 172:3 184:3,11,25
  253:2,5 256:12                                                 191:14 195:24 196:5 198:5     response 93:7 143:8 144:8,
                                relative 193:7,11                231:15 236:13,14 246:19        18 145:10 183:19 186:5
 records 9:19 31:16 37:15       relatives 193:10                                                197:21,22 232:5,18 245:4,7,
  42:20 49:20,22,23 56:5                                        replaced 36:2 213:3
                                                                                                8 248:16 249:11 252:15
  58:10 59:2,3 69:12 70:9       release 76:4                    report 92:10,11 98:5
  74:25 75:1 90:4 97:24 99:6,                                                                  responsibility 193:23
                                released 29:9 72:19 75:22       reported 37:18 69:13            194:4 195:3,17
  7,10,11,14,16,17,25 101:8      76:7 78:3,10,21 130:18,20
  104:13 109:3 120:20 155:16     131:5 146:7 247:9              reporter 5:4 23:1 30:12,15     responsible 145:21 190:22
  162:21 166:10 171:16                                           48:16 65:23 66:2,5,11,15,19    191:18,23 194:8
  183:10 186:3 192:6 196:7      relevance 23:19                  81:11 82:8 134:18 165:23
  197:23,24 198:8,10,21,22                                                                     responsive 91:9
                                rely 74:22 152:5 164:13          172:14,21 185:24 204:11
  199:18 201:2,11 205:25         179:17                          235:14 244:15,17              rest 16:17 107:7 225:23
  214:13 215:1,21 216:2,15                                                                      229:3,7
  217:11 218:11 219:2 225:15    remark 72:9                     Reporter/notary 5:9
  226:8 228:11 233:8,15                                                                        result 27:12,22 142:24
                                remember 6:18 8:21 18:13        reporting 225:18,19 226:14
  234:1,12 248:13 249:8,9                                                                       159:7 210:18
                                 21:4,12,13 24:23 27:5 28:22    reports 98:4
  251:21,25 252:1                                                                              results 72:1 214:21 215:17,
                                 30:3 33:2 41:18 71:8,9 84:3,
 recovered 47:5,8                6,9 93:2,3 108:11,15 111:10    represent 50:15,18 51:12        19 218:9,10,12,22,23
                                 120:4 125:21 129:19 131:9       53:23 54:25 58:2
 recovery 47:15,16                                                                             resume 76:8,11
                                 142:13,14,24,25 143:5
                                                                representation 54:8,12
 rectum 70:3 196:14              158:3,8,9 162:5 167:15,16                                     retained 31:10 54:22
                                 168:18,21,22 174:22 177:21     representing 49:10 58:2
 reestablish 14:14                                                                             retired 192:22
                                 178:2,5,22 183:8,12 205:10,     154:21 237:23
                                 24 206:16,19 207:11 209:4


                                                                    Index: receiving–retiredPage 277
                          THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1788 Filed 09/14/21 Page 84 of 89

Deposition of                                                                    JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                   March 22, 2021
 retrograde 33:24               reviewing 100:1 237:11                                        Secretary 8:3 243:21
                                                                             S
 return 222:18                  reviews 134:6,9                                               section 143:25
 returned 215:19 216:20         RGC 107:9                      safety 15:14,15 18:10          security 59:12,15 61:9
  219:8
                                Richardson 242:21 243:2,4      satisfied 135:12 136:8         seek 50:15,17,21 53:7,8,10
 reuse 239:14
                                rid 229:7                      saved 240:1                    seeking 51:7,11 229:22,23
 reversal 28:11 35:19 39:10,                                                                   230:11,15
                                ride 18:7 240:15,16            say-so 172:9
  12,16,20 40:5 47:4,14 64:7
                                                                                              Select 26:15 27:7 28:14
  78:16 79:7,14 80:7,15 83:5,   rights 14:18 241:17,19,23      scan 33:7 68:1 217:15
  25 84:7,22,25 85:1 87:11,                                     218:19                        self-care 72:17 227:4
                                ring 42:4 43:18,19 44:11
  13,15,21 88:17,20 93:10
  95:6 96:14,17,18 97:8,12
                                 55:9 75:3,7 175:11,15 176:1   scans 217:7                    send 125:7 209:14 246:2,4
                                 211:15                                                        252:16,17,19
  98:24 99:2 102:4 104:15                                      scar 197:7
  105:16 106:5,9 114:19         rings 42:8,13,24 43:5,7                                       sensation 103:21 157:24
  118:21,24 133:23 134:13,24     44:12,17 104:6 176:13         Scarber 4:24 40:8,13,16,17,
  135:4,13,17 142:17,21                                         21 44:19 45:2,7 47:19         sense 73:25 82:13 119:21
  144:2,5 145:12 146:9,10,11,   rinse 108:21,23,24              48:14,23 49:8,10 56:12,15,     146:20
  14 147:11,12,17 148:16,22     risk 87:20,21 88:6,16 89:14     19,22 61:21,24,25 65:21       sentence 90:5,6
  149:2 152:13,19,23 154:25      90:9,10 152:3 156:7 157:9      66:6,17 67:3,7 73:4,13
  155:13,19 158:6 159:2,8,24,                                   74:10 81:17 86:2,20,22 87:1   separate 84:15
                                 158:16
  25 160:10,14,16,17 161:7,                                     91:1,19 92:7,8,16 99:17,22    September 75:18
  12 162:14,17 163:12 165:8,    risks 87:13 91:4,6,11,21,25     100:6,13 105:4,9 110:17,22
  21 166:11 167:20 168:2         102:21,23 103:19,20,22         111:5 115:17 116:6 127:6,     sergeant 42:11,12,20,22
  169:4,10 170:1,5,16,22         156:10,17                      12 134:20,25 143:6,11          175:4,5,6 177:8 253:13
  171:1 172:2,6,12 173:3,16     risky 87:16 92:3 158:14         147:8 157:5 158:21,23
                                                                                              served 244:8
  174:1,3 175:24 176:14                                         163:20,23 166:1 169:17,22
  178:25 181:24 184:10,15       River 16:1                      172:22 174:6,15,18 177:9,     service 187:4 188:22,23
  186:16 187:2 188:24 192:17                                    20 179:22,25 180:3 181:17
                                RN 144:21,23 188:18,21                                        services 4:13 135:21
  193:19,21 194:13 195:21                                       185:12,14,22 188:3,4 201:6,
                                 190:11,16 231:25 232:2                                        180:12 181:2,6,25 183:3,7,
  196:4,18 198:1 200:2,11,22                                    8,22,23 203:2 204:16,20,23
                                                                                               14,15 184:8,19 185:7 187:5
  201:12 209:3,7,18 219:14,     Road 16:1                       207:14 224:18,22 235:17
                                                                                               228:21
  23 220:12 221:23 222:11,12                                    243:25 244:3,12 246:17,25
                                robbed 29:2,4
  225:1 231:9,16 233:6                                          247:15,24 255:1 256:4,7       set 170:2
  236:12                        rock 124:8
                                                               schedule 188:17,23,24          Severe 157:22
 reversals 203:10               roll 43:4                       222:18
                                                                                              sex 76:17,25 77:4,6,8 78:1,
 reverse 85:15 86:15,17         Ronald 168:16 228:22           scheduled 121:19 166:13         6,8
  104:20 106:2 143:18 168:12    room 38:9 40:11,14 59:13       school 14:20,22,25 15:4,5      sexual 76:8,9 78:4
  177:22 200:16 203:9 204:3      72:25 75:19 76:22 77:12        16:1 17:9 18:8 202:9
  232:20                                                                                      sexually 55:10 57:1,10
                                 79:5 81:3 83:2,4 124:18,20,    255:22,23 256:2
                                                                                               71:17,20 72:3,16,21 75:9,
 reversed 36:5 79:11,17          21 125:18,19 128:20
                                                               scissors 208:2,8                10,13,20 76:2,23 77:4 78:1,
  84:24 85:9,10,11 86:7,15       133:19,21 164:4 211:6
                                                                                               4,8,20 79:21 80:11,12,24
  87:8 131:2 146:24 148:5,7,     212:19,20                     Scouts 22:16
                                                                                               83:19 216:11
  12 171:1,10 175:24 181:12     rude 30:14                     scraped 69:9 70:4 218:19
  189:2 201:17 203:24 204:3                                                                   shape 60:20
  205:23 225:18,20,24           run 108:3                      screen 110:15
                                                                                              sharp 98:10,12,13,15
  226:14,15 230:19              run-ins 211:3                  screw 212:23
                                                                                              sheriff 175:6 180:18,25
 review 50:1,3,6,9 167:6        rushed 61:4                    script 69:7                     187:20,23
  197:24 201:2 231:11
  236:10,11,20                  rushing 60:17,22 61:12         seal 175:12                    sheriff's 179:15 180:14
                                 62:10
 reviewed 49:19 99:18,19,                                      sealed 43:5                    sheriffs 187:9
  23 104:12 142:1 170:3
                                                               sealing 107:17                 shit 59:24
  198:8 199:13,18 231:11



                                                                   Index: retrograde–shitPage 278
                        THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1789 Filed 09/14/21 Page 85 of 89

Deposition of                                                                   JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                  March 22, 2021
 shock 30:2                      9:1,3,5,6,18 10:19 11:15       smelled 124:12 138:1,4,5        114:1,14 117:9 118:10
                                 12:1,3,19 13:16 15:16,20,22                                    119:3 135:3 136:2 142:12
 shooting 30:17                                                 smelling 107:16 123:23
                                 16:9,12 17:15,19 18:13 19:3                                    155:17 180:4 181:13,18
 shop 16:22 17:2,12              20:9 22:1,16 25:2,12,13,20     snow 20:14 22:10,11 231:4       184:5,13 186:12,25 188:15
                                 26:5 27:8,23 28:3,5,12,22                                      190:25 200:15 203:10
 short 64:8                                                     snowing 20:25
                                 29:21,25 30:9,16,18 31:5,7,                                    207:11 222:17
 shot 28:25 29:1,12,13,22        9,11,13 32:1,9,12,17 33:2,5,   soft 197:5                     spell 13:7 240:24
  30:23,25                       9,13 34:5,19,22,24 36:22,25
                                 38:22 39:3 46:24 47:3 48:4,    sold 73:11                     Spencer 4:14,21,22 36:24
 shots 30:23                     6,10 49:18 50:12 51:18,20      sole 141:17                    spend 237:1 241:9,14
 Shovel 22:10                    53:2 55:21 56:1 58:20 60:3
                                 71:22 72:3 76:3,10,15 78:25    solely 186:14                  spent 29:18 163:24
 show 43:25 44:4 56:6 67:20      81:5 82:24 83:9 85:11 86:10    somebody's 30:20               spleen 197:10
  72:11 152:21 156:21            87:10 90:21 91:22 96:15
  157:12,21 171:15 183:21        102:7,11 104:11 106:21,24      son 241:15,17                  spoke 42:20 59:5,20,21
  184:4,12,18 187:13 188:6,9,    121:5 126:2,19 127:2 129:1     sooner 64:25 66:13 67:9         168:13,21,23 171:13 190:3
  13 197:24 198:10 223:8,11      138:9 141:19 143:13 144:12
  226:7 231:19 233:9,15          147:10,22 148:4 155:12         sort 27:12 35:19 41:16         spoken 193:18 194:1,23
 showed 44:22 68:4 153:18        157:12 159:10 162:20           sought 31:22 55:8,16,19,22     squeeze 122:7
  175:15 177:19 189:9 199:14     163:19 167:17 172:14            56:2 231:8
                                 178:2,23 190:24 192:18,20                                     St 8:25 9:19,24 22:4 23:6,9
  215:25 228:20
                                 193:25 197:12 201:21 206:7     sound 32:21 38:11 47:1          25:4 29:19 31:21 32:8,14,
 shower 122:11,12                213:23 221:6 222:1,2            55:19 56:3 62:2 81:4 121:3,    18,24 34:13 38:13 41:20
                                 229:16 231:6 232:7,11,24        9 122:3,21                     46:5,10,17 69:11,15 108:16
 showing 146:2 189:6
                                 235:14 236:22 238:21                                           126:7 142:22 193:24 204:6,
 shows 234:1                                                    sounds 55:15 56:4 74:11         7,8,25 207:7,10,22,24 208:7
                                 241:22 242:5 244:11,25          76:19 121:6
                                 246:8,10 249:21,24 252:25                                      242:21 243:3,4,6,7 248:6
 sic 4:8 8:2 27:16 41:8 90:12                                                                   249:9 251:25 252:13,23,24
  127:8 162:15 203:10            253:16                         source 240:5
                                                                                                254:4
 sick 60:7 61:1 176:7 188:18    sister 12:6 240:20              sources 47:21
                                                                                               stabbed 29:12 30:22
  255:13                        sister's 193:3 241:10,11        South 4:10
                                                                                               stabbing 29:6,8,19
 side 44:10 98:16 128:10        sit 113:18 118:6 183:23         Southern 4:16
  223:7,13,17,24                 184:4,21 218:21                                               staff 59:14 105:19 134:22
                                                                Southfield 26:17                167:13 181:1 208:17,22
 sides 223:23                   site 15:13,15 18:10 27:2                                        209:1
                                                                space 44:11
 sigmoid 68:4 93:13 95:8         104:5 171:19
                                                                spasms 176:4 212:5,7           stall 124:11
 sign 36:11 40:3 62:17          sitting 233:18
                                                                speak 40:12 54:2 113:1,4,6     stamps 48:6,8
  103:12,23 151:25 152:1        situation 54:18 60:4 61:13       114:6 142:11 232:12 236:3     stand 67:6 74:24 238:21
 signature 232:4 237:4           64:21,24 65:9,25 71:3 76:19     237:15
  238:2,9,12,16                  77:21,22,24 155:8 203:8                                       standard 132:24 133:1
                                                                speaking 23:25 169:18           228:3
 signed 16:2 92:11,18           six-month 17:23                  201:7 207:23 237:8
  102:12,15,18 103:1,4,7,17,    size 107:10,11                                                 standardly 133:4
  25 144:18 156:8,11,12,15,                                     speaks 40:11 186:18
                                sketch 14:19                                                   standpoint 98:1 137:14
  16,18,21 157:7,13,18,19,20                                    special 133:1                   201:12
  171:21 220:20 231:24          skin 43:23 107:8
  238:1,9 244:7                                                 specialist 38:19               stands 166:15
                                slander 198:17                  Specialists 26:15 27:7
 signing 158:9 237:11                                                                          star 208:12
                                slightly 59:18                   28:14
 similar 76:12 78:12 227:24                                                                    start 28:7 77:18 127:8
                                smaller 213:6,9,24              specific 8:22 108:15 115:1      130:11 160:21,22
 simple 161:21 188:5                                             117:6,7,17 118:7 121:9
                                smell 109:21 124:11,12           135:11 186:24 206:1           started 16:12,13 20:18,22
 single 247:7                    126:8 137:22 255:14,15,16,                                     50:25 51:11,15 52:6,8,10,12
 sir 5:15,16,23 6:5,15 8:4,14    17                             specifically 87:19 88:12,16     54:15,17,18 62:6,15 63:11



                                                                     Index: shock–startedPage 279
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1790 Filed 09/14/21 Page 86 of 89

Deposition of                                                                   JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                  March 22, 2021
  161:1 239:11                    11,22,23 129:5 150:13         suggest 191:21                  24 179:11,16 180:13 181:3
                                  159:16 160:15,18 175:16                                       182:13 184:20 185:8 187:6,
 starting 90:7                                                  suing 58:8 73:15,21 74:1,4
                                  211:4 217:4 221:15 223:7                                      9,10 192:16,17 200:18
                                                                 154:7,12,15,17,23 155:2
 state 5:20 6:4 7:3,18,20 8:3,                                                                  209:3,7,19 210:6,8,14,20
                                 Stone 190:12                    184:6
  10,17 9:7 13:12,13 20:8                                                                       211:5,18 213:13 214:2,10
  28:7 48:9 155:18 180:20        stop 17:24 89:1 90:16          Summary 143:14,16               219:14,23 220:18,20 222:13
  243:19,21                       110:23 115:3,11,12 140:4                                      223:2,4 234:8 246:16,23
                                                                supervisor 59:10 61:9           247:5 249:18 250:5
 stated 59:6,8,21,23 141:5       stopped 18:1 43:9
                                                                supplied 43:5                  surgical 96:22 141:7,9
  205:25
                                 stopping 40:5 66:7
                                                                supplies 41:22 42:21           surrounding 87:24 88:19
 statement 44:20 94:6,7
                                 straight 107:7                  106:25 107:25 108:1,2
                                                                                                89:17 90:15
 statements 93:25 94:4                                           109:1,3,8,11,12,16,25
                                 strategy 164:14                                               suspected 93:14 95:9 99:6
                                                                 111:6,9,14 112:11,17,18,24
 states 4:15 72:12 141:6
                                 straw 211:2                     113:13 114:8,15,25 115:12
                                                                                               suspended 8:19,20 9:4
  186:24 226:12 228:22
                                                                 116:12 117:4 118:25 119:3,
                                 street 4:10 9:6,13 11:14                                       12:7,12
 stating 59:14 166:17 185:6                                      5,10,23 120:22 121:11,20
                                  241:5
  199:22                                                         125:4 130:9 131:5,7,16,20     suspension 18:6
                                 strike 5:24 85:20 86:20 88:9    132:11 133:16,18 139:7
 station 29:13 30:4 59:13                                                                      sustained 126:5
                                  89:3 92:7 93:6 106:11          163:6,8,18 164:4,6 173:23,
 stationed 34:14                  158:21 161:7 164:12            24 175:9 207:21,24 208:16     swear 5:5 213:2
                                  170:22,23 201:22               211:14 242:23 243:1
 status 68:3 198:11                                                                            sweats 60:9
                                 stroke 87:22 88:17 89:15       supply 108:17 111:19,21
 stay 10:24,25 110:14 124:5                                      112:6 114:3 211:4
                                                                                               sweeping 16:23
                                  90:11 157:25
  241:12
                                                                support 18:25 213:21           swelling 197:7
                                 strong 88:21 89:21 92:6
 stayed 11:22
                                  93:5
                                                                supportive 229:12              Swift 206:11,15
 staying 10:9,10,15,23 19:1
                                 structure 141:8,10             supposed 35:6,7,8,18           sworn 5:8
  22:13 33:7 129:9
                                 structures 87:24 89:17          68:24 69:1,2,22 70:2 108:23   syndrome 37:6 69:4 70:6
 STD 32:6 55:9                                                   131:24 212:8 249:1 252:17,
                                  90:15                                                         214:22 215:15 217:5 218:16
 STDS 55:11                                                      19                             219:7
                                 studies 199:13
 step 143:14,16 145:9                                           surgeon 34:10 220:3            syringe 212:18,19,22,25
                                 stuff 43:2,20 69:9 95:18
  232:18 234:1 245:2,6,9,12,                                    surgeries 87:15 158:13
                                  107:16 109:20 110:10 117:9                                   system 63:16 64:1,15 66:22
  22 246:1,3 247:7,16                                            222:22
                                  119:2 134:15 154:11 159:23                                    70:13 88:1
 steps 14:14 247:3                160:18 161:8 167:13 174:4
                                                                surgery 28:11 31:3 32:7,10
                                  198:22 211:7 227:8,23
 STI 55:12,16,19,24 56:3                                         33:8 34:8,13,18,21,23,25                     T
                                  230:20 232:15 247:23
  76:22                                                          35:2,24,25 36:1,3,12,13,19
                                  252:13
                                                                 37:2,24 38:9 39:20,23 41:21   table 123:11 139:13
 stimulus 48:2,7 240:5,7         subject 27:25 169:20            42:1 45:12,13,23,24,25
 stint 50:23                                                     46:2,9 47:4,8,13,14 49:25     tablet 248:14,21,22 249:3,
                                 submitted 166:11,20             67:15,16 68:22 83:16 88:3      19 250:19,20,22 251:24
 STIS 55:11 215:23                190:20                         89:19 92:2 101:24 102:5,9,     253:19,23
 stitches 31:6 211:7             submitting 167:4                13,19 103:2,17,24 114:19,     taking 4:7,9 59:24 166:5
                                                                 20 115:3 118:21,24 128:11,     174:13
 stock 120:24                    Subrina 144:21,23 145:5,6,      22 135:16,18,21,23 136:6,8,
                                  7 231:24 232:2                 9 140:6,7 141:7,9,11,14       talk 25:24 33:15 35:13 36:10
 stom- 160:2
                                 subsequent 100:15 236:9         142:9,10 143:19 144:2          38:5 133:22 164:25 168:6
 stoma 35:8 43:16 44:7,10                                        150:25 151:7,17,20,22,24       172:17 177:8,12,15 188:7
  104:5 107:4,6 121:25           sue 73:5 145:5,6,13             152:2 153:5,16,25 155:19       196:12 211:19 228:4,6,9
  125:10 208:2,6,11,14 223:9                                     156:6,13,14 157:14,21
                                 sued 58:4 73:9                                                talked 36:9 38:3 39:13 40:7
 stomach 42:2,9 43:2 57:7,                                       158:15 159:5,11,14,19,24
                                 suffering 219:4 229:25                                         54:10 81:6 83:14 99:9,13
  8,11,14,17 60:8 61:16 80:17                                    160:9,23 161:2,12 162:14
                                  230:2                                                         106:5 110:8 124:2 133:13,
  99:1 125:13 126:6 128:10,                                      167:7,11 176:22,25 177:22,
                                                                                                14,16,17 151:25 162:21



                                                                    Index: starting–talkedPage 280
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1791 Filed 09/14/21 Page 87 of 89

Deposition of                                                                  JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                 March 22, 2021
  164:8,19 168:6 175:19,20,     testified 5:9 22:17 64:8        43:1,20 54:22 55:9 57:6        98:6,25 99:1 103:8 106:4,17
  21 176:15,18 178:1,19          65:13 74:16 110:6 142:6        60:13,18 61:11,15 62:23,25     114:14 115:22 116:25
  180:6 181:1 182:17 195:12,     171:8,11 174:25 181:18         63:17 64:20 66:24 67:12        118:10,20 119:9 125:10
  13 198:12 199:12 209:15        209:2 227:22                   68:13,22 69:17 71:15 75:2      135:2,15 136:9 146:12
  211:20 222:12 225:4,7                                         79:9,10,14 80:6 81:8,14        149:3,4,8,14,18,21 158:19
                                testify 65:15 74:18
  242:10 243:1 255:7,8                                          83:4,12 84:3,9 86:10 89:1      166:16 168:11 175:10,13,23
                                testifying 92:17 101:5          93:14 95:10 96:11,16,21        176:16 179:9 180:7,24
 talking 32:22 36:24 46:5
                                                                97:10,14 98:1,21 102:3,4,9     181:13,18,24 183:25 184:7,
  53:24 60:3 65:25 71:10,16     testimony 50:1,3 51:2           107:15 108:1,2,4,11,15         13,24,25 186:13,25 196:21
  74:6 79:20 80:20 86:14         54:14 63:23 74:22 97:24
                                                                109:1,18 110:2 111:12          198:17,25 210:8,9 211:6,21
  94:13 99:10,18 100:2 105:1,    104:3 142:2 160:10 169:8,
                                                                112:20,21 113:17 118:25        212:6,20,25 214:20,22
  21 106:1 107:21 108:12         13 170:5,24 208:25 210:11
                                                                121:8,23 122:4 128:21          215:16 216:10 217:5,9
  109:13 111:6 113:20,23         252:6
                                                                130:12 131:24 132:1,2,3,10,    218:5 219:25 220:5,9,16
  114:24 118:17,19,22
                                tests 214:21 215:16 219:24      17 137:7,10 140:5 161:24,      234:24 248:12 249:3,17
  120:10,16 149:17 160:4
                                 220:10,20,25                   25 162:9 163:7,8,24 166:13     250:4,19
  163:10,11,12,24 164:21
                                                                167:9,14,16 171:18 172:1
  165:1 168:17 180:24 182:6,    thing 12:20 17:7 19:14 40:4                                   tooken 8:2
                                                                173:13 174:7 175:22 176:14
  24 185:2 187:16,17 196:9       41:24 78:14 85:5 90:2 103:8    177:7 179:5 186:1 193:7       top 20:1 129:13,15 130:1
  201:10,11 204:25 207:12        110:12 111:18,22 137:22        196:21 198:17,25 207:15        157:12
  214:3 216:19 217:1 230:13      150:14,17 175:14 176:9         208:19,23 211:4 212:4
  234:7 243:19 250:12 251:19     179:5,9,12 181:9,10 198:15     215:23 216:14 217:2,3,6,18
                                                                                              total 129:17 255:17
  252:10,12                      202:3,17 207:23 208:3          218:6,18 219:13 222:3         touch 39:25
                                 212:17 213:20,23 221:23
 talks 186:15                                                   224:9,17 233:3,7 235:16
                                 222:12 223:1 237:17 239:15     236:6,7,17,22 237:1 241:9,    tract 37:5,6,9,13 69:13,15
 tampering 23:4 24:10            248:9                          10 243:21 244:1 245:15         71:18
 taught 139:9 239:10,11         things 19:18 22:9 63:11         249:21 250:4,6,7 252:17       trained 38:16 255:10
                                 68:19 73:19 74:5,6 88:14      times 27:4,5,6 31:17 32:18,
 taxes 19:17,18,20                                                                            training 18:24
                                 90:17 92:12 102:21 112:13      20,21 33:2 34:1,4 38:5
 technical 134:10                130:16 138:19 140:21 158:7     42:17 84:6,8 102:4 108:20     transferred 46:25
                                 164:21 174:10 199:19           112:18 119:1 122:13 127:16
 technician 4:9                                                                               transmitted 55:10 57:1
                                 218:15 229:19 242:25           129:9 141:1 164:19 216:23      71:18,20 72:4,16,21 75:9,
 telemedicine 178:9                                             222:8 229:4 255:13
                                thinking 65:6 119:19                                           10,14,20 76:2,23 77:4 78:1,
 telephone 23:4 24:10            160:24 172:17 247:22          tips 17:11                      4,9,20 79:21 80:11,12,25
                                                                                               83:19 216:12
 telling 89:12 92:19,24,25      thinks 202:13                  tired 122:22
  93:3 112:7,17 114:7,9 122:4                                                                 transportation 18:2
                                thought 11:21 37:6 54:14       tissue 242:23
  147:19 148:13 161:5 162:6,
                                 65:13,16 73:8 74:16 85:12,                                   trauma 81:3 128:17,18,21
  11 182:25 188:8 196:21                                       today 28:1 92:17 113:18
                                 24 86:5,12 87:2 99:23                                         129:3 133:20 159:12,16
  215:10,13,14 225:22 234:10                                    118:6 131:21 169:8,13
                                 119:19 121:7 122:23 123:2                                     160:25
  235:1,20 236:8                                                170:5 183:23 184:4,12,21
                                 131:14 171:5 190:7 204:21,
                                                                235:5,12,18 236:8,24          treat 38:17 63:21 67:2 74:20
 tells 150:8 184:5               22 214:18 222:14 226:24
                                                                238:14 240:14,18,21 243:14     163:1,5
                                 240:20
 temporary 35:6,7 36:14                                         244:1
                                thousand 13:19 19:11                                          treated 64:6 74:19 124:20
 ten 24:6,7,13 121:23            204:14                        today's 49:19 166:14            125:5,17 128:20
 tend 83:20                     three-step 246:14,21           toilet 242:23                  treating 173:21
 tenderness 197:9               thumbnail 14:19                told 11:14 18:18 26:20         treatment 28:8 31:23 35:10
                                                                27:18,23 28:14 35:7,11,12,     55:8,16,19,23 56:3 58:7
 terms 150:6 173:22             till 130:12                     18 36:7,8,14 37:4,7,15,25      60:12 62:11 63:25 64:5
 terrible 124:13                time 4:7 8:9,12,13,14,16        38:3 39:19,22 42:9,25          68:16 125:1,3 133:22
                                                                43:11,18,20 47:6 59:9          162:22,25 163:6,9 166:15
 test 12:21 61:3 69:8 217:7      10:1,5,9,22,24 11:23 14:17
                                                                60:24,25 61:5,6 69:2,3,6,14    167:6 178:17 193:16
  218:6,19,21 221:4,5            20:4 21:14,20 25:14,18,20
                                 27:19 32:13,24 34:14 35:23     70:2,5,6,7,10 71:22,23        trial 46:23
 tested 69:2 220:2,12            37:11 38:8,24 39:15,22         87:15 88:2 91:5,13,25 92:2




                                                                      Index: talking–trialPage 281
                        THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1792 Filed 09/14/21 Page 88 of 89

Deposition of                                                                     JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                    March 22, 2021
 triangle 208:12                uncomfortable 137:9            urostomy 38:17                 127:1 170:9 188:17 218:22
                                 230:8                                                        221:3
 trick 238:10                                                  usual 121:21,22
                                undergo 97:7,11                                              waiting 109:19 211:18
 trouble 7:19,23 212:5                                         utilization 236:10
                                                                                              215:16 240:10,12
  213:10,14 242:12              undergoing 157:14 193:20
                                                               UTIS 196:17
                                                                                             walk 139:24 140:2,5,8
 true 92:24 93:19 94:1,6,7,     understand 7:2 24:3 46:7
                                                                                              146:21 235:4
  10,12,14 145:3 146:4,5         51:8 65:4 75:12 77:1 82:10,
                                                                              V
  231:14 234:3,15                14 89:10 95:15 102:18                                       walking 140:4 255:8,20
                                 103:18,22 134:19 135:22
 truth 189:16 213:17,20                                        vague 201:4                   wanted 16:17 27:17 46:12
                                 147:7,25 148:4,8 150:11
                                                                                              52:18 53:13 59:9 61:5 120:8
 truthful 237:17                 153:21 170:12 172:10          Vaguely 168:19                 121:9 123:4,6 124:1,5
                                 194:11 202:11 203:1 241:18
 truthfulness 94:5                                             valid 12:17 60:17              125:20 132:21 133:23,24,25
                                understanding 35:13                                           134:4 139:5 149:3,6,21,22
 tube 212:8,9,10                 74:11 78:6 96:3,5 102:23      vehicle 9:2,3                  150:4,19 151:6,9 152:2
 turn 12:10 40:24 157:8          104:2,12 141:20,23,24         verbal 209:9,12,16             161:10 166:6 177:8 204:3
  205:16 232:17                  146:23 147:2,10 153:13
                                                               verbally 172:18               warehouse 122:18
                                 191:11 218:13 223:19
 turned 85:13,23 212:22          229:21                                                      warranted 201:13
                                                               verify 101:6
 turns 86:6,13 87:3             understood 152:2 156:10,                                     wash 108:22
                                                               Vermont 10:15,16,17,18
 two-week 107:22,24              11 189:18                      11:13,14,21,23 12:1          Washington 18:24 19:2,9
 Tylenol 59:15                  underwent 93:12 95:7,20,       version 218:10,13              20:7,19 21:2 238:22,23,25
                                 22 96:7
 type 5:17 13:14 22:12 46:1,                                   versus 4:12                   Washington's 19:4 20:4
  16 75:13 76:20 77:20,24       unemployment 48:3
                                                               video 4:9 44:22 82:12 142:4   Washtenaw 15:3,10,19
  78:2 150:16 160:11 161:6      unit 129:17,18 205:7            185:25                        18:10
  173:24 176:18 180:11 181:1     208:18,22
                                                               video-recorded 4:6            wasted 119:2
 types 140:23                   United 4:15
                                                               viewing 4:22                  watch 181:5
                                unlawful 22:24 24:9
                U                                              vigorous 202:10               watched 142:3,4
                                unmasking 5:20
                                                               visit 39:4 79:5 80:16 99:8    watching 135:19
 uh-huh 10:8 14:10 25:9         unnecessary 144:4               100:16 101:21 121:20 168:9   Waters 125:7,8
  30:5,7,11 33:5 46:8 51:6
                                untruthful 92:20,23             178:9 196:8 234:24
  52:5 68:14 70:23 71:2                                                                      Wayne 25:7,8
  97:21,23 106:19 111:16        upset 62:5 104:14,16           visited 79:16 80:10
  118:9 124:19 126:2 134:2       166:16 212:17 213:2 225:5,
                                                                                             wear 65:1 66:14 67:10
  135:7 142:5 143:23 144:7,                                    visiting 29:14,16
                                 9                                                           wearing 66:1 90:24 221:18
  10,13 158:2,13 161:4                                         visitor 215:22 216:8
  162:18 171:23 177:11          ureter 87:25                                                 Webber 79:18 83:15 84:4
  178:4,23 183:16 191:20                                       visits 41:15 68:11 83:19       87:9,11,12,19 88:2 90:17
                                urethra 87:25                   101:23 217:18 221:20
  196:25 199:16 216:19                                                                        92:2,11,17,20,22 93:4,8
  218:3,5 228:14 232:22         urinal 37:5,6,9,13 69:13,14    vomited 255:14                 94:2,6,8 96:14,17,22 97:8
  236:18 242:5,16 256:3                                                                       98:17,21 99:2 100:2,16
                                urinary 71:18 93:15 95:11
                                                                                              101:22,24 102:3 128:12
 uh-uh 30:11 71:22 120:5         96:10                                        W               146:7,13,17 151:6,9,21
  142:11 150:12                 urinate 212:7                                                 156:9 159:3,24 162:11
 ultimately 62:17 63:10,25                                     W-2S 19:14                     192:17 219:14 221:12,14
                                urinating 69:16 71:4 176:3
  85:7 86:7 87:7 107:11 123:4                                                                 222:14,18 234:24
                                urine 70:25 71:5,19 216:6      wafer 120:25
  142:16 154:13 191:22 229:6                                                                 Webber's 92:9 93:18
                                                               wafers 121:21,22
 ultrasound 33:4                urogenital 216:5                                              101:10 234:10

                                urologist 93:15 95:10          wages 230:22                  week 27:3 42:15,16,17,25
 unable 47:6 140:2,5
                                 96:10                         wait 47:20 66:6 83:9 90:23     43:8 51:17 108:24 109:11
                                                                100:4 109:10,18 126:22        115:13 141:1 175:11 217:12



                                                                      Index: triangle–weekPage 282
                          THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
    Case 2:19-cv-13382-GAD-PTM ECF No. 65-5, PageID.1793 Filed 09/14/21 Page 89 of 89

Deposition of                                                                   JACKSON V. CORIZON HEALTH, INC.
KOHCHISE JACKSON                                                                                  March 22, 2021
  250:13                         workouts 140:14,23             249:25 250:11
 weekend 50:10 99:19,24          works 58:18 144:23 145:1      yell 59:12,14,25
  100:2
                                 worn 109:21                   yelling 59:11
 weeks 43:9 107:13 110:1,10
                                 worried 88:22 136:10          you-going-to-the-
  115:21 122:8 132:2,5
                                                               bathroom 255:16
                                 worry 85:18
 weight 122:10,12
                                                               young 88:24 89:22 91:5
                                 worse 64:9,11
 Weights 140:18                                                 92:6 93:4 225:22
                                 would've 254:2
 West 10:4,14,18 11:18,22                                      younger 88:4
                                 wound 38:19 81:3,6 83:14,
 Wilkinson 124:2                                               youthfulness 225:18
                                  20
                                                                226:14
 Willis 4:19 5:14,25 6:3 23:5,
                                 wounds 31:4
  20,21 24:5,16 40:10,20
  41:3,13 44:3 45:6,10 48:11     wrap 166:2                                 Z
  49:14 56:10,14 86:1,25
  104:24 105:3,8 110:15
                                 write 51:16 94:2,3 134:15,
                                  18 177:16,17 210:4,6         Zoom 4:22,23
  115:15 116:22 156:23 157:3
                                  235:16 245:3,6,9 248:20
  166:3 174:9 179:24 187:17,
                                  250:24
  20,24 188:2 203:18 204:18,
  21 207:18 224:16 242:7         writes 93:8
  243:5,8,10 248:3 252:4,5,
  21,24 253:7,9,15 254:20,23     writing 182:25 209:10
  256:10                         written 58:24 59:5 94:25
 Willis's 140:10                  198:3 226:4

 Wilson 242:19 243:4             wrong 60:14 61:2 63:7 67:4
                                  83:10 102:22 108:2 111:18,
 wipes 122:1                      22 112:11,23 113:13 114:3
                                  158:7 171:1 203:13 209:21
 wondering 137:10
                                  219:1,24 225:13 235:21
 Woodward 241:8
                                 wrote 134:21,22 135:1
 word 67:4 128:17 147:9           210:5 246:6 247:8 248:12
  163:5 187:20                    249:3 250:20 253:24
 words 35:1 46:14 82:1
  189:20 192:10 201:20                          X
  225:13
 work 16:4 17:4,5,8 18:25        X-RAY 217:14
  19:9 20:11,16 21:1,3,8,11,     X-RAYS 106:22 125:9
  15,23 22:12 42:10 47:6,12       133:15 164:2 173:25
  48:15 81:21 101:15 111:24
  112:13,25 113:14 120:17
  121:8 140:12 144:25 231:2,                    Y
  3,4 239:5,9
                                 yard 107:19 108:10 122:9
 worked 16:21 19:22,23
  20:4,7,20 21:25 58:18,19       year 13:23 19:14 21:16,18
  102:6 105:19 120:25 123:3       26:1,3 29:7,9,18 84:11
  132:16 239:7,10 243:11          250:12
 workers' 28:4                   years 6:20 8:21 14:2 18:21
                                  19:11 21:14 24:6,7,13 34:3
 working 16:5,12 18:22
                                  51:21 68:1,21 69:25 77:13
  20:18 21:2 120:2 123:3
                                  159:13 196:11 228:23
  175:13 241:21,22 255:7,21
                                  232:12 235:20 238:23,24



                                                                   Index: weekend–ZoomPage 283
                         THE SULLIVAN GROUP OF COURT REPORTERS - 323.525.3860
